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                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA


IN RE: FACEBOOK, INC. CONSUMER                 MDL No. 2843
PRIVACY USER PROFILE LITIGATION                Case No. 18-md-02843-VC


This document relates to:                      CONSOLIDATED COMPLAINT

ALL ACTIONS                                    Judge: Hon. Vince Chhabria




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       Plaintiffs Tonya Smith, Paige Grays, Anthony Bell, Olivia Johnston, Jordan O'Hara,

Juliana Watson, Shelly Forman, Bridgett Burk, Charnae Tutt, Brendan Carr, Kimberly

Robertson, Samuel Armstrong, Mitch Staggs, Dustin Short, Barbara Vance-Guerbe, Jason

Ariciu, William Lloyd, Cheryl Senko, Ian Miller, Steven Akins, Tyler King, Gretchen Maxwell,

Scott Schinder, Mary Beth Grisi, Suzie Haslinger, Terry Fischer, Taunna Jarvimaki, Sandra

Adkins, Ashley Kmieciak, and John Doe, individually and as representatives of a Classes of

similarly situated persons, by their undersigned counsel, allege as follows:

                                    I.     INTRODUCTION
       1.      Just fourteen years after its founding, Facebook, Inc. (“Facebook” or the

“Company”) has become one of the world’s largest companies. Its reach today is immense.

More than 2.2 billion people around the world use its social networking platform to connect with

each other.1 It is no exaggeration that Facebook’s connectivity has transformed the world. For

many, it has become an indispensable tool in keeping up with friends, running a business or

advancing in a career, and remaining informed about the world.

       2.      Valued at more than $473 billion, Facebook made more than $40 billion in

revenue last year. Despite Facebook’s origins as a social networking company, that revenue

flows not from user fees, but from allowing third parties to target its users with advertising and

messaging.

       3.      Users have been generally aware, of course, that advertising revenue drives

Facebook’s business model. What users did not know until March of 2018, and what Facebook

did not properly disclose, was that Facebook has enabled the wholesale disclosure of users’




1
 “If Facebook were a country, it would have the largest population on earth. More than 2.2
billion people, about a third of humanity, log in at least once a month. That user base has no
precedent in the history of American enterprise. Fourteen years after it was founded, in
Zuckerberg’s dorm room, Facebook has as many adherents as Christianity.” Evan Osnos, Can
Mark Zuckerberg Fix Facebook Before It Breaks Democracy?, New Yorker (Sept. 17, 2018),
https://www.newyorker.com/magazine/2018/09/17/can-mark-zuckerberg-fix-facebook-before-it-
breaks-democracy.
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content and information2 to third parties, even when users had not chosen to share it with them.

Nor did they know that Facebook has done almost nothing to prevent those third parties from

misusing the content and information themselves, or from disclosing that content and

information to still other entities.

        4.      These aspects of Facebook’s business became public in March 2018, when a

journalist uncovered that Cambridge Analytica, LLC (“Cambridge Analytica”), a British political

consulting firm, paid a Facebook app developer to collect and analyze the content and

information of approximately 87 million Facebook users (the “Cambridge Analytica Scandal” or

“Scandal”).

        5.      Cambridge Analytica then used this content and information to influence voters in

eleven states in the 2016 U.S. elections by cross-referencing users’ Facebook content and

information with voter identification data. Using what it learned about them from Facebook,

Cambridge Analytica was able to identify voters by name and target them with individually

crafted messages about political candidates.

        6.      Cambridge Analytica was able to accomplish this by purchasing Facebook user

data from an app developer. The app developer, in turn, had been allowed access to specific

Facebook users’ content and information. This access was not isolated or unusual. Facebook has

had partnership agreements with businesses large and small to share content and information—

without user consent or notification—dating back to 2007. In fact, Facebook created whole

systems that allowed third parties—not just applications that used Facebook, but also mobile

carriers, software makers, security firms and device makers—to access users’ content and

information. These were not data breaches. This was intentional.



2
  As used here, “content and information” means “content” and “information” as Facebook’s
Statements of Rights and Responsibilities have defined those terms. In brief, Facebook has
generally used “information” to mean facts and other information about Facebook users,
including they actions they take, and “content” to mean anything users post on Facebook that
would not be included in the definition of “information.” In addition, as used in this complaint,
the terms include both personally identifiable content and information and anonymized content
and information that is capable of being de-anonymized. For more details, see infra ¶¶ 223-224.
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       7.      The access that Facebook allowed these third parties was extensive. Facebook

allowed these third parties to access not only the content and information of the user who had

installed the application, but also the content and information that that user’s friends had shared

with her. Third parties were allowed access not by users themselves, but when friends engaged

with the third party, be it an app, a phone, or a website.

       8.      Despite creating these means of access for third parties, Facebook was

astonishingly reckless in monitoring them. Facebook never audited any of the app developers to

whom it gave access. And once users’ content and information was in the hands of undisclosed

third parties, Facebook did nothing to ensure that it went no further. In fact, when advised in

2015 that Cambridge Analytica had illegally purchased users’ content and information, Facebook

did not take steps to inform users or to confirm that the data Cambridge Analytica paid for was

destroyed. It has done so now only in the wake of regulatory and governmental outrage.

       9.      Facebook has never properly informed users about the access it gave third parties.

Worse, it misled users on the subject. For while it extolled the supposedly tight control users

could wield over what they shared with others, the instruments it provided to users to exert that

control were profoundly confusing. Facebook provided “Privacy Settings” to users, and made

them prominent and accessible. But the Privacy Settings did not control the information and

content that third parties could access. They did not contain any privacy control specifically for

mobile carriers like Blackberry, for example—which means that Blackberry had access to the

content and information that users shared with friends who had downloaded the Facebook app on

their Blackberry. For applications, access was governed by controls called “App Settings”—

controls that Facebook buried deep in a maze of webpages. But by default, the App Settings

allowed users’ content and information to be shared even when a user’s friend uploaded an

application. Short of deleting a Facebook account, the only fool-proof method for preventing

data collection is to set all settings to private, so that not even your friends can view your content

and information. That, of course, defeats the purpose of joining Facebook, sold to users as a

social networking platform.


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       10.     Similarly confusing were the tangle of various documents that purported to

govern the relationship between Facebook and its users. These documents were difficult to

access on Facebook’s website, and equally difficult to understand—and on top of that, Facebook

constantly changed them without notice. None of these documents meaningfully disclosed the

access that Facebook granted to third parties, or how third parties could use that access.

       11.     One of the few things that is clear from the documents is Facebook’s promise not

to share its users’ content and information with advertisers. Facebook also told users that they

owned and controlled their content and information. As noted above, Facebook broke that

promise, and shared it with companies like mobile carriers and app developers who of course

advertise.

       12.     But the harms that Facebook has inflicted upon users arise from more than just

Facebook’s unauthorized disclosure of content and information with third parties. Those harms

arise also from the ease with which third parties can de-anonymize the data, tying it to specific

individuals by name. This creates a substantial and imminent risk of identity theft, fraud,

stalking, scams, unwanted texts, emails and even hacking. The fundamental pieces of a

Facebook profile—names, phone numbers, email addresses and the kind of corroborating

personal information used for passwords and security questions—serve as critical starter kits for

identity theft and other malicious online activity. Experts agree, for example, that users can be

individually targeted in an attempt to perpetuate voter fraud, medical fraud, and other harms. The

disclosure of this content “allow[s] bad actors to tie raw data to people’s real identities and build

fuller profiles of them.”3 Thus, this is not a case of the simple theft of social security numbers or

credit card numbers. Facebook users suffered concrete injury in ways that transcend a normal

data breach injury.

       13.     Moreover, from a marketing perspective, the ability to de-anonymize and analyze

3
 Craig Timberg et. al., Facebook: ‘Malicious Actors’ Used its Tools to Discover Identities and
Collect Data on a Massive Global Scale, Wash. Post (Apr. 4, 2018),
https://www.washingtonpost.com/news/the-switch/wp/2018/04/04/facebook-said-the-personal-
data-of-most-its-2-billion-users-has-been-collected-and-shared-with-
outsiders/?noredirect=on&utm_term=.4e5be0d26e2b.
CONSOLIDATED COMPLAINT                            4                                     MDL NO. 2843
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user data allows consumers to be personally, rather than generally, targeted. This is called

“psychographic marketing.” With the advent of psychographic marketing, users’ content and

information is analyzed and studied by marketing and political campaigns, all in an effort to

deliver targeted content that will trigger them to act. Indeed, Cambridge Analytica exploited

users’ information to target individual voters by name with content tailored to their predicted

psychological proclivities. Facebook and other data brokers collect data dossiers of Facebook

users based on this aggregated data that make assumptions about health, financial risk,

employability and other factors. Brokers, like Facebook, then make that data accessible to third

parties to target people based on analysis of their temperament and vulnerabilities—

unbeknownst to the targets, who, in this case, were Facebook users.

          14.   Plaintiffs and the Classes seek to be put back in the position they would occupy

had Facebook properly disclosed its activities or simply not engaged in them at all. This lawsuit

seeks an audit and disclosure, a change of Facebook’s default settings, compensation for

intrusions into privacy on an unprecedented level, and benefit-of-the-bargain damages for users

who did not understand what was taken from them and how Facebook has profited, among other

relief.

                 II.     JURISDICTION, VENUE, AND CHOICE OF LAW
          15.   Pursuant to 28 U.S.C. § 1331, this Court has original subject matter jurisdiction

over the claims that arise under the Stored Communications Act, 18 U.S.C. §§ 2701 et seq. and

the Video Privacy Protection Act, 18 U.S.C. § 2710.

          16.   This Court also has supplemental jurisdiction over the state law claims pursuant to

28 U.S.C. § 1367.

          17.   In addition to federal question jurisdiction, this Court also has diversity

jurisdiction pursuant to 28 U.S.C. § 1332(d) under the Class Action Fairness Act (“CAFA”),

because the amount in controversy exceeds $5,000,000, exclusive of interest and costs, and at

least one Class Member is a citizen of a state different from Defendants.

          18.   Venue is proper in this District pursuant to 28 U.S.C. § 1391 because Defendants


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do business in and are subject to personal jurisdiction in this District. Venue is also proper

because a substantial part of the events or omissions giving rise to the claim occurred in or

emanated from this District.

       19.     The relevant terms of Plaintiffs’ contracts with Facebook provide that the

exclusive venues for litigating any claim with Facebook are either the United States District

Court for the Northern District of California or a state court located in San Mateo County. These

contracts also provided that all claims that might arise between the user and Facebook would be

governed by the laws of California, without regard to conflict-of-law provisions.

       20.     The venue provision provides an additional reason that venue is proper in this

District. The choice-of-law provision establishes that California law applies to Plaintiffs’ and all

Class Members’ claims.

                                         III.   PARTIES

A.     Plaintiffs
       21.     Plaintiff Tonya Smith is a citizen and resident of the State of Alabama. Plaintiff

Smith created her Facebook account approximately eleven years ago. Plaintiff Smith maintains

her Facebook account to the present day. Plaintiff Smith has accessed her Facebook account

from a mobile phone, a Chromebook, and a personal computer. Plaintiff Smith has watched and

“liked” videos on Facebook and has also “liked” pages on Facebook that contain videos. Plaintiff

Smith also uses Facebook messenger and/or instant messaging through Facebook. Plaintiff Smith

shared content and information with Facebook, which she expected Facebook to protect and

secure against access by or disclosure to unauthorized parties. Plaintiff Smith confirmed on

Facebook that her content and information may have been “shared” with and “misused” by the

This Is Your Digital Life app, because one of Plaintiff Smith’s Facebook friends downloaded the

This Is Your Digital Life app. Plaintiff Smith was not aware of and did not consent to the sharing

of her content and information with the This Is Your Digital Life app. Moreover, Plaintiff Smith

did not consent to any third-parties accessing her content and information through her Facebook




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friends and had no knowledge that Facebook had authorized this disclosure of her content and

information without her consent.

       22.     During the 2016 U.S. Presidential election, Plaintiff Smith frequently received

political advertisements while using Facebook. On information and belief, Plaintiff Smith was

targeted by some or all of these advertisements as a result of the Cambridge Analytica Scandal.

As a result of the release of her content and information, Plaintiff Smith has suffered emotional

distress, including anxiety, concern, and unease about unauthorized parties viewing and using

her content and information for improper purposes, such as identity theft and fraud as well as

further intruding upon Plaintiff Smith’s private affairs and concerns, as detailed herein. Plaintiff

Smith fears that she is at risk of identity theft and fraud, and now spends approximately thirty

minutes each month monitoring her credit, bank, and other account statements for evidence of

identity theft and fraud, and anticipates continuing to do so for the foreseeable future.

       23.     Plaintiff Paige Grays is a citizen and resident of the State of Arizona. Plaintiff

Grays created her Facebook account approximately seven years ago. Plaintiff Grays maintains

her Facebook account to the present day. Plaintiff Grays has accessed her Facebook account

from a mobile phone and a personal computer. Plaintiff Grays has watched and “liked” videos on

Facebook and has also “liked” pages on Facebook that contain videos. Plaintiff Grays shared

content and information with Facebook, which she expected Facebook to protect and secure

against access by or disclosure to unauthorized parties. Plaintiff Grays confirmed on Facebook

that her content and information “was likely shared with” and may have been “misused” by the

This Is Your Digital Life app, because one of Plaintiff Grays’ Facebook friends downloaded the

This Is Your Digital Life app. Plaintiff Grays was not aware of and did not consent to the sharing

of her content and information with the This Is Your Digital Life app. Moreover, Plaintiff Grays

did not consent to any third-parties accessing her content and information through her Facebook

friends and had no knowledge that Facebook had authorized this disclosure of her content and

information without her consent.




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        24.     During the 2016 U.S. Presidential election, Plaintiff Grays frequently received

political advertisements while using Facebook. On information and belief, Plaintiff Grays was

targeted by some or all of these advertisements as a result of the Cambridge Analytica Scandal.

As a result of the release of her content and information, Plaintiff Grays has suffered emotional

distress, including anxiety, concern, and unease about unauthorized parties viewing and using

her content and information for improper purposes, such as identity theft and fraud as well as

further intruding upon Plaintiff Grays’ private affairs and concerns, as detailed herein. Plaintiff

Grays fears that she is at risk of identity theft and fraud.

        25.     Plaintiff Anthony Bell is a citizen and resident of the State of California. Plaintiff

Bell created his Facebook account approximately thirteen years ago. Plaintiff Bell maintains his

Facebook account to the present day. Plaintiff Bell has accessed his Facebook account from a

mobile phone and a personal computer. Plaintiff Bell has watched and “liked” videos on

Facebook and has also “liked” pages on Facebook that contain videos. Plaintiff Bell also uses

Facebook messenger and/or instant messaging through Facebook. Plaintiff Bell shared content

and information with Facebook, which he expected Facebook to protect and secure against

access by or disclosure to unauthorized parties. Plaintiff Bell confirmed on Facebook that his

content and information may have been “shared” with and “misused” by the This Is Your Digital

Life app, because one of Plaintiff Bell’s Facebook friends downloaded the This Is Your Digital

Life app. Plaintiff Bell was not aware of and did not consent to the sharing of his content and

information with the This Is Your Digital Life app. Moreover, Plaintiff Bell did not consent to

any third-parties accessing his content and information through his Facebook friends and had no

knowledge that Facebook had authorized this disclosure of his content and information without

his consent.

        26.     During the 2016 U.S. Presidential election, Plaintiff Bell frequently received

political advertisements while using Facebook. On information and belief, Plaintiff Bell was

targeted by some or all of these advertisements as a result of the Cambridge Analytica Scandal.

As a result of the release of his content and information, Plaintiff Bell has suffered emotional


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distress, including anxiety, concern, and unease about unauthorized parties viewing and using his

content and information for improper purposes, such as identity theft and fraud as well as further

intruding upon Plaintiff Bell’s private affairs and concerns, as detailed herein. Plaintiff Bell fears

that he is at risk of identity theft and fraud, and now spends approximately five hours each month

monitoring his credit, bank, and other account statements for evidence of identity theft and fraud,

and anticipates continuing to do so for the foreseeable future. Because of his heightened risk of

identity theft and fraud, Plaintiff Bell has purchased credit monitoring and identity theft

protection services, and anticipates continuing to pay for such services for the foreseeable future.

       27.     Plaintiff Olivia Johnston is a citizen and resident of the State of California.

Plaintiff Johnston created her Facebook account approximately seven years ago. Plaintiff

Johnston maintains her Facebook account to the present day. Plaintiff Johnston has accessed her

Facebook account from a mobile phone and a personal computer. Plaintiff Johnston has watched

and “liked” videos on Facebook and has also “liked” pages on Facebook that contain videos.

Plaintiff Johnston also uses Facebook messenger and/or instant messaging through Facebook.

Plaintiff Johnston shared content and information with Facebook, which she expected Facebook

to protect and secure against access by or disclosure to unauthorized parties. In approximately

April 2018, Plaintiff Johnston learned that millions of Facebook users’ content and information

may have been obtained by the This Is Your Digital Life app, because Plaintiff Johnston

downloaded the This Is Your Digital Life app. Plaintiff Johnston was not aware of and did not

consent to the sharing of her content and information with the This Is Your Digital Life app.

Moreover, Plaintiff Johnston did not consent to any third-parties accessing her content and

information through her Facebook friends and had no knowledge that Facebook had authorized

this disclosure of her content and information without her consent.

       28.     As a result of this concern for the security of her content and information,

Plaintiff Johnston has suffered emotional distress, including anxiety, concern, and unease about

unauthorized parties viewing and using her content and information for improper purposes, such

as identity theft and fraud as well as further intruding upon Plaintiff Johnston’s private affairs


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and concerns, as detailed herein. Plaintiff Johnston fears that she is at risk of identity theft and

fraud.

         29.   Plaintiff Jordan O’Hara is a citizen and resident of the State of California.

Plaintiff O’Hara created his Facebook account approximately ten years ago. Plaintiff O’Hara

maintains his Facebook account to the present. Plaintiff O’Hara has accessed his Facebook

account from a mobile phone and a personal computer. Plaintiff O’Hara has watched and “liked”

videos on Facebook and has also “liked” pages on Facebook that contain videos. Plaintiff

O’Hara also uses Facebook messenger and/or instant messaging through Facebook. Plaintiff

O’Hara shared content and information with Facebook, which he expected Facebook to protect

and secure against access by or disclosure to unauthorized parties. Plaintiff O’Hara confirmed on

Facebook that his content and information may have been “shared” with and “misused” by the

This Is Your Digital Life app, because one of Plaintiff O’Hara’s Facebook friends downloaded

the This Is Your Digital Life app. Plaintiff O’Hara was not aware of and did not consent to the

sharing of his content and information with the This Is Your Digital Life app. Moreover, Plaintiff

O’Hara did not consent to any third-parties accessing his content and information through his

Facebook friends and had no knowledge that Facebook had authorized this disclosure of his

content and information without his consent.

         30.   During the 2016 U.S. Presidential election, Plaintiff O’Hara frequently received

political advertisements while using Facebook. On information and belief, Plaintiff O’Hara was

targeted by some or all of these advertisements as a result of the Cambridge Analytica Scandal.

As a result of the release of his content and information, Plaintiff O’Hara has suffered emotional

distress, including anxiety, concern, and unease about unauthorized parties viewing and using his

content and information for improper purposes, such as identity theft and fraud as well as further

intruding upon Plaintiff O’Hara’s private affairs and concerns, as detailed herein. Plaintiff

O’Hara fears that he is at risk of identity theft and fraud, and now spends approximately one hour

each month monitoring his credit, bank, and other account statements for evidence of identity

theft and fraud, and anticipates continuing to do so for the foreseeable future. Because of his


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heightened risk of identity theft and fraud, Plaintiff O’Hara has obtained credit monitoring and

identity theft protection services as a result of his status as a former member of the armed

services, and anticipates continuing to use services for the foreseeable future.

        31.     Plaintiff Juliana Watson is a citizen and resident of the State of California.

Plaintiff Watson created her Facebook account approximately nine years ago. Plaintiff Watson

maintains her Facebook account to the present day. Plaintiff Watson has accessed her Facebook

account from a mobile phone and a personal computer. Plaintiff Watson has watched and “liked”

videos on Facebook and has also “liked” pages on Facebook that contain videos. Plaintiff

Watson also uses Facebook messenger and/or instant messaging through Facebook. Plaintiff

Watson shared content and information with Facebook, which she expected Facebook to protect

and secure against access by or disclosure to unauthorized parties. Plaintiff Watson confirmed on

Facebook that her content and information “was likely shared with” the This Is Your Digital Life

app, because one of Plaintiff Watson’s Facebook friends downloaded the This Is Your Digital

Life app. Plaintiff Watson was not aware of and did not consent to the sharing of her content and

information with the This Is Your Digital Life app. Moreover, Plaintiff Watson did not consent

to any third-parties accessing her content and information through her Facebook friends and had

no knowledge that Facebook had authorized this disclosure of her content and information

without her consent.

        32.     During the 2016 U.S. Presidential election, Plaintiff Watson frequently received

political advertisements while using Facebook. On information and belief, Plaintiff Watson was

targeted by some or all of these advertisements as a result of the Cambridge Analytica Scandal.

As a result of the release of her content and information, Plaintiff Watson has suffered emotional

distress, including anxiety, concern, and unease about unauthorized parties viewing and using

her content and information for improper purposes, such as identity theft and fraud as well as

further intruding upon Plaintiff Watson’s private affairs and concerns, as detailed herein.

Plaintiff Watson fears that she is at risk of identity theft and fraud.




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       33.     Plaintiff Shelly Forman is a citizen and resident of the State of Georgia. Prior to

August 1, 2018, Plaintiff Forman was at all relevant times a resident of the State of Colorado.

Plaintiff Forman created her Facebook account approximately ten years ago. Plaintiff Forman

maintains her Facebook account to the present day. Plaintiff Forman has accessed her Facebook

account from a mobile phone and a personal computer. Plaintiff Forman has watched and “liked”

videos on Facebook and has also “liked” pages on Facebook that contain videos. Plaintiff

Forman also uses Facebook messenger and/or instant messaging through Facebook. Plaintiff

Forman shared content and information with Facebook, which she expected Facebook to protect

and secure against access by or disclosure to unauthorized parties. Plaintiff Forman confirmed on

Facebook that her content and information may have been “shared” with and “misused” by the

This Is Your Digital Life app, because one of Plaintiff Forman’s Facebook friends downloaded

the This Is Your Digital Life app. Plaintiff Forman was not aware of and did not consent to the

sharing of her content and information with the This Is Your Digital Life app. Moreover,

Plaintiff Forman did not consent to any third-parties accessing her content and information

through her Facebook friends and had no knowledge that Facebook had authorized this

disclosure of her content and information without her consent.

       34.     During the 2016 U.S. Presidential election, Plaintiff Forman frequently received

political advertisements while using Facebook. On information and belief, Plaintiff Forman was

targeted by some or all of these advertisements as a result of the Cambridge Analytica Scandal.

As a result of the release of her content and information, Plaintiff Forman has suffered emotional

distress, including anxiety, concern, and unease about unauthorized parties viewing and using

her content and information for improper purposes, such as identity theft and fraud as well as

further intruding upon Plaintiff Forman’s private affairs and concerns, as detailed herein.

Plaintiff Forman fears that she is at risk of identity theft and fraud, and now spends

approximately one to two hours each month monitoring her credit, bank, and other account

statements for evidence of identity theft and fraud, and anticipates continuing to do so for the

foreseeable future.


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       35.     Plaintiff Scott McDonnell is a citizen and a resident of the State of Connecticut.

Plaintiff McDonnell created his Facebook account approximately ten years ago. Plaintiff

McDonnell maintains his Facebook account to the present day. Plaintiff McDonnell has accessed

his Facebook account from a mobile phone and a personal computer. Plaintiff McDonnell has

watched and “liked” videos on Facebook and has also “liked” pages on Facebook that contain

videos. Plaintiff McDonnell also uses Facebook messenger and/or instant messaging through

Facebook. Plaintiff McDonnell shared content and information with Facebook, which he

expected Facebook to protect and secure against access by or disclosure to unauthorized parties.

In approximately April 2018, Plaintiff McDonnell received notice from Facebook that his

Personal Information may have been “shared” with and “misused” by the This Is Your Digital

Life app, because one of Plaintiff McDonnell’s Facebook friends downloaded the This Is Your

Digital Life app. Plaintiff McDonnell was not aware of and did not consent to the sharing of his

content and information with the This Is Your Digital Life app. Moreover, Plaintiff McDonnell

did not consent to any third-parties accessing his content and information through his Facebook

friends and had no knowledge that Facebook had authorized this disclosure of his content and

information without his consent.

       36.     During the 2016 U.S. Presidential election, Plaintiff McDonnell frequently

received political advertisements while using Facebook. On information and belief, Plaintiff

McDonnell was targeted by some or all of these advertisements as a result of the Cambridge

Analytica Scandal. As a result of the release of his content and information, Plaintiff McDonnell

has suffered emotional distress, including anxiety, concern, and unease about unauthorized

parties viewing and using his content and information for improper purposes, such as identity

theft and fraud as well as further intruding upon Plaintiff McDonnell’s private affairs and

concerns, as detailed herein. Plaintiff McDonnell fears that he is at risk of identity theft and

fraud, and now spends approximately two hours each month monitoring his credit, bank, and

other account statements for evidence of identity theft and fraud, and anticipates continuing to do

so for the foreseeable future. Because of his heightened risk of identity theft and fraud, Plaintiff


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McDonnell has purchased credit monitoring and identity theft protection services, for which he

pays approximately $40 per month, and anticipates continuing to pay for such services for the

foreseeable future.

       37.     Plaintiff Bridgett Burk is a citizen and resident of the State of Florida. Plaintiff

Burk created her Facebook account approximately twelve years ago. Plaintiff Burk maintains her

Facebook account to the present day. Plaintiff Burk has accessed her Facebook account from a

mobile phone and a personal computer. Plaintiff Burk has watched and “liked” videos on

Facebook and has also “liked” pages on Facebook that contain videos. Plaintiff Burk also uses

Facebook messenger and/or instant messaging through Facebook. Plaintiff Burk shared content

and information with Facebook, which she expected Facebook to protect and secure against

access by or disclosure to unauthorized parties. Plaintiff Burk confirmed on Facebook that her

content and information may have been “shared” with and “misused” by the This Is Your Digital

Life app, because one of Plaintiff Burk’s Facebook friends downloaded the This Is Your Digital

Life app. Plaintiff Burk was not aware of and did not consent to the sharing of her content and

information with the This Is Your Digital Life app. Moreover, Plaintiff Burk did not consent to

any third-parties accessing his content and information through her Facebook friends and had no

knowledge that Facebook had authorized this disclosure of her content and information without

her consent.

       38.     As a result of the release of her content and information, Plaintiff Burk has

suffered emotional distress, including anxiety, concern, and unease about unauthorized parties

viewing and using her content and information for improper purposes, such as identity theft and

fraud as well as further intruding upon Plaintiff Burk’s private affairs and concerns, as detailed

herein. Plaintiff Burk fears that she is at risk of identity theft and fraud, and now spends

approximately thirty minutes each month monitoring her credit, bank, and other account

statements for evidence of identity theft and fraud, and anticipates continuing to do so for the

foreseeable future.




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       39.     Plaintiff Charnae Tutt is a citizen and resident of the State of Georgia. Plaintiff

Tutt created her Facebook account approximately ten years ago. Plaintiff Tutt maintains her

Facebook account to the present day. Plaintiff Tutt has accessed her Facebook account from a

mobile phone and a personal computer. Plaintiff Tutt has watched and “liked” videos on

Facebook and has also “liked” pages on Facebook that contain videos. Plaintiff Tutt also uses

Facebook messenger and/or instant messaging through Facebook. Plaintiff Tutt shared content

and information with Facebook, which she expected Facebook to protect and secure against

access by or disclosure to unauthorized parties. Plaintiff Tutt confirmed on Facebook that her

content and information may have been “shared” with and “misused” by the My Personality app.

Plaintiff Tutt was not aware of and did not consent to the sharing of her content and information

with the My Personality app. Moreover, Plaintiff Tutt did not consent to any third-parties

accessing her content and information through her Facebook friends and had no knowledge that

Facebook had authorized this disclosure of her content and information without her consent.

       40.     During the 2016 U.S. Presidential election, Plaintiff Tutt frequently received

political advertisements while using Facebook. On information and belief, Plaintiff Tutt was

targeted by some or all of these advertisements as a result of the Cambridge Analytica Scandal.

As a result of the release of her content and information, Plaintiff Tutt has suffered emotional

distress, including anxiety, concern, and unease about unauthorized parties viewing and using

her content and information for improper purposes, such as identity theft and fraud as well as

further intruding upon Plaintiff Tutt’s private affairs and concerns, as detailed herein. Plaintiff

Tutt fears that she is at risk of identity theft and fraud, and now spends approximately five hours

each month monitoring her credit, bank, and other account statements for evidence of identity

theft and fraud, and anticipates continuing to do so for the foreseeable future.

       41.     Plaintiff Tabielle Holsinger is a citizen and a resident of the State of Idaho.

Plaintiff Holsinger created her Facebook account approximately nine years ago. Plaintiff

Holsinger maintains her Facebook account to the present day. Plaintiff Holsinger has accessed

her Facebook account from a mobile phone. Plaintiff Holsinger has watched and “liked” videos


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on Facebook and has also “liked” pages on Facebook that contain videos. Plaintiff Holsinger also

uses Facebook messenger and/or instant messaging through Facebook. Plaintiff Holsinger shared

content and information with Facebook, which she expected Facebook to protect and secure

against access by or disclosure to unauthorized parties. Plaintiff Holsinger confirmed on

Facebook that her content and information “was likely shared with” and may have been

“misused” by the This Is Your Digital Life app, because one of Plaintiff Holsinger’s Facebook

friends downloaded the This Is Your Digital Life app. Plaintiff Holsinger was not aware of and

did not consent to the sharing of her content and information with the This Is Your Digital Life

app. Moreover, Plaintiff Holsinger did not consent to any third-parties accessing her content and

information through her Facebook friends and had no knowledge that Facebook had authorized

this disclosure of her content and information without her consent.

       42.     During the 2016 U.S. Presidential election, Plaintiff Holsinger frequently received

political advertisements while using Facebook. On information and belief, Plaintiff Holsinger

was targeted by some or all of these advertisements as a result of the Cambridge Analytica

Scandal. As a result of the release of her content and information, Plaintiff Holsinger has

suffered emotional distress, including anxiety, concern, and unease about unauthorized parties

viewing and using her content and information for improper purposes, such as identity theft and

fraud as well as further intruding upon Plaintiff Holsinger’s private affairs and concerns, as

detailed herein. Plaintiff Holsinger fears that she is at risk of identity theft and fraud, and now

spends approximately four hours each month monitoring her credit, bank, and other account

statements for evidence of identity theft and fraud, and anticipates continuing to do so for the

foreseeable future.

       43.     Plaintiff Brendan Carr is a citizen and resident of the State of Illinois. Plaintiff

Carr created his Facebook account approximately thirteen years ago. Plaintiff Carr maintains his

Facebook account to the present day. Plaintiff Carr has accessed his Facebook account from a

mobile phone and a personal computer. Plaintiff Carr has watched and “liked” videos on

Facebook and has also “liked” pages on Facebook that contain videos. Plaintiff Carr also uses


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Facebook messenger and/or instant messaging through Facebook. Plaintiff Carr shared content

and information with Facebook, which he expected Facebook to protect and secure against

access by or disclosure to unauthorized parties. In approximately April 2018, Plaintiff Carr

received notice from Facebook that his content and information may have been obtained by the

This Is Your Digital Life app, because one of Plaintiff Carr’s Facebook friends downloaded the

This Is Your Digital Life app. Plaintiff Carr was not aware of and did not consent to the sharing

of his content and information with the This Is Your Digital Life app. Moreover, Plaintiff Carr

did not consent to any third-parties accessing his content and information through his Facebook

friends and had no knowledge that Facebook had authorized this disclosure of his content and

information without his consent.

       44.     During the 2016 U.S. Presidential election, Plaintiff Carr frequently received

political advertisements while using Facebook. On information and belief, Plaintiff Carr was

targeted by some or all of these advertisements as a result of the Cambridge Analytica Scandal.

As a result of the release of his content and information, Plaintiff Carr has suffered emotional

distress, including anxiety, concern, and unease about unauthorized parties viewing and using his

content and information for improper purposes, such as identity theft and fraud as well as further

intruding upon Plaintiff Carr’s private affairs and concerns, as detailed herein. Plaintiff Carr

fears that he is at risk of identity theft and fraud, and now spends several hours each month

monitoring his credit, bank, and other account statements for evidence of identity theft and fraud,

and anticipates continuing to do so for the foreseeable future.

       45.     Plaintiff John Doe, a minor, is a citizen and resident of the State of Illinois.

Plaintiff Doe created his Facebook account approximately five years ago. Plaintiff Doe maintains

his Facebook account to the present day. Plaintiff Doe has accessed his Facebook account from a

mobile phone, laptop, and a personal computer. Plaintiff Doe has watched videos on Facebook.

Plaintiff Doe also uses Facebook messenger. Plaintiff Doe shared content and information with

Facebook, which he expected Facebook to protect and secure against access by or disclosure to

unauthorized parties. On information and belief, Plaintiff Doe asserts his content and information


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was disclosed without his consent to the This Is Your Digital Life app or other third-party apps

Facebook is investigating for misusing users’ content and information. Plaintiff Doe was not

aware of and did not consent to the sharing of his content and information with the This Is Your

Digital Life app or other third parties. Moreover, Plaintiff Doe did not consent to any third-

parties accessing his content and information through his Facebook friends and had no

knowledge that Facebook had authorized this disclosure of his content and information without

his consent.

       46.     While Doe may not be of sufficient age to understand his exposure, by virtue of

his age, he is at greater risk of identity theft, manipulation, fraud, phishing, scams, targeted

unwanted and unnecessary advertising, including inappropriate communications. Furthermore,

because his content and information was collected before the age of consent, he cannot be

expected to understand the gravity of this breach. This does not minimize his risk or threat of

future emotional distress, including anxiety, concern and unease about unauthorized parties

viewing and using his content and information for improper purposes and further intrusions.

       47.     Plaintiff Kimberly Robertson is a citizen and resident of the State of Illinois.

Plaintiff Robertson created her Facebook account approximately nine years ago. Plaintiff

Robertson maintains her Facebook account to the present day. Plaintiff Robertson has accessed

her Facebook account from a mobile phone and a personal computer. Plaintiff Robertson has

watched and “liked” videos on Facebook and has also “liked” pages on Facebook that contain

videos. Plaintiff Robertson also uses Facebook messenger and/or instant messaging through

Facebook. Plaintiff Robertson shared content and information with Facebook, which she

expected Facebook to protect and secure against access by or disclosure to unauthorized parties.

Plaintiff Robertson confirmed on Facebook that her content and information may have been

“shared” with and “misused” by the This Is Your Digital Life app, because one of Plaintiff

Robertson’s Facebook friends downloaded the This Is Your Digital Life app. Plaintiff Robertson

was not aware of and did not consent to the sharing of her content and information with the This

Is Your Digital Life app. Moreover, Plaintiff Robertson did not consent to any third-parties


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accessing her content and information through her Facebook friends and had no knowledge that

Facebook had authorized this disclosure of her content and information without her consent.

       48.     As a result of the release of her content and information, Plaintiff Robertson has

suffered emotional distress, including anxiety, concern, and unease about unauthorized parties

viewing and using her content and information for improper purposes, such as identity theft and

fraud as well as further intruding upon Plaintiff Robertson’s private affairs and concerns, as

detailed herein. Plaintiff Robertson fears that she is at risk of identity theft and fraud, and now

spends approximately eight hours each month monitoring her credit, bank, and other account

statements for evidence of identity theft and fraud, and anticipates continuing to do so for the

foreseeable future.

       49.     Plaintiff Samuel Armstrong is a citizen and resident of the State of Indiana.

Plaintiff Armstrong created his Facebook account approximately eleven years ago. Plaintiff

Armstrong maintains his Facebook account to the present day. Plaintiff Armstrong has accessed

his Facebook account from a mobile phone and a personal computer. Plaintiff Armstrong has

watched and “liked” videos on Facebook and has also “liked” pages on Facebook that contain

videos. Plaintiff Armstrong also uses Facebook messenger. Plaintiff Armstrong shared content

and information with Facebook, which he expected Facebook to protect and secure against

access by or disclosure to unauthorized parties. Plaintiff Armstrong confirmed on Facebook that

his content and information may have been “shared” with and “misused” by the This Is Your

Digital Life app, because one of Plaintiff Armstrong’s Facebook friends downloaded the This Is

Your Digital Life app. Plaintiff Armstrong was not aware of and did not consent to the sharing of

his content and information with the This Is Your Digital Life app. Moreover, Plaintiff

Armstrong did not consent to any third-parties accessing his content and information through his

Facebook friends and had no knowledge that Facebook had authorized this disclosure of his

content and information without his consent.

       50.     During the 2016 U.S. Presidential election, Plaintiff Armstrong frequently

received political advertisements while using Facebook. On information and belief, Plaintiff


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Armstrong was targeted by some or all of these advertisements as a result of the Cambridge

Analytica Scandal. As a result of the release of his content and information, Plaintiff Armstrong

has suffered emotional distress, including anxiety, concern, and unease about unauthorized

parties viewing and using his content and information for improper purposes, such as identity

theft and fraud as well as further intruding upon Plaintiff Armstrong’s private affairs and

concerns, as detailed herein. Plaintiff Armstrong fears that he is at risk of identity theft and fraud,

and now spends approximately two hours each month monitoring his credit, bank, and other

account statements for evidence of identity theft and fraud, and anticipates continuing to do so

for the foreseeable future.

       51.     Plaintiff Mitchell Staggs is a citizen and resident of the State of Iowa. Plaintiff

Staggs created his Facebook account approximately nine years ago. Plaintiff Staggs maintains

his Facebook account to the present day. Plaintiff Staggs has accessed his Facebook account

from a mobile phone. Plaintiff Staggs has watched and “liked” videos on Facebook and has also

“liked” pages on Facebook that contain videos. Plaintiff Staggs also uses Facebook messenger

and/or instant messaging through Facebook. Plaintiff Staggs shared content and information with

Facebook, which he expected Facebook to protect and secure against access by or disclosure to

unauthorized parties. In approximately April 2018, Plaintiff Staggs received notice from

Facebook that his content and information may have been obtained by the This Is Your Digital

Life app, because one of Plaintiff Staggs’s Facebook friends downloaded the This Is Your

Digital Life app. Plaintiff Staggs was not aware of and did not consent to the sharing of his

content and information with the This Is Your Digital Life app. Moreover, Plaintiff Staggs did

not consent to any third-parties accessing his content and information through his Facebook

friends and had no knowledge that Facebook had authorized this disclosure of his content and

information without his consent.

       52.     During the 2016 U.S. Presidential election, Plaintiff Staggs frequently received

political advertisements while using Facebook. On information and belief, Plaintiff Staggs was

targeted by some or all of these advertisements as a result of the Cambridge Analytica Scandal.


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As a result of the release of his content and information, Plaintiff Staggs has suffered emotional

distress, including anxiety, concern, and unease about unauthorized parties viewing and using his

content and information for improper purposes, such as identity theft and fraud as well as further

intruding upon Plaintiff Staggs’s private affairs and concerns, as detailed herein. Plaintiff Staggs

fears that he is at risk of identity theft and fraud, and now spends approximately five to ten hours

each month monitoring his credit, bank, and other account statements for evidence of identity

theft and fraud, and anticipates continuing to do so for the foreseeable future.

       53.     Plaintiff Dustin Short is a citizen and resident of the State of Kansas. Plaintiff

Short created his Facebook account approximately twelve years ago. Plaintiff Short maintains his

Facebook account to the present day. Plaintiff Short has accessed his Facebook account from a

mobile phone and a personal computer. Plaintiff Short has watched and “liked” videos on

Facebook and has also “liked” pages on Facebook that contain videos. Plaintiff Short also uses

Facebook messenger and/or instant messaging through Facebook. Plaintiff Short shared content

and information with Facebook, which he expected Facebook to protect and secure against

access by or disclosure to unauthorized parties. In approximately April 2018, Plaintiff Short

received notice from Facebook that his content and information may have been obtained by the

This Is Your Digital Life app, because one of Plaintiff Short’s Facebook friends downloaded the

This Is Your Digital Life app. Plaintiff Short was not aware of and did not consent to the sharing

of his content and information with the This Is Your Digital Life app. Moreover, Plaintiff Short

did not consent to any third-parties accessing his content and information through his Facebook

friends and had no knowledge that Facebook had authorized this disclosure of his content and

information without his consent.

       54.     During the 2016 U.S. Presidential election, Plaintiff Short frequently received

political advertisements while using Facebook. On information and belief, Plaintiff Short was

targeted by some or all of these advertisements as a result of the Cambridge Analytica Scandal.

As a result of the release of his content and information, Plaintiff Short has suffered emotional

distress, including anxiety, concern, and unease about unauthorized parties viewing and using his


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content and information for improper purposes, such as identity theft and fraud as well as further

intruding upon Plaintiff Short’s private affairs and concerns, as detailed herein. Plaintiff Short

fears that he is at risk of identity theft and fraud, and now spends approximately ten hours each

month monitoring his credit, bank, and other account statements for evidence of identity theft

and fraud, and anticipates continuing to do so for the foreseeable future. Because of his

heightened risk of identity theft and fraud, Plaintiff Short has purchased credit monitoring and

identity theft protection services, and anticipates continuing to pay for such services for the

foreseeable future.

       55.     Plaintiff Barbara Vance-Guerbe is a citizen and resident of the State of

Michigan. Plaintiff Vance-Guerbe created her Facebook account approximately eight years ago.

Plaintiff Vance-Guerbe maintains her Facebook account to the present day. Plaintiff Vance-

Guerbe has accessed her Facebook account from a mobile phone. Plaintiff Vance-Guerbe has

watched and “liked” videos on Facebook and has also “liked” pages on Facebook that contain

videos. Plaintiff Vance-Guerbe also uses Facebook messenger and/or instant messaging through

Facebook. Plaintiff Vance-Guerbe shared content and information with Facebook, which she

expected Facebook to protect and secure against access by or disclosure to unauthorized parties.

Plaintiff Vance-Guerbe confirmed on Facebook that her content and information “was likely

shared with” and may have been “misused” by the This Is Your Digital Life app, because one of

Plaintiff Vance-Guerbe’s Facebook friends downloaded the This Is Your Digital Life app.

Plaintiff Vance-Guerbe was not aware of and did not consent to the sharing of her content and

information with the This Is Your Digital Life app. Moreover, Plaintiff Vance-Guerbe did not

consent to any third-parties accessing her content and information through her Facebook friends

and had no knowledge that Facebook had authorized this disclosure of her content and

information without her consent.

       56.     During the 2016 U.S. Presidential election, Plaintiff Vance-Guerbe frequently

received political advertisements while using Facebook. On information and belief, Plaintiff

Vance-Guerbe was targeted by some or all of these advertisements as a result of the Cambridge


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Analytica Scandal. As a result of the release of her content and information, Plaintiff Vance-

Guerbe has suffered emotional distress, including anxiety, concern, and unease about

unauthorized parties viewing and using her content and information for improper purposes, such

as identity theft and fraud as well as further intruding upon Plaintiff Vance-Guerbe’s private

affairs and concerns, as detailed herein. Plaintiff Vance-Guerbe fears that she is at risk of identity

theft and fraud.

       57.     Plaintiff Jason Ariciu is a citizen and resident of the State of Missouri. Plaintiff

Ariciu created his Facebook account approximately thirteen years ago. Plaintiff Ariciu maintains

his Facebook account to the present day. Plaintiff Ariciu has accessed his Facebook account

from a mobile phone, a tablet, laptops, and personal computers. Plaintiff Ariciu has watched and

“liked” videos on Facebook and has also “liked” pages on Facebook that contain videos. Plaintiff

Ariciu also uses Facebook messenger. Plaintiff Ariciu shared content and information with

Facebook, which he expected Facebook to protect and secure against access by or disclosure to

unauthorized parties. Plaintiff Ariciu confirmed on Facebook that his content and information

“was likely shared with” the This Is Your Digital Life app, because one of Plaintiff Ariciu’s

Facebook friends downloaded the This Is Your Digital Life app. Plaintiff Ariciu was not aware

of and did not consent to the sharing of his content and information with the This Is Your Digital

Life app. Moreover, Plaintiff Ariciu did not consent to any third-parties accessing his content and

information through his Facebook friends and had no knowledge that Facebook had authorized

this disclosure of his content and information without his consent.

       58.     During the 2016 U.S. Presidential election, Plaintiff Ariciu received political

advertisements while using Facebook. On information and belief, Plaintiff Ariciu was targeted

by some or all of these advertisements as a result of the Cambridge Analytica Scandal. As a

result of the release of his content and information, Plaintiff Ariciu has suffered emotional

distress, including anxiety, concern, and unease about unauthorized parties viewing and using his

content and information for improper purposes, such as identity theft and fraud as well as further

intruding upon Plaintiff Ariciu’s private affairs and concerns, as detailed herein. Plaintiff Ariciu


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fears that he is at risk of identity theft and fraud, and now spends approximately four hours each

month monitoring his credit, bank, and other account statements for evidence of identity theft

and fraud, and anticipates continuing to do so for the foreseeable future.

       59.     Plaintiff William Lloyd is a citizen and resident of the State of New York.

Plaintiff Lloyd created his Facebook account approximately four and one-half years ago.

Plaintiff Lloyd maintains his Facebook account to the present. Plaintiff Lloyd has accessed his

Facebook account from a mobile phone and a personal computer. Plaintiff Lloyd has watched

and “liked” videos on Facebook and has also “liked” pages on Facebook that contain videos.

Plaintiff Lloyd also uses Facebook messenger and/or instant messaging through Facebook.

Plaintiff Lloyd shared content and information with Facebook, which he expected Facebook to

protect and secure against access by or disclosure to unauthorized parties. Plaintiff Lloyd

confirmed on Facebook that his content and information “was likely shared with” and may have

been “misused” by the This Is Your Digital Life app, because one of Plaintiff Lloyd’s Facebook

friends downloaded the This Is Your Digital Life app. Plaintiff Lloyd was not aware of and did

not consent to the sharing of his content and information with the This Is Your Digital Life app.

Moreover, Plaintiff Lloyd did not consent to any third-parties accessing his content and

information through his Facebook friends and had no knowledge that Facebook had authorized

this disclosure of his content and information without his consent.

       60.     During the 2016 U.S. Presidential election, Plaintiff Lloyd frequently received

political advertisements while using Facebook. On information and belief, Plaintiff Lloyd was

targeted by some or all of these advertisements as a result of the Cambridge Analytica Scandal.

As a result of the release of his content and information, Plaintiff Lloyd has suffered emotional

distress, including anxiety, concern, and unease about unauthorized parties viewing and using his

content and information for improper purposes, such as identity theft and fraud as well as further

intruding upon Plaintiff Lloyd’s private affairs and concerns, as detailed herein. Plaintiff Lloyd

fears that he is at risk of identity theft and fraud, and now spends approximately one hour each




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month monitoring his credit, bank, and other account statements for evidence of identity theft

and fraud, and anticipates continuing to do so for the foreseeable future.

       61.     Plaintiff Cheryl Senko is a citizen and resident of the State of Ohio. Plaintiff

Senko created her Facebook account approximately thirteen years ago. Plaintiff Senko maintains

her Facebook account to the present day. Plaintiff Senko has accessed her Facebook account

from mobile phones, laptops, personal computers, and a tablet. Plaintiff Senko has watched and

“liked” videos on Facebook and has also “liked” pages on Facebook that contain videos. Plaintiff

Senko also uses Facebook messenger. Plaintiff Senko shared content and information with

Facebook, which she expected Facebook to protect and secure against access by or disclosure to

unauthorized parties. Plaintiff Senko confirmed on Facebook that her content and information

“was likely shared with” the This Is Your Digital Life app, because one of Plaintiff Senko’s

Facebook friends downloaded the This Is Your Digital Life app. Plaintiff Senko was not aware

of and did not consent to the sharing of her content and information with the This Is Your Digital

Life app. Moreover, Plaintiff Senko did not consent to any third-parties accessing her content

and information through her Facebook friends and had no knowledge that Facebook had

authorized this disclosure of her content and information without her consent.

       62.     During the 2016 U.S. Presidential election, Plaintiff Senko frequently received

political advertisements while using Facebook. On information and belief, Plaintiff Senko was

targeted by some or all of these advertisements as a result of the Cambridge Analytica Scandal.

As a result of the release of her content and information, Plaintiff Senko has suffered emotional

distress, including anxiety, concern, and unease about unauthorized parties viewing and using

her content and information for improper purposes, such as identity theft and fraud as well as

further intruding upon Plaintiff Senko’s private affairs and concerns, as detailed herein. Plaintiff

Senko fears that she is at risk of identity theft and fraud, and now spends approximately one

hours each month monitoring her credit, bank, and other account statements for evidence of

identity theft and fraud, and anticipates continuing to do so for the foreseeable future. Because of




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her heightened risk of identity theft and fraud, Plaintiff Senko enrolled in the credit monitoring

service offered by her auto loan company.

        63.     Plaintiff Ian Miller is a citizen and resident of the State of Oklahoma. Plaintiff

Miller created his Facebook account approximately twelve years ago. Plaintiff Miller maintains

his Facebook account to the present day. Plaintiff Miller has accessed his Facebook account from

a mobile phone and a personal computer. Plaintiff Miller has watched and “liked” videos on

Facebook and has also “liked” pages on Facebook that contain videos. Plaintiff Miller also uses

Facebook messenger and/or instant messaging through Facebook. Plaintiff Miller shared content

and information with Facebook, which he expected Facebook to protect and secure against

access by or disclosure to unauthorized parties. In approximately April 2018, Plaintiff Miller

learned that millions of Facebook users’ content and information may have been obtained by the

This Is Your Digital Life app, because Plaintiff Miller downloaded the This Is Your Digital Life

app. Plaintiff Miller was not aware of and did not consent to the potential sharing of his content

and information with the This Is Your Digital Life app. Moreover, Plaintiff Miller did not

consent to any third-parties accessing his content and information through his Facebook friends

and had no knowledge that Facebook had authorized this disclosure of his content and

information without his consent.

        64.     As a result of this concern for the security of his content and information, Plaintiff

Miller has suffered emotional distress, including anxiety, concern, and unease about

unauthorized parties viewing and using his content and information for improper purposes, such

as identity theft and fraud as well as further intruding upon Plaintiff Miller’s private affairs and

concerns, as detailed herein. Plaintiff Miller fears that he is at risk of identity theft and fraud, and

now spends approximately five hours each month monitoring his credit, bank, and other account

statements for evidence of identity theft and fraud, and anticipates continuing to do so for the

foreseeable future.

        65.     Plaintiff James Tronka is a citizen and a resident of the State of Pennsylvania.

Plaintiff Tronka created his Facebook account approximately ten years ago. Plaintiff Tronka


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maintains his Facebook account to the present day. Plaintiff Tronka has accessed his Facebook

account from a mobile phone. Plaintiff Tronka has watched and “liked” videos on Facebook and

has also “liked” pages on Facebook that contain videos. Plaintiff Tronka also uses Facebook

messenger and/or instant messaging through Facebook. Plaintiff Tronka shared content and

information with Facebook, which he expected Facebook to protect and secure against access by

or disclosure to unauthorized parties. Plaintiff Tronka confirmed on Facebook that his content

and information that his content and information may have been “shared” with and misused by

the This Is Your Digital Life app, because one of Plaintiff Tronka’s Facebook friends

downloaded the This Is Your Digital Life app. Plaintiff Tronka was not aware of and did not

consent to the sharing of his content and information with the This Is Your Digital Life app.

Moreover, Plaintiff Tronka did not consent to any third-parties accessing his content and

information through his Facebook friends and had no knowledge that Facebook had authorized

this disclosure of his content and information without his consent.

       66.     During the 2016 U.S. Presidential election, Plaintiff Tronka frequently received

political advertisements while using Facebook. On information and belief, Plaintiff Tronka was

targeted by some or all of these advertisements as a result of the Cambridge Analytica Scandal.

As a result of the release of his content and information, Plaintiff Tronka has suffered emotional

distress, including anxiety, concern, and unease about unauthorized parties viewing and using his

content and information for improper purposes, such as identity theft and fraud as well as further

intruding upon Plaintiff Tronka’s private affairs and concerns, as detailed herein. Plaintiff

Tronka fears that he is at risk of identity theft and fraud, and now spends approximately two to

three hours each month monitoring his credit, bank, and other account statements for evidence of

identity theft and fraud, and anticipates continuing to do so for the foreseeable future.

       67.     Plaintiff Steven Akins is a citizen and resident of the State of Tennessee.

Plaintiff Akins created his Facebook account approximately ten years ago. Plaintiff Akins

maintains his Facebook account to the present day. Plaintiff Akins has accessed his Facebook

account from mobile phones and personal computers. Plaintiff Akins has watched and “liked”


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videos on Facebook and has also “liked” pages on Facebook that contain videos. Plaintiff Akins

also uses Facebook messenger and/or instant messaging through Facebook. Plaintiff Akins

shared content and information with Facebook, which he expected Facebook to protect and

secure against access by or disclosure to unauthorized parties. On information and belief,

Plaintiff Akins asserts his content and information was disclosed without his consent to the This

Is Your Digital Life app or other third-party apps Facebook is investigating for misusing users’

content and information. Plaintiff Akins was not aware of and did not consent to the sharing of

his content and information with the This Is Your Digital Life app or other third parties.

Moreover, Plaintiff Akins did not consent to any third-parties accessing his content and

information through his Facebook friends and had no knowledge that Facebook had authorized

this disclosure of his content and information without his consent.

       68.     During the 2016 U.S. Presidential election, Plaintiff Akins frequently received

political advertisements while using Facebook. On information and belief, Plaintiff Akins was

targeted by some or all of these advertisements as a result of the Cambridge Analytica Scandal.

As a result of the release of his content and information, Plaintiff Akins has suffered emotional

distress, including anxiety, concern, and unease about unauthorized parties viewing and using his

content and information for improper purposes, such as identity theft and fraud as well as further

intruding upon Plaintiff Akins’s private affairs and concerns, as detailed herein. Plaintiff Akins

fears that he is at risk of identity theft and fraud, and now spends approximately two hours each

month monitoring his credit, bank, and other account statements for evidence of identity theft

and fraud, and anticipates continuing to do so for the foreseeable future.

       69.     Plaintiff Tyler King is a citizen and resident of the State of Texas. Plaintiff King

created her Facebook account approximately ten years ago. Upon learning of the Cambridge

Analytica Scandal, Plaintiff King deleted her Facebook account. Plaintiff King accessed her

Facebook account from a mobile phone, a tablet, a laptop, and a personal computer. Plaintiff

King watched and “liked” videos on Facebook and also “liked” pages on Facebook that

contained videos. Plaintiff King also used Facebook messenger. Plaintiff King shared content


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and information with Facebook, which she expected Facebook to protect and secure against

access by or disclosure to unauthorized parties. Plaintiff King confirmed on Facebook that her

content and information “was likely shared with” and may have been “misused” by the This Is

Your Digital Life app. Plaintiff King was not aware of and did not consent to the sharing of her

content and information with the This Is Your Digital Life app. Moreover, Plaintiff King did not

consent to any third-parties accessing her content and information through her Facebook friends

and had no knowledge that Facebook had authorized this disclosure of her content and

information without her consent.

       70.     During the 2016 U.S. Presidential election, Plaintiff King frequently received

political advertisements while using Facebook. On information and belief, Plaintiff King was

targeted by some or all of these advertisements as a result of the Cambridge Analytica Scandal.

As a result of the release of her content and information, Plaintiff King has suffered emotional

distress, including anxiety, concern, and unease about unauthorized parties viewing and using

her content and information for improper purposes, such as identity theft and fraud as well as

further intruding upon Plaintiff King’s private affairs and concerns, as detailed herein. Plaintiff

King fears that she is at risk of identity theft and fraud, and now spends approximately one hour

each month monitoring her credit, bank, and other account statements for evidence of identity

theft and fraud, and anticipates continuing to do so for the foreseeable future.

       71.     Plaintiff Gretchen Maxwell is a citizen and resident of the State of Texas.

Plaintiff Maxwell created her Facebook account approximately nine years ago. Upon learning of

the Cambridge Analytica Scandal, Plaintiff Maxwell deactivated her Facebook account. Plaintiff

Maxwell accessed her Facebook account from a mobile phone, a tablet, and a personal computer.

Plaintiff Maxwell watched and “liked” videos on Facebook and also “liked” pages on Facebook

that contained videos. Plaintiff Maxwell also used Facebook messenger. Plaintiff Maxwell

shared content and information with Facebook, which she expected Facebook to protect and

secure against access by or disclosure to unauthorized parties. Plaintiff Maxwell confirmed on

Facebook that her content and information may have been “shared” with and “misused” by the


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This Is Your Digital Life app, because one of Plaintiff Maxwell’s Facebook friends downloaded

the This Is Your Digital Life app. Plaintiff Maxwell was not aware of and did not consent to the

sharing of her content and information with the This Is Your Digital Life app. Moreover,

Plaintiff Maxwell did not consent to any third-parties accessing her content and information

through her Facebook friends and had no knowledge that Facebook had authorized this

disclosure of her content and information without her consent.

       72.     As a result of the release of her content and information, Plaintiff Maxwell has

suffered emotional distress, including anxiety, concern, and unease about unauthorized parties

viewing and using her content and information for improper purposes, such as identity theft and

fraud as well as further intruding upon Plaintiff Maxwell’s private affairs and concerns, as

detailed herein.

       73.     Plaintiff Scott Schinder is a citizen and resident of the State of Texas. Plaintiff

Schinder created his Facebook account approximately eleven years ago. Plaintiff Schinder

maintains his Facebook account to the present day. Plaintiff Schinder has accessed his Facebook

account from a mobile phone and a personal computer. Plaintiff Schinder has watched and

“liked” videos on Facebook and has also “liked” pages on Facebook that contain videos. Plaintiff

Schinder also uses Facebook messenger and/or instant messaging through Facebook. Plaintiff

Schinder shared content and information with Facebook, which he expected Facebook to protect

and secure against access by or disclosure to unauthorized parties. In approximately April 2018,

Plaintiff Schinder received notice from Facebook that his content and information may have

been obtained by the This Is Your Digital Life app, because one of Plaintiff Schinder’s Facebook

friends downloaded the This Is Your Digital Life app. Plaintiff Schinder was not aware of and

did not consent to the sharing of his content and information with the This Is Your Digital Life

app. Moreover, Plaintiff Schinder did not consent to any third-parties accessing his content and

information through his Facebook friends and had no knowledge that Facebook had authorized

this disclosure of his content and information without his consent.




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          74.   During the 2016 U.S. Presidential election, Plaintiff Schinder frequently received

political advertisements while using Facebook. On information and belief, Plaintiff Schinder was

targeted by some or all of these advertisements as a result of the Cambridge Analytica Scandal.

As a result of the release of his content and information, Plaintiff Schinder has suffered

emotional distress, including anxiety, concern, and unease about unauthorized parties viewing

and using his content and information for improper purposes, such as identity theft and fraud as

well as further intruding upon Plaintiff Schinder’s private affairs and concerns, as detailed

herein. Plaintiff Schinder fears that he is at risk of identity theft and fraud, and now spends

approximately eight hours each month monitoring his credit, bank, and other account statements

for evidence of identity theft and fraud, and anticipates continuing to do so for the foreseeable

future.

          75.   Plaintiff Mary Beth Grisi is a citizen and resident of the State of Virginia.

Plaintiff Grisi created her Facebook account approximately nine years ago. Plaintiff Grisi

maintains her Facebook account to the present day. Plaintiff Grisi accessed her Facebook

account from a mobile phone and a personal computer. Plaintiff Grisi watched and “liked”

videos on Facebook and also “liked” pages on Facebook that contained videos. Plaintiff Grisi

also used Facebook messenger and/or instant messaging through Facebook. Plaintiff Grisi shared

content and information with Facebook, which she expected Facebook to protect and secure

against access by or disclosure to unauthorized parties. Plaintiff Grisi confirmed on Facebook

that her content and information “was likely shared with” the This Is Your Digital Life app,

because one of Plaintiff Grisi’s Facebook friends downloaded the This Is Your Digital Life app.

Plaintiff Grisi was not aware of and did not consent to the sharing of her content and information

with the This Is Your Digital Life app. Moreover, Plaintiff Grisi did not consent to any third-

parties accessing her content and information through her Facebook friends and had no

knowledge that Facebook had authorized this disclosure of her content and information without

her consent.




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       76.     As a result of the release of her content and information, Plaintiff Grisi has

suffered emotional distress, including anxiety, concern, and unease about unauthorized parties

viewing and using her content and information for improper purposes, such as identity theft and

fraud as well as further intruding upon Plaintiff Grisi’s private affairs and concerns, as detailed

herein. Plaintiff Grisi fears that she is at risk of identity theft and fraud, and now spends

approximately seven hours each month monitoring her credit, bank, and other account statements

for evidence of identity theft and fraud, and anticipates continuing to do so for the foreseeable

future. Because of her heightened risk of identity theft and fraud, Plaintiff Grisi enrolled in the

credit monitoring service offered by her credit card company.

       77.     Plaintiff Suzie Haslinger is a citizen and resident of the State of Virginia.

Plaintiff Haslinger created her Facebook account approximately nine years ago. Plaintiff

Haslinger maintains her Facebook account to the present day. Plaintiff Haslinger accessed her

Facebook account from a mobile phone. Plaintiff Haslinger watched and “liked” videos on

Facebook and also “liked” pages on Facebook that contained videos. Plaintiff Haslinger also

used Facebook messenger and/or instant messaging through Facebook. Plaintiff Haslinger shared

content and information with Facebook, which she expected Facebook to protect and secure

against access by or disclosure to unauthorized parties. On information and belief, Plaintiff

Haslinger asserts her content and information was disclosed without her consent to the This Is

Your Digital Life app or other third-party apps Facebook is investigating for misusing users’

content and information. Plaintiff Haslinger was not aware of and did not consent to the sharing

of her content and information with the This Is Your Digital Life app or other third parties.

Moreover, Plaintiff Haslinger did not consent to any third-parties accessing her content and

information through her Facebook friends and had no knowledge that Facebook had authorized

this disclosure of her content and information without her consent.

       78.     As a result of the release of her content and information, Plaintiff Haslinger has

suffered emotional distress, including anxiety, concern, and unease about unauthorized parties

viewing and using her content and information for improper purposes, such as identity theft and


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fraud as well as further intruding upon Plaintiff Haslinger’s private affairs and concerns, as

detailed herein. Plaintiff Haslinger fears that she is at risk of identity theft and fraud, and now

spends approximately twelve hours each month monitoring her credit, bank, and other account

statements for evidence of identity theft and fraud, and anticipates continuing to do so for the

foreseeable future.

       79.     Plaintiff Terry Fischer is a citizen and resident of the State of Washington.

Plaintiff Fischer created her Facebook account approximately five years ago. Plaintiff Fischer

maintains her Facebook account to the present day. Plaintiff Fischer accessed her Facebook

account from a mobile phone and a personal computer. Plaintiff Fischer watched and “liked”

videos on Facebook and also “liked” pages on Facebook that contained videos. Plaintiff Fischer

also used Facebook messenger. Plaintiff Fischer shared content and information with Facebook,

which she expected Facebook to protect and secure against access by or disclosure to

unauthorized parties. Plaintiff Fischer confirmed on Facebook that her content and information

“was likely shared” with and may have been “misused” by the This Is Your Digital Life app,

because Plaintiff Fischer downloaded and logged into the This Is Your Digital Life app. Plaintiff

Fischer was not aware of and did not consent to the sharing of her content and information with

the This Is Your Digital Life app. Moreover, Plaintiff Fischer did not consent to any third-parties

accessing her content and information through her Facebook friends and had no knowledge that

Facebook had authorized this disclosure of her content and information without her consent.

       80.     As a result of the release of her content and information, Plaintiff Fischer has

suffered emotional distress, including anxiety, concern, and unease about unauthorized parties

viewing and using her content and information for improper purposes, such as identity theft and

fraud as well as further intruding upon Plaintiff Fischer’s private affairs and concerns, as detailed

herein. Plaintiff Fischer fears that she is at risk of identity theft and fraud, and now spends

approximately two to three hours each month monitoring her credit, bank, and other account

statements for evidence of identity theft and fraud, and anticipates continuing to do so for the

foreseeable future. Because of her heightened risk of identity theft and fraud, Plaintiff Fischer


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has frozen and requested fraud alerts from the various credit monitoring agencies and anticipates

continuing to utilize such services for the foreseeable future.

       81.     Plaintiff Taunna Jarvimaki is a citizen and resident of the State of Washington.

Plaintiff Jarvimaki created her Facebook account approximately nine years ago. Plaintiff

Jarvimaki maintains her Facebook account to the present day. Plaintiff Jarvimaki accessed her

Facebook account from a mobile phone, a laptop, and a personal computer. Plaintiff Jarvimaki

watched and “liked” videos on Facebook and also “liked” pages on Facebook that contained

videos. Plaintiff Jarvimaki also used Facebook messenger and/or instant messaging through

Facebook. Plaintiff Jarvimaki shared content and information with Facebook, which she

expected Facebook to protect and secure against access by or disclosure to unauthorized parties.

Plaintiff Jarvimaki confirmed on Facebook that her content and information may have been

“shared” with and “may have been misused” by the This Is Your Digital Life app, because one of

Plaintiff Jarvimaki’s Facebook friends downloaded the This Is Your Digital Life app. Plaintiff

Jarvimaki was not aware of and did not consent to the sharing of her content and information

with the This Is Your Digital Life app. Moreover, Plaintiff Jarvimaki did not consent to any

third-parties accessing her content and information through her Facebook friends and had no

knowledge that Facebook had authorized this disclosure of her content and information without

her consent.

       82.     As a result of the release of her content and information, Plaintiff Jarvimaki has

suffered emotional distress, including anxiety, concern, and unease about unauthorized parties

viewing and using her content and information for improper purposes, such as identity theft and

fraud as well as further intruding upon Plaintiff Jarvimaki’s private affairs and concerns, as

detailed herein. Plaintiff Jarvimaki fears that she is at risk of identity theft and fraud, and now

spends approximately thirty minutes each month monitoring her credit, bank, and other account

statements for evidence of identity theft and fraud, and anticipates continuing to do so for the

foreseeable future. Because of her heightened risk of identity theft and fraud, Plaintiff Jarvimaki

enrolled in various credit monitoring services offered to her.


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       83.     Plaintiff Sandra Adkins is a citizen and a resident of the State of West Virginia.

Plaintiff Adkins created her Facebook account approximately ten years ago. Plaintiff Adkins

maintains her Facebook account to the present day. Plaintiff Adkins has accessed her Facebook

account from a mobile phone. Plaintiff Adkins has watched and “liked” videos on Facebook and

has also “liked” pages on Facebook that contain videos. Plaintiff Adkins also uses Facebook

messenger and/or instant messaging through Facebook. Plaintiff Adkins shared content and

information with Facebook, which she expected Facebook to protect and secure against access

by or disclosure to unauthorized parties. Plaintiff Adkins confirmed on Facebook that her content

and information may have been “shared” with and “misused” by the This Is Your Digital Life

app, because one of Plaintiff Adkins’ Facebook friends downloaded the This Is Your Digital Life

app. Plaintiff Adkins was not aware of and did not consent to the sharing of her content and

information with the This Is Your Digital Life app. Moreover, Plaintiff Adkins did not consent to

any third-parties accessing her content and information through her Facebook friends and had no

knowledge that Facebook had authorized this disclosure of her content and information without

her consent.

       84.     During the 2016 U.S. Presidential election, Plaintiff Adkins frequently received

political advertisements while using Facebook. On information and belief, Plaintiff Adkins was

targeted by some or all of these advertisements as a result of the Cambridge Analytica Scandal.

As a result of the release of her content and information, Plaintiff Adkins has suffered emotional

distress, including anxiety, concern, and unease about unauthorized parties viewing and using

her content and information for improper purposes, such as identity theft and fraud as well as

further intruding upon Plaintiff Adkins’ private affairs and concerns, as detailed herein. Plaintiff

Adkins fears that she is at risk of identity theft and fraud, and now spends approximately one

hour each month monitoring her credit, bank, and other account statements for evidence of

identity theft and fraud, and anticipates continuing to do so for the foreseeable future.

       85.     Plaintiff Ashley Kmieciak is a citizen and resident of the State of Wisconsin.

Plaintiff Kmieciak created her Facebook account approximately five years ago. Plaintiff


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Kmieciak maintains her Facebook account to the present day. Plaintiff Kmieciak accessed her

Facebook account from a mobile phone, a tablet, a laptop, and a personal computer. Plaintiff

Kmieciak watched and “liked” videos on Facebook and also “liked” pages on Facebook that

contained videos. Plaintiff Kmieciak also used Facebook messenger and/or instant messaging

through Facebook. Plaintiff Kmieciak shared content and information with Facebook, which she

expected Facebook to protect and secure against access by or disclosure to unauthorized parties.

Plaintiff Kmieciak confirmed on Facebook that her content and information may have been

“shared” with and “misused” by the This Is Your Digital Life app, because one of Plaintiff

Kmieciak’s Facebook friends downloaded the This Is Your Digital Life app. Plaintiff Kmieciak

was not aware of and did not consent to the sharing of her content and information with the This

Is Your Digital Life app. Moreover, Plaintiff Kmieciak did not consent to any third-parties

accessing her content and information through her Facebook friends and had no knowledge that

Facebook had authorized this disclosure of her content and information without her consent.

       86.     During the 2016 U.S. Presidential election, Plaintiff Kmieciak frequently received

political advertisements while using Facebook. On information and belief, Plaintiff Kmieciak

was targeted by some or all of these advertisements as a result of the Cambridge Analytica

Scandal. As a result of the release of her content and information, Plaintiff Kmieciak has

suffered emotional distress, including anxiety, concern, and unease about unauthorized parties

viewing and using her content and information for improper purposes, such as identity theft and

fraud as well as further intruding upon Plaintiff Kmieciak’s private affairs and concerns, as

detailed herein. Plaintiff Kmieciak fears that she is at risk of identity theft and fraud, and now

spends approximately two hours each month monitoring her credit, bank, and other account

statements for evidence of identity theft and fraud, and anticipates continuing to do so for the

foreseeable future.

       87.     Plaintiff Bridget Peters is a citizen and a resident of Hampshire, England in the

United Kingdom. Plaintiff Peters created her Facebook account approximately ten years ago.

Plaintiff Peters maintains her Facebook account to the present day. Plaintiff Peters has accessed


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her Facebook account from a mobile phone and a personal computer. Plaintiff Peters has

watched and “liked” videos on Facebook and has also “liked” pages on Facebook that contain

videos. Plaintiff Peters also uses Facebook messenger and/or instant messaging through

Facebook. Plaintiff Peters shared content and information with Facebook, which she expected

Facebook to protect and secure against access by or disclosure to unauthorized parties. On

information and belief, Plaintiff Peters asserts her content and information was disclosed without

her consent to the This Is Your Digital Life app or other third-party apps Facebook is

investigating for misusing users’ content and information. Plaintiff Peters was not aware of and

did not consent to the sharing of her content and information with the This Is Your Digital Life

app. Moreover, Plaintiff Peters did not consent to any third-parties accessing her content and

information through her Facebook friends and had no knowledge that Facebook had authorized

this disclosure of her content and information without her consent.

          88.   As a result of the release of her content and information, Plaintiff Peters has

suffered emotional distress, including anxiety, concern, and unease about unauthorized parties

viewing and using her content and information for improper purposes, such as identity theft and

fraud as well as further intruding upon Plaintiff Peters’ private affairs and concerns, as detailed

herein. Plaintiff Peters fears that she is at risk of identity theft and fraud, and now spends

approximately one hour each month monitoring her credit, bank, and other account statements

for evidence of identity theft and fraud, and anticipates continuing to do so for the foreseeable

future.

B.        Defendants and Co-Conspirators

          1.    Prioritized Defendant and Doe Defendants:
          89.   Facebook, Inc. (“Facebook”), a publicly traded company, is incorporated in the

State of Delaware, with its executive offices located at 1601 Willow Road, Menlo Park,

California 94025 and its headquarters located at 1 Hacker Way, Menlo Park, California 94025.

Facebook is an online social media and social networking service company founded in 2004. In

2004 Facebook started as a social networking website enabling users to connect, share, and


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communicate with each other through text, photographs, and videos as well as to interact with

third party apps such as games and quizzes on mobile devices and personal computers. Over

time, Facebook has evolved into its own platform that allows users to connect with each other

while also acting as a data broker, harvesting user content and information and selling access to

the data via targeted messaging to third parties such as advertisers, political action groups and

others. Facebook’s market value is currently estimated at more than $473 billion, with annual

revenues of $40 billion from advertising.

       90.     Doe Defendants 1-100: Plaintiffs do not know the true names of Doe Defendants

1-100, inclusive, and therefore sue them by those fictitious names. Plaintiffs are informed and

believe, and on the basis of that information and belief, allege that each of those defendants were

proximately responsible for the events and happenings alleged in this Complaint and for

Plaintiffs’ injuries and damages.

       2.      Non-Prioritized Defendants (Individual Defendants Named in Actions
               Consolidated in this MDL As to Whom Co-Lead Counsel Seek a Stay)
       91.     Stephen Kevin Bannon is a resident of the District of Columbia. At all relevant

times, Bannon was a part owner, Vice President, and Secretary of Cambridge Analytica until he

resigned from those positions to act as the chief executive of Donald Trump’s presidential

campaign. At all relevant times, Bannon had decision-making authority at Cambridge Analytica

and directed and approved the actions taken by Cambridge Analytica alleged herein.

       92.     Aleksandr Kogan, a/k/a Aleksandr Spectre, is a resident of the state of California

and Cambridge, England. Dr. Kogan was a founder of GSR. At all relevant times, Dr. Kogan had

decision-making authority at GSR and directed, approved, or otherwise ratified the actions taken

by GSR as alleged herein.

       93.     Robert Leroy Mercer is an individual resident of New York, New York. Mercer,

an American hedge-fund manager, reportedly invested millions of dollars in Cambridge

Analytica, and Rebekah Mercer (Mercer’s daughter) sits on Cambridge Analytica’s Board of

Directors. the Guardian reported that Mercer met with Cambridge Analytica’s CEO Alexander

Nix and Christopher Wylie in New York, New York to discuss the plan to harvest and use

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Facebook users’ data in order to create sophisticated psychological and political profiles. 4 Wylie

told the Guardian about that meeting, stating Mercer “said very little, but he really listened. He

wanted to understand the science. And he wanted proof that it worked.”5

       94.     Sheryl Kara Sandberg is an individual residing in Menlo Park, California. Ms.

Sandberg is the chief operating officer (“COO”) of Facebook. Ms. Sandberg has served as

Facebook’s COO since 2008, and has been a member of Facebook’s Board since 2012. As

Facebook’s COO, Ms. Sandberg is responsible for Facebook’s day-to-day operations and reports

directly to Defendant Zuckerberg. Ms. Sandberg oversees Facebook’s business operations,

including sales, marketing, business development, human resources, public policy, and

communications. Ms. Sandberg was instrumental in developing Facebook’s online advertising

programs, and was the “architect” of Facebook’s transformation “into a global advertising

juggernaut.”

       95.     Mark Elliot Zuckerberg is an individual residing in Palo Alto, California. Mr.

Zuckerberg is the founder of Facebook and has served as Facebook’s CEO and as a member of

the Board since July 2004, and as Chairman of the Board since January 2012. Mr. Zuckerberg is

responsible for Facebook’s day-to-day operations, as well as the overall direction and product

strategy of Facebook. He is also Facebook’s controlling stockholder with ownership of stock and

proxies for stock representing more than 53.3% of Facebook’s voting power as of April 13,

2018, though he owns only 16% of Facebook’s total equity.

C.     Unnamed Co-Conspirators: Cambridge-Analytica-Related Entities6
       96.     Cambridge Analytica LLC (“Cambridge Analytica”) is a privately held limited

4
  Carole Cadwalladr, The Cambridge Analytica Files ‘I Made Steve Bannon’s Psychological
Warfare Tool’: Meet the Data War Whistleblower, Guardian (Mar. 18, 2018),
https://www.theguardian.com/news/2018/mar/17/data-war-whistleblower-christopher-
wyliefacebook-nix-bannon-trump.
5
  Id.
6
  These entities were named in prior complaints consolidated into this docket. These entities are
not named here pursuant to Title 11, § 362 of the United States Bankruptcy Code in addition to
this court’s order staying claims. See Pretrial Order No. 5: Scheduling at 1, ECF No. 103 (“The
case is stayed as to the Cambridge Analytica defendants pending the outcome of the parties’
request of the bankruptcy court for relief from the automatic stay.”).
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liability company organized under the laws of the State of Delaware, incorporated on December

31, 2013, with its principal offices located at 597 5th Avenue, 7th Floor, New York, New York

10017. Cambridge Analytica does business throughout the United States, including in this

District. Cambridge Analytica maintains offices in London, New York, and Washington, D.C. Its

registered agent for service of summons is The Corporation Trust Company, 1209 Orange Street,

Corporation Trust Center, Wilmington, Delaware 19801. Cambridge Analytica is a political

consulting and “behavioral microtargeting” firm that combines data mining, data brokerage, and

data analysis with strategic communication for the electoral process. It was founded in 2013 as a

subsidiary of its parent company SCL Group, to participate in American politics. In 2014,

Cambridge Analytica was involved in 44 U.S. political races. Cambridge Analytica was also

active in the Brexit campaign. According to the Business Insider, Defendant Stephen Bannon

was Vice President of Cambridge Analytica from June 2014 until August 2016.

       97.     Cambridge Analytica Commercial LLC (“CA Commercial”) is a privately held

limited liability company organized under the laws of the State of Delaware, incorporated on

January 21, 2015, and is a division of Cambridge Analytica. CA Commercial’s registered agent

for service of summons is The Corporation Trust Company, 1209 Orange Street, Corporation

Trust Center, Wilmington, Delaware 19801. Cambridge Analytica is owned in part (19%) by

SCL Elections Ltd, a British company owned by SCL Analytics Limited, which is owned in part

by SCL Group. During the relevant time, Alexander Nix was CEO of both SCL Elections Ltd

and Cambridge Analytica UK.

       98.     Cambridge Analytica Holdings LLC is a privately held limited liability

company organized under the laws of the State of Delaware, incorporated on May 9, 2014.

Cambridge Analytica Holdings, LLC’s registered agent for service of summons is The

Corporation Trust Company, 1209 Orange Street, Corporation Trust Center, Wilmington,

Delaware 19801. According to the Guardian, hedge fund billionaire Robert Mercer funded CA




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Holdings, which created and initially ran Cambridge Analytica. 7

       99.     Cambridge Analytica Limited is a British-registered company headquartered in

London, England with U.S. offices located in New York, New York and Washington, D.C.

       100.    Cambridge Analytica (UK) Limited is a British-registered company

headquartered in London, England with U.S. offices located in New York, New York and

Washington, D.C. Prior to changing its name, Cambridge Analytica (UK) Limited was formerly

registered as SCL USA Limited.

       101.    Cambridge Analytica Political LLC (“CA Political”) is a privately held limited

liability company organized under the laws of the State of Delaware, incorporated on January 21,

2015, and is a division of Cambridge Analytica. CA Political’s registered agent for service of

summons is The Corporation Trust Company, 1209 Orange Street, Corporation Trust Center,

Wilmington, Delaware 19801.

       102.    Cambridge Analytica, CA Political and CA Commercial all share the same

website: https://cambridgeanalytica.org. According to Cambridge Analytica’s website, CA

Political and CA Commercial are Divisions of Cambridge Analytica LLC. Upon information and

belief, CA Holdings is a shell holding company for shares of Cambridge Analytica, CA Political

and CA Commercial.

       103.    SCL Elections Limited is a British company incorporated on October 17, 2012.

Its address is listed as c/o PFK Littlejohn, chartered accountants located at 1 Westferry Circus,

Canary Wharf, London, E14 4HD, United Kingdom. Alexander Nix is listed as a director of SCL

Elections and the ultimate controlling party as of the end of 2015.

       104.    SCL Group Limited, formerly known as Strategic Communications Laboratories

Ltd, is a British company registered with the UK Companies House in 2005. Its headquarters are

located at 55 New Oxford Street, London, WC1A 1BS. SCL Group Limited also has multiple


7
  Carole Cadwalladr & Emma Graham-Harrison, Revealed: 50 Million Facebook Profiles
Harvested for Cambridge Analytica in Major Data Breach, Guardian (Mar. 17, 2018),
https://www.theguardian.com/news/2018/mar/17/cambridge-analytica-facebook-influence-us-
election.
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U.S. affiliates, including SCL Group Inc. with offices in New York located at 597 5th Avenue,

7th Floor, New York, New York, 10036, and SCL USA Inc. with offices in Washington, D.C.

located at 1901 Pennsylvania Avenue, N.W., Washington, D.C. 20006.

       105.    SCL USA Inc. is a privately held company incorporated under the laws of the

State of Delaware, incorporated on April 22, 2104, and is a wholly owned subsidiary of SCL

Elections. Its address is 597 5th Avenue, 7th Floor, New York, New York 10017 and its

registered agent for service of summons is Erisedentagent, Inc., 1013 Centre Road, Suite 403S,

Wilmington, Delaware 19805. Alexander Nix is SCL USA Inc.’s CEO. SCL USA is the alter

ego of SCL Group.

D.     Other Non-Defendant Co-Conspirator
       106.    Global Science Research Limited was a United Kingdom company that

harvested and sold the private information of social media users for profit. On information and

belief, Global Science Research Limited (“GSR”) did significant business in California, but has

since dissolved. Its successors in interest are unknown at this time.

                              IV.     FACTUAL BACKGROUND

A.     Facebook’s Transition from Social Media Company to Data Broker
       107.    Before the Cambridge Analytica Scandal, Facebook was generally understood to

be a social media platform—a place where users voluntarily shared information about their

personal lives with people whose “friends” status was mutually accepted. But as the public is

only beginning to understand, Facebook is far more than a place to share information with a

small subset of Facebook users—it is a repository for personal content and information about

anyone who has used the internet, regardless of whether they use Facebook or not. The

aggregation of this data with other available information makes it possible to de-anonymize the

data that Facebook collects, and target people by name and any variety of assumed

characteristics. In some sense, there is no escaping the data that is collected about you.

       108.    Facebook started as a user-driven experience. Users initially were comfortable

sharing information about themselves on the social media platform in part because they believed


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they controlled how their content and information was shared. Facebook recognizes this in its

mission statement: “People use Facebook to stay connected with friends and family, to discover

what’s going on in the world, and to share and express what matters to them.”

       109.    However, Facebook’s disastrous initial public offering (“IPO”) encouraged

Facebook to focus on a business model that faced advertisers, not its users. Following its IPO,

which, at the time, was the biggest Internet- based technology IPO in history, Facebook’s share

price plummeted. From this experience, Facebook concluded that its initial “social networking”

business model needed to change, and quickly, if the Company were to survive. Capitalizing

upon the resources in the user data that it stored, in 2012, Facebook became a full-fledged data

broker. First, the Company turned “likes” into product endorsements; next, it launched a

marketplace for content and information about the people on its platform. But the most

successful attempt to monetize data was through targeted marketing.8 As the Atlantic Monthly

expressed it at the time: “In 2012 Facebook launched over a dozen new initiatives to make

money off of you—you being its product, of course.”9 Facebook’s ability to sell targeted

messaging to Facebook’s user population now drives its revenues and thus its share price.10

       110.    There is nothing wrong with targeted advertising. However, Facebook’s failure to

apprise users of the extent to which it was sharing access to users’ content and information with

business partners, in combination with Facebook’s failure to exert controls over that data once

third parties accessed it, deprived those users of the choice to make informed decisions about

what they were sharing. Users did not understand the extent to which their content was

harvested or how it was being aggregated. As the architect of an entire system engineered to

collect and sell access to that content, Facebook owed its users full disclosure. As Wired has

expressed it: “One minute you’re filling out an app survey; the next, your answers are informing


8
   Rebecca Greenfield, 2012: The Year Facebook Finally Tried to Make Some Money, Atlantic
(Dec. 14, 2012), https://www.theatlantic.com/technology/archive/2012/12/2012-year-facebook-
finally-tried-make-some-money/320493/.
9
  Id.
10
   Phil Simon, Facebook: The New King of Data Brokers, Wired (Oct. 1, 2014),
https://www.wired.com/insights/2014/10/facebook-king-data-brokers/.
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the psychographically targeted ads of a political campaign. No one signed up for that.”11

B.     Facebook Enables Apps, Websites, and Devices to Access Facebook Users’ Content
       and Information
       111.    Facebook’s partnerships with third parties, including device makers and its app

developers, have formed a large part of its data-brokerage strategy.

       112.    These partnerships allow Facebook to pool and aggregate information about

billions of people for the purpose of targeting them with content. By engaging in partnerships

with third party app developers, mobile devices makers, software makers, security firms, and

even the chip designer Qualcomm, Facebook leveraged its position as a curator of user content

and information.12

       113.    Facebook engineered application programming instructions (“API”) to facilitate

the collection of data for app developers and for its “business partners” like Apple, Samsung,

Amazon and other third parties. An API is defined as a set of programming instructions and

standards for accessing a Web-based software application or Web tool. An API can be thought of

as the messenger between a system—be it a website, application, or, as here, Facebook—and

someone wanting to access that system.

       1.      How Facebook Enabled Third Parties to Gather and Disseminate Users’
               Content and Information
       114.    Facebook engineered a number of APIs available for app developers, device

makers, and other business partners to use on Facebook. For example, an “Events API” allows

users to grant an app permission to get information about events they host or attend, including

private events. Facebook Events also provides information about other people’s attendance as

well as posts on the event wall. Additionally, app developers may use a “Groups API” to make it

easier for users to post and respond to content in their groups. There is also a “Pages API” which

can be used to read posts or comments from any Page. Facebook reports that this helps

11
   Brian Barrett, Facebook Owes You More Than This, Wired (Mar. 19, 2018),
https://www.wired.com/story/facebook-privacy-transparency-cambridge-analytica/.
12
   Natasha Lomas, Facebook Gives US Lawmakers the Names of 52 Firms it Gave Deep Data
Access to, TechCrunch (July 2, 2018), https://techcrunch.com/2018/07/02/facebook-gives-us-
lawmakers-the-names-of-52-firms-it-gave-deep-data-access-to/.
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developers create tools for Page owners to help them do things like schedule posts and reply to

comments or messages.

       115.     In April 2018, following the Cambridge Analytica Scandal and resulting inquiries,

Facebook acknowledged that all three of these APIs could provide access to a great deal of data

and thus decided to impose more requirements for app developers before they could gain access

to user data through any of these APIs. The first API that Facebook developed, however, was

very permissive. It was ultimately through this platform that Cambridge Analytica purchased the

data of as many as 87 million Facebook users.

       116.     This first API was announced in April 2010 at Facebook’s annual developer

conference. In unveiling this first API—called Open Graph API version 1.0, or “Graph API

v.1.0”—Mr. Zuckerberg laid out his plan to turn the Web into what he called “instantly social

experiences.”

       117.     To access Facebook data through Graph API v.1.0, developers needed to gain

access through an “access token.” Access tokens allow data to be transmitted securely.




       118.     Graph API v.1.0 allowed external developers to reach out to Facebook users and

request access a large chunk of their personal data—and, crucially, to access their Facebook

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friends' personal data too. Users who joined before 2010 were not specifically or directly notified

of this change.

       119.       This made a large swath of sensitive user content and information available to app

developers. Graph API v.1.0 enabled app developers to access the app user’s name, gender,

birthdate, location, photos, and Page likes. And app developers could collect this information not

just from the app user himself—depending on what that user’s friends had chosen to share with

him, developers could access this same information from those friends. Device makers and

business partners had similar access.

       120.       There are two ways in which Facebook apps using the API v1 could access user-

data: server-based and browser-based.

       121.       The server-based method works as follows: a user installs the app, which then

allows the app to get an “access token” from Facebook. An access token is like a temporary user-

specific password that enables the app to act on behalf of a user who has installed the app. Once

the app receives an access token, it may use it to issue a request for certain user data (or friend

data) to Facebook’s server. As long as the request complies with the user’s and/or friends’

privacy settings, Facebook will respond to it by transmitting the requested data to the app server.

The data contained in Facebook’s response is then received and stored by the app server.

       122.       The browser-based method is slightly different. A user installs the app, which

then resides in the user’s web browser. After installation, the app obtains an “access token,”

which is like a temporary user-specific password that enables the app to act on behalf of a user

who has installed the app. While the user is using the app, the app, using the access token, may

issue a request for certain user data (or friend data) to Facebook’s server. As long as the request

complies with the user’s and/or friends’ privacy settings, Facebook will respond to it by

transmitting the requested data to the user’s browser. The app sends this data from the user’s

browser to the app server, which stores it.

       123.       In the browser-based method, Facebook’s server sends data to the user’s browser.

Unknown to Facebook or the user, the app code, which resides in the user’s browser, captures


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this data before it reaches the user and sends it to its own server. Thus, it is plausible to consider

it an interception. In the server-based method, on the other hand, Facebook’s server sends data to

the app’s server, so that an app residing in the user’s browser cannot intercept it. Under Graph

API v.1.0, app developers could access three kinds of information, depending on a users’ settings

and the app developers’ permissions. These were (1) Basic Info (2) Extended Profile Properties,

which are explained below; and (3) Extended Permissions. Each of these categories allowed

third parties to access specific information. The graph below displays all categories of

information available under Graph API v.1.0:




       124.    As shown above, Graph API v.1.0’s “Extended Profile Properties” encompassed

certain categories of information about the downloading app user and that user’s friends. Graph

API v.1.0 allowed app developers to obtain those categories of information, which included:

about me; activities; birthdays; check ins; education history; events; groups; hometown;


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interests; likes; location; notice; photos; questions; relationships; relationship details; religion

and politics; status; subscriptions; videos; websites; and work history.

          125.   On Graph API v.1.0, app developers could also ask Facebook’s permission to

access further categories of information called “Extended Permissions” which would allow even

more access to users’ and users’ friends’ information. Video information was also available to

developers through at least seven different categories of data. These categories included:

“users_videos”, “friends_video”; “users_subscriptions”; “friends_subscriptions”; “users_likes”;

“friends_likes”; and “read_stream.” Facebook set users’ default app settings to allow sharing of

six out of the seven of these categories.

          126.   According to Facebook’s definition, the data queries “users_videos” and

“friends_video” permissions allowed app developers to obtain “the videos the user has uploaded,

and videos the user has been tagged in.” Facebook set users’ default “app settings” to allow all

of this information to be shared with developers through a user’s friend. Thus, any app developer

who requested these permissions could have received video information from all users who had

not changed the default settings.

          127.   The “users_likes” and “friends_likes” data categories allowed access “to the list

of all of the pages the user [had] liked.” Facebook defines “Facebook Pages” as “a public profile

that allows anyone including artists, public figures, businesses, brands, organizations, and

charities to create a presence on Facebook and engage with the Facebook community.”

          128.   According to Facebook’s S-1 filing in April 2012, “Examples of popular Pages on

Facebook include Lady Gaga, Disney, and Manchester United, each of which has more than 20

million Likes.” By March 31, 2012, “there were more than 42 million Pages with ten or more

likes.” Accordingly, users’ likes would have included the Facebook pages for any movies,

television shows, actors, production studios, etc. that the user had liked. Facebook set users’

default “app settings” to allow this information to be shared to developers through a users’

friend.

          129.   Finally, Facebook allowed app developers access to video information through


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the “read_stream” query. Facebook’s developer webpage defined this category as providing

“access to all the posts in the user’s News Feed and enables your application to perform searches

against the user's News Feed.” This information would include any videos uploaded by the user

as well as any videos or video hyperlinks shared with a user. It would also include any and all

posts by that user and shared with that user about videos. For instance, an app developer using

this permission setting could see a user’s posted critique of a specific movie.

        2.      Cambridge Analytica Used Facebook’s API to Take Users’ Content and
                Information Without Their Knowledge Or Consent
        130.    In 2007, when psychologists Michal Kosinski and David Stillwell from

Cambridge University’s Psychometrics Centre began using a Facebook quiz they developed

called “myPersonality” to study personality traits of consenting users. The app determined

gender, age and sex, opening doors for psychologists to consider different ways to connect

“likes” with personality traits. Their research received notice from the U.S. Defense Advanced

Research Projects Agency (or “DARPA”). Kosinski and Stillwell published their findings in the

Proceedings of the National Academy of Sciences in 2013.13

        131.    Researchers from Cambridge University used the myPersonality quiz to create a

database “with profile information for over 6 million Facebook users. It has those users’

psychological profiles, their likes, their music listening, their religious and political views, and

their locations, among other information. It says it can predict users’ leadership potential,

personality, and ‘satisfaction with life.’”14

        132.    In 2013, Cambridge Analytica approached the myPersonality app team to get

access to the app’s data but was turned down because of its political ambitions.15 That same year,

13
   Eric Killelea, Cambridge Analytica: What We Know About the Facebook Data Scandal,
Rolling Stone (Mar. 20, 2018) https://www.rollingstone.com/culture/culture-news/cambridge-
analytica-what-we-know-about-the-facebook-data-scandal-202308/.
14
   Kashmir Hill, The Other Cambridge Personality Test Has Its Own Database with Millions of
Facebook Profiles, Gizmodo (Mar. 22, 2018), https://gizmodo.com/the-other-cambridge-
personality-test-has-its-own-databa-1823997062.
15
   Only after the Cambridge Analytica Scandal did Facebook reveal that data from myPersonality
had been publicly available for years. Phee Waterfield & Timothy Revell, Huge New Facebook
Data Leak Exposed Intimate Details of 3M Users, New Scientist (May 15, 2018),
CONSOLIDATED COMPLAINT                            49                                     MDL NO. 2843
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Aleksandr Kogan and his company Global Science Research (“GSR”) created an application

called “MyDigitalLife” (also known as “thisisyourdigitallife”). Facebook had begun

collaborating with Kogan concerning Facebook data in 2012. The agreement that Kogan struck

with Facebook in 2013 allowed Kogan to launch the MyDigitalLife app on the Facebook

platform.16

       133.    Facebook’s ties with GSR run deep. One of GSR’s two co-founders, Joseph

Chancellor, is an employee at Facebook, but was placed on administrative leave after the

Cambridge Analytica Scandal was publicized in 2018.

       134.    MyDigitalLife marketed itself to Facebook users as a tool that would help them

have a better understanding of their own personalities, and that would supply data for use by

academic psychologists. The app prompted users to answer questions for a psychological profile.

Questions focused on the so-called “Big Five” personality traits: extraversion, agreeableness,

openness, conscientiousness, and neuroticism.

       135.    Through MyDigitalLife, Kogan gained access to the personal data of the

approximately 300,000 Facebook users that downloaded the app. In Spring 2014, Kogan was

approached by a SCL-affiliated contractor and was asked to provide consulting services. Kogan

set up GSR to carry out the work. The project was intended to deliver to SCL personality scores

matched to the voter registration file for several million people. Kogan authorized GSR’s

Facebook app to collect data from app users about not just the user, but also the user’s friends.

This data was then used to predict personality and then provided back to SCL.

       136.    In its “End User Terms and Conditions,” GSR informed users that UK law

governed the rights concerning the MyDigitalLife app: “Your Statutory Rights: Depending on

the server location, your data may be stored within the United States or in the United


https://www.newscientist.com/article/2168713-huge-new-facebook-data-leak-exposed-intimate-
details-of-3m-users/.
16
   On August 22, 2018, Facebook notified 4 million users that their data was misused when
myPersonality refused Facebook’s request for an audit. Ime Archibong, An Update on Our App
Investigation, Facebook (Aug. 22, 2018), https://newsroom.fb.com/news/2018/08/update-on-
app-investigation/.
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Kingdom. If your data is stored in the United States, American laws will regulate your rights. If

your data is stored within the United Kingdom (UK), British and European Union laws will

regulate how the data is processed, even if you live in the United States. Specifically, data

protection and processing falls under a law called the Data Protection Act 1998. Under British

and European Union law, you are considered to be a ‘Data Subject’, which means you have

certain legal rights. These rights include the ability to see what data is stored about you.”

       137.    Upon information and belief, at least part of the personal content stored by GSR

was located in the UK and administered by Facebook Ireland, Inc. GSR represented to Facebook

users that it was a “research organization” with a “registered office based at Magdelene College,

Cambridge.” Publicized emails between Kogan and researchers at Cambridge demonstrate that

Kogan used Cambridge’s UK-based servers for GSR. GSR made no secret of the blatantly

commercial nature of its use of Facebook data. It states in its “End User Terms and Conditions”

that it intended to “sell” and “license (by whatever means and on whatever terms)” the personal

content it obtained through the YDL app. Facebook was provided with GSR’s terms of service

and thus was given constructive if not actual notice that GSR was selling user content and

information. Kogan has stated that he “never heard a word” from Facebook concerning his intent

to “sell” data even though he had publicly posted his intention for a year and a half.

       138.    Kogan and GSR actively began their relationship with Cambridge Analytica in

2014 and 2015. During this time, Kogan and GSR provided Cambridge Analytica with much

more than the personal content and information of the Facebook users who had downloaded the

MyDigitalLife app. Graph API v.1.0, which Facebook was still using, allowed the app to access

the data that users’ friends had shared with them. Through this platform, Facebook gave Kogan

and GSR, and thus Cambridge Analytica and other third parties like the University of Toronto

and the University of British Columbia, the content and information of more than 50 million

additional people who, according to Facebook, “had their privacy settings set to allow it.”

       139.    Facebook now estimates that up to 87 million Facebook users affected by this

scheme, only approximately 300,000 of them had downloaded the MyDigitalLife app—and


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those users had agreed to share only their own content and information for the limited purposes

associated with the app. The Company admits, however, that historical logs of users’ privacy

settings are scant. Upon information and belief, at least the photos shared with Cambridge

Analytica were stripped of identifying information that would have communicated the privacy

restrictions of users’ friends. About 1,500 people also gave the app access to their private

messages, and people who sent or received messages with those people potentially had their

private messages accessed as well.

       140.    In addition to supplying Cambridge Analytica with fresh Facebook user data on

an ongoing basis, Kogan and GSR, at Cambridge Analytica’s request, also performed modelling

work on the data. Communications disclosed by Cambridge Analytica personnel demonstrate

Kogan’s active role in this modeling.

       141.    CEO Zuckerberg has admitted that Facebook became aware that Kogan and GSR

had misused data in 2015 and conducted an investigation. 17 Defendant Facebook states that it

contacted Kogan following the publication of the Guardian article in 2015.

       142.    At minimum, Facebook became aware that GSR sold Facebook data containing

personal content by March 2016, when, while negotiating a settlement of claims with Kogan,

Facebook was informed that Kogan had made roughly $800,000 re-selling Facebook user data.

Facebook failed to determine at that time the scope and extent of the content and information

GSR had obtained. Indeed, Facebook waited over two years to make any type of public

disclosure.

       143.    Kogan initially used the Facebook data that he had obtained in 2012 and

subsequently to co-author a number of papers that had obvious commercial purposes and

applications. Kogan co-authored papers entitled “Tracing Cultural Similarities and Differences in

Emotional Expression through Digital Records of Emotions,” “Happiness Predicts Larger Online

Social Networks for Nations and Individuals Low, but not High, in Consumeristic Attitudes and


17
  Facebook’s Use and Protection of User Data: Hearing Before the H. Energy and Commerce
Comm., 2018 WL 1757479, at 22-23 (Apr. 11, 2018) (statement of Mark Zuckerberg).
CONSOLIDATED COMPLAINT                          52                                    MDL NO. 2843
                                                                           CASE NO. 18-MD-02843-VC
Behaviors,” “Silk Road to Friendships: Economic Cooperation is Associated with International

Friendships around the World,” “Big Data Public Health: Online Friendships can Identify

Populations At-Risk of Physical Health Problems and All-Causes Morbidity,” and “Donations

Predict Social Capital Gains for Low SES, But Not High SES Individuals and Countries.”18

       144.    Christopher Wylie, a former Cambridge Analytica contractor, has recently

revealed how the data mining process at Cambridge Analytica worked: By getting access to

Facebook users’ “profiles, likes, even private messages, [Cambridge Analytica] could build a

personality profile on each person and know how best to target them with messages.”19

Facebook users’ profiles “contained enough information, including places of residence, that

[Cambridge Analytica] could match users to other records and build psychographic profiles.”20

Mr. Wylie has said: “We exploited Facebook to harvest millions of people’s profiles. And built

models to exploit what we knew about them and target their inner demons. That was the basis the

entire company was built on.”21

       145.    The figure below was created by the United Kingdom Information

Commissioner’s Office (“ICO”), which is a government agency set up to uphold information

rights in the public interest, and to promote openness by public bodies and data privacy for

individuals. The figure describes how Cambridge Analytica accessed and harvested the content

and information of millions of Facebook users:22

18
   Def. Facebook, Inc.’s Resps. & Objs. to Pls.’ First Set of Interrogs. at pp. 7-8 (Sept. 7, 2018).
19
   Parmy Olson, Face-To-Face With Cambridge Analytica’s Elusive Alexander Nix, Forbes (Mar.
20, 2018), https://www.forbes.com/sites/parmyolson/2018/03/20/face-to-face-with-cambridge-
analytica-alexander-nix-facebook-trump/#54972c48535f.
20
   Matthew Rosenberg et al., How Trump Consultants Exploited the Facebook Data of Millions,
N.Y. Times (Mar. 17, 2018), https://www.nytimes.com/2018/03/17/us/politics/cambridge-
analytica-trump-campaign.html.
21
   Carole Cadwalladr & Emma Graham-Harrison, Revealed: 50 Million Facebook Profiles
Harvested for Cambridge Analytica in Major Data Breach, Guardian (Mar. 17, 2018),
https://www.theguardian.com/news/2018/mar/17/cambridge-analytica-facebook-influence-us-
election.
22
   Information Commissioner’s Office, Investigation Into the Use of Data Analytics in Political
Campaigns – Investigation Update, (July 11, 2018), (“ICO Report”) at 17,
https://ico.org.uk/media/action-weve-taken/2259371/investigation-into-data-analytics-for-
political-purposes-update.pdf.
CONSOLIDATED COMPLAINT                          53                                    MDL NO. 2843
                                                                           CASE NO. 18-MD-02843-VC
CONSOLIDATED COMPLAINT   54              MDL NO. 2843
                              CASE NO. 18-MD-02843-VC
       146.    As outlined above, the ICO has found that GSR obtained the following

information from users who downloaded the MyDigitalLife app: “Public Facebook profile,

including their name and gender; Birth date; Current city, if the user had chosen to add this

information to their profile; Photographs in which the users were tagged; Pages that the users had

liked Posts on the users’ timelines; News feed posts; Friends lists; Email addresses; and

Facebook messages.”23

       147.    The ICO reports that GSR obtained the following information from the

downloading users’ friends: “Public Facebook profile, including their name and gender; Birth

date; Current city if the friends had chosen to add this information to their profile; Photographs

in which the friends were tagged; and Pages that the friends had liked.”24

       148.    GSR obtained access to users’ and users’ friends likes.25 This information would

include specific video information about these users. GSR shared this like information with

Cambridge Analytica.26 Thus, Facebook allowed GSR to access and share the specific video

preferences of its users through this “likes” information.

       149.    GSR obtained access to the “posts on the users timeline” for users who installed

the MyDigitalLife app.27 This access would have been available under the “read_stream” query.

Facebook claims that they denied Aleksandr Kogan’s request to access this query. 28 But this

claim contradicts the UK’s ICO’s published report on this matter. Through this query, GSR

obtained additional access to any information about a user’s video preferences posted on that

user’s timeline.

23
   ICO Report 19-20.
24
   Id.
25
   Id.
26
   Id.; see also Digital, Culture, Media and Sport Committee (House of Commons), Examination
of Witness Dr. Aleksandr Kogan at Q1930, Apr. 24, 2018,
http://data.parliament.uk/writtenevidence/committeeevidence.svc/evidencedocument/digital-
culture-media-and-sport-committee/fake-news/oral/81931.html.
27
   ICO Report 19-20.
28
   Def. Facebook, Inc.’s Resps. & Objs. to Pls.’ First Set of Interrogs. at pp. 6-7 (“Dr. Kogan’s
App Review application sought extended permissions for the App . . . Facebook rejected Dr.
Kogan’s application the next day, stating that the App would not be using the data requested to
enhance the user’s in-app experience.”).
CONSOLIDATED COMPLAINT                           55                                     MDL NO. 2843
                                                                             CASE NO. 18-MD-02843-VC
       150.   After the Cambridge Analytica Scandal became public in March 2018, Facebook

announced that it was suspending Cambridge Analytica and its parent company, Strategic

Communication Laboratories (“SCL”), from Facebook. It stated that, in 2015, it learned it had

been lied to by Dr. Kogan and that Kogan had violated Facebook’s Platform Policies—contracts

between Facebook and third-party apps—“by passing data from an app that was using Facebook

Login to SCL/Cambridge Analytica.”29 Seeking to avoid liability, SCL and its related entities,

like Cambridge Analytica, have all filed for bankruptcy, as has GSR.

       151.   On April 4, 2018, Facebook released the following statement: “In total, we

believe the Facebook information of up to 87 million people—mostly in the United States—may

have been improperly shared with Cambridge Analytica.” Facebook also released a country-by-

country breakdown of the millions of users affected by the GSR app, pictured below:




       152.   On May 1, 2018, Facebook updated this blog post to include a state-by-state

29
  Paul Grewal, Suspending Cambridge Analytica and SCL Group From Facebook, Facebook
(Mar. 16, 2018), https://newsroom.fb.com/news/2018/03/suspending-cambridge-analytica/.
CONSOLIDATED COMPLAINT                         56                                   MDL NO. 2843
                                                                         CASE NO. 18-MD-02843-VC
breakdown of the millions of users who may have had their information shared with Cambridge

Analytica, shown below:




CONSOLIDATED COMPLAINT                       57                                  MDL NO. 2843
                                                                      CASE NO. 18-MD-02843-VC
          153.    In his April 2018 testimony to the U.K. House of Commons, Facebook Chief

Technology Officer Mike Schroepfer testified that Facebook did not read terms and conditions of

any developer’s apps that were put on Facebook. In this litigation, in its interrogatory responses,

Facebook has averred that it could not possibly have read the terms and conditions of these apps,

because there were millions of them.30 This is one more indication that Facebook did not protect

user content and information once it gave access to app developers.

          154.    On April 9, 2018, with a notification at the top of News Feeds, Facebook began

notifying individual users if their data had been shared with Cambridge Analytica. For example,

Plaintiff Fischer received a notification from Facebook in April 2018 that she had logged into

“This is Your Digital Life” and her public profile, page likes, friend list, birthday, current city,

friend’s public profiles, friends’ page likes, friends’ birthdays, and friends’ current cities were

likely shared with “This is Your Digital Life.” The notification also explained that a small

number of people also shared their News feed, timeline, posts, messages, and friends’

hometowns with “This is Your Digital Life.”

          155.    Plaintiff Jarvimaki, as another example, received a notification from Facebook in

April 2018 that one of her Facebook friends had logged into “This is Your Digital Life” and

therefore, her public profile, page likes, friend list, birthday, and current city were likely shared

with “This is Your Digital Life.” The notification also explained that a small number of people

also shared their News Feed, timeline, posts, friends’ hometowns, and messages with “This is

Your Digital Life,” which may have included posts and messages from Plaintiff Jarvimaki as

well as her hometown.

          156.    The notification that Plaintiffs Fischer and Jarvimaki received looked like this:




30
     Def. Facebook, Inc.’s Resps. & Objs. to Pls.’ First Set of Interrogs. at p. 20.
CONSOLIDATED COMPLAINT                              58                                    MDL NO. 2843
                                                                               CASE NO. 18-MD-02843-VC
       157.    On April 22, 2018, Dr. Kogan finally broke his silence in an interview with CBS

News Correspondent Lesley Stahl on 60 Minutes. Kogan stated he had terms of service up on his

application for a year and a half—terms providing that he could sell the data he obtained through

the app—and yet Facebook never enforced its agreement with Kogan or its rules against selling

data during this time. Kogan also explained that the ability to gather people’s Facebook friends’

data without their permission was a Facebook core feature, available to anyone who was a

developer. He explained that there are likely tens of thousands of applications that did what he
did, as this was not a bug, but a feature of which Facebook was aware.

       158.    Among scores of other regulators, the Justice Department and FBI are now

investigating Cambridge Analytica, which filed for Chapter 7 bankruptcy on May 17, 2018.

       159.    Further, in the wake of the Cambridge Analytica Scandal, Facebook suspended

two other companies from its platform in April 2018 for improper data collection: Canadian

consulting firm AggregateIQ and CubeYou.

       160.    Facebook suspended AggregateIQ based on reports that it is affiliated with SCL.

Further, Wylie told The Observer in March that AggregateIQ was originally established to assist

with SCL’s projects. It has been reported that AggregateIQ was instrumental in analyzing voter

CONSOLIDATED COMPLAINT                          59                                    MDL NO. 2843
                                                                           CASE NO. 18-MD-02843-VC
data for the Brexit campaigns.

       161.    Facebook’s suspension of CubeYou was based on evidence provided by CNBC,

which showed that CubeYou had misled users by collecting data from quizzes inaccurately

labeled “non-profit academic research” and then selling the findings to marketers.

       3.      The Cambridge Analytica Scandal Has Triggered Seriatim Revelations by
               Facebook of Third Party Abuse of User Content and Information
       162.    As Facebook admitted in its April 26, 2018 SEC Quarterly Report, GSR and

Cambridge Analytica are not the only entities that have used Facebook’s API to obtain

unauthorized access to, and make unauthorized use of, Facebook users’ content and information.

As Facebook noted in the Quarterly Report, “We anticipate that we will discover and announce

additional incidents of misuse of user data or other undesirable activity by third parties. We may

also be notified of such incidents or activity via the media or other third parties. Such incidents

and activities may include the use of user data in a manner inconsistent with our terms or

policies, the existence of false or undesirable user accounts, election interference, improper ad

purchases, activities that threaten people’s safety on- or offline, or instances of spamming,

scraping, or spreading misinformation.”

       163.    Since the public learned of the Cambridge Analytica Scandal, Facebook has since

said it has investigated thousands of apps and has suspended 400 of them as a result of this

investigation. Facebook states that it suspended these apps “due to concerns around the

developers who built them or how the information people chose to share with the app may have

been used.”

       164.    Facebook has also revealed that some companies were granted special access to

Graph API v1.0 beyond May 2015. In response to questions posed by the U.S. House of

Representative on June 29, 2018, Facebook stated that a set of companies were “given a one-

time extension of less than six months beyond May 2015 to come into compliance” with




CONSOLIDATED COMPLAINT                           60                                     MDL NO. 2843
                                                                             CASE NO. 18-MD-02843-VC
Facebook’s new API for apps.31

       165.   The list of companies includes:
              • ABCSocial, ABC Television Network
              • Actiance
              • Adium
              • Anschutz Entertainment Group
              • AOL
              • Arktan / Janrain
              • Audi
              • biNu
              • Cerulean Studios
              • Coffee Meets Bagel
              • DataSift
              • Dingtone
              • Double Down Interactive
              • Endomondo
              • Flowics, Zauber Labs
              • Garena
              • Global Relay Communications
              • Hearsay Systems
              • Hinge
              • HiQ International AB
              • Hootsuite
              • Krush Technologies
              • LiveFyre / Adobe Systems
              • Mail.ru
              • MiggoChat
              • Monterosa Productions Limited
              • never.no AS
              • NIKE
              • Nimbuzz
              • Nissan Motor Co. / Airbiquity Inc.
              • Oracle
              • Panasonic
              • Playtika
              • Postano, TigerLogic Corporation
              • Raidcall
              • RealNetworks, Inc.
              • RegED / Stoneriver RegED
              • Reliance/Saavn

31
  Letter from Facebook, Inc. to Chairman Greg Walden, Ranking Member Frank Pallone,
Energy & Commerce Committee, and U.S. House of Representatives, Facebook’s Response to
House Energy and Commerce Questions for the Record (June 29, 2018) at Pallone, Jr. § 4 ¶ 6.
CONSOLIDATED COMPLAINT                       61                                   MDL NO. 2843
                                                                       CASE NO. 18-MD-02843-VC
               •   Rovi
               •   Salesforce/Radian6
               •   SeaChange International
               •   Serotek Corp.
               •   Shape Services
               •   Smarsh
               •   Snap
               •   Social SafeGuard
               •   Socialeyes LLC
               •   SocialNewsdesk
               •   Socialware / Proofpoint
               •   SoundayMusic
               •   Spotify
               •   Spredfast
               •   Sprinklr / Sprinklr Japan
               •   Storyful Limited / News Corp
               •   Tagboard
               •   Telescope
               •   Tradable Bits, TradableBits Media Inc.
               •   UPS
               •   Vidpresso
               •   Vizrt Group AS
               •   Wayin
       166.    During this six-month extension these companies continued to have access to the

content and information of users and users’ friends. Facebook has not clarified why this group of

companies were given special access to users’ content and information.

       167.    Facebook has also listed five companies that “could have accessed limited

friends’ data as a result of API access they received in the context of a beta test.”32 These

companies include:
              •        Activision / Bizarre Creations
              •        Fun2Shoot
              •        Golden Union Co.
              •        IQ Zone / PicDial
              •        PeekSocial
       168.    Facebook has not provided an explanation for why these five companies received


32
  Letter from Facebook, Inc. to Chairman Greg Walden, Ranking Member Frank Pallone,
Energy & Commerce Committee, and U.S. House of Representatives, Facebook’s Response to
House Energy and Commerce Questions for the Record (June 29, 2018) at Pallone, Jr. § 4 ¶ 7.
CONSOLIDATED COMPLAINT                           62                                    MDL NO. 2843
                                                                            CASE NO. 18-MD-02843-VC
this special access.

        4.     Facebook Also Enabled Device Makers and Other Business Partners to
               Access Users’ Content And Information Through Friends
        169.   Facebook started forming partnerships with electronic device makers, or “device-

integrated APIs,”33 in 2007. Following the Congressional inquiry into the Cambridge Analytica

Scandal, Facebook identified 52 data-sharing partnerships with companies such as Apple,

Amazon, Blackberry, Microsoft and Samsung which also allowed user content and information

to be shared. Critically, those agreements permitted data sharing that was not subject to users’

privacy settings. Moreover, Facebook never told users that it was sharing data with these third

parties.34

        170.   Device makers, like app developers, use APIs engineered by and in the control of

Facebook to collect Facebook user data. Facebook’s “device-integrated APIs that allowed

companies to recreate Facebook-like experiences for their individual devices or operating

systems. Over the last decade, around 52 companies have used them—including many household

names such as Amazon, Apple, Blackberry, HTC, Microsoft and Samsung.”35 Facebook’s goal

was to make Facebook available not only on desktop computers, but also on users’ mobile

phones, smart TVs, game consoles, and other devices. Even before users could download the

Facebook application on their phones, Facebook partnered with device manufacturers to

incorporate parts of the social network into the devices themselves. For example, Facebook

allowed manufacturers to integrate “like” buttons, photo sharing, and friend lists into their

devices.36


33
   Ime Archibong, Why We Disagree with The New York Times, Facebook (June 3, 2018),
https://newsroom.fb.com/news/2018/06/why-we-disagree-with-the-nyt/.
34
   Gabriel J.X. Dance et al., Facebook Gave Device Makers Deep Access to Data on Users and
Friends, N.Y. Times (June 3, 2018),
https://www.nytimes.com/interactive/2018/06/03/technology/facebook-device-partners-users-
friends-data.html.
35
   Ime Archibong, Why We Disagree with The New York Times, Facebook (June 3, 2018),
https://newsroom.fb.com/news/2018/06/why-we-disagree-with-the-nyt/.
36
   Gabriel J.X. Dance et al., Facebook’s Device Partnerships Explained, N.Y. Times (June 4,
2018), https://www.nytimes.com/2018/06/04/technology/facebook-device-partnerships.html.
CONSOLIDATED COMPLAINT                           63                                    MDL NO. 2843
                                                                            CASE NO. 18-MD-02843-VC
       171.    In 2008, Microsoft entered into a partnership with Facebook that allowed

Microsoft-powered devices to add contacts and friends and receive notifications, among other

capabilities.37 Apple relied on private access to Facebook data for features that enabled users to

post photos to the social network without opening the Facebook application.38 Blackberry used

Facebook data to give its own customers access to their Facebook network and messages. But

Blackberry has recently stated that it “did not collect or mine the Facebook data of [its]

customers.”39 As with the user content and information shared with app developers, these third

parties gained access to users’ content and information not through a direct relationship between

a user and the third party, but through a user’s friends.

       172.    Sandy Parakilas, a whistleblower and a former operations manager at Facebook,

asserts that the same “feature” is behind both the Cambridge Analytica Scandal and Facebook’s

data sharing with device makers. In both cases, “developers had access” to a user’s friend data—

and “[a]llowing access to data from friends of the user is the same feature that let Aleksandr

Kogan get access to 87M profiles with only 270k people using his app, which he then passed on

to Cambridge Analytica.”40 Indeed, Parakilas equated device makers to “apps.”

       173.    The New York Times has reported that “[s]ome device partners can retrieve

Facebook users’ relationship status, religion, political leaning and upcoming events, among other

data.”41 Further, “[t]ests by The Times showed that the partners requested and received data in




37
   Gabriel J.X. Dance et al., Facebook Gave Device Makers Deep Access to Data on Users and
Friends, N.Y. Times (June 3, 2018),
https://www.nytimes.com/interactive/2018/06/03/technology/facebook-device-partners-users-
friends-data.html.
38
   Id.
39
   Id.
40
   Sandy Parakilas (@mixblendr), Twitter (June 4, 2018, 12:44 AM),
https://twitter.com/mixblendr/status/1003542895507501057,
https://twitter.com/mixblendr/status/1003542896732237824.
41
   Gabriel J.X. Dance et al., Facebook Gave Device Makers Deep Access to Data on Users and
Friends, N.Y. Times (June 3, 2018),
https://www.nytimes.com/interactive/2018/06/03/technology/facebook-device-partners-users-
friends-data.html.
CONSOLIDATED COMPLAINT                            64                                   MDL NO. 2843
                                                                            CASE NO. 18-MD-02843-VC
the same way other third parties did.”42

           174.   As set forth below, users could not have expected to know that these third parties

had access to their content and information in abrogation of their privacy settings.

           5.     Facebook Disregarded Friends’ Privacy Settings When Transferring Data to
                  Third Parties Through Graph API v. 1.0
           175.   Upon information and belief, friends’ photos did not retain their privacy

restrictions when they passed into the possession of third parties who accessed content through

Graph API v. 1.0. Those third parties, unaware of any privacy restrictions, might then share

them with the broader public. Thus, photos sent to friends with even the most restrictive privacy

settings, save making them available only to yourself, were shared beyond the scope of their

consent.

           176.   The privacy restrictions are contained in electronic content, known as “metadata,”

which is electronically associated with each photo as the photo is posted. Photo metadata also

reveals when and where photos are taken. Curiously, when Facebook made photos available

Graph API v. 1.0, the metadata reflecting user’s privacy designations associated with photos was

not provided to third parties, even though other photo metadata was. Because the privacy

restrictions metadata was blocked from the associated photos, third parties were unable to verify

that a user’s privacy settings allowed for a given photo to be shared and, therefore, could not

confirm that they were adhering to users’ privacy settings as required by Facebook’s Platform

Policy.

           177.   Upon information and belief, Facebook alone was responsible for loading content

into Graph API v. 1.0. The removal of users’ privacy metadata from photos, which persisted

from at least 2012-2014, thwarted users’ affirmative privacy designations as to those photos by

allowing third parties to access users’ photos without providing users’ corresponding privacy

settings. Thus, Facebook failed to provide third parties with the crucial information that would

have allowed app third parties to verify that they were accessing users’ photos in compliance


42
     Id.
CONSOLIDATED COMPLAINT                             65                                   MDL NO. 2843
                                                                             CASE NO. 18-MD-02843-VC
with users’ privacy settings.

        178.   Certainly with regard to apps, Facebook’s actions violated its agreement with

users. Namely, “[w]e require applications to respect your privacy….”43 Upon information and

belief, Facebook was notified by at least one app developer, of the missing metadata as early as

2012.

        179.   Upon information and belief, Facebook deliberately allowed app developers to

access users’ photos, without regard to their privacy settings, in order to maximize the amount of

content and information available. Indeed, if the metadata containing privacy restrictions had

been made available through Graph API v. 1.0, it would have greatly diminished app developers’

ability to use photos. The failure to provide this metadata served Facebook’s plan for growth-at-

all-costs. That is, here as elsewhere, Facebook’s actual practice undermined the policy to which

it paid lip service, egregiously harming users and greatly benefiting Facebook.

C.      Facebook Made It Unreasonably Confusing and Burdensome for Users to Prevent
        the Sharing of Their Content and Information with Third-party Applications.
        180.   Facebook’s unauthorized disclosure of users’ content and information is bad

enough. What makes it even worse were the barriers Facebook placed in the way of users who

wanted to limit what third parties could access.

        181.   Facebook created “Privacy Settings” that it told users to employ to control the

kinds of content and information they shared with others. Conveniently for users, these Privacy

Settings were in a reasonably accessible location on Facebook.

        182.   The problem was that the Privacy Settings did not control the kinds of content and

information that Facebook allowed applications to access. The content and information that

applications could access was governed by a completely separate set of controls—controls that

Plaintiffs will refer to here as “App Settings.” And while Facebook made Privacy Settings

accessible, it buried App Settings within its website so effectively that all but the most


43
   Statement of Rights and Responsibilities, Facebook (June 8, 2012),
https://www.facebook.com/legal/terms
[https://web.archive.org/web/20121205191915/https://www.facebook.com/legal/terms].
CONSOLIDATED COMPLAINT                             66                                   MDL NO. 2843
                                                                             CASE NO. 18-MD-02843-VC
sophisticated or intrepid users would not know they even existed.

       183.    Moreover, the App Settings were set by default to share all content with third-

party applications, not to prevent sharing. By establishing that default setting, Facebook created

consent instead of seeking it.

       1.      Facebook’s “Privacy Settings” Misled Users About How to Control the
               Information and Content That They Shared with Applications.
       184.    During the whole Class Period, Facebook’s “Privacy Settings” screen seemingly

allowed a user to exert control over what information she shared with third parties.

       185.    For example, the screenshot of this “Privacy Settings” page from 2010 shown

below offers a list of the categories of information. From this menu, the user can seemingly

choose a specific audience to share this information with. Clicking the dropdown arrow next to

each category allows users to specify whether the information is shared with “Everyone,”




CONSOLIDATED COMPLAINT                          67                                    MDL NO. 2843
                                                                           CASE NO. 18-MD-02843-VC
“Friends,” “Friends of Friends,” or to choose their own customized audience list.44

       186.    This screen changed slightly, to the display shown below, around 2010 to 2011.45

Like the previous screen, this webpage seemingly allowed users to choose who can see their

content and information.




44
   Aarpwi, FB Privacy Settings, YouTube (Apr. 6, 2010),
https://www.youtube.com/watch?v=HRhB3R9DTNo.
45
   Kvchosting, How to Manage Your Privacy Settings on Facebook, YouTube (Mar. 25, 2013),
https://www.youtube.com/watch?v=O378rrYcjlc.
CONSOLIDATED COMPLAINT                         68                                    MDL NO. 2843
                                                                          CASE NO. 18-MD-02843-VC
       187.    At some time in 2012 to 2013, the display changed again to the display shown

below. This screen stayed substantially the same until April 2018.

       188.    Like the displays above, during this period, users could select the edit button next

to each category of information. This would then allow the user to choose the exact audience that

could view the user’s posts. For each “Privacy Setting” depicted above, users could click a

dropdown menu and restrict access to specified users, e.g., “Only Friends,” or “Friends of

Friends.”

       189.    Users could also access this type of control for each individual category of

information displayed on their Facebook profile (e.g., books, movies, etc..). For example, a user

who wanted to hide her likes could locate the “likes” category on their public profile and select

an audience dropdown menu next to each “likes” category. This menu gave users the following

options for whom the information could be shared with: “Public,” “Friends,” “Only Me,” and

“Custom.”




       190.    Facebook also seemingly offered users’ privacy controls over their photos. Users

CONSOLIDATED COMPLAINT                          69                                    MDL NO. 2843
                                                                           CASE NO. 18-MD-02843-VC
could set entire photo albums as well as individual photos to a specific audience. Examples are

shown below:




CONSOLIDATED COMPLAINT                         70                                    MDL NO. 2843
                                                                          CASE NO. 18-MD-02843-VC
       191.    Just like the privacy settings page, each of these individual categories purports to

give a user control. In actuality, only the “only me” selection would have limited third-party

applications from accessing the user’s information through her friends.

       2.      To Control Sharing with Applications, Facebook Required Users to Hunt
               for, Find, and Change the Default Preferences of Their App Settings
       192.    To prevent their information from being shared with applications through their

friends, users needed to access their App Settings.

       193.    To access App Settings, this panel, a user would first need to access the Settings

webpage. On that webpage, a user would need to click a hyperlink to “Apps” (during the Class

Period, this link has also been labeled “Applications” and “Applications and Websites”).

       194.    After accessing the App Settings webpage, a user would then need to click the

“Edit Settings” link next to the subheading “Apps others use.”46 This subheading is described

46
  See Leonie Smith, Advanced Privacy Settings for Facebook 2013-2014, YouTube (Jan. 17,
2013), https://www.youtube.com/watch?v=OPRFQyGq-yM.
CONSOLIDATED COMPLAINT                          71                                     MDL NO. 2843
                                                                            CASE NO. 18-MD-02843-VC
with these words: “People who can see your info can bring it with them when they use apps. Use

this setting to control the categories of information people can bring with them.”47




           195.   A user would be able to alter their application-related privacy settings only after

clicking the “edit” link.

           196.   The default “Apps others use” controls allowed the sharing of over fifteen

categories of information. The default settings for every user allowed third parties access to the

following categories of information: Bio; Birthday; Family and relationships; My website; If I’m

online; My status updates; My photos; My videos; My links; My notes; Hometown; Current city;

Education and work; Activities, interests, things I like; and My app activity. These default

settings are shown below:

47
     Id.
CONSOLIDATED COMPLAINT                             72                                     MDL NO. 2843
                                                                               CASE NO. 18-MD-02843-VC
        197.    Each of these controls corresponds to a category of content and information that

app developers could access using Graph API v.1.0.

        198.    To change her settings, a user would have to click each individual box and click

“Save Changes.” In total, the user would have had to make twenty separate clicks to prevent

Facebook from sharing these categories of content and information with third parties.
        199.    Even if a user un-checked each of these boxes, Facebook would still share that

user’s friend list, gender, and other information that the user had made public. The only way to

turn access off to third parties entirely was to turn off access to all applications. Yet, by default,

applications were turned on. Thus, a user who had never accessed or signed up for an application

still would have shared over fifteen categories of their information to third parties.

        200.    To turn off applications entirely, a user would need to go the App Settings page,

go to the “Apps you use” subheading, and click the “edit” link next to that subheading. This

would bring up the following disclosure:



CONSOLIDATED COMPLAINT                            73                                      MDL NO. 2843
                                                                               CASE NO. 18-MD-02843-VC
       201.    Only after a user had clicked “Turn Off Platform” would the user have prevented

all access to her information from third-party app developers. This would have taken five

affirmative clicks from the user.

       202.    Overall, this process exceeds the reasonable expectations of a user. Users who

chose to limit their Privacy Settings to “friends,” “friends of friends,” and “public” would still
have potentially shared their information with their friends’ apps developers.

       203.    Indeed, an FTC complaint from 2011 filed against Facebook outlines many of the

same issues that have continued to persist throughout Graph API v1.0:

       14. None of the pages . . . have disclosed that a user’s choice to restrict profile
       information to “Only Friends” or “Friends of Friends” would be ineffective as to
       certain third parties. Despite this fact, in many instances, Facebook has made
       profile information that a user chose to restrict to “Only Friends” or “Friends of
       Friends” accessible to any Platform Applications that the user’s Friends have used
       (hereinafter “Friends’ Apps”). Information shared with such Friends’ Apps has
       included, among other things, a user’s birthday, hometown, activities, interests,
       status updates, marital status, education (e.g., schools attended), place of
       employment, photos, and videos.


CONSOLIDATED COMPLAINT                           74                                     MDL NO. 2843
                                                                             CASE NO. 18-MD-02843-VC
       15. Facebook’s Central Privacy Page and Profile Privacy Page have included links
       to “Applications,” “Apps,” or “Applications and Websites” that, when clicked,
       have taken users to a page containing “Friends’ App Settings,” which would
       allow users to restrict the information that their Friends’ Apps could access”

       16. However, in many instances, the links to “Applications,” “Apps,” or
       “Applications and Websites” have failed to disclose that a user’s choices made
       through Profile Privacy Settings have been ineffective against Friends’ Apps. For
       example, the language alongside the Applications link . . . has stated, “[c]ontrol
       what information is available to applications you use on Facebook.” (Emphasis
       added). Thus, users who did not themselves use applications would have had no
       reason to click on this link, and would have concluded that their choices to
       restrict profile information through their Profile Privacy Settings were complete
       and effective.48

       204.     Moreover, this process required users to navigate through multiple webpages and

privacy setting controls. By hiding the controls and establishing privacy settings that allowed

sharing, Facebook sought to manufacture users’ consent.

       3.       Facebook Maintained the “Apps Others Use” Control Panel Until April
                2018, Following the Cambridge Analytica Scandal
       205.     Facebook has claimed that after it had phased out Graph API v1.0, app developers

could no longer access friends’ data in the way GSR had done. Still, Facebook continued to

keep the “Apps Others Use” control panel on users’ Apps Settings webpage until as late as

March 2018.49

       206.     On March 22, 2018, CNET reported the following controls were still set to be

automatically shared with third parties:50




48
   FTC Complaint, In re Facebook, Inc., No. C-4365 (F.T.C. July 2012),
https://www.ftc.gov/sites/default/files/documents/cases/2012/08/120810facebookcmpt.pdf
(emphasis added).
49
   Brian Barrett, The Facebook Privacy Setting That Doesn’t Do Anything at All, Wired (Mar.
27, 2018), https://www.wired.com/story/facebook-privacy-setting-doesnt-do-anything.
50
   Laura Hautala, Facebook Privacy Settings Make You Work to Stop the Data Sharing, CNET
(Mar. 22, 2018), https://www.cnet.com/news/how-to-stop-sharing-facebook-data-after-
cambridge-analytica-mess.
CONSOLIDATED COMPLAINT                          75                                    MDL NO. 2843
                                                                           CASE NO. 18-MD-02843-VC
       207.    This display contained 11 distinct categories of information set to automatically

be shared with third parties through the users’ friends. This display also contained the same

disclosures as the display active during API v1.0.

       208.    Facebook maintains that after Graph API v1.0, developers could no longer access

friends’ data unless each friend had “explicitly granted permission to the developer[s].”51 Yet,

Facebook has identified at least one category of information, “[p]osts on my timeline,” that if

checked, allowed app developers to access a photo or video that a friend uploaded if the user had

allowed tagged photos of herself to show up on the downloading users’ timeline.52

51
   Brian Barrett, The Facebook Privacy Setting That Doesn’t Do Anything at All, Wired (Mar.
27, 2018), https://www.wired.com/story/facebook-privacy-setting-doesnt-do-anything.
52
   Id. (“‘I can’t really make any sense of it, actually,’ says [Professor Gergely Biczok of
Budapest University of Technology and Economics’s CrySys Lab], who says that the data
categories in the settings pane line up essentially one-for-one with a permission called
friends_XXX, which allowed developers to harvest friend data, and which Facebook says was
phased out with the advent of Graph API v2.0 in 2014. ‘Even if I do a thought experiment and
try to imagine myself into their place, it’s maybe just an error in the software development
process. But it’s a long-existing one.’”).
CONSOLIDATED COMPLAINT                          76                                    MDL NO. 2843
                                                                           CASE NO. 18-MD-02843-VC
       209.      Moreover, the “read_mailbox” category of information, available originally under

Graph API v1.0, was only removed in Graph API v2.4, which was introduced on July 8, 2015.53

Through this category, developers were able to read the private messages between the

downloading user and her friends. This category raises significant privacy concerns.

       210.      Even accepting as true Facebook’s claim that access to this category of

information did not last beyond Graph API v.1.0, its presence in Graph API v.1.0 shows a

disregard for the controls users have access to.

D.     In the Documents That Purport to Govern the Relationship Between Facebook and
       Its Users, Facebook Made Promises About Privacy That It Broke, and Also Failed
       to Properly Disclose the Access to Users’ Content and Information That It Gave to
       Third Parties.
       211.      To support the notion that users consented to the disclosures of data that are the

subject of this action, Facebook has pointed to a number of different documents. In this section,

Plaintiffs will explain in detail what these documents were, where they were to be found, and

what they did and did not say.

       212.      One of these documents is the Statement of Rights and Responsibilities, which

before 2009 was called the Terms of Use. This was the document that constituted the contract

between Facebook and its users. Facebook’s conduct violated one of the key promises it made in

that document.

       213.      Another important document is Facebook’s Data Use Policy, which at times has

also gone by the names “Data Policy” or “Privacy Policy.” This document, as Plaintiffs will

explain, was not part of the contract between Facebook and its users.

       214.      What is more, Facebook has kept the Data Use Policy consistently difficult for

users to access. And even if users did access it, it failed to meaningfully disclose how Facebook

allowed third parties access to users’ content and information, and what Facebook enabled them

to do with that content and information.

       215.      On top of those sources of confusion, both the Statement of Rights and

53
   Id.; Facebook for Developers: Changelog, Facebook,
https://developers.facebook.com/docs/graph-api/changelog/archive (last visited Sept. 20, 2018).
CONSOLIDATED COMPLAINT                             77                                   MDL NO. 2843
                                                                             CASE NO. 18-MD-02843-VC
Responsibilities and the Data Use Policy were constantly being amended. And they were

consistently amended without notice to users.

       1.     What the Statement of Rights and Responsibilities Promised
       216.   A Facebook user could access the operative Statement of Rights and

Responsibilities—the contract between Facebook and its Users—by clicking the “Terms”

hyperlink located at the bottom of Facebook’s landing page. For example:




       217.   The visual presentation of the Statements of Rights and Responsibilities remained

substantially the same throughout the Class Period. The top of the page containing the Statement

of Rights and Responsibilities appeared as follows.




CONSOLIDATED COMPLAINT                          78                                  MDL NO. 2843
                                                                         CASE NO. 18-MD-02843-VC
                 a.     The Statement of Rights and Responsibilities Promised to Respect
                        Users’ Privacy
          218.   The second section of the Statement of Rights and Responsibilities is titled

“Sharing Your Content and Information.” While the text of this section changed numerous
times, no version of this provision notifies users of the amount of information third parties could

access via a users’ friends. Moreover, Facebook notified users of these changes just once, in

2014.54

          219.   From May 1, 2009 to August 28, 2009, this section read:

                 You own all of the content and information you post on Facebook,
                 and you can control how it is shared through your privacy
                 [hyperlinked] and application [hyperlinked] settings. In order for us
                 to use certain types of content and provide you with Facebook, you

54
  Steve Kovach, Facebook’s Privacy Policy Is Changing And You’re Going To Get A Long
Email About It, Bus. Insider (Nov. 27, 2014), https://www.businessinsider.com/facebook-
privacy-policy-change-2014-11.
CONSOLIDATED COMPLAINT                            79                                    MDL NO. 2843
                                                                             CASE NO. 18-MD-02843-VC
                agree to the following . . .

However, none of the following three paragraphs described data collection from third parties.

Facebook at all relevant times stated in its Statement of Rights and Responsibilities and

elsewhere that Plaintiffs and Class Members owned and controlled their content and information.

This was a property right defined by the contract itself and these terms applied throughout the

Class Period.

        220.    From August 28, 2009 to April 22, 2010, the following paragraph was added to

this section:

        When you add an application and use Platform, your content and information is shared
        with the application. We require applications to respect your privacy settings, but your
        agreement with that application will control how the application can use the content and
        information you share. (To learn more about Platform, read our About Platform
        [hyperlinked] page.)55
        221.    On April 22, 2010, Facebook revised this Content and Information provision as

follows:

        When you add an application and use Platform, your content and information is shared
        with the application. We require applications to respect your privacy settings, but and
        your agreement with that application will control how the application can use, store, and
        transfer that the content and information you share. (To learn more about Platform, read
        our Privacy Policy [hyperlinked] and About Platform page [hyperlinked].)56
        222.    On June 8, 2012, Facebook changed the Content and Information provision as

follows:

        When you use an application, the application may ask for your permission to access your
        content and information is shared with the application as well as content and information
        that others have shared with you. We require applications to respect your privacy, and

55
   Statement of Rights and Responsibilities, Facebook (Aug. 28, 2009),
htttps://www.facebook.com/terms.php
[https://web.archive.org/web/20091220022337/facebook.com/terms.php]. This policy also
defines “information” as “facts and other information about you, including actions you take.” Id.
And it defines “content” as “anything you post on Facebook that would not be included in the
definition of ‘information.” Id.
56
   Statement of Rights and Responsibilities, Facebook (Apr. 22, 2010),
https://www.facebook.com/terms.php
[https://web.archive.org/web/20100807133449/https://www.facebook.com/terms.php].
CONSOLIDATED COMPLAINT                          80                                    MDL NO. 2843
                                                                           CASE NO. 18-MD-02843-VC
       your agreement with that application will control how the application can use, store, and
       transfer that content and information. (To learn more about Platform, read our Data Use
       Policy [hyperlinked] and Platform Page [hyperlinked].)57
This version remained in place until April 2018.

       223.   The terms “information” and “content” are used in each version of this provision.

Facebook defined these terms in Section 17 of 18 of the Statement of Rights and Responsibilities

and it changed the definitions of these terms over time. The May 1, 2009 Statement of Rights

and Responsibilities defined “content” as “the content and information you post on Facebook,

including information about you and the actions you take.58 Starting with the August 28, 2009

Statement of Rights and Responsibilities, Facebook defined “information” as “facts and other

information about you, including actions you take”59; before the August 28, 2009 Statement of

Rights and Responsibilities, “information” remained undefined. Facebook defined “content” as

“anything you post on Facebook that would not be included in the definition of ‘information.’”60

       224.   On June 8, 2012, Facebook broadened these definitions. “Information” was newly

defined as “facts and other information about you, including actions taken by users and non-

users who interact with Facebook” (emphasis added to show addition).61 The new definition of

“content” was “anything you or other users post on Facebook that would not be included in the

definition of information.”62 Facebook unhelpfully attempted to explain:

57
   Statement of Rights and Responsibilities, Facebook (June 8, 2012),
https://www.facebook.com/legal/terms
[https://web.archive.org/web/20121205191915/https://www.facebook.com/legal/terms]
(emphasis added) (red and underlined text shows newly added text and strikethrough text shows
newly deleted text).
58
   Statement of Rights and Responsibilities, Facebook (May 1,2009),
http://www.facebook.com/terms.php
[https://web.archive.org/web/20090826051726/facebook.com/terms.php].
59
   Statement of Rights and Responsibilities, Facebook (Aug. 28, 2009),
http://www.facebook.com/terms.php
[https://web.archive.org/web/20091220022337/facebook.com/terms.php].
60
   Id.
61
   Statement of Rights and Responsibilities, Facebook (June 8, 2012),
https://www.facebook.com/legal/terms
[https://web.archive.org/web/20121205191915/https://www.facebook.com/legal/terms].
62
   Statement of Rights and Responsibilities, Facebook (June 8, 2012),
https://www.facebook.com/legal/terms
CONSOLIDATED COMPLAINT                         81                                     MDL NO. 2843
                                                                           CASE NO. 18-MD-02843-VC
       [Facebook] updated this language to be clearer and consistent with what has long been
       reflected in our Data Use Policy and our practices—that when you, or friends you have
       authorized to see your information, use an App, you are sharing your info with that App,
       which is what you consented to when you installed the App.”63
       225.    In this section, Facebook also promised users that even though a user’s content

and information was shared with an application when the application was used, Facebook

“require[d] applications to respect your privacy.” Yet Facebook did not audit applications’

treatment of users’ content and information. For example, Facebook is still unable to identify

who possesses the content and information taken by Cambridge Analytica.

       226.    Nowhere in the operative contracts did Facebook disclose to users that device

makers, mobile carriers, software makers, security firms or chip designers would have access to

their content and information notwithstanding their privacy settings.

               b.     The Statement of Rights and Responsibilities Promised Users
                      Throughout the Class Period That Facebook Would Not Share
                      Content or Information With Advertisers Without Their Consent
       227.    The May 1, 2009 Statement of Rights and Responsibilities includes the following

language:

       Our goal is to deliver ads that are not only valuable to advertisers, but also
       valuable to you. In order to do that, you agree to the following:

       1. You can use your privacy [hyperlinked] settings to limit how your name and
       profile picture may be associated with commercial or sponsored content. You give
       us permission to use your name and profile picture in connection with that
       content, subject to the limits you place.

       2. We do not give your content to advertisers.



[https://web.archive.org/web/20121205191915/https://www.facebook.com/legal/terms] (As
noted in the Introduction, this complaint uses “content and information” as Facebook’s
Statement of Rights and Responsibilities have defined those two terms. When this complaint
uses “content and information” in regard to a particular time, it incorporates the meaning of
“content” and “information” as defined by the Statement of Rights and Responsibilities that was
operative at that time.).
63
   Jamillah Knowles, Facebook Updates Statement of Rights and Responsibilities, You Have
Until March 22 to Respond, Next Web (Mar. 18, 2012),
https://thenextweb.com/facebook/2012/03/18/facebook-updates-statement-of-rights-and-
responsibilities-you-have-until-march-22-to-respond/.
CONSOLIDATED COMPLAINT                           82                                    MDL NO. 2843
                                                                            CASE NO. 18-MD-02843-VC
       228.   In the August 28, 2009 Statement of Rights and Responsibilities, this language

was changed as follows:

       Our goal is to deliver ads that are not only valuable to advertisers, but also
       valuable to you. In order to do that, you agree to the following:

       1. You can use your privacy [hyperlinked] settings to limit how your name and
       profile picture may be associated with commercial or sponsored content served by
       us. You give us permission to use your name and profile picture in connection
       with that content, subject to the limits you place.

       2. We do not give your content or information to advertisers without your
       consent.

       229.   Then, in the October 4, 2010 Statement of Rights and Responsibilities, this

language was changed as follows:

       Our goal is to deliver ads that are not only valuable to advertisers, but also
       valuable to you. In order to do that, you agree to the following:

       1. You can use your privacy settings [hyperlinked] to limit how your name and
       profile picture may be associated with commercial, sponsored, or related content
       (such as brand you like) served or enhanced by us. You give us permission to use
       your name and profile picture in connection with that content, subject to the limits
       you place.

       2. We do not give your content or information to advertisers without your
       consent.

       230.   Next, in the June 8, 2012 Statement of Rights and Responsibilities, the language

was changed to state:

       Our goal is to deliver ads and commercial content that are valuable to users and
       advertisers []. In order to help us do that, you agree to the following:

       1. You can use your privacy settings [hyperlinked] to limit how your name and
       profile picture may be associated with commercial, sponsored, or related content
       (such as brand you like) served or enhanced by us. You give us permission to use
       your name and profile picture in connection with that content, subject to the limits
       you place.

       2. We do not give your content or information to advertisers without your
       consent.



CONSOLIDATED COMPLAINT                           83                                    MDL NO. 2843
                                                                            CASE NO. 18-MD-02843-VC
       231.    This statement falsely claimed that users could control what Facebook shared

with third parties through their privacy settings. However, a user’s privacy settings would not

have necessarily prevented an app developer from obtained information through that user’s

friends.

       232.    In the November 15, 2013 Statement of Rights and Responsibilities this language

was changed to read:

       Our goal is to deliver advertising and other commercial or sponsored content that
       is valuable to our users and advertisers. In order to help us do that, you agree to
       the following:

       1. You give us permission to use your name, profile picture, content, and
       information in connection with commercial, sponsored, or related content (such as
       brand you like) served or enhanced by us. This means, for example, that you
       permit a business or other entity to pay us to display your name and/or profile
       picture with your content or information, without compensation to you. If you
       have selected a specific audience for your content or information, we will respect
       your choice when we use it.

       2. We do not give your content or information to advertisers without your
       consent.

       233.    The language remains unaltered in the subsequent Statement of Rights and

Responsibilities published on January 30, 2015.

       234.    Facebook’s promise not to give your content or information to advertisers without

your consent is also false. In order to limit what a third-party app developer could have obtained

on Graph API v1.0, a user would have had to affirmatively change their “app settings.”

               c.      The Statement of Rights and Responsibilities Promised to Adequately
                       Notify Users When It Was Amended
       235.    Facebook did not adequately notify its users when it updated the Statement of

Rights and Responsibilities. From 2005 to 2018 this policy changed over twenty times.

       236.    On May 1, 2009, the Amendments section of the Statement of Rights and




CONSOLIDATED COMPLAINT                          84                                   MDL NO. 2843
                                                                          CASE NO. 18-MD-02843-VC
Responsibilities stated the following:64


               1. “We can change this Statement so long as we provide you notice through
               Facebook (unless you opt-out of such notice) and an opportunity to comment.”

               2. For changes to sections 7, 8, 9, and 11 (sections relating to payments,
               application developers, website operators, and advertisers), we will give you
               minimum of three days notice. For all other changes we will give you a minimum
               of seven days notice. Comments to proposed changes will be made on the
               Facebook Site Governance Page [hyperlink].

               3. If more than 7,000 users post a substantive comment on a particular proposed
               change, we will also give you the opportunity to participate in a vote in which you
               will be provided alternatives. The vote shall be binding on us if more than 30% of
               all active registered users as of the date of the notice vote.

               4. We can make changes for legal or administrative reasons, or to correct an
               inaccurate statement, upon notice without opportunity to comment.
       237.    On August 28, 2009 the first paragraph of this section changed to the following:65
               1. We can change this Statement if we provide you notice (by posting the change
               on the Facebook Site Governance Page [hyperlink]) and an opportunity to
               comment. To get notice of any future changes to this Statement, visit our
               Facebook Site Governance Page [hyperlink] and become a fan
       However, paragraphs two through four were not altered.

       238.    On June 8, 2012, two paragraphs were added to the Amendments section. This

section now read:66

               1: We can change this Statement if we provide you notice (by posting the change
               on the Facebook Site Governance Page [hyperlink]) and an opportunity to
               comment. To get notice of any future changes to this Statement, visit our
               Facebook Site Governance Page [hyperlink] and become a fan.”


64
   Statement of Rights and Responsibilities, Facebook (May 1,2009),
http://www.facebook.com/terms.php
[https://web.archive.org/web/20090826051726/facebook.com/terms.php].
65
   Statement of Rights and Responsibilities, Facebook (Aug. 28, 2009),
htttps://www.facebook.com/terms.php
[https://web.archive.org/web/20091220022337/facebook.com/terms.php].
66
   Statement of Rights and Responsibilities, Facebook (June 8, 2012),
https://www.facebook.com/legal/terms
[https://web.archive.org/web/20121205191915/https://www.facebook.com/legal/terms].


CONSOLIDATED COMPLAINT                         85                                    MDL NO. 2843
                                                                          CASE NO. 18-MD-02843-VC
              2: For changes to sections 7, 8, 9, and 11 (sections relating to payments,
              application developers, website operators, and advertisers), we will give you
              minimum of three days notice. For all other changes we will give you a minimum
              of seven days notice. Comments to proposed changes will be made on the
              Facebook Site Governance Page [hyperlink].

              3: If more than 7,000 users post a substantive comment on a particular proposed
              change, we will also give you the opportunity to participate in a vote in which you
              will be provided alternatives. The vote shall be binding on us if more than 30% of
              all active registered users as of the date of the notice vote.

              4. If we make changes to policies referenced in or incorporated by this Statement,
              we may provide notice on the Site Governance Page.

              5. We can make changes for legal or administrative reasons, or to correct an
              inaccurate statement, upon notice without opportunity to comment.

              6. Your continued use of Facebook following changes to our terms constitutes
              your acceptance of our amended terms.
       239.   This section changed entirely on December 11, 2012 to including only the

following three paragraphs:67


              1. Unless we make a change for legal or administrative reasons, or to correct an
              inaccurate statement, we will provide you with seven (7) days notice (for
              example, by posting the change on the Facebook Site Governance Page
              [hyperlink]) and an opportunity to comment. You can also visit out Facebook
              Site Governance Page [hyperlink] and “like” the Page to get update about changes
              to this statement.

              2. If we make changes to the policies referenced in or incorporated by this
              statement, we may provide notice on the Site Governance Page.

              3. Your continued use of Facebook following changes to our terms constitutes
              your acceptance of our amended terms.”
       240.   On January 30, 2015, this section changed again to read:68



67
   Statement of Rights and Responsibilities, Facebook (Dec. 11, 2012),
https://www.facebook.com/legal/terms
[https://web.archive.org/web/20131024211134/https://www.facebook.com/legal/terms].
68
   Statement of Rights and Responsibilities, Facebook (Jan. 30, 2015),
https://www.facebook.com/legal/terms
[https://web.archive.org/web/20150130004354/https://www.facebook.com/legal/terms].
CONSOLIDATED COMPLAINT                         86                                     MDL NO. 2843
                                                                           CASE NO. 18-MD-02843-VC
               1. We’ll notify you before we make changes to these terms and give you the
               opportunity to review and comment on the revised terms before continuing to use
               our Services.

               2. If we make changes to policies, guidelines or other terms referenced in or
               incorporated by this Statement, we may provide notice on the Site Governance
               Page.

               3. Your continued use of the Facebook Services, following notice of the changes
               to our terms, policies or guidelines, constitutes your acceptance of our amended
               terms, policies or guidelines.”

       2.      The Statement of Rights and Responsibilities Did Not Incorporate or Make
               Binding Facebook’s Other Policies
       241.    Facebook may claim that documents other than the Statement of Rights and

Responsibilities were part of the contracts between Facebook and its users. That claim is wrong,

as Plaintiffs will now explain.

       242.    The Statement of Rights and Responsibilities contained a “Privacy” section. This

section was a mere three sentences that “encourage[d],” but in no way required, a user to read or

consent to Facebook’s separate Privacy Policy.69

       243.    At all relevant times until June 8, 2012, the second paragraph of the Statement of

Rights and Responsibilities, titled “Privacy,” read as follows:

       Your privacy is very important to us. We designed our Privacy Policy [hyperlinked] to
       make important disclosures about how you can use Facebook to share with others and
       how we collect and can use your content and information. We encourage you to read the
       Privacy Policy, and to use it to help make informed decisions.70
       244.    After June 8, 2012, Facebook changed the “Privacy” section of the Statement of

Rights and Responsibilities to refer to the newly named “Data Use Policy.” This change in name

is significant and purposeful. A user is likely to think a Privacy Policy contains relevant

information to his or her information. “Data Use Policy,” by contrast, does not carry the same

associations. The new section read:


69
   The “Privacy Policy” was relabeled to “Date Policy” on June 8, 2012 and relabeled again to
“Data Use Policy” on December 11, 2012.
70
   Data Policy, Facebook (Dec. 9, 2009), facebook.com/policy.php
[https://web.archive.org/web/20100402021414/facebook.com/policy.php].
CONSOLIDATED COMPLAINT                           87                                    MDL NO. 2843
                                                                            CASE NO. 18-MD-02843-VC
               Your privacy is very important to us. We designed our Privacy
               Policy Data Use Policy [hyperlinked] to make important disclosures
               about how you can use Facebook to share with others and how we
               collect and can use your content and information. We encourage you
               to read the Privacy Policy Data Use Policy, and to use it to help
               make informed decisions.71

       245.    Notably, the Statement of Rights and Responsibilities did not contain the full text

of either the Privacy Policy or the Data Use Policy. The Statement of Rights and Responsibilities

did not require users to review either Policy, let alone read them carefully. Nor did the

Statement of Rights and Responsibilities require any form of affirmative acknowledgement of or

consent to the Privacy Policy or Data Use Policy—all despite the fact these Policies contained

“important disclosures” about Facebook’s collection and use of users’ “content and information.”

       246.    Finally, at the bottom of the Statement of Rights and Responsibilities, the privacy

policy was hyperlinked in a long list of documents that Facebook casually suggested users “may

also want to review.” Facebook explained in this list that the “Privacy Policy is designed to help

you understand how [they] collect and use information”—in other words, it was a help page, not

an agreement, and certainly not up for negotiation. Facebook failed to specify here exactly what

“information” it was collecting and using, or how; users had to click through to the Privacy

Policy to find out. Once again, there was no requirement to consent to the Privacy Policy before

using Facebook, nor did Facebook require any affirmative consent to the policy from a user. A




71
  Data Policy, Facebook (Apr. 22, 2010), http://www.facebook.com/policy.php
[https://web.archive.org/web/20100923040926/http://www.facebook.com/policy.php].
CONSOLIDATED COMPLAINT                          88                                    MDL NO. 2843
                                                                           CASE NO. 18-MD-02843-VC
typical example of this portion of the Statement of Rights and Responsibilities follows:72




       3.      Facebook’s “Policies” Were Generally Difficult to Access, Confusing, and
               Constantly Changing Without Notice.

               a.     To Access the Contents of the Privacy, the Data Use, and Data
                      Policies, Users Were Forced to Navigate a Maze of Hyperlinks
       247.    Like the Terms of Use and later the Statement of Rights and Responsibilities,

Facebook provided a hyperlink to the Privacy and Data Use Policy on its home screen. This link

was clearly distinguished as “Privacy” on Facebook’s launching screen.

       248.    Prior to September 2011, if a curious user clicked on this hyperlink, she would be

routed to one webpage that contained the entire Policy as shown by the December 22, 2010

screenshot below:




72
   Id.; Statement of Rights and Responsibilities, Facebook (June 18, 2010),
http://www.facebook.com/terms.php?ref=pf
[https://web.archive.org/web/20100618213653/http://www.facebook.com/terms.php?ref=pf].
CONSOLIDATED COMPLAINT                          89                                   MDL NO. 2843
                                                                          CASE NO. 18-MD-02843-VC
       249.    Facebook changed this process starting at least by September 2011. Thereafter, if

a user clicked the “privacy” hyperlink she would be routed to a different landing page that listed

subheadings of the “Data Use Policy”. For example, from the September 7, 2011 policy:73




73
   Data Use Policy, Facebook (Sept. 7, 2011), http://www.facebook.com/about/privacy/your-
info-on-other [https://web.archive.org/web/20110922202503/
http://www.facebook.com/about/privacy/your-info-on-other].
CONSOLIDATED COMPLAINT                          90                                    MDL NO. 2843
                                                                           CASE NO. 18-MD-02843-VC
       250.    From September 2011 to June 2012, if users clicked a subheading on this

webpage, they still would not be able to see the contents of the Data Use Policy. Instead,

clicking those subheadings routed users to yet another webpage containing yet more

subheadings. Users would then need to read and click on the subheadings or click “expand all”

to actually read the content of the relevant subsection of the Data Use Policy. For example, if

users decided they wanted to read more about “Sharing with other websites and applications,”

they would be routed to the following screen:74

74
   Sharing with other websites and applications, Facebook (Jan. 12, 2012),
http://www.facebook.com/about/privacy/your-info-on-other
CONSOLIDATED COMPLAINT                            91                                 MDL NO. 2843
                                                                          CASE NO. 18-MD-02843-VC
       251.    As shown above, this webpage required users to read still more subheadings

before accessing the actual content of the “Data Use Policy.”



[https://web.archive.org/web/20120112084445/http://www.facebook.com/about/privacy/your-
info-on-other].
CONSOLIDATED COMPLAINT                         92                                  MDL NO. 2843
                                                                        CASE NO. 18-MD-02843-VC
       252.    Thus, from September 2011 to June 2012, if a user wanted to read the actual

contents of the Data Use Policy, the user would have had to read several subheading descriptions

and to click at least three different hyperlinks before seeing any content. And, if the user wanted

to read the full Data Use Policy, the user would need to click back and forth between multiple

webpages. It would take a user at least eighteen separate clicks of the mouse to read the entire

Data Use Policy.

       253.    Even after June 2012, Facebook still required users to click on one of the six

separate subheadings of the Data Use Policy, although beginning in June 2012, Facebook began

displaying the actual contents of the Data Use Policy’s subsections without requiring a user to

further click on more subheadings or choose “expand all.” For example, clicking on the




CONSOLIDATED COMPLAINT                          93                                    MDL NO. 2843
                                                                           CASE NO. 18-MD-02843-VC
subheading “Other websites and applications,” would display the following:75




       254.    Even with this change, from June 2012 to January 2015, a user would need to
click back and forth at least twelve times in order to read the full contents of the Data Use Policy

contained within six separate subheadings.

       255.    Starting in January 2015, Facebook again changed the Data Use Policy so that all

content was displayed on one webpage. A user would see the following:76

75
   Other Website and Applications, Facebook (Dec. 9, 2012),
https://www.facebook.com/about/privacy/your-info-on-other
[https://web.archive.org/web/20121209131947/https://www.facebook.com/about/privacy/your-
info-on-other].
76
   Data Policy, Facebook (Oct. 18, 2016), http://www.facebook.com/about/privacy
[https://web.archive.org/web/20161018003814/www.facebook.com/about/privacy].
CONSOLIDATED COMPLAINT                           94                                    MDL NO. 2843
                                                                            CASE NO. 18-MD-02843-VC
       256.    On this page, the headings on the left side—“What kinds of information do we

collect?,” “How do we use this information?,” etc.—were hyperlinked to sections further down

on the same page on each topic.

               b.      Users Often Were Not Required to Read the Contents of the Privacy,
                       the Data Use, or Data Policies When They Signed Up
       257.    Since its creation, Facebook has required little of users signing up for a new

account.

       258.    From 2005 to March 2006, Facebook required new users to affirmatively click a

box next to a statement. In 2005, that statement read, “I have read and understood the Terms of

Use [hyperlinked], and I agree to them.”77

       259.    From March 2006 to May 2007, users had to affirmatively check a box next to a

statement that said: “I have read and agree to the Terms of Use [hyperlinked].”78 From May of

2007 to May 2008, users had to affirmatively check a box next to a statement that said: “I have

read and agree to the Terms of Use [hyperlinked] and Privacy Policy [hyperlinked].”79

       260.    Beginning in May 2008, Facebook no longer required users to affirmatively check

the box acknowledging the Terms of Use. Instead, next to the “Sign Up” link Facebook added a

statement that read “By clicking Sign Up, you are indicating that you have read and agree to the

Terms of Use [hyperlinked] and Privacy Policy [hyperlinked].”80

       261.    In March 2009, Facebook changed its registration process again by omitting any

reference to the Statement of Rights and Responsibilities or the Privacy Policy on the initial



77
   Facebook Registration, Facebook (Oct. 4, 2005), htttp://www.facebook.com/register.php
[https://web.archive.org/web/20051004173252/http://www.facebook.com/register.php]
(underlining denotes a hyperlink that was used to link to Facebook’s “Terms of Use”, “Privacy
Policy”, etc. webpages).
78
   Facebook Registration, Facebook (Mar. 1, 2006), htttp://www.facebook.com:80/register.php
[https://web.archive.org/web/20060301120315/http://www.facebook.com:80/register.php].
79
   Register and Start Using Facebook, Facebook (May 16, 2007),
htttp://www.facebook.com/r.php
[https://web.archive.org/web/20070516195245/https://register.facebook.com/r.php].
80
   Facebook, Facebook (May 14, 2008), http://www.facebook.com
[https://web.archive.org/web/20080514205157/http://www.facebook.com/].
CONSOLIDATED COMPLAINT                          95                                    MDL NO. 2843
                                                                           CASE NO. 18-MD-02843-VC
registration page.81 This initial screen required the user to complete the following fields: first

name; last name; email; password; sex; and birthday. An example from 2011 is show below:




       262.    Only after users had filled in these six fields of information and affirmatively

clicked “Sign Up” were they routed to the following page, which was a pop-up screen that asked

users to sign up again after they had already done so, under the guise of a security check:




81
  Facebook, Facebook (Mar. 24, 2009), http://www.facebook.com
[https://web.archive.org/web/20090324054710/http://www.facebook.com/].
CONSOLIDATED COMPLAINT                            96                                     MDL NO. 2843
                                                                              CASE NO. 18-MD-02843-VC
       263.   This screen required users to engage in a “Security Check.” This check required


CONSOLIDATED COMPLAINT                        97                                  MDL NO. 2843
                                                                       CASE NO. 18-MD-02843-VC
users to type out the displayed words in a text box. The text on the security screen was distorted

such that users would be distracted by and forced to concentrate on the security image.

       264.    Deceptively, on this same screen and in very small font (likely eight-point in

contrast to much larger font above), Facebook placed the following statement below the second

sign on screen: “By clicking Sign Up, you are indicating that you have read and agree to the

Terms of Use [hyperlink] and Privacy Policy [hyperlink].”82 Because users had already

submitted their own personal information and affirmatively agreed to sign up, they could have

easily mistaken or not seen this statement.

       265.    By 2012, a majority of Americans were on Facebook. As of December 31, 2011,

Facebook had 161 million monthly active users (“MAUs”) in the United States.83 Facebook

narrowly defined a MAU as “as a registered Facebook user who logged in and visited Facebook

through our website or a mobile device, or took an action to share content or activity with his or

her Facebook friends or connections via a third-party website that is integrated with Facebook, in

the last 30 days as of the date of measurement. MAUs are a measure of the size of our global

active user community, which has grown substantially in the past several years.” The $161

million figure therefore underestimates the number of registered Facebook users at that time.

Moreover, as of December 31, 2012, “more than 10 million apps and websites were integrated

with Facebook.” 84 Accordingly, at least 161 million Facebook users in the United States had

signed up with Facebook in one of the ways just described. Millions more U.K. users also signed

up.

       266.    In February 2012, Facebook changed its sign-up page again to include the


82
   Id.
83
   Facebook, Inc., Amendment No. 2 to Form S-1 (Form S-1/A) (Mar. 7, 2012),
https://www.sec.gov/Archives/edgar/data/1326801/000119312512101422/d287954ds1a.htm; see
also United States Census Bureau (Dec. 29, 2011),
https://www.census.gov/newsroom/releases/archives/population/cb11-219.html (The U.S.
population was 312.8 million at that time.).
84
   Facebook, Inc., Annual Report (Form 10-k) at 6 (Dec. 31, 2012),
https://www.sec.gov/Archives/edgar/data/1326801/000132680113000003/fb-
12312012x10k.htm.
CONSOLIDATED COMPLAINT                          98                                    MDL NO. 2843
                                                                           CASE NO. 18-MD-02843-VC
following statement: “By clicking Sign Up, you agree to our Terms [hyperlinked] and that you

have read and understand our Data Use Policy [hyperlinked].”85 As discussed in more detail

below, at this point Facebook had changed its “Privacy Policy” to a “Data Use Policy,” making it

less likely that a consumer concerned about privacy would read it. An example from 2012 is

shown below:86




       267.    In May 2012, this statement changed again to state: “By clicking Sign Up, you

agree to our Terms [hyperlinked] and that you have read our Data Use Policy [hyperlinked],

including our Cookie Use [hyperlinked].”87 Notably, this statement does not require agreement to

its Data Use Policy. Rather, it provides only a statement that the user has read the Policy.


85
   Your Facebook Timeline, Facebook (Feb. 9, 2012), http://www.facebook.com
[https://web.archive.org/web/20120209101026/http://www.facebook.com/].
86
   Id.
87
   Sign Up, Facebook (May 27, 2012), http://www.facebook.com
[https://web.archive.org/web/20120527094845/http://www.facebook.com/].
CONSOLIDATED COMPLAINT                          99                                    MDL NO. 2843
                                                                           CASE NO. 18-MD-02843-VC
       268.    Beginning in January 2017, this statement changed to include the following

language: “By clicking Create Account, you agree to our Terms [hyperlinked] and that you have

read our Data Policy [hyperlinked], including our Cookie Use [hyperlinked]. You may receive

SMS Notifications from Facebook and can opt out at any time.”88

       269.    Finally, as of April 2018, Facebook changed this statement to read: “By clicking

Sign Up, you agree to our Terms [hyperlinked], Data Policy [hyperlinked] and Cookies Policy

[hyperlinked]. You may receive SMS Notifications from us and can opt out any time.”89

       270.    Facebook signed up new users at a significantly lower rate after 2012. Statista, an

online statistics, market research, and business intelligence service, estimates that in 2015, there

were 192 million Facebook users in the United States and as of 2018, that number had grown to

207 million.90 Thus, from December 31, 2011 to January 2018, the number of Facebook users in

the United States grew less than 50 million.

               c.        The Privacy, Data Use, and Data Policies Made It Difficult for Users
                         to Understand How Facebook Made Their Content and Information
                         Accessible to Third Parties
       271.    Facebook made it difficult for its users to understand that third parties were

constantly vacuuming up their content and information and that Facebook was not monitoring

what they did with it.

       272.    Although the Statement of Rights and Responsibilities contained a link to a

“Platform Page” so that users could “learn more about Platform,” there was no other information

that indicated what “Platform” was or why users would want or need to read that page.

       273.    The Data Use Policy that was dated December 9, 2009 and went unchanged until

April 22, 2010 did not adequately disclose what information third parties could access from

friends. In fact, the relevant section in this policy is labeled, “Information You Share With Third


88
   Sign Up, Facebook (Jan. 2, 2017), https://www.facebook.com
[https://web.archive.org/web/20170102180912/https://www.facebook.com/].
89
   Sign Up, Facebook (Apr. 20, 2018), https://www.facebook.com
[https://web.archive.org/web/20180420095336/https://www.facebook.com/].
90
   Number of Facebook Users in the United States from 2015-2022, Statista (2018),
https://www.statista.com/statistics/408971/number-of-us-facebook-users/.
CONSOLIDATED COMPLAINT                           100                                    MDL NO. 2843
                                                                             CASE NO. 18-MD-02843-VC
Parties.” This section falsely states:

       We take steps to ensure that others use information that you share on Facebook in a
       manner consistent with your privacy settings [hyperlinked], but we cannot guarantee that
       they will follow our rule.

       You can use your application settings [hyperlink] to limit which of your information your
       friends can make available to applications and websites.91
However, this section provides no further detail about the level of information available on

Graph API v1.0. Experts have rightly criticized this as a hidden back door, overriding the

privacy choices users made by users about what content they are actually sharing.

       274.    The April 22, 2010 version of the Data Use Policy includes the following

language:

       When your friends use Platform. If your friend connects with an application or website,
       it will be able to access your name, profile picture, gender, user ID, and information you
       have shared with “everyone.” It will also be able to access your connections, except it
       will not be able to access your friend list. If you have already connected with (or have a
       separate account with) that website or application, it may also be able to connect you with
       your friend on that application or website. If the application or website wants to access
       any of your other content or information (including your friend list), it will have to obtain
       specific permission from your friend. If your friend grants specific permission to the
       application or website, it will generally only be able to access content and information
       about you that your friend can access. In addition, it will only be allowed to use that
       content and information in connection with that friend. For example, if a friend gives an
       application access to a photo you only shared with your friends, that application could
       allow your friend to view or print the photo, but it cannot show that photo to anyone else.

       ...

       We provide you with a number of tools to control how your information is shared when
       your friend connects with an application or website. For example, you can use your
       Application and Websites privacy setting [hyperlink] to limit some of the information
       your friends can make available to applications and websites. You can block all platform
       applications and websites completely or block particular applications or websites from
       accessing your information. You can use your privacy settings to limit which friends can
       access your information, or limit which of your information is available to “everyone.”
       You can use your privacy settings [hyperlinked] to limit which friends can access your
       information, or limit which of your information is available to “everyone.”92

91
   Facebook’s Privacy Policy, Facebook (Apr. 2, 2010), http:/www.facebook.com/policy.php
[https://web.archive.org/web/20100402021414/facebook.com/policy.php].
92
   Data Use Policy, Facebook (Sept. 22, 2011), http://www.facebook.com/about/privacy/your-
info-on-other
CONSOLIDATED COMPLAINT                          101                                   MDL NO. 2843
                                                                           CASE NO. 18-MD-02843-VC
       275.    On September 7, 2011, Facebook changed the Data Policy so that it contained a

section titled, “Controlling what is shared when the people you share with use applications.”93

This section states:

       Just like when you share information by email or elsewhere on the web, information you
       share on Facebook can be re-shared. This means that if you share something on
       Facebook, anyone who can see it can share it with others, including the games,
       applications, and websites they use.

       Your friends and the other people you share information with often want to share your
       information with applications to make their experiences on those application more
       personalized and social. For example, one of your friends might want to use a music
       application that allows them to see what their friends are listening to. To get the full
       benefit of that application, your friend would want to give the application her friend list –
       which includes your User ID - so the application knows which of her friends is also using
       it. Your friend might also want to share the music you "like" on Facebook. If you have
       made that information public, then the application can access it just like anyone else. But
       if you’ve shared your likes with just your friends, the application could ask your friend
       for permission to share them.

       You can control most of the information other people share with applications using you
       Apps and Websites [hyperlinked] settings. But these controls do not let you limit access
       to your public information and friend list.

       If you want to completely block applications from getting your information, you will
       need to turn off all Platform applications [hyperlinked]. This means that you will no
       longer be able to use any games, applications or websites.

       If an application asks permission from someone else to access your information, the
       application will be allowed to use that information only in connection with the person
       that gave the permission and no one else.94
       276.    This language did not change in any meaningful way until the January 30, 2015

Data Policy,95 which states, under the section “Sharing On Our Services”:


[https://web.archive.org/web/20110922202503/http://www.facebook.com/about/privacy/your-
info-on-other].
93
   Data Use Policy, Facebook (Sept. 7, 2011), http://www.facebook.com/about/privacy/your-
info-on-other [https://web.archive.org/web/20110922202503/http://www.facebook.com/
about/privacy/your-info-on-other].
94
   Privacy Policy, Facebook (Sept. 23, 2011), http://www.facebook.com/full_data_use_policy
[https://web.archive.org/web/20111013084008/http://www.facebook.com/full_data_use_policy].
95
   The following sentence was added to the end of this section in the November 15, 2013 Data
Policy: “For example, some apps use information such as your friends list, to personalize your
experience or show you which of your friends use that particular app.” Data Use Policy - Other
CONSOLIDATED COMPLAINT                          102                                    MDL NO. 2843
                                                                            CASE NO. 18-MD-02843-VC
       Information from third-party partners.

       We receive information about you and your activities on and off Facebook from third-
       party partners, such as information from a partner when we jointly offer services or from
       an advertiser about your experiences or interactions with them.

       ...

       People you share and communicate with.

       When you share and communicate using our Services, you choose the audience who can
       see what you share. For example, when you post on Facebook, you select the audience
       for the post, such as a customized group of individuals, all of your Friends, or members
       of a Group. Likewise, when you use Messenger, you also choose the people you send
       photos to or message.

       Public information is any information you share with a public audience, as well as
       information in your Public Profile, or content you share on a Facebook Page or another
       public forum. Public information is available to anyone on or off our Services and can be
       seen or accessed through online search engines, APIs, and offline media, such as on TV.

       In some cases, people you share and communicate with may download or re-share this
       content with others on and off our Services. When you comment on another person’s post
       or like their content on Facebook, that person decides the audience who can see your
       comment or like. If their audience is public, your comment will also be public.

       People that see content others share about you.

       Other people may use our Services to share content about you with the audience they
       choose. For example, people may share a photo of you, mention or tag you at a location
       in a post, or share information about you that you shared with them. If you have concerns
       with someone’s post, social reporting is a way for people to quickly and easily ask for
       help from someone they trust. Learn More [hyperlink].

       Apps, websites and third-Party integrations on or using our Services.

       When you use third-party apps, websites or other services that use, or are integrated with,
       our Services, they may receive information about what you post or share. For example,
       when you play a game with your Facebook friends or use the Facebook Comment or
       Share button on a website, the game developer or website may get information about
       your activities in the game or receive a comment or link that you share from their website
       on Facebook. In addition, when you download or use such third-party services, they can
       access your Public Profile [hyperlink], which includes your username or user ID

Websites and Applications, Facebook (Nov. 4, 2014),
https://www.facebook.com/about/privacy/your-info-on-other
[https://web.archive.org/web/20141104152550/https://www.facebook.com/about/privacy/your-
info-on-other].
CONSOLIDATED COMPLAINT                          103                                  MDL NO. 2843
                                                                          CASE NO. 18-MD-02843-VC
       [hyperlink], your age range and country/language, your list of friends, as well as any
       information that you share with them. Information collected by these apps, websites or
       integrated services is subject to their own terms and policies.

       Learn more [hyperlink] about how you can control the information about you that you or
       others share with these apps and websites.
       277.    Facebook’s Data policies also contain the following language regarding service

providers, but that language was vague and did not clearly disclose that when a users’ friends

accessed Facebook through these service providers, all of a user’s content and information would

be available to that service provider without restriction. For example, in the May 24, 2007

Policy, Facebook stated:96

       We may provide information to service providers to help us bring you the services
       we offer. Specifically, we may use third parties to facilitate our business, such as
       to host the service at a co-location facility for servers, to send out email updates
       about Facebook, to remove repetitive information from our user lists, to process
       payments for products or services, to offer an online job application process, or to
       provide search results or links (including sponsored links). In connection with
       these offerings and business operations, our service providers may have access to
       your personal information for use for a limited time in connection with these
       business activities. Where we utilize third parties for the processing of any
       personal information, we implement reasonable contractual and technical
       protections limiting the use of that information to the Facebook-specified
       purposes.

       ...

       We may offer stores or provide services jointly with other companies on
       Facebook. You can tell when another company is involved in any store or service
       provided on Facebook, and we may share customer information with that
       company in connection with your use of that store or service

       278.    This disclosure stated only that access was “utilized” for a period of time. It did

not mention software makers, mobile carriers, etc.

       279.    This language was changed in the December 9, 2009 Privacy Policy to the




96
  Facebook: Facebook’s Privacy Policy (June 30, 2007), https://www.facebook.com/policy.php
[https://web.archive.org/web/20070630042429/facebook.com/policy.php].
CONSOLIDATED COMPLAINT                          104                                    MDL NO. 2843
                                                                            CASE NO. 18-MD-02843-VC
following:97

       To provide you with services. We may provide information to service providers
       that help us bring you the services we offer. For example, we may use third
       parties to help host our website, send out email updates about Facebook, remove
       repetitive information from our user lists, process payments, or provide search
       results or links (including sponsored links). These service providers may have
       access to your personal information for use for a limited time, but when this
       occurs we implement reasonable contractual and technical protections to limit
       their use of that information to helping us provide the service.

       280.    This disclosure also failed to clearly state that users’ content and information was

fully available to services providers. And like the other disclosures set forth herein, it does not

set forth controls Facebook had in place to protect user data.

       281.    Facebook continued to unilaterally changes the terms of the Data Policy, but none

of them gave meaningful notice. In 2011, Facebook changed its language to the following:98

       Service Providers
       We give your information to the people and companies that help us provide the
       services we offer. For example, we may use outside vendors to help host our
       website, serve photos and videos, process payments, or provide search results. In
       some cases we provide the service jointly with another company, such as the
       Facebook Marketplace. In all of these cases our partners must agree to only use
       your information consistent with the agreement we enter into with them, as well
       as this privacy policy.
       282.    On June 8, 2012, this language changed to read:99

       Service Providers

       We give your information to the people and companies that help us provide,
       understand and improve the services we offer. For example, we may use outside
       vendors to help host our website, serve photos and videos, process payments,
       analyze data, measure the effectiveness of ads, or provide search results. In some

97
   Facebook: Facebook’s Privacy Policy, Facebook § 4 (Apr. 2, 2010),
https://www.facebook.com/policy.php
[https://web.archive.org/web/20100402021414/facebook.com/policy.php].
98
   Facebook: Data Use Policy, Facebook § 4 (Jan. 12, 2012),
http://www.facebook.com/about/privacy/
[https://web.archive.org/web/20120112083418/http://www.facebook.com/about/privacy/].
99
   Facebook: Data Use Policy, Facebook § 6 (June 24, 2012),
http://www.facebook.com/about/privacy/
[https://web.archive.org/web/20120624132517/http://www.facebook.com/full_data_use_policy].
CONSOLIDATED COMPLAINT                           105                                    MDL NO. 2843
                                                                             CASE NO. 18-MD-02843-VC
       cases we provide the service jointly with another company, such as the Facebook
       Marketplace. In all of these cases our partners must agree to only use your
       information consistent with the agreement we enter into with them, as well as this
       Data Use Policy.

       283.    On December 11, 2012 this language altered slightly to include the following:100

       Service Providers

       We give your information to the people and companies that help us provide, understand
       and improve the services we offer. For example, we may use outside vendors to help host
       our website, serve photos and videos, process payments, analyze data, conduct and
       publish research, measure the effectiveness of ads, or provide search results. In some
       cases we provide the service jointly with another company, such as the Facebook
       Marketplace. In all of these cases our partners must agree to only use your information
       consistent with the agreement we enter into with them, as well as this Data Use Policy.
       284.    The language changed again on January 30, 2015 to read:101


       Vendors, service providers and other partners. We transfer information to vendors,
       service providers, and other partners who globally support our business, such as
       providing technical infrastructure services, analyzing how our Services are used,
       measuring the effectiveness of ads and services, providing customer service, facilitating
       payments, or conducting academic research and surveys. These partners must adhere to
       strict confidentiality obligations in a way that is consistent with this Data Policy and the
       agreements we enter into with them
This language did not change until April 2018.

       285.    As with the third-party application disclosures, the many pages and paragraphs

were intended to obscure what was really happening with users’ content and information. It is

only following a Congressional investigation that Facebook admitted that it believes its

“partners” have the same authority as Facebook to access and curate data. None of these

disclosures say so.



100
    Facebook: Data Use Policy, Facebook § 6 (Apr. 15, 2013),
http://www.facebook.com/about/privacy/
[https://web.archive.org/web/20130415134127/https://www.facebook.com/full_data_use_policy]
.
101
    Facebook: Data Use Policy, Facebook § 3 (Aug. 17, 2016),
http://www.facebook.com/about/privacy/
[https://web.archive.org/web/20150817185318/facebook.com/policy.php0.
CONSOLIDATED COMPLAINT                           106                                   MDL NO. 2843
                                                                            CASE NO. 18-MD-02843-VC
                  d.     The Documents Were Constantly Changing
          286.    Facebook has repeatedly changed the names of its documents. For example, prior

to 2009, Facebook referred to its main “Terms” policy as the “Terms of Use.” Beginning with

the policy published on May 1, 2009, Facebook changed this name to the “Statement of Rights

and Responsibilities.” Likewise, Facebook’s changed the name of its policy that was available to

users when they click on the hyperlink “privacy” at the bottom of the Facebook landing page.

This policy was originally labelled “Privacy Policy.” Facebook then changed that name to the

“Data Use Policy” in September 2012, and again changed the name to the “Data Policy” in

January 2015.
          287.    From October 2005 to August 2018, Facebook published twenty different “Terms

of Use” and Statements of Rights and Responsibilities. During that same time frame, Facebook

published 20 distinct Privacy Policies, Data Use Policies, and Data Policies. Upon information

and belief, Facebook failed to notify Plaintiffs and Class Members of these changes.

          288.    From April 2010 (the time the Platform Policies were created) to August 2018,

Facebook published 40 different Platform Policies. In total, a user who signed up in 2005 would

have had to read 80 different policies in order to know what information third parties had access

to. Even from just the period of April 2010 to May 2015 (the period where Graph API v1.0 was

operational), a user would have been responsible for 8 Statements of Rights and Responsibilities,

9 Data Use Policies and 28 Platform Policies—45 total policies. A chart listing these publishing

dates is shown below:

                    Terms of Use and         Privacy, Data Use, and         Platform Policy
                 Statement of Rights and          Data Policy              –Publishing Dates
                     Responsibilities          –Publishing Dates               (40 Total)
                  –Publishing Dates (20            (20 Total)
                         Total)
     1.                                             06/28/2005
     2.                10/03/2005
     3.                02/27/2006                   02/27/2006
     4.                                             05/22/2006
     5.                                             09/05/2006
     6.                10/23/2006                   10/23/2006
     7.                12/13/2006

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               Terms of Use and        Privacy, Data Use, and    Platform Policy
            Statement of Rights and         Data Policy         –Publishing Dates
                Responsibilities         –Publishing Dates          (40 Total)
             –Publishing Dates (20           (20 Total)
                    Total)
    8.            05/24/2007                05/24/2007
    9.            11/15/2007
    10.           6/07/2008
    11.           09/23/2008
    12.                                     11/26/2008
    13.           05/01/2009
               –Name changed to
            “Statement of Rights and
                Responsibilities”
    14.           08/28/2009
    15.                                     12/09/2009
    16.           12/21/2009
    17.                                                             04/21/2010
    18.           04/22/2010                04/22/2010
    19.                                                             06/29/2010
    20.                                                             07/27/2010
    21.           08/25/2010
    22.           10/04/2010
    23.                                     10/05/2010
    24.                                                             10/22/2010
    25.                                                             10/29/2010
    26.                                                             11/15/2010
    27.                                     12/22/2010              12/22/2010
    28.                                                             02/10/2011
    29.           04/26/2011
    30.                                                             05/24/2011
    31.                                                             07/01/2011
    32.                                                             07/27/2011
    33.                                                             08/12/2011
    34.                                    09/07/2011
                                       –Name changed to “Data
                                           Use Policy”
    35.                                                             09/22/2011
    36.                                     09/23/2011
    37.                                                             10/10/2011
    38.                                                             12/15/2011
    39.                                                             03/06/2012
    40.                                                             04/25/2012
    41.           06/08/2012                06/08/2012
    42.                                                             09/12/2012

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                                                                CASE NO. 18-MD-02843-VC
               Terms of Use and            Privacy, Data Use, and         Platform Policy
            Statement of Rights and             Data Policy              –Publishing Dates
                Responsibilities             –Publishing Dates               (40 Total)
             –Publishing Dates (20               (20 Total)
                    Total)
      43.         12/11/2012                     12/11/2012
      44.                                                                    12/12/2012
      45.                                                                    01/25/2013
      46.                                                                    02/20/2013
      47.                                                                    04/09/2013
      48.                                                                    06/28/2013
      49.                                                                    08/20/2013
      50.           11/15/2013                   11/15/2013
      51.                                                                   May 2014*
      52.                                                                 September 2014*
      53.                                                                   11/05/2014
      54.           01/30/2015                  1/30/2015
                                           –Name changed to “Data
                                                  Policy”
      55.                                                                    03/25/2015

      56.                                                                    04/12/2016
      57.                                                                    05/26/2016
      58.                                                                    08/30/2016
      59.                                        09/29/2016
      60.                                                                    03/13/2017
      70.                                                                    04/18/2017
      71.                                                                    05/15/2017
      72.                                                                    08/29/2017
      73.                                                                    10/27/2017
      74.                                                                    03/14/2018
      75.                                                                    04/24/2018
      76.           04/19/2018                   04/19/2018
      77.                                                                    05/07/2018


*From May 2014 to November 2014, Facebook omitted any associated publication date for its

Platform Policies. Based upon counsel’s investigation, Facebook issued at least two materially

different policies.102 Without a publication date, no user could have reasonably understood when

these policies had changed.


102
    See Platform Policy, Facebook (May 12, 2014), https://developers.facebook.com/policy
[https://web.archive.org/web/20140512215731/developers.facebook.com/policy]; see also
CONSOLIDATED COMPLAINT                        109                                   MDL NO. 2843
                                                                         CASE NO. 18-MD-02843-VC
       289.    This constant stream of policies worked to effectively drown users in information

and hide the fact that third parties could access users’ content and information. Providing notice

of policy updates is important because most Facebook users do not read the terms of service.103

       290.    Indeed, Facebook intended that users would never read the Statement of Rights

and Responsibilities or its data policies. Facebook’s policies are posted separately from users’

interactions with its platform. Only the persistently curious user could find the relevant policies

on Facebook’s website, which are buried in obscure corners of the website and take dozens of

clicks to find. “So how many clicks does it take to protect … your privacy from third-party apps?

About two dozen, assuming my fictional Facebook self is a competent novice.”104

               e.      Facebook Failed to Adequately Notify Users of Changes to the Privacy
                       Policy, Data Policy, and Data Use Policy
       291.    Even though Facebook’s Privacy Policy (and later Data Policy and Data Use

Policy) continued to change throughout the Class Period, Facebook failed to adequately notify its

users when it updated it. From December 2012 to January 2015, Facebook’s method of

notification was “by publication [on the Data Use Policy webpage] and on the Facebook Site

Governance Page.”105 In other words, Facebook would not notify users of changes to the Data

Use Policy unless a user happened to be in the habit of checking the Data Use Policy webpage or

the Facebook Site Governance Page on a daily basis.

       292.    After January 2015, Facebook’s vow was even vaguer; it simply said, “We’ll

notify you before we make changes to this policy and give you the opportunity to review and



Platform Policy, Facebook (Sept. 12, 2014), https://developers.facebook.com/policy
[https://web.archive.org/web/20140912214833/https://developers.facebook.com/policy/].
103
    Kimberlee Morrison, Survey: Many Users Never Read Social Networking Terms of Service
Agreements, Adweek (May 27, 2015), https://www.adweek.com/digital/survey-many-users-
never-read-social-networking-terms-of-service-agreements/.
104
    Laura Hautala, Facebook Privacy Settings Make You Work to Stop the Data Sharing, CNET
(Mar. 22, 2018), https://www.cnet.com/news/how-to-stop-sharing-facebook-data-after-
cambridge-analytica-mess/.
105
    Data Use Policy, Facebook (Dec. 11, 2012), https://www.facebook.com/full_data_use_policy
[https://web.archive.org/web/20130415134127/https://www.facebook.com/full_data_use_policy]
.
CONSOLIDATED COMPLAINT                           110                                   MDL NO. 2843
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comment on the revised policy before continuing to use our Services.”106 Facebook did not

specify how it would notify users, where it would post the draft revised policy for review and

comment, or how users would comment on the draft or decline to consent to a new policy.

       293.    As a result, users were not notified of and did not consent to revisions of the Data

Policy after the users initially joined Facebook.

E.     The Cambridge Analytica Scandal and Subsequent Revelations of Facebook’s
       Agreements with Third Parties to Share User Content and Information with Third
       Parties Without Full Disclosure Show that Facebook Violated the 2012 Federal
       Trade Commission Consent Decree
       294.    In 2009, the nonprofit organization Electronic Privacy Information Center

(“EPIC”), a public interest research center in Washington, D.C., filed a complaint and request for

investigation, injunction, and other relief against Facebook before the Federal Trade Commission

(“FTC”).107

       295.    EPIC’s complaint alleged that the Facebook Platform transferred Facebook users’

personal data to application developers without users’ knowledge or consent. Specifically, the

complaint stated:

       55. Facebook permits third-party applications to access user information at the moment a
       user visits an application website. According to Facebook, third party applications
       receive publicly available information automatically when you visit them, and additional
       information when you formally authorize or connect your Facebook account with them.

       56. As Facebook itself explains in its documentation, when a user adds an application, by
       default that application then gains access to everything on Facebook that the user can see.
       The primary “privacy setting” that Facebook demonstrates to third-party developers
       governs what other users can see from the application’s output, rather than what data may
       be accessed by the application.

       ...

       64. With the Preferred Developer Program, Facebook will give third-party developers
       access to a user’s primary email address, personal information provided by the user to
       Facebook to subscribe to the Facebook service, but not necessarily available to the public

106
    Data Use Policy, Facebook (Sept. 29, 2016), https://www.facebook.com/policy.php
[https://web.archive.org/web/20180414092121/https://www.facebook.com/policy.php].
107
    EPIC Complaint, Request for Investigation, Injunction, and Other Relief, In re Facebook, Inc.
(F.T.C. Dec. 17, 2009), https://www.epic.org/privacy/inrefacebook/EPIC-
FacebookComplaint.pdf
CONSOLIDATED COMPLAINT                          111                                   MDL NO. 2843
                                                                           CASE NO. 18-MD-02843-VC
            or to developers. In fact, some users may choose to create a Facebook account precisely
            to prevent the disclosure of their primary email address.

            ...

            68. Under the revised settings, even when a user unchecks all boxes and indicates that
            none of the personal information listed above should be disclosed to third party
            application developers, Facebook states that “applications will always be able to access
            your publicly available information (Name, Profile Picture, Gender, Current City,
            Networks, Friend List, and Pages) and information that is visible to Everyone.”

            ...

            70. Facebook does not now provide the option that explicitly allows users to opt out of
            disclosing all information to third parties through the Facebook Platform.

            71. Users can block individual third-party applications from obtaining personal
            information by searching the Application Directory, visiting the application’s “about”
            page, clicking a small link on that page, and then confirming their decision. A user would
            have to perform these steps for each of more than 350,000 applications in order to block
            all of them.108
            296.   The FTC investigated EPIC’s claims. On November 29, 2011, the FTC

announced that Facebook had agreed to settle FTC charges that Facebook had “deceived

consumers by telling them they could keep their information on Facebook private, and then

repeatedly allowing it to be shared and made public.” The FTC released a proposed consent

decree for public comment.

            297.   On July 27, 2012, the FTC finalized and issued its Consent Decree, which

ordered, in part, that Facebook:

            [S]hall not misrepresent in any manner, expressly or by implication, the extent to which it
            maintains the privacy or security of covered information, including, but not limited to:

            A.     its collection or disclosure of any covered information;

            B.     the extent to which a consumer can control the privacy of any covered
            information maintained by [Facebook] and the steps a consumer must take to implement
            such controls;

            C.     the extent to which [Facebook] makes or has made covered information
            accessible to third parties;


108
      Id.
CONSOLIDATED COMPLAINT                              112                                   MDL NO. 2843
                                                                               CASE NO. 18-MD-02843-VC
       D.      the steps [Facebook] takes or has taken to verify the privacy or security
       protections that any third party provides . . . .109
       298.    The Consent Decree further ordered, in part, that Facebook:

       [p]rior to any sharing of a user’s nonpublic user information by [Facebook] with any third
       party, which materially exceeds the restrictions imposed by a user’s privacy setting(s),
       shall:

       A.      clearly and prominently disclose to the user, separate and apart from any “privacy
       policy,” “data use policy,” “statement of rights and responsibilities” page, or other similar
       document: (1) the categories of nonpublic user information that will be disclosed to such
       third parties, (2) the identity or specific categories of such third parties, and (3) that such
       sharing exceeds the restrictions imposed by the privacy setting(s) in effect for the user;
       and

       B.      obtain the user’s affirmative express consent.110
       299.    Facebook violated the Consent Decree in several different ways. First, it failed to

“clearly and prominently disclose” how users’ information could be shared with third-party apps

via their friends. Second, it failed to make that disclosure “separate and apart from” its Privacy

Policy, Data Use Policy, and Statement of Rights and Responsibilities. Third, far from obtaining

users’ affirmative express consent, Facebook’s default setting was that users’ personal

information could be shared with third-party apps via the users’ friends. Fourth, by putting a

user’s application-related privacy settings on a page completely different from all other privacy

settings, Facebook misrepresented, by implication, the extent to which it maintained the privacy

or security of users’ content and information.
       300.    By sharing its users’ data with third parties, as described in detail above,

Facebook has violated the terms of the FTC’s July 27, 2012 Consent Decree.

F.     Even Prior to the Cambridge Analytica Scandal, Numerous Investigations
       Questioned Facebook’s Practices With Regard to User Privacy
       301.    In 2012, Facebook faced a class action lawsuit from users for sharing users’

“likes” of advertisers without compensation or allowing them to opt out. Facebook settled this



109
    Decision and Order (“Consent Decree”), In the Matter of Facebook, Inc., at 3-4, No. C-4365
(F.T.C. July 27, 2012).
110
    Id. at 4.
CONSOLIDATED COMPLAINT                           113                                    MDL NO. 2843
                                                                             CASE NO. 18-MD-02843-VC
case for $20 million.

        302.   On May 14, 2015, a class action lawsuit was filed against Facebook alleging that

Facebook’s photo scanning technology violates users’ privacy rights.

        303.   In June 2015, The Belgium Privacy Commission filed a lawsuit against Facebook

over alleging that Facebook broke the privacy law of Belgium and the European Union laws by

tracking people on third-party sites without first obtaining their consent. In February 2018, a

Belgian court ordered Facebook to stop this practice or face daily fines.111

        304.   In 2016, Germany’s Consumer Federation announced it would fine Facebook

€100,000 for failing to comply with a previous court order requiring Facebook to make clear the

extent to which users’ intellectual property “could be used by Facebook and licensed to third

parties.”

        305.   In March 2017, the ICO, an independent body set up to uphold information rights,

began looking into whether personal data acquired from Facebook had been misused by

campaigns. On July 10, 2018, the ICO announced it would fine FB 500,000 euros, the maximum

allowable under the law, for two breaches of Britain’s 1998 Data Protection Act. “The ICO’s

investigation concluded that Facebook contravened the law by failing to safeguard people’s

information. It also found that the company failed to be transparent about how people’s data was

harvested by others.”112

        306.   On May 16, 2017, the Dutch and French Data Protection Authorities (“DPA”)

announced that Facebook had not provided users sufficient control over how their information

was being used. The French DPA fined Facebook €150,000 for failure to stop tracking non-

users’ web activity without their consent and transferring personal information to United



111
    Samuel Gibbs, Facebook Ordered to Stop Collecting User Data by Belgian Court, Guardian
(Feb. 16, 2018), https://www.theguardian.com/technology/2018/feb/16/facebook-ordered-stop-
collecting-user-data-fines-belgian-court.
112
    Findings, Recommendations and Actions From ICO Investigation Into Data Analytics in
Political Campaigns, ICO (July 10, 2018), https://ico.org.uk/about-the-ico/news-and-
events/news-and-blogs/2018/07/findings-recommendations-and-actions-from-ico-investigation-
into-data-analytics-in-political-campaigns/.
CONSOLIDATED COMPLAINT                          114                                    MDL NO. 2843
                                                                            CASE NO. 18-MD-02843-VC
States.113 The French DPA stated: “the cookie banner and the mention of information collected

‘on and outside Facebook’ do not allow users to clearly understand that their personal data are

systematically collected as soon as they navigate on a third-party website that includes a social

plug in.”114

       307.    On May 18, 2017, the European Union’s antitrust commission fined Facebook

$122 million for misleading regulators about combining data from the messaging service app

WhatsApp.

       308.    In September 2017, the Spanish data protection authority (the AEPD) fined

Facebook €1.2 million ($1.44 million) for its collection of data on “people’s ideologies and

religious beliefs, sex and personal tastes” without users consent and for not deleting information

that was not relevant.

G.     Despite Warnings, Facebook Failed to Take Reasonable Measures to Ensure That
       Third-Party Applications and Device Makers Would Not Access and Use Its Users’
       Content and Information Without Their Consent.
       309.    Third parties’ unauthorized access to and use of Plaintiffs’ content and

information should not—indeed did not—come as a surprise to Facebook when it was revealed

to the public in 2018. Facebook had disregarded earlier red flags and had failed to implement

reasonable measures to secure its users’ data.

       1.      Facebook Partnered With Kogan to Exploit Facebook User Data for
               Commercial Use
       310.    Facebook was well aware of the commercial use of personal content and

information through the MyDigitalLife app. GSR’s “End User Terms and Conditions” were

posted publicly. Kogan has stated that he “never heard a word” from Facebook concerning his

intent to “sell” data even though he had publicly posted his intention for a year and a half.

       311.    Facebook became aware that Kogan and GSR had misused data after the

Guardian published an article about it in December 11, 2015. Facebook then conducted an

113
    Common Statement by the Contact Group of the Data Protection Authorities of the
Netherlands, France, Spain, Hamburg and Belgium, CNIL (May 16, 2017),
https://www.cnil.fr/fr/node/23602.
114
    Id.
CONSOLIDATED COMPLAINT                           115                                   MDL NO. 2843
                                                                            CASE NO. 18-MD-02843-VC
investigation.

       312.      At minimum, Facebook became aware that GSR had sold Facebook data

containing personal content by March 2016, in negotiating with Kogan a settlement of claims,

when Facebook was informed that Kogan generated revenues by re-selling Facebook user data.

Facebook failed to determine at that time the scope and extent of the content and information

GSR had obtained. Indeed, Facebook waited over two years to make any type of public

disclosure.

       2.        Facebook Has Repeatedly Ignored Its Users’ Privacy Rights and
                 Expectations
       313.      Throughout its history, Facebook has continually pushed past users’ privacy

concerns seeking to maximize its growth and maximize its profits. In light of the company’s

history of privacy abuses, it is apparent that the company’s motto to “move fast and break

things” applies even to users’ privacy.

       314.      In 2006, Facebook unveiled its News Feed feature. This feature soon faced

controversy since users’ posts were automatically revealed regardless of users’ intention to keep

these posts private. Zuckerberg’s response to this controversy was that “we did a bad job of

explaining what the new features were and an even worse job of giving you control of them.”115

       315.      In 2007, Facebook launched Beacon. This feature automatically enrolled users

into sharing their website and app history with advertisers. Users were sometimes unaware of

these posts, and the sites also gave Facebook ad-targeting data. After privacy complaints and a

class action lawsuit, Beacon was shut down. In response, Zuckerberg stated, “We’ve made a lot

of mistakes building this feature, but we’ve made even more with how we've handled them. We

simply did a bad job with this release, and I apologize for it.”116

       316.      In 2009, the Facebook faced a complaint by the Canadian Internet Policy and

Public Interest Clinic (“CIPPIC”) over a number of privacy concerns including the information

115
    Mark Zuckerberg, An Open Letter From Mark Zuckerberg, Facebook (Sept. 8, 2006),
https://www.facebook.com/notes/facebook/an-open-letter-from-mark-zuckerberg/2208562130/.
116
    Mark Zuckerberg, Thoughts on Beacon, Facebook (Dec. 5, 2007),
https://www.facebook.com/notes/facebook/thoughts-on-beacon/7584397130/.
CONSOLIDATED COMPLAINT                           116                                 MDL NO. 2843
                                                                          CASE NO. 18-MD-02843-VC
shared by users to third party app developers. This complaint resulted in an investigation by the

Canadian Privacy Commissioner (“CPC”). As a result of this investigation, the CPC announces

the following:

       Facebook has agreed to retrofit its application platform in a way that will prevent any
       application from accessing information until it obtains express consent for each category
       of personal information it wishes to access. Under this new permissions model, users
       adding an application will be advised that the application wants access to specific
       categories of information. The user will be able to control which categories of
       information an application is permitted to access. There will also be a link to a statement
       by the developer to explain how it will use the data.117
       317.      Yet this settlement did not stop Facebook from continuing to exploit users’

privacy. In May 2010, the Wall Street Journal reported that Facebook had been sending users’

names and Facebook Identification numbers to advertising companies. This information was

being sent without users’ consent. In his apology, Zuckerberg stated, “Sometimes we move too

fast—and after listening to recent concerns, we’re responding.”118

       318.      In July 2010, while giving a speech at a technology awards show in San

Francisco, Zuckerberg announced that privacy is no longer a “social norm.”119 Zuckerberg

stated, “People have really gotten comfortable not only sharing more information and different

kinds, but more openly and with more people. That social norm is just something that has

evolved over time.”120 Zuckerberg’s proclamation that social norms have changed serves as a

thin veil to Facebook’s continued violation of users’ privacy.

       319.      Statements from other executives at Facebook show the same reckless
determination to grow. For example, in 2016, Andrew Bosworth, a vice president at Facebook,

defended the company’s growth tactics in an internal memo. Bosworth’s memo explains that

117
    Office of the Privacy Commissioner of Canada, Facebook Agrees to Address Privacy
Commissioner’s Concerns, OPC (Aug. 27, 2009), https://www.priv.gc.ca/en/opc-news/news-
and-announcements/2009/nr-c_090827/.
118
    Mark Zuckerberg, From Facebook, Answering Privacy Concerns with New Settings, Wash.
Post (May 24, 2010), http://www.washingtonpost.com/wp-
dyn/content/article/2010/05/23/AR2010052303828.html.
119
    Bobbie Johnson, Privacy No Longer a Social Norm, Says Facebook Founder, Guardian (Jan.
10, 2010), https://www.theguardian.com/technology/2010/jan/11/facebook-privacy.
120
    Id.
CONSOLIDATED COMPLAINT                           117                                  MDL NO. 2843
                                                                           CASE NO. 18-MD-02843-VC
despite any ramifications, Facebook’s growth is “*de facto* good”:

       The ugly truth is that we believe in connecting people so deeply that anything that allows
       us to connect more people more often is *de facto* good. It’s perhaps the only area
       where the metrics do tell the true story as far as we are concerned.

       ...

       [M]ake no mistake, growth tactics are how we got here. If you joined the company
       because it is doing great work, that’s why we get to do that great work. We do have great
       products but we still wouldn’t be half our size without pushing the envelope on growth.
       Nothing makes Facebook as valuable as having your friend on it, and no product
       decisions have gotten as many friends on as the ones made in growth.
       320.    The reason that “growth was good” is that it fueled Facebook’s business model as
data broker.

       321.    Numerous internal Facebook employees and investors voiced privacy concerns to

Mr. Zuckerberg and others.

       322.    For instance, Facebook’s operations manager, Sandy Parakilas, objected to how

Facebook handled privacy concerns arising from Graph API v.1.0. He was concerned that

Facebook never audited any app developers using Facebook’s Graph API v.1.0 as of 2010, and

he raised his concerns about the data vulnerabilities on Facebook Platform to Facebook

executives.121 Parakilas was also concerned that when developers violated Facebook’s Data Use

Policy, Facebook users were (to the best of his knowledge) never notified that developers had

inappropriately accessed their data.122

       323.    In a New York Times op-ed, Parakilas wrote of the reaction he received from
executives after he raised privacy concerns about Graph API v.1.0:

       [W]hen I was at Facebook, the typical reaction I recall looked like this: try to put
       any negative press coverage to bed as quickly as possible, with no sincere efforts
       to put safeguards in place or to identify and stop abusive developers. When I
       proposed a deeper audit of developers’ use of Facebook’s data, one executive
       asked me, “Do you really want to see what you’ll find?” The message was clear:

121
    Digital, Culture, Media and Sport Committee (House of Commons), Examination of Witness
Sandy Parakilas at Q1191-194, Mar. 21, 2018,
http://data.parliament.uk/writtenevidence/committeeevidence.svc/evidencedocument/digital-
culture-media-and-sport-committee/fake-news/oral/80809.html.
122
    Id. at Q1200-201.
CONSOLIDATED COMPLAINT                          118                                   MDL NO. 2843
                                                                           CASE NO. 18-MD-02843-VC
       The company just wanted negative stories to stop. It didn’t really care how the
       data was used.123

       324.    Indeed, an executive at Facebook “advised [Parakilas] against looking too deeply

at how the data was being used.” Facebook, Parakilas has commented, “felt that it was better not

to know.”124

       325.    Likewise, in October 2016, Roger McNamee (an early investor in Facebook) sent

a draft of an op-ed outlining security risks of election interference on Facebook to Mr.

Zuckerberg and Ms. Sandberg ahead of publishing. According to Mr. McNamee:

       They each responded the next day. The gist of their messages was the same: We
       appreciate you reaching out; we think you’re misinterpreting the news; we’re
       doing great things that you can’t see. Then they connected me to Dan Rose, a
       longtime Facebook executive with whom I had an excellent relationship. Dan is a
       great listener and a patient man, but he was unwilling to accept that there might be
       a systemic issue. Instead, he asserted that Facebook was not a media company,
       and therefore was not responsible for the actions of third parties.

       326.    And in 2017, Alex Stamos, Facebook’s then-Chief of Security, authored a white

paper that was later scrubbed for mentions of Russia. On October 19, 2017, ZDNet reported on a

leaked recording of an internal Facebook meeting held in late July 2017. In the recording, Mr.

Stamos raised security privacy concerns, stating, “We have made intentional decisions to give

access to data and systems to engineers to make them ‘move fast’ but that creates other issues for
us.” Facebook now admits that it was too slow to act with regards to this issue.

       3.      Facebook’s Failure to Implement Reasonable Security Measures
       327.    Facebook recognized the need for a new login feature that would allow users

more control over their settings; however, they failed to implement these changes in a timely

manner. On April 30, 2014, at the f8 Developers Conference, Facebook announced new changes

to its login system for third-party apps. The first change Facebook announced was a new login

for mobile apps that “now offer[] users more fine-grained controls over what they share with an

123
    Sandy Parakilas, We Can’t Trust Facebook to Regulate Itself, N.Y. Times (Nov. 19, 2017),
https://www.nytimes.com/2017/11/19/opinion/facebook-regulation-incentive.html.
124
    Id.
CONSOLIDATED COMPLAINT                          119                                   MDL NO. 2843
                                                                           CASE NO. 18-MD-02843-VC
app.” Pictured below:




       328.    This new login system seemingly gave users fine-grained control over what they

shared with app developers. Facebook’s stated about this feature: “Click Log in with Facebook

on many apps and you should see the usual permission window open, only now you should see a

link that says ‘Edit the info you provide.’ Clicking this will bring up a list of permissions the app

is requesting. You will see check marks beside each line of permission. Many of these are

actually optional, and you can now uncheck them to prevent that specific information from being

shared. Also, by default, apps will no longer be able to post to Facebook on your behalf. You

will need to approve this when you first connect to the app.”125

       329.    Facebook did not require existing applications to switch to this new feature until

April 30, 2015. This feature did not change the settings for users who were already logged into

an app. If users had already logged in, there was no way to go and delete data they may have


125
   Editor, New Facebook Account Login Features, TechAdvisory (July 22, 2014),
http://www.techadvisory.org/2014/07/new-facebook-account-login-features/.
CONSOLIDATED COMPLAINT                           120                                    MDL NO. 2843
                                                                             CASE NO. 18-MD-02843-VC
passed on to third-party developers.

       330.    Also in April 2014, Zuckerberg announced a new anonymous login feature for

users.126 This feature would allow users to try an app without sharing any content and




information.


       331.    This anonymous login feature was never taken out of development. On May 2015,

Eddie O’Neil, product manager for Facebook’s login products stated, “Only a ‘couple dozen’

app developers have access to the tool, and fewer than a dozen are actually using it as part of
their app.”127 Facebook later confirmed that it killed the project in August 2015, “due to lack of

interest from developers,” even though this app feature would have helped users limit the amount

of information that apps could receive.128


126
    Referring to the blue Facebook login button, Mr. Zuckerberg stated: “We know some people
are scared of pressing this blue button. It’s some of the most common feedback we get on our
platform . . . .” Josh Constine, Facebook Launches Anonymous Login So You Can Try Apps
Without Giving Up Your Data, TechCrunch (Apr. 30, 2014),
https://techcrunch.com/2014/04/30/facebook-anonymous-login/.
127
    Kurt Wagner, Whatever Happened to Facebook’s Anonymous Login?, Recode (Mar. 6, 2015),
https://www.recode.net/2015/3/6/11559878/whatever-happened-to-facebooks-anonymous-login.
128
    Id.
CONSOLIDATED COMPLAINT                          121                                   MDL NO. 2843
                                                                           CASE NO. 18-MD-02843-VC
        332.    Facebook announced its plans to add a “Clear History” option that will:

        [E]nable people to see the websites and apps that send us information when they use
        them, delete this information from their accounts, and turn off our ability to store it
        associated with their accounts going forward. . . . If a user clears his or her history or uses
        the new setting, we’ll remove identifying information so a history of the websites and
        apps the user used won’t be associated with the user’s account. We’ll still provide apps
        and websites with aggregated analytics—for example, we can build reports when we’re
        sent this information so we can tell developers if their apps are more popular with men or
        women in a certain age group. We can do this without storing the information in a way
        that’s associated with the user’s account, and as always, we don’t tell advertisers who a
        user is.”129
        333.    Facebook claimed in May it would release this feature “in the coming months,”

but has not as of this filing.130

        334.    Moreover, and prior to April 4, 2018, people, including non-Facebook users,

could enter another person’s phone number or email address into Facebook search to help find

them. Facebook recently reported that it would be removing this feature:

        [M]alicious actors have . . . abused these features to scrape public profile information by
        submitting phone numbers or email addresses they already have through search and
        account recovery. Given the scale and sophistication of the activity we’ve seen, we
        believe most people on Facebook could have had their public profile scraped in this way.
        So we have now disabled this feature. We’re also making changes to account recovery to
        reduce the risk of scraping as well.

        4.      Facebook’s Failure to Notify Plaintiffs and Class Members of the Misuse of
                Their Data Made Remedial Measures Impossible
        335.    Despite Facebook’s actual knowledge that Class Members’ content and

information had been collected and used without their authorization, and that such misuse of

Class Members’ data presented substantial risk of further misuse, fraud, and other identity theft

to Class Members, and despite assuring its users that privacy and trust were important parts of

Facebook’s service, Facebook deliberately failed to provide notification to Class Members of the


129
    Letter from Facebook, Inc. to Chairman Greg Walden, Ranking Member Frank Pallone,
Energy & Commerce Committee, and U.S. House of Representatives, Facebook’s Response to
House Energy and Commerce Questions for the Record (June 29, 2018) at DeGette § 10 ¶ 3.
130
    Chris Welch, Facebook to Introduce Clear History Privacy Tool in Coming Months, Verge
(May 1, 2018), https://www.theverge.com/2018/5/1/17307346/facebook-clear-history-new-
privacy-feature.
CONSOLIDATED COMPLAINT                            122                                    MDL NO. 2843
                                                                              CASE NO. 18-MD-02843-VC
misuse of their content and information without and/or in excess of authorization, until March

2018—approximately three years after it was informed of the Cambridge Analytica Scandal.

       336.    In the intervening years between 2015, when the Guardian notified Facebook of

the release of content and information to Cambridge Analytica, and 2018, when Facebook

admitted, after further reporting, that this had occurred, Facebook failed to inform Plaintiffs and

Class Members that their sensitive content and information had been used without and/or in

excess of their authorization and denied them the opportunity to take steps to protect themselves

and mitigate their heightened risk of identity theft and other harms.

       337.    Plaintiffs and Class Members were therefore blindsided when they learned that

their content and information had been accessed without and/or in excess of their authorization,

and was allegedly used by Cambridge Analytica to create targeted advertising on behalf of

President Donald J. Trump’s 2016 Presidential campaign.

       5.      The Cambridge Analytica Scandal Has Triggered Additional Revelations
               About Misuse of User Data
       338.    Following the Cambridge Analytica Scandal, Facebook conducted its own

internal audit into other app developers, but has not made the details public, with scant

exception. Audit reports prepared by PriceWaterhouseCoopers have been heavily redacted.

Nonetheless, it is known that millions of apps had access to users’ data prior to Facebook’s 2014

platform changes. Facebook has now admitted that it has suspended 400 of them “due to

concerns around the developers who built them or how the information people chose to share

with the app may have been used.” Facebook’s review is limited to apps that had access prior to

2014, when Facebook changed its platform policies. However, reports continue to emerge

regarding abuse of user content and information even after this platform change.

       339.    Facebook has admitted that the Cambridge Analytica Scandal breached its

agreements with its users. On March 21, 2018, Mr. Zuckerberg posted to his Facebook account

to acknowledge a “breach of trust between Facebook and the people who share their data with us

and expect us to protect it” and said, “We need to fix that.” His post stated that in addition to

investigating Cambridge Analytica, Facebook was also investigating “all apps that had access to

CONSOLIDATED COMPLAINT                           123                                    MDL NO. 2843
                                                                             CASE NO. 18-MD-02843-VC
large amounts of information.”

       340.     Mr. Zuckerberg repeated the same sentiment in full-page ads in several British

and American newspapers a few days later. Facebook made these statements to assuage public

outcry and prevent users from leaving the platform, as well as to assure regulators. Attempts to

distance itself from these statements when called to account in this lawsuit should not be

countenanced.

       341.     Also on March 21, 2018, Sheryl Sandberg posted to her Facebook account that

Facebook is “taking steps to reduce the data [Facebook users] give an app” when they use their

Facebook account, and the Company intends to “make it easier” for users to have a better

understanding of which apps they have “allowed to access [their] data.”

       342.     On or about April 6, 2018, Facebook suspended AggregateIQ, who played a

pivotal role in the Brexit campaign, from the platform, following reports it may be connected to

Cambridge Analytica’s parent company, SCL. This was nearly three years after Facebook

learned of Cambridge Analytica’s psychographic marketing.

       343.     On or about April 8, 2018, Facebook suspended the CubeYou app from the

platform after CNBC notified them that CubeYou was collecting information about users

through quizzes, similar to Cambridge Analytica, and had business ties to Cambridge Analytica.

H.     Statements by Facebook’s CEO Give Rise to a Duty to Disclose and Admit to Injury
       From Lack of Disclosure
       344.     Defendant Zuckerberg exerts immense personal control over the direction and

decisions of the Company. When Facebook staged its initial public offering six years ago, it

implemented a dual-class share structure that allows Zuckerberg to personally control a majority

of the voting stock even though other investors own the majority of the financial value of the

company. As a controlled company, Facebook is exempt from certain investor protections in

exchange for making detailed disclosures about the fact that if you buy Facebook stock, you are

buying into a controlled enterprise.

       345.     Zuckerberg wrote an Op-Ed in the Washington Post in May 2010, outlining the

“principles under which Facebook operates” respecting privacy and users’ content and

CONSOLIDATED COMPLAINT                         124                                    MDL NO. 2843
                                                                           CASE NO. 18-MD-02843-VC
information. “You have control over how your information is shared. We do not share your

personal information with people or services you don’t want. We do not give advertisers access

to your personal information. We do not and never will sell any of your information to

anyone.”131

       346.    On May 27, 2010 Zuckerberg made statements about app developers being

required to respect users’ “privacy settings” that gave rise to a duty to inform Plaintiffs and Class

Members about the full extent to which app developers and other third parties were able to

access their personal content notwithstanding privacy settings: “There’s this false rumor that’s

been going around which says that we’re sharing private information with applications and it’s

just not true. The way it works, is ... if you choose to share some information with everyone on

the site, that means that any person can go look up that information and any application can go

look up that information as well. ... But applications have to ask for permission for anything that

you’ve set to be private.”132 These statements also required Facebook to disclose the risks that

Facebook would be unable to secure content and information that was shared with third parties.

       347.    But Zuckerberg went on, making statements give rise to the duty to disclose that

Facebook allowed Plaintiffs and Class Members to be targeted by advertises and marketers that

combined their content and information with other data in order to target them: “Advertisers

never get access to your information. We never sell anyone's information and we have no plans

to ever do that in the future. Now, in order to run a service like this that serves more than 400

million users, it does cost money ... so we do have to make money and the way we do that is

through ... advertising. Advertisers come to us and they say what they want to advertise and we

show advertisements to people who we think are going to be most interested. ... But at no part in




131
    Mark Zuckerberg, From Facebook, Answering Privacy Concerns with New Settings, Wash.
Post (May 24, 2010), http://www.washingtonpost.com/wp-dyn/content/article/
2010/05/23/AR2010052303828.html.
132
    Mark Memmot, Zuckerberg: Sharing Is What Facebook Is About, NPR All Things
Considered (May 27, 2010), https://www.npr.org/sections/alltechconsidered/2010/05/27/
127210855/facebook-zuckerberg-privacy.
CONSOLIDATED COMPLAINT                           125                                   MDL NO. 2843
                                                                            CASE NO. 18-MD-02843-VC
that process is any of your information shared with advertisers.”133

       348.    Zuckerberg created the illusion of security for personal content shared by

Plaintiffs and Class Members. Creating “Zuckerberg’s Law,” Zuckerberg built user base and a

platform that was designed to encourage users to share more and more content and information:

“I would expect that next year, people will share twice as much information as they share this

year, and next year, they will be sharing twice as much as they did the year before, he said. “That

means that people are using Facebook, and the applications and the ecosystem, more and

more.”134

       349.    Zuckerberg created this false sense of security by stressing that while Facebook

was built on sharing, it “encouraged” privacy. On June 2, 2010, Zuckerberg stated at a D8

conference: “Privacy is very important to us. I think there are some misperceptions. People use

Facebook to share and to stay connected. You don’t start off on Facebook being connected to

your friends, you’ve got to be able to find them. So having some information available broadly is

good for that. Now, there have been misperceptions that we're trying to make all information

open, but that’s false. We encourage people to keep their most private information private.”135

Facebook did not disclose that default settings were precisely the opposite of what Zuckerberg

described. A trove of content and information that was the most private and intimate to Plaintiffs

and Class Members—such as photographs, videos, “likes,” and “status updates”–were by default

set to be disclosed by app developers through their friends. Facebook also failed to tell users that

the content and information shared with their friends would be accessed by device makers.

       350.    Zuckerberg also made control of content and information by Plaintiffs and Class

Members a foundational pledge. He stated on his Facebook page on November 29, 2011 that “I

founded Facebook on the idea that people want to share and connect with people in their lives,


133
    Id.
134
    Saul Hansell, Zuckerberg’s Law of Information Sharing, N.Y. TIMES (Nov. 6, 2008),
https://bits.blogs.nytimes.com/2008/11/06/zuckerbergs-law-of-information-sharing/
135
    David Catacchio, Zuckerberg at D8: ‘we recommend privacy settings, we did not change any
settings, TNW website (Jun. 2, 2010), https://thenextweb.com/socialmedia/2010/06/03/
zuckerberg-at-d8-we-recommend-privacy-settings-we-did-not-change-any-settings/.
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but to do this everyone needs complete control over who they share with at all times. ... This idea

has been the core of Facebook since day one. When I built the first version of Facebook, almost

nobody I knew wanted a public page on the internet. That seemed scary. But as long as they

could make their page private, they felt safe sharing with their friends online. Control was key.

With Facebook, for the first time, people had the tools they needed to do this. That’s how

Facebook became the world's biggest community online. We made it easy for people to feel

comfortable sharing things about their real lives . . .”136

        351.    Following the FTC investigation in 2011, Zuckerberg in the same November 2011

Facebook post doubled down on his promise of privacy and security of content and information:

“[G]iving you tools to control who can see your information and then making sure only those

people you intend can see it... . As a matter of fact, privacy is so deeply embedded in all of the

development we do that every day tens of thousands of servers worth of computational resources

are consumed checking to make sure that on any webpage we serve, that you have access to see

each of the sometimes hundreds or even thousands of individual pieces of information that come

together to form a Facebook page. … We do privacy access checks literally tens of billions of

times each day to ensure we're enforcing that only the people you want see your content. These

privacy principles are written very deeply into our code.”137 Facebook did not give Plaintiffs and

Class Members the “tools” they needed to prevent their information from being shared to app

developers, device makers, and other third parties.

        352.    After a report of U.S. government surveillance surfaced in 2014, Zuckerberg

reiterated Facebook’s commitment to securing content and information, even though he was

aware that Facebook had refused to perform audits as recommend by its executives with

oversight responsibilities over third party app developers: “To keep the internet strong, we need

to keep it secure. That’s why at Facebook we spend a lot of our energy making our services and


136
    Mark Zuckerberg, Our Commitment to the Facebook Community, Facebook, (Nov. 29, 2011),
https://www.facebook.com/notes/facebook/our-commitment-to-the-facebook-
community/10150378701937131/.
137
    Id.
CONSOLIDATED COMPLAINT                            127                                  MDL NO. 2843
                                                                            CASE NO. 18-MD-02843-VC
the whole internet safer and more secure. We encrypt communications, we use secure protocols

for traffic, we encourage people to use multiple factors for authentication and we go out of our

way to help fix issues we find in other people’s services. . . . Unfortunately, it seems like it will

take a very long time for true full reform. So it’s up to us -- all of us -- to build the internet we

want. Together, we can build a space that is greater and a more important part of the world than

anything we have today, but is also safe and secure.”138

        353.    Zuckerberg began 2018 by admitting that Facebook had failed to protect Plaintiffs

and Class Members’ content and information: “The world feels anxious and divided, and

Facebook has a lot of work to do -- whether it’s protecting our community from abuse and hate,

defending against interference by nation states, or making sure that time spent on Facebook is

time well spent. My personal challenge for 2018 is to focus on fixing these important issues. We

won’t prevent all mistakes or abuse, but we currently make too many errors enforcing our

policies and preventing misuse of our tools.”139

        354.    When the Cambridge Analytica Scandal broke in March 2018, Zuckerberg

admitted that this revelation demonstrated that Facebook had failed to secure Plaintiffs’ and

Class Members’ content and information: “This was clearly a mistake. We have a basic

responsibility to protect people’s data, and if we can’t do that then we don’t deserve to have the

opportunity to serve people.”140

        355.    Zuckerberg has publicly claimed responsibility for Plaintiffs’ and Class Members’

privacy on the Facebook platform when Zuckerberg testified before Congress in April 2018:

“We didn’t take a broad enough view of our responsibility, and that was a big mistake,”


138
    Mark Zuckerberg, FACEBOOK (Mar. 13, 2014), https://www.facebook.com/
zuck/posts/10101301165605491.
139
    Mark Zuckerberg, FACEBOOK (Jan. 4, 2018), https://www.facebook.com/zuck/
posts/10104380170714571.
140
    Danielle Wiener-Bronner, Mark Zuckerberg Has Regrets: ‘I’m Really Sorry That This
Happened’, CNN Tech (Mar. 21, 2018), http://money.cnn.com/2018/03/21/technology/mark-
zuckerberg-apology/index.html; Mark Zuckerberg in his own words: The CNN interview, CNN
Tech, Mar. 21, 2018, http://money.cnn.com/2018/03/21/technology/mark-zuckerberg-cnn-
interview-transcript/.
CONSOLIDATED COMPLAINT                            128                                     MDL NO. 2843
                                                                               CASE NO. 18-MD-02843-VC
Zuckerberg’s testimony continued. “It was my mistake, and I’m sorry. I started Facebook, I run

it, and I’m responsible for what happens here.” Zuckerberg’s statements conceded that

Facebook had failed to fulfill its promise that Facebook users owned and controlled their content

and information: “It’s not enough to just give people control over their information, we need to

make sure that the developers they share it with protect their information too.”141

       356.    In the wake of the Cambridge Analytica Scandal. Facebook admitted that its

current disclosures and privacy settings were confusing and ineffective. Facebook stated in a

blog post in March 2018 that “The last week showed how much more work we need to do to

enforce our policies, and to help people understand how Facebook works and the choices they

have over their data. … We’ve heard loud and clear that privacy settings and other important

tools are too hard to find, and that we must do more to keep people informed.”142

I.     Facebook’s Cultivation and Release of Its Users’ Data Were Part of a Lucrative
       Market for Big Data Where Users’ Content and Information is Valuable,
       Marketable Property

       1.      Facebook Has Generated Significant Revenue from Allowing Access to Its
               Users’ Content and Information
       357.    As just discussed, Facebook enabled third-party app developers and device

makers to have access to millions of users’ content and information. It did so because selling

access is how it makes money. Facebook has invested in some of these apps as well,

subsequently acquiring them, or retaining a percentage of the apps’ earning. Thus the growth of

apps fuels Facebook’s growth.

       358.    Critical to this story was the wild success of the app Farmville, which Facebook

launched in 2009. A “farming solution social game,” Farmville became the most popular game

on Facebook’s site and stayed that way for nearly two years. Developed by Zynga, which

Facebook later acquired, Farmville was a firehouse of user content and information for

141
    Facebook CEO Mark Zuckerberg Hearing on Data Privacy and Protection, C-SPAN (Apr.
10, 2018), https://www.c-span.org/video/?443543-1/facebook-ceo-mark-zuckerberg-testifies-
data-protection (complete opening statement in Senate Hearing).
142
    Arjun Kharpal, Facebook rolls out its first changes since Mark Zuckerberg promised to ‘do
better, CNBC (Mar. 28, 2018), https://www.cnbc.com/2018/03/28/facebook-unveils-new-
privacy-tools-to-let-you-control-your-data-better.html.
CONSOLIDATED COMPLAINT                          129                                   MDL NO. 2843
                                                                           CASE NO. 18-MD-02843-VC
Facebook, jumpstarting Facebook’s aggressive move into data brokering.

       359.    Collecting data about Facebook users (and non-users) is simply the means to an

end in one of Facebook’s largest revenue streams. Indeed, for its first quarter 2018 earnings,

Facebook reported $11.97 billion in revenue and $4.98 billion in profit for the past quarter, with

advertising accounting for most of the company’s revenue.143




       360.    The data Facebook has now collected is extremely valuable. Facebook shares

those digital profiles with app makers in exchange for buying advertising, and in exchange for

further information about the users—what games they like to play, how much time they spend

playing what game, how good they are, etc. The information is intimate. Facebook does not

fully disclose to the users themselves what information and content it has collected about them.

There is no opportunity to prevent the sharing of that aggregated profile or to correct it. For


143
   Emil Protalinski, Over 90% of Facebook’s Advertising Revenue Now Comes From Mobile,
Venture Beat (Apr. 25, 2018), https://venturebeat.com/2018/04/25/over-90-of-facebooks-
advertising-revenue-now-comes-from-mobile/.
CONSOLIDATED COMPLAINT                          130                                    MDL NO. 2843
                                                                            CASE NO. 18-MD-02843-VC
many of the app developers who charge, Facebook retains a portion of their revenues.

       2.      Facebook Has Gained This Revenue by Acting as a Data Broker—and
               Partnering with Other Data Brokers
       361.    Including Facebook, there are between 2,500 to 4,000 data brokers in the United

States. One of the largest of these is Facebook. The information that these brokers collect

includes government identification numbers, biometrics (body measurements and calculations

such as facial recognition), account numbers, purchase histories, mother’s maiden name, data

and place of birth, Social Security numbers, social preferences, political viewpoints, connections,

etc. Bundled together, this information effectively commoditizes individuals’ identities,

becoming the digital equivalent of a person’s existence.

       362.    Data brokers are notoriously secretive, in part because they want consumers to

remain unaware of the many ways in which they are surveilled. Large data brokers collect

content and information and consolidate it into virtual profiles of individuals, doing so primarily

for four purposes: marketing and predictive analytics; people-search functions; risk mitigation;

and predictive voting models. None of these purposes directly serves the ends of the people

about whom this content and information is gathered. Marketing and predictive analysis and

predictive voting models are used to trigger response and action in the users whose content and

information has been collected to benefit those seeking to sell votes or products. Even the risk

mitigation purpose, ostensibly to weed out fraud, does not do so from the perspective of

preventing individuals from identity theft, for example. Rather, it is used to protect entities

purchasing aggregated content and information to prevent fraud to them.

       363.    Adweek reported in April 2013 that Facebook had partnered with data broker

firms such as Datalogix “to find out how the social network influences online purchasing

behavior.” Through these partnerships Facebook could “tell what users have purchased, even

when they’re not on the site. It’s a way for Facebook to show advertisers that users can and do

make purchases after seeing or engaging with an ad on” Facebook.

       364.    To assess the impact of Facebook advertisements on shopping in the physical

world, Datalogix provides Facebook with dataset that includes hashed email addresses, hashed

CONSOLIDATED COMPLAINT                           131                                    MDL NO. 2843
                                                                             CASE NO. 18-MD-02843-VC
phone numbers, and Datalogix ID numbers for everyone they are tracking. Using the information

Facebook already has about its own users, Facebook tests various email addresses and phone

numbers against the dataset until it has a long list of the Datalogix ID numbers associated with

different Facebook users. By matching the information provided by data brokers with the

content and information that Facebook curates on its platforms, including its apps, Facebook has

created and maintains digital dossiers of millions of individuals. These dossiers include names,

addresses, health information, information about your neighbors, inclinations, proclivities. All of

these are used to predict future behavior, as described below. In consenting to use Facebook,

users did not and could not have imagined that they could be so surveilled. Indeed, a March

2018 study showed 70% of Facebook users did not think their data was being collected when

they were off Facebook. This is a painfully wrong belief.

       365.    To aggregate and match user data, Facebook forged relationships with the

following data brokers:

       •   Acxiom, which can provide data from Australia, France, Germany, the UK and the
           US;
       •   Acxiom Japan, which can provide data from Japan;
       •   CCC Marketing, which can provide data from Japan;
       •   Epsilon, which can provide data from the US;
       •   Experian, which can provide data from Australia, Brazil, the UK and the US;
       •   Oracle Data Cloud (formerly Datalogix), which can provide data from the UK and the
           US; and
       •   Quantium, which can provide data from Australia.
       366.    Facebook worked with these data brokers to collect information about consumers

through public records, loyalty card programs, surveys, and independent data providers. In 2016

ProPublica reported that Facebook collects more than 52,000 unique data points to classify users.

According to the article, Facebook provided at least 29,000 targeted categories for advertisers to

choose from. Nearly 600 of these categories were provided by third-party data brokers.

       367.    Facebook has not informed users that it matches content and information users

reveal on the Facebook platform with information provided through data brokers collected from

a myriad of sources to build digital profiles of them. While some data brokers, like Acxiom,


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have allow consumers to review and correct their profiles, Facebook does not.144 Facebook users

have not been informed these exist, let alone have the opportunity to review or correct those

profiles. As even Acxiom notes, transparency is key to maintain user trust.

J.     The Content and Information About Its Users That Facebook Has Shared With
       Third Parties Has Allowed Advertisers and Political Operatives to Harass and
       Discriminate Against Them

       1.      Facebook Users Did Not Understand that Their Content and Information
               Would Be Used for Psychographic Marketing
       368.    Facebook users did not understand and would have behaved differently if they

understood how their content and information would be collected and then used for a special

kind of targeted messaging called “psychographic marketing.” Politicians, advertisers and even

foreign nations all engaged in psychographic marketing on Facebook and using user content and

information that had been disclosed to third parties without users’ authorization.

       369.    Psychographic marketing exploits a Facebook user’s fears, feelings, and values.

Psychographic marketing appeals to a person’s motives and instincts—focusing on why a

consumer makes the decisions that she does—in order to influence emotion, mood, and behavior.

       370.    Psychographic tendencies can be determined by a person’s reaction to polarizing

issues, and can be measured and monetized on a platform like Facebook like perhaps, on a mass

level, no other way in human history. “The psychographic identities that develop and deepen

online can erupt into active conflict between groups, which provides both opportunities and

challenges for marketers. Conflicts can help you identify key psychographics: the Facebook

arguments between pro- and anti-screen parents inspired my research into parents’ tech attitudes.

But conflicts can also make it difficult to speak to your audience, since a marketing strategy that

extolls the play value of a tech device would turn off some parents, while delighting others.

That’s exactly why psychographic data is so essential: it gives you a roadmap for navigating




144
   Natasha Singer, Acxiom Lets Consumers See Data It Collects, N.Y. Times (Sept. 4, 2013),
https://www.nytimes.com/2013/09/05/technology/acxiom-lets-consumers-see-data-it-
collects.html.
CONSOLIDATED COMPLAINT                          133                                    MDL NO. 2843
                                                                            CASE NO. 18-MD-02843-VC
these types of divisions and sensitivities.”145

       371.    Cambridge Analytica used psychographic marketing techniques to predict a

person’s political views using content and information provided by Facebook. Cambridge

Analytica “harvest[ed] the Facebook profiles of millions of people in the United States, and to

use their private and personal content and information to create sophisticated psychological and

political profiles. And then target them with political ads designed to work on their particular

psychological makeup.”146 “Christopher Wylie, the former [Cambridge Analytica] employee

who recently came forward to detail how the company improperly acquired personal data from

fifty million Facebook users, has said that the company used that data to create a ‘psychological

warfare mindfuck tool.’”147

       372.    Psychographic marketing, to be successful, de-anonymizes its audience, and

invades an audience’s privacy by pinpointing personality traits for manipulation and deeply

exploiting deeply-ingrained values and beliefs. According to Alexander Nix:

       [W]e [were] able to commercially acquire large datasets on citizens across the United
       States—on adults across the United States—that comprise of consumer and lifestyle data
       points. This could include anything from their hobbies to what cars they drive to what
       magazines they read, what media they consume, what transactions they make in shops
       and so forth. . . . “I think I have made my position clear, which is that we are trying to
       make sure that we can use data to understand what people care about . . . .”148
       373.    Cambridge Analytica developed detailed voting profiles for U.S. and U.K. voters

and used this information to enhance psychographic marketing techniques. Cambridge Analytica

had information such as names, addresses, date of birth, and voter registration information for

145
    Alexandra Samuel, Psychographics Are Just as Important for Marketers as Demographics,
Harv. Bus. Sch. (Mar. 11, 2016), https://hbr.org/2016/03/psychographics-are-just-as-important-
for-marketers-as-demographics.
146
    Carole Cadwalladr, ‘I Made Steve Bannon’s Psychological Warfare Tool’: Meet the Data
War Whistleblower, Guardian (Mar. 18, 2018),
https://www.theguardian.com/news/2018/mar/17/data-war-whistleblower-christopher-wylie-
faceook-nix-bannon-trump.
147
    Sue Halpern, Cambridge Analytica and the Perils of Psychographics, New Yorker (Mar. 30,
2018), https://www.newyorker.com/news/news-desk/cambridge-analytica-and-the-perils-of-
psychographics.
148
    Statement of Claimant ¶ 20(f), Carroll v. Cambridge Analytica Ltd. [2018] EWHC (QB)
(Eng.).
CONSOLIDATED COMPLAINT                            134                                  MDL NO. 2843
                                                                            CASE NO. 18-MD-02843-VC
U.S. voters. It also had individual voter results. It also had a political profile that was comprised

of ten variables, ranked in order of perceived importance, as well as the likely vote in the 2016

presidential election.

       374.    Cambridge Analytica used psychographic models to direct messages to U.S.

voters. Alexander Nix stated that the voter profiles were used to “micro target” individual

voters.149 Cambridge Analytica used Plaintiffs’ content and information to run “4,000 different

advertising campaigns—about 1.4 billion impressions.”150 Much of this was on Facebook.

       375.    According to David Carroll, Professor at the Parsons School of Design in New

York City:

       [Cambridge Analytica] claim to have figured out how to project our voting behavior
       based on our consumer behavior. So it’s important for citizens to be able to understand
       this because it would affect our ability to understand how we're being targeted by
       campaigns and how the messages that we're seeing on Facebook and television are being
       directed at us to manipulate us. … I think it is a matter of the relationship between
       privacy and democracy.151
       376.    The Cambridge Analytica Scandal and subsequent investigations have revealed

that it was not just Kogan and Cambridge Analytica that purchased Facebook user content and

information with the goal of manipulating them. Psychographic marketing is the preferred

method of targeted advertising, and consumer data like Facebook user and content is its oil.152

       2.      The Features That Facebook Has Offered Advertisers Allow Extraordinarily
               Harmful and Invasive Forms of Psychographic Marketing
       377.    Starting in 2012, Facebook released its “Custom Audiences” feature, which

allows advertisers to directly target specific Facebook users with advertisements.

149
    Id. ¶ 20(h)
150
    Id.
151
    Brent Bambury, Data Mining Firm Behind Trump Election Built Psychological Profiles of
Nearly Every American Voter, CBC Radio (Mar. 20, 2018),
https://www.cbc.ca/radio/day6/episode-359-harvey-weinstein-a-stock-market-for-sneakers-
trump-s-data-mining-the-curious-incident-more-1.4348278/data-mining-firm-behind-trump-
election-built-psychological-profiles-of-nearly-every-american-voter-1.4348283.
152
    Mark Andrus, The New Oil: The Right to Control One’s Identity in Light of the
Commoditization of the Individual, Bus. Law Today (Sept. 28, 2017),
https://businesslawtoday.org/2017/09/the-new-oil-the-right-to-control-ones-identity-in-light-of-
the-commoditization-of-the-individual/.
CONSOLIDATED COMPLAINT                           135                                    MDL NO. 2843
                                                                             CASE NO. 18-MD-02843-VC
       378.    One way that advertisers can target a Custom Audience of Facebook users is by

uploading a spreadsheet with Facebook user identifying information, including Email, Phone

Number, Mobile Advertiser ID, First Name, Last Name, Zip/Postal Code, City, State/Province,

Country, Date of Birth, Year of Birth, Gender, Age, Facebook App User ID, and Facebook Page

User ID.

       379.    Advertisers can also target a Custom Audience of Facebook users based on (a)

visitors to a given website, (b) users of a given app or game; (c) people who interacted with a

given business offline, such as by visiting or calling a business; and (d) people who engaged with

content on Facebook or Instagram, such as by viewing a video on Facebook or Instagram.

       380.    To be clear, there is nothing problematic with targeted advertising in isolated

contexts. But as data has accumulated about users, combined with information obtained from

data brokers, a body of information has been accumulated that is available not to the users

themselves, but to third parties who make decisions about users’ healthcare, finances, insurances,

housing and other decisions without users’ knowledge. And it is clear that Facebook did not

control or audit how these third parties target Facebook users.

       381.    For example, Facebook’s “Managed Custom Audiences” feature “enabled

advertisers to access third-party data from approved data providers, like Acxiom and Oracle,

through Facebook-managed deals with those providers and then use that data to target their

Facebook ads.”153 Facebook’s Managed Custom Audiences feature was made possible by its

partnerships with data brokers, through which Facebook matched the data it collects about its

users and matches this with data collected by its partner data brokers regarding Facebook users.

TechCrunch notes that, although Facebook discontinued its Partner Categories program, it “left

open the option for businesses to compile illicit data sets or pull them from data brokers, then




153
   Tim Peterson, Facebook Will Remove Advertisers’ Other Third-Party Option, But Loopholes,
Questions Remain, DigiDay (Apr. 6, 2018), https://digiday.com/marketing/facebook-will-
remove-advertisers-third-party-data-option-loopholes-questions-remain/.
CONSOLIDATED COMPLAINT                          136                                    MDL NO. 2843
                                                                            CASE NO. 18-MD-02843-VC
upload them to Facebook as Custom Audiences by themselves.”154

       382.    On August 22, 2018, Facebook confirmed that it has continued to allow

advertisers to target Custom Audiences of Facebook users with advertisements based on data

obtained from data brokers, stating that it is allowable for “data providers and agencies [to]

create, upload and then share certain Custom Audiences on behalf of advertisers,” and therefore

Facebook is “clarifying [its] terms to make it clear that advertisers can do this—they can

independently work with partners off our platform to create Custom Audiences, as long as they

have the necessary rights and permissions to do so.”155 These intrusions into user spaces by

outside advertisers based on data accumulated and merged with user data violates Facebook’s

promise not to give advertisers’ the content and information of users.

       383.    Plaintiffs and Class Members did not consent to receiving advertisements targeted

directly to them through Facebook’s Managed Custom Audiences or Custom Audiences feature.

Until recently, Facebook did not even require advertisers using its Managed Custom Audiences

or Custom Audiences feature to accept responsibility for obtaining the “necessary permissions

from the people in the audience to use and share their information.” On July 2, 2018, Facebook

for the first time started requiring advertisers who wish to target specific Facebook users with

advertisements to accept responsibility for obtaining permissions from such users.156

       384.    TechCrunch notes, “Facebook is trusting advertisers to tell the truth about consent

for targeting . . . despite them having a massive financial incentive to bend or break those rules,”

and, although this new requirement “will give Facebook more plausible deniability in the event

of a scandal, and it might deter misuse,” the fact remains that “Facebook is stopping short of


154
    John Constine, Facebook Plans Crackdown on Ad Targeting by Email Without Consent,
TechCrunch (Mar. 31, 2018), https://techcrunch.com/2018/03/31/custom-audiences-
certification/.
155
    Facebook Business: Introducing New Requirements for Custom Audience Targeting,
Facebook, https://www.facebook.com/business/news/introducing-new-requirements-for-custom-
audience-targeting (last visited Sept. 20, 2018).
156
    Stephen Lam, Facebook Releases New Privacy Safeguards on How Advertisers Handle Data,
NBC News (June 13, 2018), https://www.nbcnews.com/tech/social-media/facebook-releases-
new-privacy-safeguards-how-advertisers-handle-data-n882781?cid=sm_npd_nn_fb_ma.
CONSOLIDATED COMPLAINT                          137                                    MDL NO. 2843
                                                                            CASE NO. 18-MD-02843-VC
doing anything to actually prevent non-consensual ad targeting.”157

       385.    Moreover, despite the Cambridge Analytica Scandal, Facebook still does not

require its users to provide affirmative consent before allowing advertisers to directly target such

users with advertisements through Facebook’s Custom Audiences feature.

       386.    Using the content and information that Facebook improperly disclosed to app

developers, device makers, and others, third parties including Cambridge Analytica directly

targeted specific Facebook users with advertisements that would be highly offensive to a

reasonable person.

       387.    The lesson of the Cambridge Analytica Scandal is not that targeted advertising

itself is bad. It is that the aggregation of users’ content and information, which was obtained

without users’ consent, is being used in ways that beyond the reasonable expectations of users.

Cambridge Analytica sought to “exploit[] essentially mental vulnerabilities in certain types of

people in the context of making them vote in a particular way.”158 For instance, “a neurotic,

extroverted and agreeable Democrat could be targeted with a radically different message than an

emotionally stable, introverted, intellectual one, each designed to suppress their voting

intention—even if the same messages, swapped around, would have the opposite effect.”159

       388.    The aggregated stolen data was used to discriminate. Cambridge Analytica

sought targeted African American voters with the goal of suppressing their votes: “Facebook

posts were targeted at some black voters reminding them of Hillary Clinton’s 1990s description

of black youths as ‘super predators’, in the hope it would deter them from voting.”160

157
    John Constine, Facebook Demands Advertisers Have Consent for Email/Phone Targeting,
TechCrunch (June 13, 2018), https://techcrunch.com/2018/06/13/facebook-custom-audiences-
consent/.
158
    Redazione, Exclusive Interview with Christopher Wylie, the Cambridge Analytica
Whistleblower, Vogue (May 9, 2018), https://www.vogue.it/en/news/daily-
news/2018/05/09/interview-with-christopher-wylie-cambridge-analytica/.
159
    Alex Hern, Cambridge Analytica: how did it turn clicks into votes?, Guardian (May 6, 2018),
https://www.theguardian.com/news/2018/may/06/cambridge-analytica-how-turn-clicks-into-
votes-christopher-wylie (emphasis added).
160
    Olivia Solon, Cambridge Analytica Whistleblower Says Bannon Wanted to Suppress Voters,
Guardian (May 16, 2018), https://www.theguardian.com/uk-news/2018/may/16/steve-bannon-
cambridge-analytica-whistleblower-suppress-voters-testimony.
CONSOLIDATED COMPLAINT                          138                                    MDL NO. 2843
                                                                            CASE NO. 18-MD-02843-VC
       389.    Other examples of discrimination abound. Although not the subject of this

lawsuit, claims have been brought against Facebook for permitting advertisers to target them or

exclude them. On July 24, 2018, the Washington State Office of Attorney General announced

that Facebook signed a legally binding agreement to make changes to its “advertising platform

by removing the ability of third-party advertisers to exclude ethnic and religious minorities,

immigrants, LGBTQ individuals and other protected groups from seeing their ads.”161

               Investigators in the Attorney General’s Office successfully used the
               platform to create 20 fake ads that excluded one or more ethnic
               minorities from receiving their advertising for nightclubs,
               restaurants, lending, insurance, employment and apartment rentals.
               This meant that these ethnic groups would not be able to see the ads
               at all, and would therefore be unaware of the opportunities in the
               advertisements.

               For example, AGO investigators posed as a restaurant. The
               restaurant ad excluded African-American, Asian-American and
               Latinx ethnic affinity groups.

               Despite discriminatory exclusions and language, Facebook’s
               advertising platform approved all 20 ads.
               ***


                     •   In addition to housing, credit and employment ads, Facebook
                         will no longer provide advertisers with options to exclude
                         ethnic groups from advertisements for insurance and public
                         accommodations. . . .

                     •   Facebook will no longer provide advertisers with tools to
                         discriminate based on race, creed, color, national origin,
                         veteran or military status, sexual orientation and disability
                         status. These exclusion options will not be present on any
                         advertisement for employment, housing, credit, insurance
                         and/or places of public accommodation.162




161
    AG Ferguson Investigation Leads to Facebook Making Nationwide Changes to Prohibit
Discriminatory Advertisements on its Platform, Wash. State Office of the Attorney Gen. (July
24, 2018), https://www.atg.wa.gov/news/news-releases/ag-ferguson-investigation-leads-
facebook-making-nationwide-changes-prohibit.
162
    Id.
CONSOLIDATED COMPLAINT                            139                                   MDL NO. 2843
                                                                             CASE NO. 18-MD-02843-VC
        390.    On August 13, 2018, the Department of Housing and Urban Development

(“HUD”) filed a complaint against Facebook, stating that “Facebook unlawfully discriminates by

enabling advertisers to restrict which Facebook users receive housing-related ads based on race,

color, religion, sex, familial status, national origin and disability.”163

        391.    Regarding Facebook’s practice of discrimination, HUD Assistant Secretary Anna

Maria Farias stated, “when Facebook uses the vast amount of personal data it collects to help

advertisers to discriminate, it’s the same as slamming the door in someone’s face.”164

        392.    Facebook also faces a suit from the National Fair Housing Alliance over similar

practice of allowing advertisers to discriminate based on protected characteristics. Nat’l Fair

Housing Alliance v. Facebook, Inc., No. 18-cv-2689 (S.D.N.Y. compl. filed Mar. 27, 2018). The

U.S. Attorney for the Southern District of New York has filed a statement of interest supporting

this suit.

        393.    On September 18, 2018, a complaint was filed with the Equal Employment

Opportunity Commission alleging that Facebook’s ad filtering function allowed employers to

target job advertisements specifically to men. Such a practice excluded women and anyone who

identifies as another gender from employment opportunities, according to the complaint.

        394.    Whistleblower and former Cambridge Analytica director of research Christopher

Wylie described Cambridge Analytica’s targeted political advertising as “worse than bullying,”

because “people don’t necessarily know it’s being done to them. At least bullying respects the

agency of people because they know. So it’s worse, because if you do not respect the agency of

people, anything that you’re doing after that point is not conducive to a democracy. And

fundamentally, information warfare is not conducive to democracy.”165



163
    Housing Discrimination Complaint, Assistant Sec’y for Fair Hous. & Equal Opportunity v.
Facebook, Inc. (Aug. 13, 2018), https://www.hud.gov/sites/dfiles/PIH/documents/HUD_01-18-
0323_Complaint.pdf.
164
    HUD Files Housing Discrimination Complaint Against Facebook, HUD (Aug. 17, 2018),
https://www.hud.gov/press/press_releases_media_advisories/HUD_No_18_085.
165
    Carole Cadwalladr, ‘I Made Steve Bannon’s Psychological Warfare Tool’: Meet the Data
War Whistleblower, Guardian (Mar. 18, 2018),
CONSOLIDATED COMPLAINT                             140                                  MDL NO. 2843
                                                                             CASE NO. 18-MD-02843-VC
       395.    Similarly, Wylie agreed that advertisements placed in a Facebook user’s News

Feed are perceived with less scrutiny than traditional political advertisements, “because nobody

knows that’s happening—the opposition doesn’t know that’s happening. If it’s also presented to

you as a news item, you as the voter don’t know there’s an agenda behind it. If you don’t know

who the messenger is, what the agenda is, and you don’t see the other side of something, and you

keep seeing pieces of information that aren’t true or are highly suggestive, and you start making

decisions or changing your perception of something—that’s deception. That information creates

an imbalance of power; you haven’t been given to opportunity to see the other side, or to even

know why it is that you’re seeing that.”166 Users are being targeted with political messaging that

they did not authorize and it is not being identified as such.

       396.     Wylie stated that Cambridge Analytica “specialises in rumour campaigns, and

ultimately, disinformation—as a lot of its candidates and clients want that. Cambridge Analytica

will set up all kinds of entities and companies which then disappear so no one can trace what

they actually do. The way it works is that you set up blogs and news sites—things that don’t look

like campaign material—and you find people who would be most amenable to this particular

conspiracy theory, unfact, ‘alternative fact’. You let them start going down the rabbit hole of

clicking things. The idea is that you start showing them the same material from all these different

kinds of sources, so they feel like they see it everywhere, but they don’t see it on the news, on

CNN or the BBC. They then question why the ‘establishment’ doesn’t want them to know

something.”167 This manipulation was enabled by the aggregation of the users’ content and

information that Facebook collected and gave to Kogan over a period of years.

       397.    The information provided by Facebook helped Cambridge Analytica target people

in the privacy of their homes. A report by Switzerland’s Das Magazin revealed that “Trump


https://www.theguardian.com/news/2018/mar/17/data-war-whistleblower-christopher-wylie-
faceook-nix-bannon-trump.
166
    Redazione, Exclusive Interview with Christopher Wylie, the Cambridge Analytica
Whistleblower, Vogue (May 9, 2018), https://www.vogue.it/en/news/daily-
news/2018/05/09/interview-with-christopher-wylie-cambridge-analytica/.
167
    Id.
CONSOLIDATED COMPLAINT                           141                                   MDL NO. 2843
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canvassers were provided with an app allowing them to identify the political views and

personality type of a given house, and the outline conversation scripts that would work with the

inhabitants.”168

       398.    Facebook users deserve clear disclosures about how Facebook is partnering with

third parties, including advertisers, and what content and information it shares with them.

       3.      The Aggregation of User Content Via Third Parties, Including Device
               Makers and App Developers, Has Greatly Accelerated the Potential for Data
               Abuse
       399.    Facebook sells the opportunity to advertise to its users to third parties who seek to

target specific attributes in advertising/lobbying. These attributes include race, gender

origination, emotional instability, political viewpoint, financial status, and much more, including

the position of your mouse, and data collected through facial recognition technology (“FRT”).

The transparency is utterly one way. Users are not told who sponsors ads or news articles that

they receive, or what attributes those advertisers were relying upon when they sent the material.

       400.    Facebook claims that it does not “sell” user data is that it structures transactions

so that third parties are paying to advertise. That is, in theory Facebook is maintaining control of

the data, and just using it to tailor messages to third parties who want to send to users. The more

targeted the advertising, based on this data, the more expensive it is. If a third party, like an

advertiser or lobbying group, wishes to target users very specifically, they can narrow the target

group so uniquely that it results in a “match”—which is to say, the “anonymized” profile has

been matched to the actual person. “Matched” data is much more expensive than just general

data, and this has been the source of ever-increasing “average revenue per user,” or ARPU.

Facebook reports ARPU to its shareholders and it has increased dramatically since 2014.

Average ARPU for US users is $26/user for 2017. However, each person’s revenue varies with

the amount of data collected and it should be able to calculate it at least by region.


168
   Adam Lusher, Cambridge Analytica: Who Are They, and Did They Really Help; Trump Win
the White House?, Independent (Mar. 21, 2018), https://www.independent.co.uk/news/uk/home-
news/cambridge-analytica-alexander-nix-christopher-wylie-trump-brexit-election-who-data-
white-house-a8267591.html.
CONSOLIDATED COMPLAINT                           142                                     MDL NO. 2843
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       401.    There is a market for this data, and one of the biggest marketplaces is Facebook.

However, now that much of this data has been released, it is also being sold on black markets. A

Facebook user profile is estimated to be worth $1207 on the dark web on average.

                 V.      PRIMA FACIE CASE OF INJURY AND DAMAGES

A.     Plaintiffs Suffered Harm as a Direct Result of Facebook’s Conduct
       402.    Because Facebook collected and impermissibly shared Plaintiffs’ and Class

Members’ content and information with third parties, together with the ability of data brokers

and others to de-anonymize that content and information and link it to specific users, Plaintiffs

and Class Members have suffered injuries and will suffer ongoing injuries, which include, but

are not limited to (i) loss of benefits in their Facebook experience; (ii) heightened risk of identity

theft and fraud; (iii) invasions of privacy; (vi) loss of control of their content and information; (v)

out-of-pocket costs; (vi) economic loss; (vii) loss of value of personally identifiable information;

(viii) other irreparable loss; and (viii) emotional distress and anxiety.

       403.    When Plaintiffs and Class Members became Facebook users, users gained access

to Facebook’s social networking platform in exchange for sharing certain content and

information with Facebook, conditioned upon their consent to such sharing. While users knew

that Facebook would generate revenue by selling advertising which would be directed to users, it

was a material term to the bargain that users were promised control over how and with whom

their content and information would be shared.

       404.    Facebook did not honor the terms of this bargain. Although Facebook told users

they owned their data, in practice Facebook acted as it if did. When Facebook, without notice to

users, shared users’ content and information with third parties that users had not intended to

share, Facebook received benefits—revenues associated with increased user activity and sale of

additional data generated by the this increase in activity—and transferred costs and harms to

Plaintiffs—loss of privacy and control over their valuable content and information.

       405.    As Facebook expanded the scope of access to users’ content and information

beyond that to which users had agreed, users were denied the benefit of a Facebook experience


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where they defined the terms of their content sharing. Thus, through Facebook’s actions and

inactions, users have lost benefits. In order to preserve their privacy, users were presented with

the choice of: (i) reducing their participation on Facebook by limiting the content and

information they provide about themselves, (ii) accepting less privacy than that which they were

promised; or (iii) ceasing their participation in Facebook altogether. Each of these options

resulted in lost value for Plaintiffs and Class Members. The benefits transferred to Facebook had

economic gain.

       406.    Facebook further harmed Plaintiffs and Class Members when it failed to notify

users that their content and information could be or had been misappropriated via the Cambridge

Analytica Scandal, by its partnerships with device makers, or by other disclosures to third

parties. As just one example, following the first revelations of Cambridge Analytica’s

psychographic profiling in 2015, Facebook failed to take steps to confirm that Cambridge

Analytica, and any other entities which had unauthorized possession of users’ content and

information, had properly deleted users’ content and information. Facebook’s choice to forego

the costs of notification, deletion or other protective action transferred and imposed upon users

further costs from the misappropriation. Without the benefit of notification and the ability to

prevent future harm, Facebook caused Plaintiffs and Class Members to bear the full burden of

the risk of identity theft and fraud, as well as the ongoing imposition of targeted

communications, that would be highly offensive to a reasonable person, by third parties in

possession of users’ content and information.

       407.    The economic loss to Plaintiffs is real and tangible. The risks of identity theft and

fraud are long term and injure users in a multiplicity of ways including: compromising their

financial accounts, marring their credit ratings and history, preventing their ability to get loans,

risking fraudulent tax filings, the inclusion of misinformation in their medical record leading to

improper and dangerous medical treatment, and/or incurring additional costs due to

diminishment or loss of insurance coverage, diminishment or loss of employment opportunities

and many other potential hardships. Already, Plaintiffs and Class Members have suffered


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diminished security in their personal affairs and face an expanded and imminent risk of

economic harm from identity theft and fraud.

        408.    Plaintiffs and Class Members face, and Plaintiffs Paige Grays, Jason Ariciu,

James Tronka, Barbara Vance-Guerbe have already experienced, additional security risks such as

phishing attempts, efforts by hackers trying to access or log in to their Facebook accounts, friend

requests from trolls or cloned or imposter accounts, or other interference with their Facebook

accounts. The remaining Plaintiffs and Class Members also face these security risks and are

subjected to a heightened risk of such predatory conduct due to Facebook’s failure to secure their

personal content, including the sale of their users’ content and information on the dark web and

other illicit databases.

        409.    Users also suffered diminished loss of use of their own data. There is a market

for the content and information that Facebook harvests. By making it ubiquitously available,

Facebook has undermined the market value of users’ data. One study by content marketing

agency Fractl has found that an individual’s online identity, including hacked financial accounts,

can be sold for $1200 on the dark web. Facebook logins can be sold for approximately $5.20

each. These rates are assumed to be discounted because they do not operate in competitive

markets, but rather, in an illegal marketplace.

        410.    Where Plaintiffs and Class Members’ content and information is available on the

dark web, this imposes further uncompensated costs on those individuals. The dark web permits

criminals further access to users’ content and information that could potentially allow more

serious identity theft or fraud involving an individual’s other accounts.

        411.    Plaintiffs’ and Class Members’ content and information is aggregated and pooled

with other data collected by data brokers, including Facebook, to create digital dossiers or

profiles of people. Through “linking” of data from these various sources, users’ content and

information can be de-anonymized. That multiple data points such as a person’s name, address,

email address, telephone number and employment history can be matched with other identifying

information such as names of pets, grandparents, mother’s maiden name, etc. greatly heightens


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the risk of identity theft and fraud to Plaintiffs and Class Members as well as the economic

harms that flow therefrom.

       412.    Facebook knew that users’ content and information was being collected and

aggregated in ways that put Plaintiffs and Class Members at heightened risk of identity theft and

fraud, and failed to properly inform users of those risks, such that users could reasonably

mitigate those potential harms. Rather, Facebook has placed the burden of mitigating the risk of

identity theft and fraud on Plaintiffs and Class Members. Following the Cambridge Analytica

Scandal, Facebook offered no support to users who were concerned about the collection of their

content and information. In fact, Facebook is still unable to confirm who has possession of

Plaintiffs’ and Class Members’ content and information. As a result, Plaintiffs and Class

Members have paid for credit monitoring and have spent time and money to protect themselves

from the imminent threat of identity theft and fraud. Dustin Short paid for credit monitoring and

to remove inquiries from his credit report in the wake of the revelations about the Cambridge

Analytica Scandal. Likewise, Plaintiff Scott McDonnell paid for credit monitoring services.

Plaintiffs Forman, Holsinger, O’Hara, and Tronka use credit and bank account monitoring

services from multiple providers. These actions were reasonable in light of the scope of content

and information Facebook collected, as well as the ability of third parties, with which Facebook

impermissibly shared users’ content and information, to pool users’ Facebook content and

information with other data sources and link it to specific Facebook users. As a result, Plaintiffs

and Class Members have incurred out-of- out-of-pocket costs as a result of Facebook’s harmful

conduct, including purchasing credit monitoring or other forms of identity theft protection

services. Plaintiffs and Class Members have also suffered invasions of their privacy which have

resulted in a loss of control of their content and information. Facebook committed an egregious

invasion of privacy by publishing and disclosing the content and information of Facebook users

to third parties without users’ consent, and without advising them of the extent to which it has

been disseminated, analyzed and aggregated. Facebook promised users that they could exert

control over who could access their content and information and that it would honor their privacy


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designations.

        413.    This transfer of costs to users and benefits to Facebook was deliberate. Facebook

engineered APIs that enabled third parties to access users’ content and information without

adhering to users’ privacy settings. Moreover, once this data was in the hands of the third

parties, Facebook took no steps to prevent its use in ways that were contrary to users’ reasonable

expectations of privacy. Furthermore, Facebook failed to demand and enforce compliance with

its policies by its own app developers, including that user content and information not be sold

and that it be deleted if improperly obtained.

        414.    In failing to mitigate, Facebook avoided costs it should have incurred as a result

of its own actions—both out of pocket and loss of user engagement—and transferred those costs

to Plaintiffs and Class Members. Warning Class Members and potential would have chilled user

engagement as well potential new users from joining Facebook. It would also have brought

scrutiny on the Company, in the form of transaction costs such as regulatory fines, shareholder

concerns, possible executive turnover and a decline in share price. Some of these costs have, of

course, materialized and other. Facebook and CEO Zuckerberg were thus not only able to evade

or defer these costs but to continue accrue value for the Company. Likewise, Facebook further

benefited from the delay due to the time value of money. Facebook, as of yet, still has not

publicly disclosed the third parties, including app developers, which received access to users’

content and information.

        415.    Plaintiffs suffered egregious invasions of privacy when they were directly

targeted by advertisements that would be highly offensive to a reasonable person, and which

were enabled by Facebook providing their content and information to unauthorized third parties,

who in turn used this content and information in conjunction with other data sources to directly

target users using resources provided by Facebook. As a result, Plaintiffs and Class Members

experienced, and continue to experience, invasions of privacy and a loss of control of their

content and information that endanger their financial, medical and emotional well-being now,

and for the rest of their lives.


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       416.    Had Plaintiffs and Class Members known the full extent of the risks that they face

because Facebook was disclosing and publishing their content and information to third parties

without their consent, and that their data was being analyzed, aggregated and used to de-

anonymize other sensitive information and match it to their Facebook identity, and that these

disclosures are permanent and irretrievable, users would have taken remedial steps to protect

their information and content, even though this further reduced the benefits of their bargain, such

as by, (i) reducing, or ceasing altogether, their participation on Facebook by limiting the content

and information they provide about themselves; (ii) knowingly accepting less privacy than that

which they were promised. Each of these options would have deprived Plaintiffs of the

remaining benefits of the original bargain. Plaintiffs and Class Members were denied the benefit

of this information and therefore the ability to mitigate harms they incurred as a result of

Facebook’s impermissible disclosure and publishing of their content and information.

       417.    Facebook likewise deceived Plaintiffs and Class Members about its purpose for

sharing users’ content and information. Facebook falsely stated that personal content was

collected to enhance the users’ experience, including making purportedly useful apps available to

users. Facebook made users’ content and information accessible to app developers and other

third parties in order to increase Facebook’s revenues, doing so in a manner that diminished user

value, rather than enhancing it. In many instances, Facebook apps were, in essence, “Trojan

horses” that enabled the harvesting of users’ content and information. Facebook mislead

Plaintiffs and Class Members about the fact that it was disclosing, publishing and monetizing

their content and information without their knowledge, understanding, or consent. Had

Facebook been forthright about its intentions, Plaintiffs and Class Members would have altered

their interactions with Facebook as set forth above. See infra ¶ 13.

       418.    Plaintiffs and Class Members also face downstream economic harms from the

aggregation of their content and information. There is a fast-growing market for consumer data

of this kind. The data is aggregated and analyzed to create “consumer scores” which predict

people’s propensity to become ill or pay off debt. The World Privacy Forum notes in a lengthy


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report that major health insurers are looking to collect data about individuals, such as whether “a

couple bought hiking boots” or “a woman did a lot of online shopping,” in order to “figure out

how much to charge people [for healthcare].” As such, the collection and dissemination of this

content and information could have a direct effect on something as impactful as how much

people pay out-of-pocket for healthcare, resulting in economic harm.

       419.    Thus, Facebook has transferred all of the costs imposed by the unauthorized

disclosure and publication of users’ content and information onto Plaintiffs and Class Members.

Facebook increased mitigation costs by failing to notify users that their content and information

had been disclosed and to alert them at the earliest time possible so that users could take steps to

protect their identities. In addition, Facebook increased mitigation costs by engaging in acts that

furthered both the dissemination of user information and its aggregation, as well as by its failure

to audit third parties who received user information to secure it. For example, Facebook failed to

demand and enforce compliance with its policies by its own app developers, including that user

data not be sold and that it be deleted if improperly obtained. In failing to mitigate, Facebook

saved for itself costs it would have incurred, both out of pocket and loss of user engagement, and

transferred those costs to Plaintiffs and Class Members.

       420.    Facebook’s refusal to warn Plaintiffs, while transferring harm and risk to

Plaintiffs, conferred benefits on itself. Warning Class Members and potential would have chilled

user engagement as well potential new users from joining Facebook. It might have also involved

scrutiny, which could have invited transaction costs, regulatory fines, shareholder concerns and a

stock drop, which of course ultimately materialized. Facebook and CEO Zuckerberg were thus

not only able to evade costs, but continue to accrue value. Moreover, by pushing off the

reckoning day for Facebook’s lapses, Facebook benefited through the time value of money.

       421.    Facebook has also greatly benefitted by generating millions of additional dollars

of revenue from the monetization of users’ content and information. Facebook calculates and

reports average revenue per user that is derived from Plaintiffs and Class Members’ personal

content. Advertisers, app developers and other third parties pay Facebook billions of dollars


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because of the access Facebook provides to Plaintiffs’ and Class Members’ content and

information. Without the benefit of users’ content and information, conferred on Facebook by

Plaintiffs and Class Members, Facebook would not have had this access, and would not have

been able to further monetize users’ content and information. Had Facebook adhered to its

agreement with Plaintiffs and Class Members by only accessing users’ content and information

to the extent they had given consent, or by disclosing to Plaintiffs and Class Members the true

extent to which it allowed third parties to access content and information users intended to keep

private, Facebook would not have earned up to billions of dollars of additional revenue. As

such, Facebook has effectively transferred the benefits denied to Plaintiffs and Class Members,

as outlined above, to itself and to its third-party business partners in the form of additional

revenues and denied Plaintiffs and Class Members the economic value, and resulting economic

benefit, of users’ content and information.

VI.     PLAINTIFFS COULD NOT HAVE DISCOVERED THEIR CLAIMS UNTIL 2018.
       422.    Facebook has consistently denied that it is careless about user content and

information.

       423.    Christopher Wylie testified to the U.K. Parliament that in or around July 2014,

Facebook’s engineers may have assisted Cambridge Analytica with its harvesting of personal

data of millions of Facebook users. Wylie testified that, according to Alexander Kogan, when the

size of the transfer caused Facebook’s platform to throttle the app—thereby effectively disabling

the transfer of data—Cambridge Analytica reached out to Facebook for assistance.169 Facebook

“would have known from that moment about the project, because [Kogan would have] had a

conversation with Facebook’s engineers.”170

       424.    Even if the Guardian’s December 2015 article regarding Cambridge Analytica’s

use of information about Facebook users had obliged Plaintiffs to conduct further investigation

169
    House of Commons Digital, Culture, Media and Sport Comm., Oral Evidence: Fake News,
HC 363, at Q1336 (Mar. 27, 2018),
http://data.parliament.uk/writtenevidence/committeeevidence.svc/evidencedocument/digital-
culture-media-and-sport-committee/fake-news/oral/81022.pdf (testimony of Christopher Wylie
170
    Id.
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to determine whether they were among the Facebook users whose content and information was

disclosed without permission, Plaintiffs would not have been able to uncover the facts underlying

their claims.

       425.     That is because the relevant facts were in the possession of Facebook and

Cambridge Analytica, and both refused to disclose them. In the wake of the December 2015

Guardian article, Facebook investigated Cambridge Analytica, but never publicly released the

results of its investigation and until 2018 did not confirm that Plaintiffs’ content and information

had been disclosed without their permission.

       426.     Indeed, Facebook actively concealed the facts.

       427.     In June 2016, it secured from Kogan and GSR a non-disclosure agreement about

their collection of data, obliging them not to disclose the manner in which they obtained and

used Plaintiffs’ content and information. In exchange, Facebook waived and released any all

claims against Kogan or GSR concerning the data.

       428.     Moreover, when Simon Milner, Facebook’s Policy Director for the United

Kingdom, the Middle East, and Africa, testified to the U.K. Parliament on February 8, 2018, he

denied that Cambridge Analytica or any of its associated companies had “Facebook user data,”

and that, in any case, Facebook had “no insight on” how Cambridge Analytica may have

gathered data from users on Facebook.171

       429.     Then, in a February 23, 2018 letter, Cambridge Analytica CEO Alexander Nix

falsely told Parliament that “Cambridge Analytica does not gather such data,”172 and Facebook

did not correct or clarify Nix’s false statement.

       430.     Four days later on February 27, Nix testified before Parliament. When asked

171
    Digital, Culture, Media and Sport Committee (House of Commons), Examination of
Witnesses Juniper Downs et al. at Q447-449, Feb. 8, 2018,
https://www.parliament.uk/business/committees/committees-a-z/commonsselect/digital-culture-
media-and-sport-committee/inquiries/parliament-2017/fakenews-17-19/publications/.
172
    Alexander Nix, Letter from Alexander Nix, Chief Executive, Cambridge Analytica to Damian
Collins, Chair of the Committee, Feb. 23, 2018,
http://data.parliament.uk/writtenevidence/committeeevidence.svc/evidencedocument/digital-
culture-media-and-sport-committee/fake-news/written/79053.pdf.
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whether any of Cambridge Analytica’s data come from Facebook, Nix replied, “We do not work

with Facebook data and we do not have Facebook data.”173 Nix also claimed that Cambridge

Analytica “did not use any personality modelling or ‘psychographics’ in the election, and that it

has no access to Facebook likes.”174 Once again, Facebook did not correct or clarify these false

statements.

       431.    Only in March 2018, with the publication of articles by the Guardian and the New

York Times did it become clear that Plaintiffs should inquire into whether they had been injured

by Facebook’s misconduct. Thereafter, Facebook informed Facebook users that their content and

information had been released to Cambridge Analytica.

                                    VII.   CHOICE OF LAW
       432.    Facebook’s Terms of Service (formerly known as the “Statement of Rights and

Responsibilities”) contain (and have always contained) a forum selection provision that

mandates the resolution of any claim—arising either out of the Terms of Service or a person’s

use of Facebook—exclusively in the U.S. District Court for the Northern District of California

and provides that users submit to the personal jurisdiction of those courts to litigate those claims.

       433.    In addition, the Terms of Service contain (and have contained since at least April

26, 2011) a California choice-of-law provision.175 The provision ensures that California law

applies to “any claim that might arise between” a user and Facebook.176


173
    Digital, Culture, Media and Sport Committee (House of Commons), Examination of Witness
Alexander Nix at Q3288, June 6, 2018,
http://data.parliament.uk/writtenevidence/committeeevidence.svc/evidencedocument/digital-
culture-media-and-sport-committee/fake-news/oral/84838.html.
174
    Alexander Nix, Letter from Alexander Nix, Chief Executive, Cambridge Analytica to Damian
Collins, Chair of the Committee, Feb. 23, 2018,
http://data.parliament.uk/writtenevidence/committeeevidence.svc/evidencedocument/digital-
culture-media-and-sport-committee/fake-news/written/79053.pdf.
175
    See, e.g., Statement of Rights and Responsibilities, Facebook (Apr. 26, 2011)
http://www.facebook.com/legal/terms
[https://web.archive.org/web/20120529141325/http://www.facebook.com/legal/terms] (“The
laws of the State of California will govern this Statement, as well as any claim that might arise
between you and us, without regard to conflict of law provisions).
176
    Id.
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        434.    This Court has consistently enforced the California choice of law provision.

                                 VIII. CLASS ACTION ALLEGATIONS
        435.    Plaintiffs incorporate by reference all the allegations of this complaint as though

fully set forth herein.

        436.    Plaintiffs bring this action on behalf of themselves and all others similarly situated

pursuant to Rule 23(b)(2) and 23(b)(3) of the Federal Rules of Civil Procedure.

        437.    Plaintiffs seek to represent the following Classes:

                A.        The Class, which is defined as all Facebook users in the United States and

        in the United Kingdom whose content and information, generated when they were 18

        years of age or older, was collected by Facebook and published and/or disclosed to third

        parties without their authorization or consent from January 1, 2007 to the present. The

        Class contains the following Subclasses:

                          i.       The Alabama Subclass, which is defined as all members of the

                Class who resided in Alabama at the time the content and information they

                generated was collected by Facebook and published and/or disclosed to third

                parties without their authorization or consent.

                          ii.      The Colorado Subclass, which is defined as all members of the

                Class who resided in Colorado at the time the content and information they

                generated was collected by Facebook and published and/or disclosed to third

                parties without their authorization or consent.

                          iii.     The Illinois Subclass, which is defined as all members of the

                Class who resided in Illinois at the time the content and information they

                generated was collected by Facebook and published and/or disclosed to third

                parties without their authorization or consent.

                          iv.      The Iowa Subclass, which is defined as all members of the Class

                who resided in Iowa at the time the content and information they generated was

                collected by Facebook and published and/or disclosed to third parties without


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               their authorization or consent.

                      v.      The Kansas Subclass, which is defined as all members of the

               Class who resided in Kansas at the time the content and information they

               generated was collected by Facebook and published and/or disclosed to third

               parties without their authorization or consent.

                      vi.     The Michigan Subclass, which is defined as all members of the

               Class who resided in Michigan at the time the content and information they

               generated was collected by Facebook and published and/or disclosed to third

               parties without their authorization or consent.

                      vii.    The New York Subclass, which is defined as all members of the

               Class who resided in New York at the that the content and information they

               generated was collected by Facebook and published and/or disclosed to third

               parties without their authorization or consent.

                      viii.   The Washington Subclass, which is defined as all members of the

               Class who resided in Washington at the that the content and information they

               generated was collected by Facebook and published and/or disclosed to third

               parties without their authorization or consent.

                      ix.     The West Virginia Subclass, which is defined as all members of

               the Class who resided in West Virginia at the that the content and information

               they generated was collected by Facebook and published and/or disclosed to third

               parties without their authorization or consent.

               B.     The Minor Class, which is defined as all Facebook users in the United

       States and in the United Kingdom whose content and information, generated when they

       were less than 18 years, was collected by Facebook and published and/or disclosed to

       third parties without their authorization or consent from January 1, 2007 to the present.

       438.    As used in this complaint, “Class Period” refers to the period January 1, 2007 to

the present.


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       439.    Excluded from the Classes are Defendants, their current employees,

coconspirators, officers, directors, legal representatives, heirs, successors and wholly or partly

owned subsidiaries or affiliated companies; the undersigned counsel for Plaintiffs and their

employees; and the judge and court staff to whom this case is assigned. Plaintiffs reserve the

right to amend the definitions of the Classes if discovery or further investigation reveals that the

Classes should be expanded or otherwise modified.

       440.    The Classes satisfy the prerequisites of Federal Rule of Civil Procedure 23(a) and

the requirements of Rule 23(b)(3).

       441.    Numerosity and Ascertainability: Plaintiffs do not know the exact size of the

Classes or the identities of the Class Members,177 since such information is the exclusive control

of Defendants. Nevertheless, the Class encompasses millions of individuals, and the Minor Class

encompasses—at the least—thousands of individuals, dispersed throughout the United States and

the United Kingdom. Each of the Subclasses also contains at least thousands, and almost

certainly more, individuals. The number of members in each of the Classes is so numerous that

joinder of all members in any of the Classes is impracticable. The names, addresses, and phone

numbers of Class Members are identifiable through documents maintained by Defendants.

       442.    Commonality and Predominance: The action involves common questions of

law and fact, which predominate over any question solely affecting individual Class Members.

These common questions include:
          i.       Whether Facebook gave Plaintiffs and Class Members effective notice of its
                   program to collect their content and information;
         ii.       Whether Defendants obtained authorization or consent from Plaintiffs and
                   class members to collect their content and information;
        iii.       Whether Defendants improperly collected Plaintiffs’ and Class Members’
                   content and information;
         iv.       Whether Facebook represented that Plaintiffs’ and Class Members’ content
                   and information would be protected from disclosure absent their consent;



177
  Here and elsewhere in the complaint, the term “Class Members” refers collectively to
Members of all Classes.
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        v.       Whether Facebook owes any duty to Plaintiffs and Class Members with
                 respect to maintaining, securing, or deleting their content and information;
        vi.      To what degree Facebook has the right to use content and information
                 pertaining to Plaintiffs and Class Members;
       vii.      Whether Facebook owed a legal duty to Plaintiffs and the Classes to exercise
                 due care in collecting, storing, safeguarding, and/or obtaining their content
                 and information;
      viii.      Whether Facebook breached a legal duty to Plaintiffs and the Classes to
                 exercise due care in collecting, storing, safeguarding, and/or obtaining their
                 content and information;
        ix.      Whether the egregious breach of privacy and trust alleged in the Complaint
                 was foreseeable by Facebook;
        x.       Whether Facebook intentionally exposed Plaintiffs’ and Class Members’
                 content and information to Cambridge Analytica;
        xi.      Whether Defendants violated the Stored Communications Act;
       xii.      Whether Defendants violated Plaintiffs’ and Class Members’ privacy rights;
      xiii.      Whether Facebook’s conduct was an unlawful or unfair business practice
                 under Cal. Bus. & Prof. Code §§ 17200 et seq. (West 2018);
      xiv.       Whether Facebook is a “video tape service provider” under 18 U.S.C. § 2710.
       xv.       Whether Facebook is a provider of electronic communication service to the
                 public pursuant to 18 U.S.C. §§ 2702(a)(1) and 2510(15).
      xvi.       Whether Facebook maintains a facility through which an electronic
                 communication service is provided, pursuant to 18 U.S.C. § 2701(a).
      xvii.      Whether Facebook is a provider of a remote computing service to the public,
                 pursuant to 18 U.S.C. §§ 2702(a)(2) and 2711(2).
     xviii.      Whether “Facebook content,” a term defined below, constitutes electronic
                 communications under 18 U.S.C.§ 2510(12).
      xix.       Whether Plaintiffs and the Class are “users” or “subscribers” of Facebook’s
                 remote computing service, as the term “user” is defined and/or used in 18
                 U.S.C. § 2510(5) and (13)
       xx.       Whether Plaintiffs and the members of the Classes are “aggrieved person[s]”
                 as that term is defined in 18 U.S.C. § 2510(11).
      xxi.       Whether Plaintiffs’ and the Class Members’ use of Facebook’s messaging
                 systems and transfers of content and information to Facebook constitute
                 electronic communications, pursuant to 18 U.S.C. § 2501(12).
      xxii.      Whether Plaintiffs’ and Class Members’ electronic communications were in
                 electronic storage, pursuant to 18 U.S.C. § 2501(17).




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     xxiii.      Whether Facebook knowingly divulged the contents of Plaintiffs and the Class
                 Members’ electronic communications while they were in electronic storage to
                 unauthorized parties in violation of 18 U.S.C. § 2702(a)(1).
     xxiv.       Whether Facebook knowingly divulged the contents of Plaintiffs’ and Class
                 Members’ electronic communications that were carried or maintained on
                 Facebook’s remote computing service to unauthorized parties in violation of
                 18 U.S.C. § 2702(a)(2).
      xxv.       Whether Plaintiffs and the members of the Classes have suffered an injury as
                 a result of Facebook’s violations of the Stored Communications Act.
     xxvi.       Whether Facebook profited from its acts that violate the Stored
                 Communications Act.
     xxvii.      Whether Facebook’s violation of the Stored Communications Act committed
                 willfully and intentionally.
    xxviii.      Whether Facebook is a “video tape service provider” as that term is defined in
                 18 U.S.C. § 2710.
     xxix.       Whether Plaintiffs and members of the Classes are “consumers” as that term is
                 defined in 18 U.S.C. § 2710.
      xxx.       Whether Plaintiffs’ and the other Class Members’ data that Facebook
                 possessed contained “personally identifiable information” as that term is
                 defined in 18 U.S.C. § 2710.
     xxxi.       Whether Facebook knowingly allowed third parties access to Plaintiffs’ and
                 Class Members’ personally identifiable information in violation of the Video
                 Privacy Protection Act.
     xxxii.      Whether Plaintiffs and the other Class members are “aggrieved person[s]” as
                 that term is defined by 18 U.S.C. § 2710.
    xxxiii.      Whether Facebook suppressed facts which it was bound to disclose to
                 Plaintiffs and members of the Classes about the privacy of their user content
                 and information.
    xxxiv.       Whether Facebook gave information of facts that were likely to mislead
                 Plaintiffs and members of the Classes about the privacy of their user content
                 and information.
     xxxv.       Whether Facebook failed to disclose known risks that third-party app
                 developers would sell or disperse Plaintiffs’ and Members of the Classes’ user
                 content and information without their consent.
    xxxvi.       Whether Facebook violated the terms of an October 2012 FTC settlement by
                 continuing to allow app developers access to Plaintiffs and Class Member’s
                 user content and information without their consent.
   xxxvii.       Whether Facebook failed to audit whether and how Plaintiffs’ and the Class
                 Members’ user content and information was provided to third parties.



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   xxxviii.      Whether Facebook failed to disclose to Plaintiffs and the members of the
                 Classes the risks that each faced from the disclosure of their user content and
                 information.
    xxxix.       Whether Facebook failed to inform Plaintiffs and the members of the Classes
                 that their user content and information was insecure once it was shared with
                 app developers or other third parties.
         xl.     Whether Facebook knew that Plaintiffs’ and Class Members’ user content and
                 information was not secure.
        xli.     Whether Facebook ignored warnings that audits were necessary to secure
                 Plaintiffs’ and Class Members’ user content and information.
       xlii.     Whether Facebook intentionally failed to secure Plaintiffs’ and Class
                 Members’ information and content.
      xliii.     Whether Facebook had a duty to inform Plaintiffs and members of the Classes
                 that Facebook had become aware that it had failed to secure Plaintiffs’ and
                 Class Members’ user content and information.
      xliv.      Whether Defendants intentionally concealed that Plaintiffs’ and Class
                 Members’ user content and information was insecure.
       xlv.      Whether failed to disclose to Plaintiffs and members of the Classes that it had
                 not secured their user content and information.
      xlvi.      Whether Defendants failed to disclose to Plaintiffs and the Class of the risks
                 that each faced from Facebook’s failure to secure user content and
                 information.
     xlvii.      Whether Facebook intended to deceive Plaintiffs and the members of the
                 Classes about the security of their user content and information.
     xlviii.     Whether Plaintiffs and the members of the Classes were damaged because as a
                 result of Defendants’ deceit.
      xlix.      Whether Facebook misled Plaintiffs and the members of the Classes to believe
                 that Facebook was protecting users’ privacy.
          l.     Whether Facebook failed to disclose to or deceived Plaintiffs and the
                 members of the Classes that Facebook was sharing their users content and
                 information with third parties.
         li.     Whether Facebook failed to disclose that, notwithstanding privacy settings
                 that purported to provide Plaintiffs and members of the Classes with control
                 over their user content and information, Facebook allowed third-parties to
                 harvest and store Plaintiffs’ and the Class Members’ personal information.
        lii.     Whether Facebook had a duty to provide accurate information to Plaintiffs
                 and members of the Classes about how their user content and information was
                 disclosed to third parties.




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       liii.     Whether Facebook encouraged Plaintiffs and members of the Classes to share
                 content and information by assuring them that Facebook would respect their
                 choices concerning privacy.
       liv.      Whether Facebook intentionally concealed how it disclosed Plaintiffs’ and
                 Class Members’ user content and information and whether it did so to create a
                 false sense of security and privacy for Plaintiffs and Class Members.
        lv.      Whether Facebook intentionally concealed how it disclosed Plaintiffs’ and
                 Class Members’ user content and information in order to increase its revenues.
       lvi.      Whether Plaintiffs and members of the Classes were damaged because their
                 user content and information were disclosed to third party device makers and
                 other business partners without their consent.
      lvii.      Whether Facebook failed to disclose to Plaintiffs and members of the Classes
                 how their user content and information was being collected, shared and
                 aggregated to develop digital profiles or dossiers of each user.
      lviii.     Whether Defendants had a duty to disclose the full extent to which it allowed
                 Plaintiffs and members of the Classes to be targeted by advertisers and
                 marketers.
       lix.      Whether Facebook knew that advertisers and marketers were targeting
                 Plaintiffs and members of the Classes with messages based upon Facebook-
                 derived content and information.
        lx.      Whether Facebook failed to disclose to Plaintiffs and members of the Classes
                 that advertisers were combining data from data brokers with Facebook-
                 derived content and information to target them with advertisements and
                 psychographic marketing, as well as building digital dossiers of users.
       lxi.      Whether Facebook intended to deceive Plaintiffs and members of the Classes
                 about their vulnerability to targeted advertisements.
      lxii.      Whether Facebook has been unjustly enriched by virtue of its deceit
                 concerning user content and information disclosure and aggregation for
                 advertisers.
      lxiii.     Whether Facebook must disgorge its profits made from the use of Plaintiffs’
                 and Class Members’ content and information.
      lxiv.      Whether Plaintiffs and members of the Classes had a reasonable expectation
                 that their user content and information they entrusted to Facebook would be
                 protected and secured against access by unauthorized parties and would not be
                 disclosed to or obtained by unauthorized parties, or disclosed or obtained for
                 any improper purpose.
       lxv.      Whether Facebook intentionally intruded upon the private affairs and
                 concerns of Plaintiffs and members of the Classes.
      lxvi.      Whether Facebook intrusions upon the private affairs and concerns of
                 Plaintiffs and members of the Classes were substantial, and would be highly
                 offensive to a reasonable person.

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     lxvii.      Whether Plaintiffs and members of the Classes did not consent to Facebook’s
                 intrusions upon their private affairs and concerns.
     lxviii.     Whether Plaintiffs and members of the Classes suffered actual and concrete
                 injury as a result of Facebook’s intrusions upon Plaintiffs’ and Class
                 Members’ private affairs and concerns.
      lxix.      Whether Plaintiffs and members of the Classes are entitled to relief for their
                 injuries that resulted from Facebook’s intrusion upon Plaintiffs’ and Class
                 Members’ private affairs and concerns.
       lxx.      Whether Facebook published private content and information of Plaintiffs and
                 members of the Classes to unauthorized parties and failed to take reasonable
                 steps to prevent further dissemination of this content and information.
      lxxi.      Whether Facebook’s publication of Plaintiffs’ and Class Members’ user
                 content and information would be highly offensive to a reasonable person.
     lxxii.      Whether Plaintiffs’ and Class Members’ content and information was private
                 and not of legitimate public concern or substantially connected to a matter of
                 legitimate public concern.
     lxxiii.     Whether Plaintiffs and members of the Classes suffered injury as a result of
                 Facebook’s publication of Plaintiffs’ and Class Members’ content and
                 information.
     lxxiv.      Whether Facebook and Plaintiffs and members of the Classes mutually
                 assented to, and therefore were bound by the version of Facebook’s Statement
                 of Rights and Responsibilities or later, the Terms of Service, (collectively, the
                 “Contracts”) that was operative at the time each of the Plaintiff or a member
                 of the Classes joined Facebook.
      lxxv.      Whether the Contracts required Facebook to protect the content and
                 information of its users, including Plaintiffs and members of the Classes.
     lxxvi.      Whether the Contracts failed to form or obtain consent to share Plaintiffs’ and
                 Class Members’ user content and information with advertisers and other third
                 parties and/or failed to disclose that such information would be shared if
                 users’ friends entered into an agreement which permitted third parties to
                 collect their friends’ information.
    lxxvii.      Whether Facebook made it unreasonably difficult for Plaintiffs and members
                 of the Classes to access the provisions of the Privacy and Data Use Policies,
                 and particularly the provision of the Privacy and Data Use Policies disclosing
                 friend-of-user sharing.
   lxxviii.      Whether Facebook made it unreasonably difficult for Plaintiffs and members
                 of the Classes to understand which privacy settings governed how third-party
                 applications and advertisers could access users’ content and information via
                 friend-of user sharing.
     lxxix.      Whether Facebook failed to adequately explain to Plaintiffs and members of
                 the Classes that a user’s “Privacy settings” were ineffective in controlling
                 whether users’ content and information was shared via friend-of-user sharing.
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     lxxx.       Whether, contrary to the Contracts, Facebook knowingly allowed Doe
                 Defendants to sell the personally identifiable information regarding Plaintiffs
                 and members of the Classes that they had collected via applications that used
                 the Facebook platform.
     lxxxi.      Whether Plaintiffs’ and Class Members’ content and information has value.
    lxxxii.      Whether Facebook breached the Contracts.
   lxxxiii.      Whether Facebook owed a duty to Plaintiffs and members of the Classes to
                 exercise reasonable care in the obtaining, using, and protecting of their
                 content and information, arising from the sensitivity of their content and
                 information and the expectation that their content and information was not
                 going to be shared with third parties without their consent.
   lxxxiv.       Whether Facebook owed a duty to timely disclose to Plaintiffs and members
                 of the Classes that Facebook had allowed their content and information to be
                 accessed by third parties.
    lxxxv.       Whether Facebook knew that the content and information of Plaintiffs and
                 members of the Classes had value.
   lxxxvi.       Whether Facebook failed to take reasonable steps to prevent harm to Plaintiffs
                 from known threats to the security to Plaintiffs’ and Class Members’ user
                 content and information.
   lxxxvii.      Whether Facebook breached the duties of care it owed to Plaintiffs and
                 members of the Classes.
  lxxxviii.      Whether Plaintiffs and members of the Classes were foreseeable victims of
                 Facebook’s breach of its duties.
   lxxxix.       Whether, as a result of Facebook’s negligent failure to safeguard Plaintiffs’
                 and Class Members’ content and information, Plaintiffs and members of the
                 Classes members have suffered injuries.
       xc.       Whether the injuries to Plaintiff and members of the Classes were proximate,
                 reasonably foreseeable results of Facebook’s breaches of its duties of care.
       xci.      Whether it is reasonable for Plaintiffs and members of the Classes to obtain
                 identify protection and/or credit monitoring services in light of the Facebook’s
                 breath of its duties of care.
      xcii.      Whether Public policy would void any purported waiver of liability to which
                 Facebook may claim.
     xciii.      Whether Facebook’s conduct constitutes gross negligence.
     xciv.       Whether Plaintiffs and members of the Classes have a privacy right to their
                 user content and information under Art. I, Sec. 1 of the California
                 Constitution.
      xcv.       Whether Facebook violated Plaintiffs’ and Class Members’ constitutionally-
                 protected right to privacy.


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     xcvi.       Whether Facebook violated the common law prohibition on the use of a
                 person’s name or likeness to its own advantage.
     xcvii.      Whether Facebook failed to obtain consent from Plaintiffs and Members of
                 the Classes to use their likenesses.
    xcviii.      Whether Plaintiffs and members of the Classes received no compensation in
                 return for Facebook’s use of their likenesses.
     xcix.       Whether Plaintiffs and members of the Classes were harmed by Facebook’s
                 improper use of their likenesses.
         c.      Whether Facebook knowingly obtained benefits from Plaintiffs and members
                 of the Classes under circumstances such that it would be inequitable and
                 unjust for Facebook to retain them.
        ci.      Whether Facebook is a “person” as defined by Ala. Code § 8-19-3(5).
       cii.      Whether Facebook’s products and services are “goods” and “services” as
                 defined by Ala. Code § 8-19-3(3), (7).
      ciii.      Whether Facebook advertised, offered, or sold goods or services in Alabama
                 and engaged in trade or commerce directly or indirectly affecting the people
                 of Alabama as defined by Ala. Code § 8-19-3(8).
       civ.      Whether Facebook engaged in unconscionable, false, misleading or deceptive
                 practices in connection with its business, commerce and trade practices in
                 violation of Ala. Code § 8-19-5(27).
       cv.       Whether Facebook acted intentionally, knowingly, and maliciously to violate
                 Alabama’s Deceptive Trade Practices Act, and recklessly disregarded the
                 Alabama Plaintiff’s and the Alabama Subclass members’ rights.
       cvi.      Whether Facebook is a “person” as defined by Colo. Rev. Stat. Ann. § 6-1-
                 102(6).
      cvii.      Whether the Colorado Plaintiff and Colorado Subclass members, as well as
                 the general public, are actual or potential consumers of the services offered by
                 Facebook to actual consumers.
     cviii.      Whether Facebook engaged in deceptive trade practices in the course of its
                 business, in violation of Colo. Rev. Stat. Ann. § 6-1-105(1)(u).
       cix.      Whether Facebook engaged in deceptive trade practices in the course of its
                 business, in violation of Colo. Rev. Stat. Ann. § 6-1-105(3) by engaging
                 unfair trade practices actionable at common law or under other statutes of
                 Colorado.
       cx.       Whether Facebook intended to mislead the Colorado Plaintiff and the
                 Colorado Subclass members and induce them to rely on its misrepresentations
                 and omissions.
       cxi.      Whether Facebook acted fraudulently, willfully, knowingly, or intentionally to
                 violate Colorado’s Consumer Protection Act, and with recklessly disregarded
                 the Colorado Plaintiff’s and the Colorado Subclass members’ rights.

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      cxii.      Whether Facebook is a “person” as defined by 815 Ill. Comp. Stat. Ann. §
                 505/1(c).
     cxiii.      Whether the Illinois Plaintiffs and the Illinois Subclass members are
                 “consumer[s]” as defined by 815 Ill. Comp. Stat. Ann. § 505/1(e).
     cxiv.       Whether Facebook’s conduct as described herein was in the conduct of
                 “trade” or “commerce” as defined by 815 Ill. Comp. Stat. Ann. § 505/1(f).
      cxv.       Whether Facebook’s deceptive, unfair, and unlawful trade acts or practices, in
                 violation of 815 Ill. Comp. Stat. Ann. § 505/2.
     cxvi.       Whether Facebook acted intentionally, knowingly, and maliciously to violate
                 Illinois’s Consumer Fraud and Deceptive Business Practices Act, and
                 recklessly disregarded the Illinois Plaintiffs and the Illinois Subclass
                 members’ rights.
     cxvii.      Whether Facebook is a “person” as defined by Iowa Code Ann. § 714H.2(7).
    cxviii.      Whether the Iowa Plaintiff and the Iowa Subclass members are “consumer[s]”
                 as defined by Iowa Code § 714H.2(3).
     cxix.       Whether Facebook’s conduct described herein related to or was in connection
                 with the “sale” or “advertisement” of “merchandise” as defined by Iowa Code
                 Ann. § 714H.2(2), (6), (8).
      cxx.       Whether Facebook engaged in unfair, deceptive, and unconscionable trade
                 practices, in violation of the Iowa Private Right of Action for Consumer
                 Frauds Act, as described throughout and herein.
     cxxi.       Whether Facebook acted intentionally, knowingly, and maliciously to violate
                 Iowa’s Private Right of Action for Consumer Frauds Act, and recklessly
                 disregarded the Iowa Plaintiff and the Iowa Subclass members’ rights.
     cxxii.      Whether the Kansas Plaintiff and the Kansas Subclass members are
                 “consumer[s]” as defined by Kan. Stat. Ann. § 50-624(b).
    cxxiii.      Whether the acts and practices described herein are “consumer transaction[s],”
                 as defined by Kan. Stat. Ann. § 50-624(c).
    cxxiv.       Whether Facebook is a “supplier” as defined by Kan. Stat. Ann. § 50-624(l).
     cxxv.       Whether Facebook advertised, offered, or sold goods or services in Kansas
                 and engaged in trade or commerce directly or indirectly affecting the people
                 of Kansas.
    cxxvi.       Whether the Kansas Plaintiff and the Kansas Subclass members had unequal
                 bargaining power with respect to their use of Facebook’s services because of
                 Facebook’s omissions and misrepresentations.
    cxxvii.      Whether Facebook acted intentionally, knowingly, and maliciously to violate
                 Kansas’s Consumer Protection Act, and recklessly disregarded the Kansas
                 Plaintiff and the Kansas Subclass members’ rights.
   cxxviii.      Whether Facebook, the Michigan Plaintiff, and Michigan Subclass members
                 are “person[s]” as defined by Mich. Comp. Laws Ann. § 445.902(1)(d).

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    cxxix.       Whether Facebook advertised, offered, or sold goods or services in Michigan
                 and engaged in trade or commerce directly or indirectly affecting the people
                 of Michigan, as defined by Mich. Comp. Laws Ann. § 445.902(1)(g).
     cxxx.       Whether Facebook engaged in unfair, unconscionable, and deceptive practices
                 in the conduct of trade and commerce, in violation of Mich. Comp. Laws Ann.
                 § 445.903(1).
    cxxxi.       Whether Facebook engaged in deceptive acts or practices in the conduct of its
                 business, trade, and commerce or furnishing of goods or services, in violation
                 of N.Y. Gen. Bus. Law § 349, as described herein.
    cxxxii.      Whether Facebook acted intentionally, knowingly, and maliciously to violate
                 New York’s General Business Law, and recklessly disregarded the New York
                 Plaintiff’s and the New York Subclass members’ rights.
   cxxxiii.      Whether Facebook is a “[p]erson,” as defined by Wash. Rev. Code Ann. §
                 19.86.010(1).
   cxxxiv.       Whether Facebook advertised, offered, or sold goods or services in
                 Washington and engaged in trade or commerce directly or indirectly affecting
                 the people of Washington, as defined by Wash. Rev. Code Ann. §
                 19.86.010(2).
    cxxxv.       Whether Facebook engaged in unfair or deceptive acts or practices in the
                 conduct of trade or commerce, in violation of Wash. Rev. Code Ann. §
                 19.86.020, as described herein.
   cxxxvi.       Whether Facebook acted intentionally, knowingly, and maliciously to violate
                 Washington’s Consumer Protection Act, and recklessly disregarded the
                 Washington Plaintiff’s and Washington Subclass members’ rights.
  cxxxvii.       Whether the West Virginia Plaintiffs and West Virginia Subclass members are
                 “[c]onsumer[s],” as defined by W. Va. Code Ann. § 46A-6-102(2).
  cxxxviii.      Whether Facebook engaged in “consumer transaction[s],” as defined by W.
                 Va. Code Ann. § 46A-6-102(2).
   cxxxix.       Whether Facebook advertised, offered, or sold goods or services in West
                 Virginia and engaged in trade or commerce directly or indirectly affecting the
                 people of West Virginia, as defined by W. Va. Code Ann. § 46A-6-102(6).
       cxl.      Whether Facebook’s unfair and deceptive acts and practices violated W. Va.
                 Code Ann. § 46A-6-102(7).
      cxli.      Whether Facebook’s unfair and deceptive acts and practices were
                 unreasonable when weighed against the need to develop or preserve business,
                 and were injurious to the public interest, under W. Va. Code Ann. § 46A-6-
                 101.
     cxlii.      Whether Facebook’s acts and practices were “[u]nfair” under W. Va. Code
                 Ann. § 46A-6-104 because they caused or were likely to cause substantial
                 injury to consumers which was not reasonably avoidable by consumers


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                   themselves and not outweighed by countervailing benefits to consumers or to
                   competition.
     cxliii.       Whether Facebook’s acts and practices were “deceptive” under W. Va. Code
                   Ann. § 46A-6-104.
     cxliv.        Whether Facebook’s omissions were legally presumed to be equivalent to
                   active misrepresentations because Facebook intentionally prevented the West
                   Virginia Plaintiff and the West Virginia Subclass members from discovering
                   the truth regarding Facebook’s use, sale, disclosure and abuse of private user
                   data.
      cxlv.        Whether Facebook acted intentionally, knowingly, and maliciously to violate
                   West Virginia’s Consumer Credit and Protection Act, and recklessly
                   disregarded the West Virginia Plaintiff’s and the West Virginia Subclass
                   members’ rights.
     cxlvi.        Whether Facebook’s deceptive trade practices significantly impact the public.
     cxlvii.       Whether Facebook’s representations and omissions were material because
                   they were likely to deceive reasonable consumers.
    cxlviii.       Whether Facebook intended that the Alabama, Colorado, Illinois, Iowa,
                   Kansas, Michigan, New York, Washington, and West Virginia Plaintiffs and
                   the various Subclass members would rely on its misrepresentations,
                   omissions, and other unlawful conduct.
     cxlix.        Whether, as a direct and proximate result of Facebook’s unfair and deceptive
                   acts and practices, Alabama, Colorado, Illinois, Iowa, Kansas, Michigan, New
                   York, Washington, and West Virginia Plaintiffs and the various Subclass
                   members have suffered and will continue to suffer injury, ascertainable losses
                   of money or property, and monetary and non-monetary damages.
         cl.       Whether the Alabama, Colorado, Illinois, Iowa, Kansas, Michigan, New York,
                   Washington, and West Virginia Plaintiffs and the various Subclass members
                   have suffered injuries in fact and lost money or property due to Facebook’s
                   business acts or practices.
        cli.       Whether Plaintiffs and the Classes are entitled to equitable relief, including,
                   but not limited to, injunctive relief, restitution, and disgorgement; and
       clii.       Whether Plaintiffs and the Classes are entitled to actual, statutory, or other
                   forms of damages, and other monetary relief.

       443.    Defendants engaged in a common course of conduct giving rise to the legal rights

sought to be enforced by this action and similar or identical questions of statutory and common

law, as well as similar or identical injuries, are involved. Individual questions, if any, pale in

comparison to the numerous common questions that predominate in this action.

       444.    Typicality: Plaintiffs’ claims are typical of the other Class Members’ claims

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because all Class Members were comparably injured through Defendants’ substantially uniform

misconduct as described above. The Plaintiffs representing the Classes are advancing the same

claims and legal theories on behalf of themselves and all other members of the Classes that they

represent, and there are no defenses that are unique to Plaintiffs. The claims of Plaintiffs and

Class Members arise from the same operative facts and are based on the same legal theories.

         445.   Adequacy: Plaintiffs are adequate Class representatives because their interests do

not conflict with the interests of the other members of the Classes they seek to represent;

Plaintiffs have retained counsel competent and experienced in complex class action litigation,

and Plaintiffs intend to prosecute this action vigorously. The Classes’ interest will be fairly and

adequately protected by Plaintiffs and their counsel.

         446.   Superiority: A class action is superior to any other available means for the fair

and efficient adjudication of this controversy, and no unusual difficulties are likely to be

encountered in the management of this class action. The damages and other detriment suffered

by Plaintiffs and the other class members are relatively small compared to the burden and

expense that would be required to individually litigate their claims against Defendants, so it

would be virtually impossible for the members of the Classes to individually seek redress for

Defendants’ wrongful conduct. Even if class members could afford individual litigation, the

court system could not. Individualized litigation creates a potential for inconsistent or

contradictory judgments, and increases the delay and expense to all parties and the court system.

By contrast, the class action device presents far fewer management difficulties, and provides the

benefits of single adjudication, economy of scale, and comprehensive supervision by a single

court.

         447.   Class certification under Rule 23(b)(2) is also warranted for purposes of

injunctive and declaratory relief because Defendants have acted or refused to act on grounds

generally applicable to the Classes, so that final injunctive and declaratory relief are appropriate

with respect to each Class as a whole.




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                                  IX.     CAUSES OF ACTION
        448.    Pursuant to 28 U.S.C. § 1407(a), this complaint consolidates claims of all

plaintiffs in this multidistrict litigation and proposes priority briefing for certain claims. In the

event that Defendants seek to challenge claims asserted herein via motion pursuant to FRCP 12,

Plaintiffs propose that twelve of the claims asserted herein be briefed in priority. Those claims

are set forth herein as Part A.

A.      Prioritized Claims



(Against Prioritized Defendant Facebook and Doe Defendants, and Against Non-Prioritized
                             Defendants Zuckerberg, Kogan)
                         On Behalf of All Plaintiffs and All Classes
        449.    Plaintiffs incorporate by reference all allegations of this complaint as though fully

set forth herein.

        450.    The Stored Communications Act (“SCA”) allows a private right of action against

anyone who “(1) intentionally accesses without authorization a facility through which an

electronic communication service is provided; or (2) intentionally exceeds an authorization to

access that facility; and thereby obtains, alters, or prevents authorized access to a wire or

electronic communication while it is in electronic storage in such system.” See 18 U.S.C. §

2701(a); see also 18 U.S.C. § 2707(a) (cause of action).

        451.    The Electronic Communications Privacy Act, 18 U.S.C. §§ 2510, et seq., defines

an “electronic communication” as “any transfer of signs, signals, writing, images, sounds, data,

or intelligence of any nature transmitted in whole or in part by a wire, radio, electromagnetic,

photoelectronic or photooptical system that affects interstate or foreign commerce.” 18 U.S.C.§

2510(12). The SCA incorporates this definition of “electronic communication.”

        452.    To create the information transferred to Facebook such as all posts, private

messages, and similar communication (collectively “Facebook content”), Facebook users

transmit writing, images, or other data via the Internet from their computers or mobile devices to




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Facebook’s servers. This Facebook content, therefore, constitutes electronic communications for

purposes of the SCA.

       453.    The SCA distinguishes between two types of electronic storage. The first is

defined as “any temporary, intermediate storage of a wire or electronic communication incidental

to the electronic transmission thereof.” 18 U.S.C. § 2510(l7)(A). The second type is defined as

“any storage of such communication by an electronic communication for purposes of backup

protection of such communication.” 18 U.S.C. § 2510(17)(B). Because Facebook saves and

archives Facebook content indefinitely, Facebook content is stored in electronic storage for

purposes of the SCA.

       454.    Facebook allows users to select privacy settings for their Facebook content.

Access can be limited to a user's Facebook friends, to particular groups or individuals, or to just

the particular Facebook user. When users make Facebook content inaccessible to the general

public, the information is considered private for purposes of the SCA.

       455.    As set forth herein, Plaintiffs did not authorize Defendants to share their content

and information with Facebook’s third party “partners” such as device makers or app developers

in violation of users’ personal privacy settings.

       456.    Plaintiffs are subscribers or customers of Facebook’s remote computing service,

pursuant to 18 U.S.C. § 2702(a)(2). By virtue of Facebook’s conduct in providing the ability to

send or receive wire or electronic communications, Facebook is an electronic communication

service within the meaning of the SCA. Plaintiffs and Class Members are users of Facebook’s

electronic communication service, pursuant to 18 U.S.C. § 2510(13).

       457.    Plaintiffs are subscribers and persons aggrieved by violations of the SCA,

pursuant to 18 U.S.C. §§ 2707(a) and 2510(11).

       458.    By virtue of Defendants’ conduct in providing computer storage and processing

services by means of an electronic communications system, Facebook is a remote computer

service within the meaning of the SCA.




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       459.    Facebook is a provider of an electronic communication service to the public,

pursuant to 18 U.S.C. §§ 2702(a)(1) and 2510(15).

       460.    Facebook maintains a facility through which an electronic communication service

is provided, pursuant to 18 U.S.C. § 2701(a).

       461.    Facebook is a provider of a remote computing service to the public, pursuant to

18 U.S.C. §§ 2702(a)(2) and 2711(2).

       462.    Facebook and Doe Defendants are persons within the meaning of the SCA,

pursuant to 18 U.S.C. § 2510(6).

       463.    Facebook and Doe Defendants are persons or entities within the meaning of the

SCA, pursuant to 18 U.S.C. § 2707(a).

       464.    Plaintiffs’ and Class Members’ use of Facebook’s messaging systems and

transfers of content and information to Facebook constitute electronic communications, pursuant

to 18 U.S.C. § 2501(12).

       465.    Plaintiffs’ and Class Members’ electronic communications were in electronic

storage, pursuant to 18 U.S.C. § 2501(17).

       466.    Defendants violated the SCA by intentionally accessing without authorization or

exceeding an authorization to access Facebook’s facility through which an electronic

communication service is provided, thereby obtaining access to Plaintiffs’ and Class Members’

electronic communications while they were in electronic storage, pursuant to 18 U.S.C. §

2701(a).

       467.    Facebook violated the SCA by knowingly divulging the contents, including

content and information, of Plaintiffs’ and Class Members’ electronic communications while

they were in electronic storage to unauthorized parties, including but not limited to Cambridge

Analytica and Doe Defendants, pursuant to 18 U.S.C. § 2702(a)(1).

       468.    Facebook violated the SCA by knowingly divulging the contents, including

content and information, of Plaintiffs’ and Class Members’ electronic communications that were




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carried or maintained on Facebook’s remote computing service to unauthorized parties, including

but not limited to Cambridge Analytica and Doe Defendants, pursuant to 18 U.S.C. § 2702(a)(2).

        469.      As a result of Defendants’ violations of the SCA, Plaintiffs and Class Members

have suffered injury, including but not limited to the invasion of Plaintiffs’ and Class Members’

privacy rights.

        470.      Defendants profited through their violations of the SCA, and Plaintiffs suffered

actual damages, as detailed herein, as a result of these violations, pursuant to 18 U.S.C.

§ 2707(c).

        471.      Plaintiffs and Class Members are entitled to actual damages, disgorgement of

profits made by Defendants as a result of their violations of the SCA, and statutory damages, in

an amount not less than $1,000 per Plaintiff or Class Member,

        472.      Plaintiffs are also entitled to preliminary and other equitable or declaratory relief

as may be appropriate, as well as reasonable attorneys’ fees and litigation costs, pursuant to 18

U.S.C. § 2707(b).

        473.      Defendants’ violations of the SCA were committed willfully and intentionally,

and therefore Plaintiffs and Class Members also seek punitive damages pursuant to 18 U.S.C. §

2707(c).


(Against Prioritized Defendant Facebook and Doe Defendants, and Against Non-Prioritized
                             Defendants Kogan, Zuckerberg)
                         On Behalf of All Plaintiffs and All Classes
        474.      Plaintiffs incorporate by reference all allegations of this complaint as though fully

set forth herein.

        475.      Facebook is a “video tape service provider” under 18 U.S.C. § 2710 because it is

a person “engaged in the business, in or affecting interstate or foreign commerce, of rental, sale,

or delivery of prerecorded video cassette tapes or similar audio-visual materials.” 18 U.S.C.

§ 2710(a)(4). Facebook regularly displays a variety of video content to its users.

        476.      Plaintiffs and the other Class members are “consumers” under 18 U.S.C. § 2710

because they are subscribers of goods or services from Facebook, a video tape service provider.

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18 U.S.C. § 2710(a)(1).

       477.    The Facebook data of Plaintiffs and the other Class members contained

“personally identifiable information” under 18 U.S.C. § 2710 because the information identified

Plaintiffs and the other Class members as having requested or obtained specific video materials

or services from Facebook, a video tape service provider, and included other information

ordinarily used to identify individuals, such as Facebook user IDs, names, addresses and similar

information.

       478.    GSR obtained access to users’ and users’ friends likes. As alleged above, this

information included specific video information about these users. GSR sold this information to

Cambridge Analytica. Thus, Defendants knowingly allowed GSR and Cambridge Analytica to

access and share the specific video preferences of its users through this “likes” information

without their authorization.

       479.     Facebook knowingly allowed app developers, including GSR, access to all of the

posts in a user’s timeline. This information included videos uploaded by the user as well as

videos or video hyperlinks shared with a user by the user’s friends. It also included posts by that

user, or posts shared with that user, about videos.

       480.    Facebook allowed its third-party partners, including but not limited to device

makers, mobile carriers, software makers, security firms and chip designers, to access Plaintiffs’

content and information without consent and in violation of Plaintiffs’ personal privacy settings.

Facebook knowingly disclosed Plaintiffs’ and the other Class members’ content and information

to third parties, including GSR and other app developers, without the informed, written consent

of Plaintiffs and the other Class members.

       481.    Plaintiffs and the other Class members are “aggrieved person[s]” under the VPPA

by Facebook’s disclosure of their personally identifiable information under 18 U.S.C. § 2710, as

alleged herein. Therefore, Plaintiffs and the other Class members may bring an action under

§ 2710(c) against Facebook.

       482.    Plaintiffs and the other Class members may be awarded actual damages, but not


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less than liquidated damages in an amount of $2,500 per Plaintiff, punitive damages, attorneys’

fees and costs, and such other preliminary and equitable relief as the court determines to be

appropriate.



                (Against Prioritized Defendant Facebook and Doe Defendants)
                          On Behalf of All Plaintiffs and All Classes
        483.    Plaintiffs incorporate by reference all allegations of this complaint as though fully

set forth herein.

        484.    Under California law, a plaintiff may assert a claim for deceit by concealment

based on “[t]he suppression of a fact, by one who is bound to disclose it, or who gives

information of other facts which are likely to mislead for want of communication of that

fact.” Cal. Civ. Code § 1710(3).

        485.    These following actions are “deceit” under Cal. Civil Code § 1710 because

Facebook suppressed facts that they were duty-bound to disclose, especially given Facebook’s

assertions about protecting the privacy of Plaintiffs and Class Members. Facebook has

committed deceit by concealment in three distinct ways.

        486.    First, Facebook did not disclose known risks that third party app developers

would sell or disperse user content and information.

        487.    Facebook received multiple warnings that Plaintiffs’ and the Class Members’

content and information was at risk.

            (1) In 2012, Sandy Parakilas, former Facebook operations manager, warned

                Facebook’s executives about the risks of app developers gaining access to users’

                personal information without their consent on Facebook’s platform. Yet,

                Facebook ignored Parakilas’s warnings.

            (2) In October 2012, Facebook reached a settlement with the FTC agreeing to clearly

                and prominently disclose its sharing of information with third parties; yet,

                Facebook continued to let app developers access users’ information without their

                consent.

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           (3) As late as 2017, Alex Stamos, Facebook’s former Chief of Security, warned

               Facebook executives about security risks on the platform. In an internal meeting

               held in 2017, Stamos warned of “intentional decisions to give access to data and

               systems to engineers to make them 'move fast' but that creates other issues for us.”

           (4) In 2017, Stamos states that he provided a written report concerning the

               circumstances leading to Cambridge Analytica obtaining users’ personal

               information. Facebook edited and published a whitewashed version of this report

               concealing any wrongdoing.

       488.    Facebook did not audit what happened to content and information that was

provided to third parties because it knew it would find abuse. Facebook did not disclose to

Plaintiffs or Class Members the risks that they faced from these warnings, and did not inform

Plaintiffs or Class Members that their content and information was insecure once it was shared

with app developers or other third parties.

       489.    Facebook knew that Plaintiffs’ and Class Members’ content and information was

not secure. Facebook ignored the warnings above that audits were necessary to secure Plaintiffs’

and Class Members’ content and information because Defendants did not know what third

parties were doing with it after it left Facebook’s servers.

       490.    Defendants intentionally failed to secure Plaintiffs’ and Class Members’

information and content because they wanted to encourage third-party app developers and other

business partners to exploit that information and content. Defendants knew that appropriate

security measures—such as audits—would discourage third-parties. Defendants did not engage

in such audits or conduct other reasonable efforts to protect Plaintiffs’ and Class Members’

content and information.

       491.    Defendants had a duty to inform Plaintiffs and Class Members that Defendants

had become aware that they had failed to secure their content and information. Facebook knew in

2015 that it had failed to secure Plaintiffs’ and Class Members’ content and information,

including by making it available to Facebook’s business partners, including but not limited to


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device makers, mobile carriers, software makers, security firms and chip designers.

       492.    Defendants intentionally concealed that Plaintiffs’ and Class Members’

information and content was insecure because they wanted Plaintiffs and Class Members to

continue to generate content for their business partners. Defendants failed to disclose the risks

Plaintiffs and Class Members faced with the intention to deceive them about the security of their

content and information.

       493.    Defendants failed to disclose to Plaintiffs and Class Members that it had failed to

secure content and information for dozens of other third-party apps, even after it became aware

of abuse in 2015 with the Cambridge Analytica Scandal, and conducted no investigation of the

extent to which it had failed to do so until March of 2018.

       494.    Had Plaintiffs and Class Members been aware that Defendants had failed to

implement adequate security measures, they would not have shared their information and content

with Facebook to the extent that they did, if at all.

       495.    Plaintiffs and Class Members were damaged because, as a result of Defendants’

deceit, their content and information have been disclosed to third parties without their consent.

Plaintiffs and Class Members were also damaged because, as a result of Defendants’ deceit, their

privacy was invaded. Plaintiffs and Class Members are at heightened risk of identity theft,

phishing schemes, and other malicious attacks. Due to Defendants’ deceit, Plaintiffs’ and Class

Members’ information and content were compromised, and may be available on the dark web or

in the hands of foreign nationals. Plaintiffs are therefore entitled to “any damage” that they have

suffered under Civil Code Section 1709.

       496.    Second, Defendants have committed deceit by failing to meaningfully disclose to

Plaintiffs and Class Members how Facebook allows other third parties—including but not

limited to app developers, device makers, mobile carriers, software makers, and others—to

obtain their personal information notwithstanding their privacy settings.

       497.    Defendants misled users to believe that they were protecting users’ privacy and

failed to disclose that they were sharing users’ content and information with third parties.


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       498.    Defendants did not disclose that, notwithstanding privacy settings that purported

to provide Plaintiffs with control over their content and information, Facebook allowed third-

parties to harvest and store personal information.

       499.    Defendants had a duty to provide accurate information to Plaintiffs about how

their content and information were disclosed to third parties by Facebook. Defendants knew that

Plaintiffs shared personal and sometimes intimate details about their lives, personalities, and

identities. Defendants encouraged Plaintiffs to share content and information by assuring them

that Facebook would respect their choices concerning privacy.

       500.    Defendants intentionally concealed and omitted material information regarding

how Facebook disclosed Plaintiffs’ content and information in an effort to create a false sense of

security and privacy for Plaintiffs and Class Members. Defendants did this because they wanted

Plaintiffs to provide more detailed content and information, whose value would be increased by

that additional detail. Third parties would thereby pay a higher price for access to that content

and information, increasing Facebook’s revenue.

       501.    Had Plaintiffs and Class Members been aware of the full extent of how Facebook

collected and used their content and information, they would not have shared their content and

information on their devices on the Facebook platform to the same degree that they did, if at all.

       502.    Plaintiffs and Class Members were damaged because their content and

information were disclosed to third-party device makers and other business partners without their

consent. As a result of the disclosures of Plaintiffs' and Class Members’ content and information

to these third parties, Plaintiff could not take remedial measures to protect themselves from

identity theft, scams, phishing, unwanted political targeting, even surveillance and other forms of

harassment. Moreover, Plaintiffs would have behaved differently and shared less content and

information had these acts been disclosed. Facebook deliberately withheld notice because it did

not want to discourage user sharing and engagement on its platform.

       503.    Third, Defendants failed to disclose to Plaintiffs and Class Members how their

content and information was being collected, shared and aggregated to develop digital profiles or


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dossiers of each user. Those dossiers, comprised of Facebook user content and information was

combined with other sources to de-anonymize this data such that Facebook users could be

individual targeted.

       504.    Defendants had a duty to disclose the full extent to which it allowed Plaintiffs and

Class Members to be targeted by advertisers and marketers because it promised in its Contracts

that it would not share users’ content and information with advertisers without their consent.

Defendants’ duty also arose from its affirmative representations that (1) Plaintiffs could control

their content and information, and (2) third parties could not access personal data absent users’

consent.

       505.    Defendants knew that advertisers were targeting Plaintiffs and Class Members

with messages based upon Facebook-derived content and information, combined with content

and information derived from other data brokers. Facebook was the vehicle to target Plaintiffs

and Class Members by drawing upon the vast amounts of content information collected by

Facebook and “matched” with additional information collected about them by data brokers.

       506.    Defendants knew that psychographic marketing and other targeted advertising

was very lucrative, and that advertisers paid a premium to combine content and information with

data from data brokers.

       507.    Defendants did not disclose to Plaintiffs and Class Members that advertisers were

combining data from data brokers with Facebook-derived content and information to target them

with advertisements and psychographic marketing, as well as building digital dossiers of users.

       508.    Defendants intended to deceive Plaintiffs and Class Members about their

vulnerability to targeted advertisements. Defendants intended to deceive Plaintiffs and Class

Members about the degree to which sharing their information and content on Facebook directly

led to targeted messaging.

       509.    Had Plaintiffs and Class Members known the extent to which Defendants shared

their content and information with third parties, and how it was aggregated and made available to

advertisers and political operatives, among others, Plaintiffs and Class Members would have not


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shared their information and content on Facebook to the extent that they did, if it all.

        510.    Plaintiffs and Class Members suffered injury as a direct result of Defendants’

deceit. Plaintiffs and Class Members conferred a benefit on Defendants. Their information and

content were used and aggregated by advertisers and other third parties without their consent,

and for nefarious—among other—uses, and Facebook received substantial advertising revenues

as a benefit. Had Plaintiffs and Class Members known the extent and degree to which their

content and information was provided to third parties, they would have required compensation

for this use of their content and information.

        511.    As a result, Defendants have been unjustly enriched by its deceit, and Plaintiffs

and Class Members are entitled to restitution. “Restitution is a remedy that may be awarded to

prevent unjust enrichment when the defendant has obtained some benefit from the plaintiff

through fraud, duress, conversion or similar misconduct.” McBride v. Boughton, 123

Cal.App.4th 379, 387–388 (2004).

        512.    For all types of fraudulent omissions complained of here, Plaintiffs and Class

Members seek disgorgement of Facebook’s profits that were made with the use of Plaintiffs’ and

Class Members’ content and information. Disgorgement is appropriate because Defendants

profited from Plaintiffs’ and Class Members’ content and information wrongfully obtained by

generating revenues from app developers and advertisers. Disgorgement is necessary in order to

deter future unauthorized use of Plaintiffs’ and Class Members’ content and information.

Disgorgement is also necessary to the extent that the value of Plaintiffs’ and Class Members'

content and information cannot be assessed by ordinary tort damages. Public policy supports the

use of disgorgement here to disincentivize the type of deception that Facebook used in exploiting

Plaintiffs’ and Class Members’ content and information.


(Against Prioritized Defendant Facebook and Doe Defendants; Non-Prioritized Defendants
                         Zuckerberg, Mercer, Bannon and Kogan)
                         On Behalf of All Plaintiffs and All Classes
        513.    Plaintiffs incorporate by reference all allegations of this complaint as though fully

set forth herein.

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       514.    Plaintiffs and Class Members reasonably expected that the content and

information that they entrusted to Facebook would be protected and secured against access by

unauthorized parties and would not be disclosed to or obtained by unauthorized parties, or

disclosed or obtained for any improper purpose.

       515.    Defendants intentionally intruded upon the private affairs and concerns of

Plaintiffs and Class Members by improperly accessing and obtaining Plaintiffs’ and Class

Members’ content and information and using it for improper purposes, as detailed herein.

       516.    Facebook intentionally intruded upon the private affairs and concerns of Plaintiffs

and Class Members, by making Plaintiffs’ and Class Members’ content and information

available to unauthorized parties, including but not limited to third parties including but not

limited to device makers, mobile carriers, software makers, security firms, app developers,

disclosing this information to unauthorized parties, and failing to adequately protect and secure

this information against access by unauthorized parties.

       517.    Defendants’ intrusions upon the private affairs and concerns of Plaintiffs and

Class Members were substantial, and would be highly offensive to a reasonable person, as is

evidenced by the intense public outcry and numerous, international governmental investigations

in response to Defendants’ invasions of Plaintiffs’ and Class Members’ privacy rights.

       518.    Plaintiffs and Class Members did not consent to Defendants’ intrusions upon their

private affairs and concerns.

       519.    Plaintiffs and Class Members suffered actual and concrete injury as a result of

Defendants’ intrusions upon Plaintiffs’ and Class Members’ private affairs and concerns.

       520.    Plaintiffs and the Class seek appropriate relief for that injury, including but not

limited to damages that will reasonably compensate Plaintiffs and Class Members for the harm to

their privacy interests, risk of future invasions of privacy, and the mental and emotional distress

caused by Defendants’ invasions of privacy, as well as disgorgement of profits made by

Defendants as a result of their intrusions upon Plaintiffs’ and Class Members’ private affairs and/

concerns.


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(Against Prioritized Defendant Facebook and Doe Defendants; Non-Prioritized Defendants
                         Zuckerberg, Mercer, Bannon and Kogan)
                         On Behalf of All Plaintiffs and All Classes
        521.    Plaintiffs incorporate by reference all allegations of this complaint as though fully

set forth herein.

        522.    As detailed herein, Facebook published private content and information of

Plaintiffs and Class Members to unauthorized parties, including Facebook’s third party partner

device makers, mobile carriers, software makers, security firms, including millions of app

developers, and failed to take reasonable steps to prevent further dissemination of this content
and information.

        523.    Facebook’s publication of Plaintiffs’ and Class Members’ content and

information would be highly offensive to a reasonable person, as is evidenced by the intense

public outcry and numerous, international governmental investigations in response to Facebook’s

invasion of Plaintiffs’ and Class Members’ privacy rights, and decreased participation on the

Facebook platform. Facebook knew or acted with reckless disregard of the fact that a reasonable

person would consider Facebook’s publication of Plaintiffs’ and Class Members’ content and

information to be highly offensive.

        524.    Plaintiffs’ and Class Members’ content and information was private and not of

legitimate public concern or substantially connected to a matter of legitimate public concern.

        525.    Plaintiffs and Class Members suffered injury as a result of Defendants’

publication of Plaintiffs’ and Class Members’ content and information. They seek appropriate

relief, including but not limited to damages that will reasonably compensate Plaintiffs and Class

Members for the harm to their privacy interests and the mental and emotional distress caused by

Defendants’ invasions of privacy, as well as disgorgement of profits made by Facebook as a

result of its publication of Plaintiffs’ and Class Members’ content and information.


                         (Against Prioritized Defendant Facebook, Inc.)
                           On Behalf of All Plaintiffs and All Classes
        526.    Plaintiffs incorporate by reference all allegations of this complaint as though fully

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set forth herein.

        527.     At all relevant times, Facebook and Plaintiffs mutually assented to, and therefore

were bound by the version of Facebook’s Statement of Rights and Responsibilities or later, the

Terms of Service, (collectively, the “Contracts”) that was operative at the time each of the

Plaintiff and Class Member joined Facebook.

        528.     Throughout the Class Period, Facebook affirmatively stated that Facebook would

“not share your content and information with advertisers without your consent.” None of the

Contracts informed and obtained users’ meaningful and lawfully-obtained consent to share their

content and information with advertisers and other third parties, or disclosed that such

information would be shared if users’ friends entered into an agreement which permitted third

parties to collect their friends’ information.

        529.     Thus, per the provision above, the Contracts did not authorize Facebook to share

Plaintiffs’ and Class Members’ content and information with Facebook’s business partners,

including but not limited to mobile carriers, software makers, security firms, chip designers or

device makers.

        530.     Further, per the provision above, the Contracts also did not authorize Facebook to

make the content and information that users shared with friends available to third party app

developers, or to sell such information to other third parties like Cambridge Analytica. The

Contracts did provide that the user’s content and information would be shared with a third-party

application if the user himself or herself permitted an application to have access and agreed to its

terms (“user sharing”). The Contracts did not provide that a user’s content and information

would be shared with a third-party application if a friend of the user used such an application

(“friend-of-user sharing”). At the very least, friend-of-user sharing fell outside the scope of the

sharing allowed by the Contracts.

        531.     Facebook’s Privacy Policy, and later, its Data Use Policy, were not incorporated

into the the Contracts. Indeed, Facebook has previously represented that it is not contractually

bound by its Privacy and Data Use Policies.


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       532.    Between 2005 and the present, Facebook has unilaterally drafted at least 80

different policies and user agreements. Upon information and belief, Facebook, in many

instances, failed to notify users of updates to these policies. Due to Facebook’s failure to provide

notice, users could not give consent to these updates to the policies or authorize any acts

premised upon such changes.

       533.    Additionally, Facebook made it unreasonably difficult for users to access the

provisions of the Privacy and Data Use Policies, and particularly the provision of the Privacy and

Data Use Policies disclosing friend-of-user sharing.

       534.    Facebook also made it unreasonably difficult for users to understand which

privacy settings governed how third-party applications and advertisers could access users’

content and information via friend-of user sharing.

       535.    During the Class Period, Facebook failed to adequately explain that a user’s

“Privacy settings” were ineffective in controlling whether users’ content and information was

shared via friend-of-user sharing.

       536.    Additionally, Facebook failed to adequately explain that multiple default privacy

settings, which changed over time, required users to opt out of permitting app developers to

obtain content and information via friend-of-user sharing. Indeed, Facebook could have, but did

not, provide a hyperlink to all of the pages which required users to visit and authorize such

sharing. Instead, those pages contained default settings which assumed sharing. Such default

settings, undisclosed to users, did not authorize or grant consent for sharing with third parties.

       537.    GSR made an application available to Facebook users via Graph API v.1.0. It

used Graph API v.1.0 to collect sensitive information regarding Plaintiffs—information that

personally identified, or could easily be used to personally identify, Plaintiffs.

       538.    Facebook was informed that GSR then sold this information to Cambridge

Analytica, which used the information to craft and target advertising on Facebook’s platform to

Plaintiffs and Class members. This was prohibited by the Contracts.

       539.    Upon information and belief, during the Class Period, certain Doe Defendants


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made applications available to Facebook users to collect sensitive information regarding

Plaintiffs and the Class. Upon information and belief, certain Doe Defendants also sold users’

content and information to advertisers, thus causing a violation of the Contracts.

          540.   Contrary to the Contracts, Facebook knowingly allowed Doe Defendants who

made their applications available through Graph API v.1.0 to sell the personally identifiable

information regarding Plaintiffs and the Class that they had collected via applications that used

the Facebook platform.

          541.   The Contracts required Facebook to protect the content and information of its

users. The Contracts affirm that users’ content and information would not be shared with

advertisers and other third parties without their affirmative consent. Likewise, these same terms

of service informed users that their privacy setting would control who had access to their content

and information, but this was untrue. Facebook did not disclose that users were required to

affirmatively “opt out” of sharing their content and information with third parties in the

Contracts.

          542.   As set forth herein, Plaintiffs’ content and information is of considerable value as

demonstrated by Facebook’s calculation of the Average Revenue Per User that it calculates.

There is an active market for the content and information generated by Facebook users, both

individually and especially in the aggregate. Facebook generates billions of dollars in revenues

through targeted advertising delivered to third parties, curated through the collection and

aggregation of Facebook’s user data. There is also an active black market for user content and

information. The remedy for the breach of the Contracts is what Facebook gained through their

breach.

          543.   The value of the content and information accumulated by Facebook about a user

increases with the amount of content and information Facebook collects. Thus, over time,

Facebook’s benefit of the bargain has multiplied dramatically.

          544.   As a result of the breach, Plaintiffs have been harmed and have suffered damages

by losing the value of their content and information.


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               (Against Prioritized Defendant Facebook, Inc., and Doe Defendants)
                              On Behalf of All Plaintiffs and Classes
        545.     Plaintiffs incorporate by reference all allegations of this complaint as though fully

set forth herein.

        546.     Plaintiffs bring this claim on behalf of themselves and the Nationwide Class.

        547.     Defendants owed a duty to Plaintiffs and the Class to exercise reasonable care in

the obtaining, using, and protecting of their content and information, arising from the sensitivity

of their content and information and the expectation that their content and information was not

going to be shared with third parties without their consent. This duty included Facebook
ensuring that no app developers, device makers or other third parties, including Kogan, GSR and

Cambridge Analytica, were improperly collecting, storing, obtaining and/or selling Plaintiffs’

and Class members’ content and information.

        548.     Plaintiffs’ and Class members’ willingness to entrust Defendants with their

content and information was predicated on the understanding that Facebook would take

appropriate measures to protect it. Facebook had a special relationship with Plaintiffs and Class

members as a result of being entrusted with their content and information, which provided an

independent duty of care.

        549.     Facebook knew that the content and information of Plaintiffs and the Class had

value. Indeed, Facebook has earned billions of dollars from selling targeted advertising on its

platform based on users’ content and information as demonstrated by Facebook’s calculation of

the Average Revenue Per User. There is an active market for the content and information

generated by Facebook users, both individually and especially in the aggregate. Facebook

generates its billions of dollars in revenues through targeted advertising delivered to third parties,

curated through the collection and aggregation of Facebook’s users’ content and information.

There is also an active black market for user content and information.

        550.     Facebook received multiple warnings that Plaintiffs’ and the Class Members’

content and information was at risk.


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            (5) In 2012, Sandy Parakilas, former Facebook operations manager, warned

                 Facebook’s executives about the risks of app developers gaining access to users’

                 personal information without their consent on Facebook’s platform. Yet,

                 Facebook ignored Parakilas’s warnings.

            (6) In October 2012, Facebook reached a settlement with the FTC agreeing to clearly

                 and prominently disclose its sharing of information with third parties; yet,

                 Facebook continued to let app developers access users’ information without their

                 consent.

            (7) As late as 2017, Alex Stamos, Facebook’s former Chief of Security, warned

                 Facebook executives about security risks on the platform. In an internal meeting

                 held in 2017, Stamos warned of “intentional decisions to give access to data and

                 systems to engineers to make them 'move fast' but that creates other issues for us.”

            (8) In 2017, Stamos states that he provided a written report concerning the

                 circumstances leading to Cambridge Analytica obtaining users’ personal

                 information. Facebook edited and published a whitewashed version of this report

                 concealing any wrongdoing.

        551.     Despite these warnings, Facebook failed to take reasonable steps to prevent harm

to Plaintiffs:

            (1) According to Sandy Parakilas, Facebook was not conducting regular audits of app

                 developers using Facebook’s platform in 2012.

            (2) On April 30, 2014, Facebook announced a new “anonymous login” feature that

                 would have allowed users to use an app without sharing any personal information.

                 Yet, Facebook never implemented this feature.

            (3) On April 30, 2104, Facebook also announced a new “controlled login” feature to

                 allow users to choose what information they shared with app developers before

                 login in. Yet, Facebook did not implement this feature until May 2015.

            (4) As early as December 11, 2015, Facebook received notice that app developer


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               Aleksandr Kogan had shared users’ personal information with Cambridge

               Analytica; yet, Facebook waited until April 2018, more than three years later, to

               notify users that their personal information had been improperly shared.

       552.    Facebook owed a duty to timely disclose to Plaintiffs and Class member that

Facebook had allowed their content and information to be accessed by GSR, Cambridge

Analytica and the Doe Defendants. Plaintiffs had a reasonable expectation that Facebook would

information them of the improper disclosure of their content and information.

       553.    Facebook breached its duties by, among other things: (a) failing to ensure that app

developers, device makers and other third parties were not improperly collecting, storing,

obtaining and/or selling Plaintiffs’ and the Class’ content and information without users’

informed consent; and (b) failing to provide adequate and timely notice that Plaintiff’s and Class

members’ content and information had been improperly obtained by Cambridge Analytica and

Doe Defendants.

       554.    But for Facebook’s breach of its duties, including its duty to use reasonable care

to protect and secure Plaintiffs’ and Class members’ content and information, Plaintiffs’ and

Class members’ content and information would not have been disclosed without their consent to

third parties, which resulted in further misuse of Plaintiffs’ and Class members’ content and

information.

       555.    Plaintiffs and Class members were foreseeable victims of Facebook’s breach of

its duties. Facebook knew or should have known that allowing third parties to access Plaintiffs’

and Class members’ content and information would cause damage to Plaintiffs and Class

members.

       556.    As a result of Facebook’s negligent failure to safeguard Plaintiffs’ and Class

members’ content and information, Plaintiffs and Class members have suffered injury, which

includes but is not limited to impermissible disclosure of their content and information, both

directly and indirectly by Facebook, and exposure to a heightened, imminent risk of misuse,

fraud, identity theft, voter fraud, medical fraud, and financial and other harms.


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       557.     The content and information shared with third parties allows this content and

information to be aggregated with other data to identify and target Plaintiffs and Class members.

It is reasonable for Plaintiffs and Class Members to obtain identity protection or credit

monitoring services in light of the foregoing. Plaintiffs seek to recover the cost of these services

from Facebook.

       558.     The injury to Plaintiff and Class Members was a proximate, reasonably

foreseeable result of Facebook’s breaches of its aforementioned duties.

       559.     As a proximate result of Facebook’s negligence in failing to take due care to

monitor the use of user content and information by third parties like mobile device makers,

carriers, software makers, security firms, chip designers, GSR and Doe Defendants, Plaintiffs

suffered damages in an amount to be proved at trial.

       560.     Public policy voids any purported waiver of liability to which Facebook may

claim Plaintiffs assented:

                A.     The contract(s) between Facebook and Plaintiffs concern a business of a

       type generally thought suitable for public regulation; indeed, Facebook is subject to

       public regulation.

                B.     Due to Facebook’s ubiquity and importance in the daily lives of

       Americans, it performs a service of great importance to the public. Using Facebook is

       often a matter of practical necessity for the many persons who use Facebook to

       coordinate daily activities, network, engage in political and cultural discourse, and pursue

       interests and hobbies. To do these things, Facebook users must share their personal

       information with their friends.

                C.     Facebook holds itself out as a free provider of its services to aged 13 or

       above.

                D.     Because of the network effect and the importance of Facebook’s services,

       Facebook possesses a decisive advantage of bargaining strength against any member of

       the public that seeks to use its services.


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                E.     Any purported waiver of liability occurs in a standardized adhesion

        contract that users must accept or reject in toto.

                F.     Facebook is ultimately in total control of its platform and services. The

        confidentiality of Plaintiffs’ personal information, therefore, is under Facebook’s control

        and subject to its carelessness.

        561.    In addition, any purported waiver of liability is unconscionable.

        562.    Facebook’s conduct also constitutes gross negligence due to its extreme

departure from ordinary standards of care, and its knowledge that it had failed to secure the

content and information of Plaintiffs and Class Members.



  (Against Prioritized Defendant Facebook and Doe Defendants; Against Non-Prioritized
                   Defendants Zuckerberg, Mercer, Bannon and Kogan)
                          On Behalf of All Plaintiffs and Classes
        563.    Plaintiffs incorporate by reference all allegations of this complaint as though fully

set forth herein.

        564.    Plaintiffs bring this claim on behalf of themselves and the Nationwide Class.

        565.    Defendants’ conduct as alleged herein constitutes unfair, unlawful, or fraudulent

business acts or practices as proscribed by California’s Unfair Competition Law, Cal. Bus. &

Prof. Code § 17200, et seq. (“UCL”).

        566.    As alleged above, Facebook violated Plaintiffs’ and Class members’ privacy by

allowing their personal content to be exploited in ways that Plaintiffs and Class members could

not have been anticipated. Plaintiffs and Class Members’ interests were also violated through

Defendants’ deceptive acts. Had Plaintiffs and Class members known the extent to which

Facebook allowed their personal content to be collected, aggregated, pooled, and transferred for

commercial purposes to companies such as Cambridge Analytica, Plaintiffs and Class members

would not have shared their content and information on Facebook to the same extent they did, if

at all. Facebook allowed app developers, device makers and other third parties to harvest users’

friends content and information on a large scale, with no effective notice to Plaintiffs and Class


CONSOLIDATED COMPLAINT                           187                                    MDL NO. 2843
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Members, and without any opportunity for Plaintiffs and Class Members to become reasonably

informed about Facebook’s default privacy settings allowing app developers, device makers and

other third parties to harvest users’ friends content and information or the risks that large-scale

disclosure of their content and information would present. Facebook made assurances to

Plaintiffs and Class members about respecting their privacy, and being able to own and control

their content and information. Given these affirmative statements, Facebook had a duty to

disclose the nature and extent of the uses of users’ content and information that Facebook

allowed app developers, device makers, and other third parties to make.

       567.    Defendants’ conduct is “unfair.” California has a strong public policy to protect

privacy interests, including in protecting the content and information shared by Plaintiff.

Defendants violated this public policy by exploiting Plaintiffs’ content and information without

informed consent.

       568.    Defendants’ conduct also violated the interests protected by the Video Privacy

Protection Act, 18 U.S.C. § 2710; the Stored Communications Act, 18 U.S.C. § 2701 et seq.;

Cal. Civ. Code §§ 1709 & 1710 and Article 1, § 1 of the California Constitution. To establish

liability under the unfair prong, Plaintiffs need not establish that these statutes were actually

violated, although the claims pleaded herein do so.

       569.     Facebook did not reasonably inform Plaintiffs of the uses of their content and

information, and invaded Plaintiffs’ and Class members’ privacy by subjecting their content and

information to large-scale disclosure without knowledge or meaningful consent. Class Members

could not have anticipated this degree of intrusion into their privacy, which included exposure to

psychographic marketing. Defendants’ conduct did not create a benefit that outweighs these

strong public policy interests. Defendants’ conducts narrowly benefitted Facebook and its

business partners at the expense of the privacy of millions of people. Additionally, the effects of

Facebook’s conduct were comparable to or substantially the same as the conduct forbidden by

the California Constitution and the common law’s prohibitions against invasion of privacy, in

that Facebook’s conduct invaded fundamental privacy interests.


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        570.    Defendants’ conduct is “unlawful.” Defendants’ conduct violates the Video

Privacy Protection Act, 18 U.S.C. § 2710; the Stored Communications Act, 18 U.S.C. § 2701 et

seq.; Cal. Civ. Code §§ 1709 and 1710; and Article 1, § 1 of the California Constitution.

        571.    Facebook’s conduct violated the spirit and letter of these laws, which protect

privacy interests and prohibit misleading and deceptive practices. The content and information

that Facebook allowed third parties to harvest exposed Plaintiffs and Class Members to an

increased risk of identity theft, voter fraud, tax return fraud, and allowed third parties to link their

identities to other data in order to de-anonymize them.

        572.    Defendants’ conduct is fraudulent. As alleged above, Defendants misled

Plaintiffs concerning the use of their content and information affirmatively and through material

omissions, and the privacy protection Facebook provided their content and information.

Defendants did not meaningfully disclose that Plaintiffs’ content and information could be

obtained by device makers, notwithstanding Plaintiffs’ privacy settings. Defendants did not

disclose that Facebook’s default privacy settings allowed third party apps to obtain their content

and information, and obfuscated how Plaintiffs could have protected their content and

information from disclosure to third parties. Defendants omitted material information about how

Plaintiffs’ personal content was harvested, stored, searched, used and sold.

        573.    Plaintiffs and Class Members have suffered injury in fact and lost money or

property due to Defendants’ business acts or practices. Plaintiffs’ content and information has

tangible value. Plaintiffs’ content and information is in the possession of third parties who have

used and will use it for their own advantage, including financial advantage, or have sold it or will

sell it for value, making it clear that Plaintiffs’ content and information has tangible value.

        574.    Plaintiffs and Class members are at increased risk of identity theft due to

Facebook’s practices concerning sharing users’ content and information with third parties.

Plaintiffs may be subjected to voter fraud, identity theft, medical fraud, and other harms. The

content and information shared with third parties allows this content and information to be

aggregated with other data to identify and target Plaintiffs and Class Members. It is reasonable


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for Plaintiffs and Class Members to obtain identity protection or credit monitoring services in

light of the foregoing. Plaintiffs seek to recover the cost of these services from Facebook.

       575.    Defendants invaded Plaintiffs’ privacy by failing to inform Plaintiffs and Class

Members that Facebook was sharing their content and information with its business partners,

including but not limited to app developers, mobile carriers, software makers, security firms,

device makers and chip designers.

       576.    Defendants further failed to inform Plaintiffs and Class members about the nature

of the app developers’ business, or the purposes for which app developers were obtaining their

content and information. Facebook did not disclosure the nature or the extent of the exploitation

of Plaintiffs’ content information. Facebook invaded Plaintiffs’ and Class Members’ privacy by

subjecting them to psychographic marketing that exploited intimate aspects of their identity,

including emotional and psychological manipulation.

       577.    Plaintiffs’ and Class members’ content and information was exploited without

informed consent. Accordingly, Plaintiffs are entitled to part of Facebook’s profits that were

generated by their content and information without informed consent.

       578.    Plaintiffs and Class members seek an order to enjoin Defendants from such

unlawful, unfair, and fraudulent business acts or practices, and to restore to Plaintiffs and Class

members their interest in money or property that may have been acquired by Defendants by

means of unfair competition.

       579.    Section 17203 of the UCL authorizes a court to issue injunctive relief “as may be

necessary to prevent the use or employment by any person of any practice which constitutes

unfair competition.” Plaintiffs and Class members also seek the following injunctive relief: (1)

an “opt in” rather than “opt out” default for sharing personal content in all of Facebook’s user

settings; (2) disclosure of the purposes of which Plaintiffs’ personal content is used by Facebook,

data brokers, device makers, mobile carriers, software makers, security firms, app developers,

advertisers and other third parties with whom Facebook has shared users’ content and

information without their consent; (3) destruction of all personal content obtained by Defendants


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andall such third parties where such content is within Defendants’ control or possession; (4) a

complete audit and accounting of the uses of Plaintiffs’ and Class Members’ content and

information by app developers, device makers, and other business partners ; (5) a permanent

injunction preventing such sharing of content and information with these third parties without

Facebook users’ informed consent and affirmative authorization; and (6) a permanent ban on

targeting Plaintiffs and class members with advertisements or marketing materials based on

information from data brokers.


  (Against Prioritized Defendant Facebook and Doe Defendants; Against Non-Prioritized
                   Defendants Zuckerberg, Mercer, Bannon and Kogan)
                        On Behalf of All Plaintiffs and All Classes
        580.    Plaintiffs incorporate by reference all allegations of this complaint as though fully

set forth herein.

        581.    Plaintiffs bring this claim on behalf of themselves and the Nationwide Class.

        582.    The California Constitution expressly provides for a right to privacy: “All people

are by nature free and independent and have inalienable rights. Among these are enjoying and

defending life and liberty, acquiring, possessing, and protecting property, and pursuing and

obtaining safety, happiness, and privacy.” Cal. Const., art. I, § 1

        583.    Plaintiffs have a privacy right at issue. Plaintiffs and Class Members have an

interest in preventing the unauthorized disclosure and misuse of their content and information

and in conducting their personal activities without intrusion or interference, including the right to

not to have their content and information used by Cambridge Analytica and other third parties

for these parties’ benefit, or against Plaintiffs’ interests.

        584.    Facebook promised that Plaintiffs’ content and information was their property,

and that it would respect their privacy settings, but Facebook did not do so. Facebook did not

provide Plaintiffs the opportunity to give their informed consent regarding the uses of their

content and information, and allowed a feature where users’ content and information could be

shared by their friends’ participation in an application notwithstanding users’ privacy elections.

Facebook’s conduct affected millions of users, including Plaintiffs.

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         585.   Facebook knew about Plaintiffs’ vulnerability to having their content and

information exploited, and intended for these uses to occur without Plaintiffs’ knowledge or

consent. Facebook intentionally misled users about the efficacy of their privacy settings. As

alleged above, Facebook violated Plaintiffs’ and Class members’ privacy by allowing their

content and information to be exploited in ways that Plaintiffs and Class members could not have

been anticipated. Had Plaintiffs and Class members known the extent to which Facebook

allowed their content and information to be collected, aggregated, pooled, and transferred for

commercial purposes to companies such as Cambridge Analytica, Plaintiffs and Class members

would not have shared their content and information on Facebook to the same extent they did, if

at all. Facebook allowed app developers to harvest users’ friends content and information on a

large scale, with only the most minimal of notice to Plaintiffs and Class members. This notice

did not remotely inform Plaintiffs of the full extent of the uses of their content and information.

Facebook made assurances to Plaintiffs and Class members about respecting their privacy, and

being able to own and control their content and information. Given these affirmative statements,

Facebook had a duty to disclose the nature and extent of the uses of their content and information

that Facebook allowed app developers, device makers, and other third parties to make.

         586.   Facebook misled Plaintiffs and Class Members about the privacy of their content

and information, including that photographs and other content and information shared by

Plaintiffs and Class Members would be “private,” or shared only with their Facebook friends,

when in fact this content and information was shared directly with app developers and other

business partners through Facebook’s API. Indeed, Facebook took measures to prevent the

privacy settings on photographs from being recognized by third parties that were using API

feeds.

         587.   Facebook’s publication of Plaintiffs’ and Class Members’ content and

information would be highly offensive to a reasonable person, as is evidenced by the intense

public outcry and numerous, international governmental investigations in response to Facebook’s

invasion of Plaintiffs’ and Class members’ privacy rights, and decreased participation on the


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Facebook platform even though the entire scope of the breach has yet to be revealed.


  (Against Prioritized Defendant Facebook and Doe Defendants; Against Non-Prioritized
                   Defendants Zuckerberg, Mercer, Bannon and Kogan)
                          On Behalf of All Plaintiffs and Classes
        588.    Plaintiffs incorporate by reference all allegations of this complaint as though fully

set forth herein.

        589.    Plaintiffs bring this claim on behalf of themselves and the Nationwide Class

        590.    California common law prohibits the use of a person’s name or likeness for the

defendant’s advantage, commercial or otherwise, without first obtaining that person’s consent.

        591.    Facebook violated this section by allowing access to Plaintiffs’ and Class

Members’ likeness—including names, like history, photographs, and video—as a service to third

parties. On information and belief, access to the likeness of Plaintiffs and Class Members was

integral to the services Facebook offered app developers like Cambridge Analytica. App

developers would not have purchased services from Facebook (including advertisements)

without access to this information. Indeed, the value of the services Facebook offered to app

developers was derived from this information.

        592.    Prior to using the Plaintiffs’ likeness, Facebook never obtained consent from the

Plaintiffs.

        593.    Plaintiffs did not receive any compensation in return for this use

        594.    Plaintiffs were harmed by Facebook’s improper use.

        595.    Plaintiffs seek actual damages suffered, plus any profits attributable to

Facebook’s use of the unauthorized use not calculated in actual damages. Plaintiffs also reserve

the right to punitive damages, costs, and reasonable attorney’s fees as allowed under this statute.


                                  (Against Defendant Facebook)
        596.    Plaintiffs incorporate by reference all allegations of this complaint as though fully

set forth herein.




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       597.    Under California law, there is in every contract or agreement an implied promise

of good faith and fair dealing. Such a duty is read into contracts and functions as a supplement

to the express contractual covenants, in order to prevent a transgressing party from engaging in

conduct which (while not technically transgressing the express covenants) frustrates the other

party’s rights to the benefit of the contract. Thus, any claim on the part of Facebook that

technically it was permitted to allow the collection and transmittal of Plaintiffs’ and the putative

class’s data, must be read in the context of, and give way to, those users’ rights to the benefit of

the contract, including the terms strictly delimiting such activity.

       598.    Facebook entered into a Statement of Rights and Responsibilities with Plaintiffs

and Class Members.

       599.    A covenant of good faith and fair dealing attaches to Facebook’s Statement of

Rights and Responsibilities.

       600.    In its Statements of Rights and Responsibilities, Facebook promised Plaintiffs and

Class Members that “We do not give your content or information to advertisers without your

consent.”

       601.    Facebook also promised “[y]our privacy is very important to us,” and that

Plaintiffs and Class Members could control their content and information because they “own all

of the content and information [they] post on Facebook, and [they] can control how it is shared

through your privacy and application settings.”

       602.    Plaintiffs and Class Members did all they were required to do under these

contractual provisions.

       603.    Under the terms of the Statement of Rights and Responsibilities, Plaintiffs and

Class Members were entitled to receive the benefits promised to them by Facebook, including

that Facebook would protect the privacy of their user content and information, would not

disclose user content and information to third parties without the user’s consent, and would keep

user content and information secure.




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       604.    Facebook was uniquely able to control the rights of its users, including Plaintiffs’

and Class Members’, concerning their privacy, ownership and control of their content and

information, and whether their content and information would be provided to advertisers, device

makers, and/or third parties without consent.

       605.    Facebook surreptitiously took measures to frustrate and undercut Plaintiffs’ and

Class Members’ contractual rights concerning their privacy, ownership and control over their

content and information, and whether their content and information would be provided to

advertisers without consent. By doing so, Facebook deprived Plaintiffs and Class Members of

the benefits under their contracts with Facebook, including the Statements of Rights and

Responsibilities.

       606.    Facebook entered into business relationships with app developers, device makers,

big companies such as Amazon and Qualcomm, and other third parties that allowed Plaintiffs’

and Class Members’ content and information to be transmitted without the user’s consent.

       607.    By disclosing, publishing, and providing Facebook users’ content and information

to advertisers without informing Plaintiffs and Class Members, Facebook breached the covenant

of good faith and fair dealing. Facebook allowed its users to be targeted by advertisements,

including psychographic marketing, without seeking consent of Plaintiffs or Class Members, and

did not allow Plaintiffs and Class Members to make informed decisions about sharing their

content and information on Facebook’s platform. This unfairly interfered with Plaintiffs’ and

Class Members’ rights under the Statement of Responsibilities to have their user content and

information kept secure and private and not disclosed to third parties without the theirs consent.

       608.    Additionally, by failing to secure Plaintiffs’ and Class Members’ content and

information, and by taking measures to ensure that Plaintiffs’ and Class Members’ privacy

settings and reasonable expectations of privacy were not recognized or honored, including by

disclosing and publishing user content and information through Facebook’s API streams sent to

app developers, device makers, and other third parties, Facebook deprived Plaintiffs and Class

Members of the benefits of their agreements.


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       609.    Plaintiffs and Class Members were damaged by Facebook’s breaches of its duty

of good faith and fair dealing. Plaintiffs and the Class members did not receive the benefit of the

bargain for which they contracted. Plaintiffs and Class Members suffered invasions of privacy

and were directly targeted by advertisers without their consent, including by Cambridge

Analytica. Plaintiffs and Class Members’ content and information was released, disclosed,

published and, and they are at risk of identity theft. In this regard, Facebook failed to secure

Plaintiffs’ and Class Members’ content and information and shifted the burden of doing so from

Facebook to Plaintiffs and Class Members.


        (Against Prioritized Defendants Facebook, Zuckerberg and Doe Defendants)
                          On Behalf of All Plaintiffs and All Classes
       610.    Plaintiffs reallege and incorporate by reference all allegations of this complaint as

though fully set forth herein. This claim is pleaded in the alternative to the claims for breach of

contract.

       611.    Because no adequate legal remedy is available under any applicable contract,

Plaintiffs bring this count in quasi contract on behalf of themselves and Class Members in order

to pursue restitution based on Facebook’s unjust enrichment, including by way of Defendants’

retention of profits that should have been expended to protect the data of Plaintiffs and Class

Members per its published privacy agreements and policies.

       612.    As alleged herein, Defendants have unjustly received and retained monetary

benefits from Plaintiffs and Class Members—i.e., by way of its use of, and profiting from, their

data under unjust circumstances, such that inequity has resulted.

       613.    By engaging in the conduct described in this complaint, Defendants knowingly

obtained benefits from Plaintiffs and Class Members as alleged herein under circumstances such

that it would be inequitable and unjust for Facebook to retain them.

       614.    More specifically, by engaging in the acts and failures to act described in this

complaint, Defendants have been knowingly enriched by the savings in costs that should have

been reasonably expended to protect the data of Plaintiffs and Class Members. Defendants were


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on notice that gathering and transmittal of user data could happen, including by way of previous

occurrences and claims brought against it by the FTC, yet it failed to take reasonable steps to pay

for the level of security required to have prevented such unauthorized access, gathering, and

transmittal to third parties.

        615.    Also, Facebook has been enriched unjustly by the use of Plaintiffs’ and Class

Members’ content and information, and has profited greatly as a result, even though it did not

protect this data as it had promised. Indeed, Defendants’ failure to protect this content and

information fueled Defendants’ enrichment. Encouraging Plaintiffs and Class Members to share

their content and information allowed Defendants to collect more such information and

aggregate it, to target them more precisely.

        616.    By engaging in the conduct described in this complaint, Defendants have

knowingly obtained benefits from or by way of Plaintiffs and Class Members, including by way

of the use of their personal information in the course of its business, including their lucrative data

broker business, under circumstances such that it would be inequitable and unjust for it to retain

them.

        617.    Thus, Defendants will be unjustly enriched if it is permitted to retain the benefits

derived from the unauthorized and impermissible gathering and sharing of Plaintiffs and Class

Members’ data.

        618.    Plaintiffs and Class Members are therefore entitled to a restitutionary award in an

amount to be determined at trial, or the imposition of a constructive trust upon the monies

derived by Facebook by means of the above-described actions, or both as the circumstances may

merit to provide complete relief to Plaintiffs and Class Members, whether the sums of monies are

those: (a) that it should have devoted to complying with its agreements and policies as they

pertain to the user data that is the subject of this lawsuit; or (b) the money it has collected from

advertisers and others that corresponds to the user data that is the subject of this lawsuit; or (c)

other sums as it may be just and equitable to return to them.




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B.       Priority Consumer Protection Act Claims Alleged in the Alternative



                            (Against Facebook) (In the Alternative)
         619.   The Alabama Plaintiff identified above (“Plaintiff,” for purposes of this Count),

individually and on behalf of the Alabama Subclass, incorporates by reference all allegations of

this complaint as though fully set forth herein.

         620.   Facebook is a “person” as defined by Ala. Code § 8-19-3(5).

         621.   Facebook’s products and services are “goods” and “services” as defined by Ala.

Code § 8-19-3(3), (7).
         622.   Facebook advertised, offered, or sold goods or services in Alabama and engaged

in trade or commerce directly or indirectly affecting the people of Alabama as defined by Ala.

Code § 8-19-3(8).

         623.   The Alabama Deceptive Trade Practices Act, Ala. Code §§ 8-19-1 et seq.,

prohibits unfair, deceptive, false, and unconscionable trade practices.

         624.   Facebook engaged in unconscionable, false, misleading or deceptive practices in

connection with its business, commerce and trade practices in violation of Ala. Code § 8-19-

5(27).

         625.   Facebook’s representations and omissions were material because they were likely

to deceive reasonable consumers.

         626.   Facebook intended Plaintiff and the Alabama Subclass members to rely on its

misrepresentations, omissions, and other unlawful conduct.

         627.   Had Facebook disclosed to Plaintiff and the Alabama Subclass members that it

misrepresented and omitted material information about the nature of the privacy of user data,

users’ ability to control how their data was used, and access of user data to third parties, and was

otherwise engaged in deceptive, common business practices, Facebook would have been unable

to continue in business and it would have been forced to disclose the defects in its privacy

protection. Instead, Facebook represented that its services were protecting user privacy and that


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users could control the use of the private data. Plaintiff and the Alabama Subclass members acted

reasonably in relying on Facebook’s misrepresentations and omissions, the truth of which they

could not have discovered.

       628.    Facebook acted intentionally, knowingly, and maliciously to violate Alabama’s

Deceptive Trade Practices Act, and recklessly disregarded Plaintiff and the Alabama Subclass

members’ rights.

       629.    As a direct and proximate result of Facebook’s unfair and deceptive acts and

practices, Plaintiff and the Alabama Subclass members have suffered and will continue to suffer

injury, ascertainable losses of money or property, and monetary and non-monetary damages.

       630.    Plaintiff and the Alabama Subclass members have suffered injuries in fact and

lost money or property due to Defendant’ business acts or practices. Plaintiff’s and the Alabama

Subclass members’ personal content has tangible value. Their personal content is in the

possession of third parties who have used and will use it for their own advantage, including

financial advantage, or was and is being sold for value, making it clear that the personal content

has tangible value.

       631.    Plaintiff and the Alabama Subclass members are at increased risk of identity theft

due to Facebook’s practices concerning sharing data with third parties. Plaintiff and the Alabama

Subclass members may be subjected to voter fraud, identity theft, medical fraud, and other

harms. The personal content shared with third parties allows personal content to be aggregated

with other data to identify and target Plaintiff and the Alabama Subclass members. It is

reasonable for Plaintiff and the Alabama Subclass members to obtain identity protection or credit

monitoring services in light of the foregoing. Plaintiff and the Alabama Subclass members seek

to recover the cost of these services from Facebook.

       632.    Facebook invaded Plaintiff’s and the Alabama Subclass members’ privacy by

failing to keep them informed about the nature of the app developers’ business, or the purposes

for which app developers were obtaining their personal content. Facebook did not disclose the

nature or the extent of the exploitation of Plaintiff’s and the Alabama Subclass members’


CONSOLIDATED COMPLAINT                          199                                   MDL NO. 2843
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personal content. Facebook invaded Plaintiff’s and the Alabama Subclass members’ privacy by

subjecting them to psychographic marketing that exploited intimate aspects of their identity,

including emotional and psychological manipulation.

          633.   Plaintiff’s and the Alabama Subclass members’ personal content was exploited

without informed consent. Accordingly, Pslaintiff and the Alabama Subclass members are

entitled to part of Facebook’s profits that were generated by their personal content without

informed consent.

          634.   Written demand for relief has been provided as required under Ala. Code § 8-19-

10(e).

          635.   Plaintiff and the Alabama Subclass seek all monetary and non-monetary relief

allowed by law, including the greater of (a) actual damages or (b) statutory damages of $100;

treble damages; injunctive relief; attorneys’ fees, costs, and any other relief that is just and

proper.

          636.



                             (Against Facebook) (In the Alternative)
          637.   The Colorado Plaintiff identified above (“Plaintiff,” for purposes of this Count),

individually and on behalf of the Colorado Subclass, incorporates by reference all allegations of

this complaint as though fully set forth herein.

          638.   Facebook is a “person” as defined by Colo. Rev. Stat. Ann. § 6-1-102(6).

          639.   Facebook provides goods and/or services.

          640.   Plaintiff and Colorado Subclass members, as well as the general public, are actual

or potential consumers of the services offered by Facebook to actual consumers.

          641.   Facebook engaged in deceptive trade practices in the course of its business, in

violation of Colo. Rev. Stat. Ann. § 6-1-105(1)(u) by failing to disclose material information

concerning its services, including its improper use and lack of protection for private user data,

which was known at the time of an advertisement or sale and the failure to disclosure this


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information was intended to induce Plaintiff and the Colorado Subclass to use Facebook’s

services.

       642.    Facebook also engaged in deceptive trade practices in the course of its business,

in violation of Colo. Rev. Stat. Ann. § 6-1-105(3) by engaging unfair trade practices actionable

at common law or under other statutes of Colorado.

       643.    Facebook’s representations and omissions were material because they were likely

to deceive reasonable consumers to believe their user data could be and was kept private.

       644.    Facebook intended to mislead Plaintiff and the Colorado Subclass members and

induce them to rely on its misrepresentations and omissions.

       645.    Had Facebook disclosed to Plaintiff and the Colorado Subclass members that it

misrepresented and omitted material information about the nature of the privacy of user data,

users’ ability to control how their data was used, and access of user data to third parties, and was

otherwise engaged in deceptive, common business practices, Facebook would have been unable

to continue in business and it would have been forced to disclose the defects in its privacy

protection. Instead, Facebook represented that its services were protecting user privacy and that

users could control the use of the private data. Plaintiff and the Colorado Subclass members

acted reasonably in relying on Facebook’s misrepresentations and omissions, the truth of which

they could not have discovered.

       646.    Facebook acted fraudulently, willfully, knowingly, or intentionally to violate

Colorado’s Consumer Protection Act, and with recklessly disregarded Plaintiff and the Colorado

Subclass members’ rights.

       647.    As a direct and proximate result of Facebook’s deceptive trade practices, Plaintiff

and the Colorado Subclass members suffered injuries to their legally protected interests.

       648.    Plaintiff and the Colorado Subclass members have suffered injuries in fact and

lost money or property due to Defendant’s business acts or practices. Plaintiff’s and the Colorado

Subclass members’ personal content has tangible value. Their personal content is in the

possession of third parties who have used and will use it for their own advantage, including


CONSOLIDATED COMPLAINT                          201                                    MDL NO. 2843
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financial advantage, or was and is being sold for value, making it clear that the personal content

has tangible value.

       649.    Plaintiff and the Colorado Subclass members are at increased risk of identity theft

due to Facebook’s practices concerning sharing data with third parties. Plaintiff and the Colorado

Subclass members may be subjected to voter fraud, identity theft, medical fraud, and other

harms. The personal content shared with third parties allows personal content to be aggregated

with other data to identify and target Plaintiff and the Colorado Subclass members. It is

reasonable for Plaintiff and the Colorado Subclass members to obtain identity protection or

credit monitoring services in light of the foregoing. Plaintiff and the Colorado Subclass members

seek to recover the cost of these services from Facebook.

       650.    Facebook invaded Plaintiff’s and the Colorado Subclass members’ privacy by

failing to keep them informed about the nature of the app developers’ business, or the purposes

for which app developers were obtaining their personal content. Facebook did not disclose the

nature or the extent of the exploitation of Plaintiff’s and the Colorado Subclass members’

personal content. Facebook invaded Plaintiff’s and the Colorado Subclass members’ privacy by

subjecting them to psychographic marketing that exploited intimate aspects of their identity,

including emotional and psychological manipulation.

       651.    Plaintiff’s and the Colorado Subclass members’ personal content was exploited

without informed consent. Accordingly, Plaintiff and the Colorado Subclass members are

entitled to part of Facebook’s profits that were generated by their personal content without

informed consent.

       652.    Facebook’s deceptive trade practices significantly impact the public, because

Facebook’s user platform is used throughout the world, with hundreds of thousands of users who

are Colorado residents and consumers.

       653.    Plaintiff and Colorado Subclass members seek all monetary and non-monetary

relief allowed by law, including the greater of: (a) actual damages, or (b) $500, or (c) three times

actual damages (for Facebook’s bad faith conduct); injunctive relief; and reasonable attorneys’


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fees and costs.




                               (Against Facebook) (In the Alternative)
       654.       The Illinois Plaintiffs identified above (“Plaintiffs,” for purposes of this Count),

individually and on behalf of the Illinois Subclass, incorporates by reference all allegations of

this complaint as though fully set forth herein.

       655.       Facebook is a “person” as defined by 815 Ill. Comp. Stat. Ann. § 505/1(c).

       656.       Plaintiffs and the Illinois Subclass members are “consumer[s]” as defined by 815

Ill. Comp. Stat. Ann. § 505/1(e).

       657.       Facebook’s conduct as described herein was in the conduct of “trade” or

“commerce” as defined by 815 Ill. Comp. Stat. Ann. § 505/1(f).

       658.       Facebook’s deceptive, unfair, and unlawful trade acts or practices, in violation of

815 Ill. Comp. Stat. Ann. § 505/2.

       659.       Facebook’s representations and omissions concerning the use of and privacy of

user data were material because they were likely to deceive reasonable consumers to believe

their user data could be and was kept private.

       660.       Facebook intended to mislead Plaintiffs and the Illinois Subclass members and

induce them to rely on its misrepresentations and omissions. Plaintiffs and the Illinois Subclass

reasonably relied on Facebook’s representations about the security of their private data.

       661.       The above unfair and deceptive practices and acts by Facebook were immoral,

unethical, oppressive, and unscrupulous. These acts caused substantial injury that these

consumers could not reasonably avoid; this substantial injury outweighed any benefit to

consumers or to competition.

       662.       Facebook acted intentionally, knowingly, and maliciously to violate Illinois’s

Consumer Fraud and Deceptive Business Practices Act, and recklessly disregarded Plaintiffs and

the Illinois Subclass members’ rights.

       663.       As a direct and proximate result of Facebook’s unfair and deceptive acts and

CONSOLIDATED COMPLAINT                             203                                    MDL NO. 2843
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practices, Plaintiffs and the Illinois Subclass members have suffered and will continue to suffer

injury, ascertainable losses of money or property, and monetary and non-monetary damages,

including from not receiving the benefit of their bargain in using Facebook’s services.

       664.    Plaintiffs and the Illinois Subclass members have suffered injuries in fact and lost

money or property due to Defendant’s business acts or practices. Plaintiffs’ and the Illinois

Subclass members’ personal content has tangible value. Their personal content is in the

possession of third parties who have used and will use it for their own advantage, including

financial advantage, or was and is being sold for value, making it clear that the personal content

has tangible value.

       665.    Plaintiffs and the Illinois Subclass members are at increased risk of identity theft

due to Facebook’s practices concerning sharing data with third parties. Plaintiffs and the Illinois

Subclass members may be subjected to voter fraud, identity theft, medical fraud, and other

harms. The personal content shared with third parties allows personal content to be aggregated

with other data to identify and target Plaintiffs and the Illinois Subclass members. It is reasonable

for Plaintiffs and the Illinois Subclass members to obtain identity protection or credit monitoring

services in light of the foregoing. Plaintiffs and the Illinois Subclass members seek to recover the

cost of these services from Facebook.

       666.    Facebook invaded Plaintiffs’ and the Illinois Subclass members’ privacy by

failing to keep them informed about the nature of the app developers’ business, or the purposes

for which app developers were obtaining their personal content. Facebook did not disclose the

nature or the extent of the exploitation of Plaintiffs’ and the Illinois Subclass members’ personal

content. Facebook invaded Plaintiffs’ and the Illinois Subclass members’ privacy by subjecting

them to psychographic marketing that exploited intimate aspects of their identity, including

emotional and psychological manipulation.

       667.    Plaintiffs’ and the Illinois Subclass members’ personal content was exploited

without informed consent. Accordingly, Plaintiffs and the Illinois Subclass members are entitled

to part of Facebook’s profits that were generated by their personal content without informed


CONSOLIDATED COMPLAINT                          204                                    MDL NO. 2843
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consent.

       668.    Plaintiffs and the Illinois Subclass members seek all monetary and non-monetary

relief allowed by law, including damages, restitution, punitive damages, injunctive relief, and

reasonable attorneys’ fees and costs.



                            (Against Facebook) (In the Alternative)
       669.    The Iowa Plaintiff identified above (“Plaintiff,” for purposes of this Count),

individually and on behalf of the Iowa Subclass, incorporates by reference all allegations of this

complaint as though fully set forth herein.

       670.    Facebook is a “person” as defined by Iowa Code Ann. § 714H.2(7).

       671.    Plaintiff and the Iowa Subclass members are “consumer[s]” as defined by Iowa

Code § 714H.2(3).

       672.    Facebook’s conduct described herein related to or was in connection with the

“sale” or “advertisement” of “merchandise” as defined by Iowa Code Ann. § 714H.2(2), (6), (8).

       673.    Facebook engaged in unfair, deceptive, and unconscionable trade practices, in

violation of the Iowa Private Right of Action for Consumer Frauds Act, as described throughout

and herein.

       674.    Facebook’s representations and omissions were material because they were likely

to deceive reasonable consumers to believe their user data could be and was kept private.

       675.    Facebook intended to mislead Plaintiff and the Iowa Subclass members and

induce them to rely on its misrepresentations and omissions.

       676.    Facebook acted intentionally, knowingly, and maliciously to violate Iowa’s

Private Right of Action for Consumer Frauds Act, and recklessly disregarded Plaintiff and the

Iowa Subclass members’ rights.

       677.    As a direct and proximate result of Facebook’s unfair and deceptive acts and

practices, Plaintiff and Iowa Subclass members have suffered and will continue to suffer injury,

ascertainable losses of money or property, and monetary and non-monetary damages, including


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from not receiving the benefit of their bargain in using Facebook’s services.

       678.    Plaintiff and the Iowa Subclass members have suffered injuries in fact and lost

money or property due to Defendant’s business acts or practices. Plaintiff’s and the Iowa

Subclass members’ personal content has tangible value. Their personal content is in the

possession of third parties who have used and will use it for their own advantage, including

financial advantage, or was and is being sold for value, making it clear that the personal content

has tangible value.

       679.    Plaintiff and the Iowa Subclass members are at increased risk of identity theft due

to Facebook’s practices concerning sharing data with third parties. Plaintiff and the Iowa

Subclass members may be subjected to voter fraud, identity theft, medical fraud, and other

harms. The personal content shared with third parties allows personal content to be aggregated

with other data to identify and target Plaintiff and Iowa Subclass members. It is reasonable for

Plaintiff and the Iowa Subclass members to obtain identity protection or credit monitoring

services in light of the foregoing. Plaintiff and Iowa Subclass members seek to recover the cost

of these services from Facebook.

       680.    Facebook invaded Plaintiff’s and the Iowa Subclass members’ privacy by failing

to keep them informed about the nature of the app developers’ business, or the purposes for

which app developers were obtaining their personal content. Facebook did not disclose the nature

or the extent of the exploitation of Plaintiff’s and the Iowa Subclass members’ personal content.

Facebook invaded Plaintiff’s and the Iowa Subclass members’ privacy by subjecting them to

psychographic marketing that exploited intimate aspects of their identity, including emotional

and psychological manipulation.

       681.    Plaintiff’s and the Iowa Subclass members’ personal content was exploited

without informed consent. Accordingly, Plaintiff and the Iowa Subclass members are entitled to

part of Facebook’s profits that were generated by their personal content without informed

consent.

       682.    Plaintiff has provided notice to the Iowa Attorney General and has received the


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Attorney General’s approval pursuant to Iowa Code Ann. § 714H.7.

       683.    Plaintiff and Iowa Subclass members seek all monetary and non-monetary relief

allowed by law, including injunctive relief, damages, punitive damages, and reasonable

attorneys’ fees and costs.



                             (Against Facebook) (In the Alternative)
       684.    The Kansas Plaintiff identified above (“Plaintiff,” for purposes of this Count),

individually and on behalf of the Kansas Subclass, incorporates by reference all allegations of

this complaint as though fully set forth herein.

       685.    Kan. Stat. Ann. §§ 50-623 et seq. is to be liberally construed to protect consumers

from suppliers who commit deceptive and unconscionable practices.

       686.    Plaintiff and the Kansas Subclass members are “consumer[s]” as defined by Kan.

Stat. Ann. § 50-624(b).

       687.    The acts and practices described herein are “consumer transaction[s],” as defined

by Kan. Stat. Ann. § 50-624(c).

       688.    Facebook is a “supplier” as defined by Kan. Stat. Ann. § 50-624(l).

       689.    Facebook advertised, offered, or sold goods or services in Kansas and engaged in

trade or commerce directly or indirectly affecting the people of Kansas.

       690.    Facebook’s representations and omissions were material because they were likely

to deceive reasonable consumers to believe their user data could be and was kept private.

       691.    Facebook intended to mislead Plaintiff and the Kansas Subclass members and

induce them to rely on its misrepresentations and omissions.

       692.    Had Facebook disclosed to Plaintiff and the Kansas Subclass members that it

misrepresented and omitted material information about the nature of the privacy of user data,

users’ ability to control how their data was used, and access of user data to third parties, and was

otherwise engaged in deceptive, common business practices, Facebook would have been unable

to continue in business and it would have been forced to disclose the defects in its privacy


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protection. Instead, Facebook represented that its services were protecting user privacy and that

users could control the use of the private data. Plaintiff and the Kansas Subclass members acted

reasonably in relying on Facebook’s misrepresentations and omissions, the truth of which they

could not have discovered.

       693.    Facebook also engaged in unconscionable acts and practices in connection with a

consumer transaction, in violation of Kan. Stat. Ann. § 50-627, including: knowingly taking

advantage of the inability of Plaintiff and the Kansas Subclass to reasonably protect their privacy

interests, due to their lack of knowledge (see id. § 50-627(b)(1)); and requiring Plaintiff and the

Kansas Subclass to enter into a consumer transaction on terms that Facebook knew were

substantially one-sided in favor of Facebook particularly as concerned users’ private data (see id.

§ 50-627(b)(5)).

       694.    Plaintiff and the Kansas Subclass members had unequal bargaining power with

respect to their use of Facebook’s services because of Facebook’s omissions and

misrepresentations.

       695.    The above unfair, deceptive, and unconscionable practices and acts by Facebook

were immoral, unethical, oppressive, and unscrupulous. These acts caused substantial injury to

Plaintiff and the Kansas Subclass members that they could not reasonably avoid; this substantial

injury outweighed any benefits to consumers or to competition.

       696.    Facebook acted intentionally, knowingly, and maliciously to violate Kansas’s

Consumer Protection Act, and recklessly disregarded Plaintiff and the Kansas Subclass

members’ rights.

       697.    As a direct and proximate result of Facebook’s unfair, deceptive, and

unconscionable trade practices, Plaintiff and the Kansas Subclass members have suffered and

will continue to suffer injury, ascertainable losses of money or property, and monetary and non-

monetary damages, including from not receiving the benefit of their bargain in using Facebook’s

services.

       698.    Plaintiff and the Kansas Subclass members have suffered injuries in fact and lost


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money or property due to Defendant’s business acts or practices. Plaintiff’s and the Kansas

Subclass members’ personal content has tangible value. Their personal content is in the

possession of third parties who have used and will use it for their own advantage, including

financial advantage, or was and is being sold for value, making it clear that the personal content

has tangible value.

       699.    Plaintiff and the Kansas Subclass members are at increased risk of identity theft

due to Facebook’s practices concerning sharing data with third parties. Plaintiff and the Kansas

Subclass members may be subjected to voter fraud, identity theft, medical fraud, and other

harms. The personal content shared with third parties allows personal content to be aggregated

with other data to identify and target Plaintiff and the Kansas Subclass members. It is reasonable

for Plaintiff and the Kansas Subclass members to obtain identity protection or credit monitoring

services in light of the foregoing. Plaintiff and the Kansas Subclass members seek to recover the

cost of these services from Facebook.

       700.    Facebook invaded Plaintiff’s and the Kansas Subclass members’ privacy by

failing to keep them informed about the nature of the app developers’ business, or the purposes

for which app developers were obtaining their personal content. Facebook did not disclose the

nature or the extent of the exploitation of Plaintiff’s and the Kansas Subclass members’ personal

content. Facebook invaded Plaintiff’s and the Kansas Subclass members’ privacy by subjecting

them to psychographic marketing that exploited intimate aspects of their identity, including

emotional and psychological manipulation.

       701.    Plaintiff’s and the Kansas Subclass members’ personal content was exploited

without informed consent. Accordingly, Plaintiff and the Kansas Subclass members are entitled

to part of Facebook’s profits that were generated by their personal content without informed

consent.

       702.    Plaintiff and the Kansas Subclass members seek all monetary and non-monetary

relief allowed by law, including civil penalties or actual damages (whichever is greater), under

Kan. Stat. Ann. §§ 50-634, 50-636; injunctive relief; and reasonable attorneys’ fees and costs.


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                            (Against Facebook) (In the Alternative)
       703.    The Michigan Plaintiff identified above (“Plaintiff,” for purposes of this Count),

individually and on behalf of the Michigan Subclass, incorporates by reference all allegations of

this complaint as though fully set forth herein.

       704.    Facebook and Michigan Subclass members are “person[s]” as defined by Mich.

Comp. Laws Ann. § 445.902(1)(d).

       705.    Facebook advertised, offered, or sold goods or services in Michigan and engaged

in trade or commerce directly or indirectly affecting the people of Michigan, as defined by Mich.

Comp. Laws Ann. § 445.902(1)(g).

       706.    Facebook engaged in unfair, unconscionable, and deceptive practices in the

conduct of trade and commerce, in violation of Mich. Comp. Laws Ann. § 445.903(1), including:

               a.      “Making a representation of fact or statement of fact material to the

                       transaction such that a person reasonably believes the represented or

                       suggested state of affairs to be other than it actually is.” Id. §

                       445.903(1)(bb); and

               b.      “Failing to reveal facts that are material to the transaction in light of

                       representations of fact made in a positive manner.” Id. § 445.903(1)(cc).

       707.    Facebook’s representations and omissions were material because they were likely

to deceive reasonable consumers to believe their user data could be and was kept private.

       708.    Facebook intended to mislead Plaintiff and the Michigan Subclass members and

induce them to rely on its misrepresentations and omissions.

       709.    Facebook acted intentionally, knowingly, and maliciously to violate Michigan’s

Consumer Protection Act, and recklessly disregarded Plaintiff and the Michigan Subclass

members’ rights.

       710.    As a direct and proximate result of Facebook’s unfair, deceptive, and


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unconscionable trade practices, Plaintiff and the Michigan Subclass members have suffered and

will continue to suffer injury, ascertainable losses of money or property, and monetary and non-

monetary damages, including from not receiving the benefit of their bargain in using Facebook’s

services.

       711.    Plaintiff and the Michigan Subclass members have suffered injuries in fact and

lost money or property due to Defendant’s business acts or practices. Plaintiff’s and the

Michigan Subclass members’ personal content has tangible value. Their personal content is in

the possession of third parties who have used and will use it for their own advantage, including

financial advantage, or was and is being sold for value, making it clear that the personal content

has tangible value.

       712.    Plaintiff and the Michigan Subclass members are at increased risk of identity theft

due to Facebook’s practices concerning sharing data with third parties. Plaintiff and the

Michigan Subclass members may be subjected to voter fraud, identity theft, medical fraud, and

other harms. The personal content shared with third parties allows personal content to be

aggregated with other data to identify and target Plaintiff and the Michigan Subclass members. It

is reasonable for Plaintiff and the Michigan Subclass members to obtain identity protection or

credit monitoring services in light of the foregoing. Plaintiff and Michigan Subclass members

seek to recover the cost of these services from Facebook.

       713.    Facebook invaded Plaintiff’s and the Michigan Subclass members’ privacy by

failing to keep them informed about the nature of the app developers’ business, or the purposes

for which app developers were obtaining their personal content. Facebook did not disclose the

nature or the extent of the exploitation of Plaintiff’s and the Michigan Subclass members’

personal content. Facebook invaded Plaintiff’s and the Michigan Subclass members’ privacy by

subjecting them to psychographic marketing that exploited intimate aspects of their identity,

including emotional and psychological manipulation.

       714.    Plaintiff’s and the Michigan Subclass members’ personal content was exploited

without informed consent. Accordingly, Plaintiff and the Michigan Subclass members are


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entitled to part of Facebook’s profits that were generated by their personal content without

informed consent.

        715.    Plaintiff and the Michigan Subclass members seek all monetary and non-

monetary relief allowed by law, including the greater of actual damages or $250, injunctive

relief, and any other relief that is just and proper.



                             (Against Facebook) (In the Alternative)
        716.    The New York Plaintiff identified above (“Plaintiff,” for purposes of this Count),

individually and on behalf of the New York Subclass, incorporates by reference all allegations of

this complaint as though fully set forth herein.

        717.    Facebook engaged in deceptive acts or practices in the conduct of its business,

trade, and commerce or furnishing of goods or services, in violation of N.Y. Gen. Bus. Law §

349, as described herein.

        718.    Facebook’s representations and omissions were material because they were likely

to deceive reasonable consumers to believe their user data could be and was kept private.

        719.    Facebook acted intentionally, knowingly, and maliciously to violate New York’s

General Business Law, and recklessly disregarded Plaintiff and the New York Subclass

members’ rights.

        720.    As a direct and proximate result of Facebook’s unfair, deceptive, and

unconscionable trade practices, Plaintiff and the New York Subclass members have suffered and

will continue to suffer injury, ascertainable losses of money or property, and monetary and non-

monetary damages, including from not receiving the benefit of their bargain in using Facebook’s

services and keeping their data private.

        721.    Facebook’s deceptive and unlawful acts and practices complained of herein

affected the public interest and consumers at large, including the millions of New Yorkers who

use Facebook’s services.

        722.    The above deceptive and unlawful practices and acts by Facebook caused


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substantial injury to Plaintiff and New York Subclass members that they could not reasonably

avoid.

         723.   As a direct and proximate result of Facebook’s unfair and deceptive acts and

practices, Plaintiff and the New York Subclass members have suffered and will continue to

suffer injury, ascertainable losses of money or property, and monetary and non-monetary

damages, including from not receiving the benefit of their bargain in using Facebook’s services.

         724.   Plaintiff and the New York Subclass members have suffered injuries in fact and

lost money or property due to Defendant’s business acts or practices. Plaintiff’s and the New

York Subclass members’ personal content has tangible value. Their personal content is in the

possession of third parties who have used and will use it for their own advantage, including

financial advantage, or was and is being sold for value, making it clear that the personal content

has tangible value.

         725.   Plaintiff and the New York Subclass members are at increased risk of identity

theft due to Facebook’s practices concerning sharing data with third parties. Plaintiff and the

New York Subclass members may be subjected to voter fraud, identity theft, medical fraud, and

other harms. The personal content shared with third parties allows personal content to be

aggregated with other data to identify and target Plaintiff and the New York Subclass members.

It is reasonable for Plaintiff and the New York Subclass members to obtain identity protection or

credit monitoring services in light of the foregoing. Plaintiff and the New York Subclass

members seek to recover the cost of these services from Facebook.

         726.   Facebook invaded Plaintiff’s and the New York Subclass members’ privacy by

failing to keep them informed about the nature of the app developers’ business, or the purposes

for which app developers were obtaining their personal content. Facebook did not disclose the

nature or the extent of the exploitation of Plaintiff’s and the New York Subclass members’

personal content. Facebook invaded Plaintiff’s and the New York Subclass members’ privacy by

subjecting them to psychographic marketing that exploited intimate aspects of their identity,

including emotional and psychological manipulation.


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       727.    Plaintiff’s and the New York Subclass members’ personal content was exploited

without informed consent. Accordingly, Plaintiff and the New York Subclass members are

entitled to part of Facebook’s profits that were generated by their personal content without

informed consent.

       728.    Plaintiff and New York Subclass members seek all monetary and non-monetary

relief allowed by law, including actual damages or statutory damages of $50 (whichever is

greater), treble damages, injunctive relief, and attorney’s fees and costs.



                             (Against Facebook) (In the Alternative)
       729.    The Washington Plaintiffs identified above (“Plaintiff,” for purposes of this

Count), individually and on behalf of the Washington Subclass, incorporates by reference all

allegations of this complaint as though fully set forth herein.

       730.    Facebook is a “[p]erson,” as defined by Wash. Rev. Code Ann. § 19.86.010(1).

       731.    Facebook advertised, offered, or sold goods or services in Washington and

engaged in trade or commerce directly or indirectly affecting the people of Washington, as

defined by Wash. Rev. Code Ann. § 19.86.010(2).

       732.    Facebook engaged in unfair or deceptive acts or practices in the conduct of trade

or commerce, in violation of Wash. Rev. Code Ann. § 19.86.020, as described herein.

       733.    Facebook’s representations and omissions were material because they were likely

to deceive reasonable consumers to believe their user data could be and was kept private.

       734.    Facebook acted intentionally, knowingly, and maliciously to violate Washington’s

Consumer Protection Act, and recklessly disregarded Plaintiff and Washington Subclass

members’ rights. Facebook’s knowledge of the improper protection and use of private user data,

and release of private user data, put it on notice that the services were not as it advertised.

       735.    Facebook’s conduct is injurious to the public interest because it violates Wash.

Rev. Code Ann. § 19.86.020, violates a statute that contains a specific legislation declaration of

public interest impact, and/or injured persons and had and has the capacity to injure persons.


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Further, its conduct affected the public interest, including the at least hundreds of thousands of

Washingtonians affected by Facebook’s deceptive business practices.

       736.    As a direct and proximate result of Facebook’s unfair methods of competition and

unfair or deceptive acts or practices, Plaintiff and the Washington Subclass members have

suffered and will continue to suffer injury, ascertainable losses of money or property, and

monetary and non-monetary damages, including from not receiving the benefit of their bargain in

using Facebook’s services.

       737.    Plaintiff and the Washington Subclass members have suffered injuries in fact and

lost money or property due to Defendant’s business acts or practices. Plaintiff’s and the

Washington Subclass members’ personal content has tangible value. Their personal content is in

the possession of third parties who have used and will use it for their own advantage, including

financial advantage, or was and is being sold for value, making it clear that the personal content

has tangible value.

       738.    Plaintiff and the Washington Subclass members are at increased risk of identity

theft due to Facebook’s practices concerning sharing data with third parties. Plaintiff and the

Washington Subclass members may be subjected to voter fraud, identity theft, medical fraud, and

other harms. The personal content shared with third parties allows personal content to be

aggregated with other data to identify and target Plaintiff and the Washington Subclass members.

It is reasonable for Plaintiff and the Washington Subclass members to obtain identity protection

or credit monitoring services in light of the foregoing. Plaintiff and the Washington Subclass

members seek to recover the cost of these services from Facebook.

       739.    Facebook invaded Plaintiff’s and the Washington Subclass members’ privacy by

failing to keep them informed about the nature of the app developers’ business, or the purposes

for which app developers were obtaining their personal content. Facebook did not disclose the

nature or the extent of the exploitation of Plaintiff’s and the Washington Subclass members’

personal content. Facebook invaded Plaintiff’s and the Washington Subclass members’ privacy

by subjecting them to psychographic marketing that exploited intimate aspects of their identity,


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including emotional and psychological manipulation.

       740.    Plaintiff’s and the Washington Subclass members’ personal content was exploited

without informed consent. Accordingly, Plaintiff and the Washington Subclass members are

entitled to part of Facebook’s profits that were generated by their personal content without

informed consent.

       741.    Plaintiff and the Washington Subclass members seek all monetary and non-

monetary relief allowed by law, including actual damages, treble damages, injunctive relief, civil

penalties, and attorneys’ fees and costs.


                            (Against Facebook) (In the Alternative)
                             W. Va. Code ann. §§ 46A-6-101 et seq.
       742.    The West Virginia Plaintiff identified above (“Plaintiff,” for purposes of this

Count), individually and on behalf of the West Virginia Subclass, incorporates by reference all

allegations of this complaint as though fully set forth herein.

       743.    Plaintiff and West Virginia Subclass members are “[c]onsumer[s],” as defined by

W. Va. Code Ann. § 46A-6-102(2).

       744.    Facebook engaged in “consumer transaction[s],” as defined by W. Va. Code Ann.

§ 46A-6-102(2).

       745.    Facebook advertised, offered, or sold goods or services in West Virginia and

engaged in trade or commerce directly or indirectly affecting the people of West Virginia, as

defined by W. Va. Code Ann. § 46A-6-102(6).

       746.    Facebook has been on notice concerning its wrongful conduct as alleged herein by

Plaintiff and the West Virginia Subclass members. However, sending pre-suit notice pursuant to

W. Va. Code § 46A-6-106(c) is an exercise in futility for Plaintiff, because, despite being on

knowledge of the deceptive acts and practices complained of herein in this lawsuit as of the date

of the first-filed lawsuit in March 2018, Facebook has not cured its unfair and deceptive acts and

practices.

       747.    Facebook engaged in unfair and deceptive business acts and practices in the


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conduct of trade or commerce, in violation of W. Va. Code Ann. § 46A-6-104, as described

herein.

          748.   Facebook’s unfair and deceptive acts and practices also violated W. Va. Code

Ann. § 46A-6-102(7), including:

                 a.     “Engaging in any other conduct which similarly creates a likelihood of

                        confusion or of misunderstanding.” Id. § 46A-6-102(7)(L); and

                 b.     “The act, use or employment by any person of any deception, fraud, false

                        pretense, false promise or misrepresentation, or the concealment,

                        suppression or omission of any material fact with intent that others rely

                        upon such concealment, suppression or omission, in connection with the

                        sale or advertisement of any goods or services, whether or not any person

                        has in fact been misled, deceived or damaged thereby.” Id. § 46A-6-

                        102(7)(M).

          749.   Facebook’s unfair and deceptive acts and practices were unreasonable when

weighed against the need to develop or preserve business, and were injurious to the public

interest, under W. Va. Code Ann. § 46A-6-101.

          750.   Facebook’s acts and practices were additionally “[u]nfair” under W. Va. Code

Ann. § 46A-6-104 because they caused or were likely to cause substantial injury to consumers

which was not reasonably avoidable by consumers themselves and not outweighed by

countervailing benefits to consumers or to competition.

          751.   The injury to consumers from Facebook’s conduct was and is substantial because

it was non-trivial and non-speculative; and involved an ascertainable injury. The injury to

consumers was substantial not only because it inflicted harm on a significant and unprecedented

number of consumers, but also because it inflicted a significant amount of harm on each

consumer.

          752.   Consumers could not have reasonably avoided injury because Facebook’s

business acts and practices unreasonably created or took advantage of an obstacle to the free


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exercise of consumer decision-making. By withholding important information from consumers,

Facebook created an asymmetry of information between it and consumers that precluded

consumers from taking action to avoid or mitigate injury.

       753.    Facebook’s business practices had no countervailing benefit to consumers or to

competition.

       754.    Facebook’s acts and practices were additionally “deceptive” under W. Va. Code

Ann. § 46A-6-104 because Facebook made representations or omissions of material facts that

misled or were likely to mislead reasonable consumers, including Plaintiff and West Virginia

Subclass members.

       755.    Facebook intended to mislead Plaintiff and the West Virginia Subclass members

and induce them to rely on its misrepresentations and omissions.

       756.    Facebook’s representations and omissions were material because they were likely

to deceive reasonable consumers to believe their user data could be and was kept private.

       757.    Had Facebook disclosed to Plaintiff and the West Virginia Subclass members that

it misrepresented and omitted material information about the nature of the privacy of user data,

users’ ability to control how their data was used, and access of user data to third parties, and was

otherwise engaged in deceptive, common business practices, Facebook would have been unable

to continue in business and it would have been forced to disclose the defects in its privacy

protection. Instead, Facebook represented that its services were protecting user privacy and that

users could control the use of the private data. Plaintiff and the West Virginia Subclass members

acted reasonably in relying on Facebook’s misrepresentations and omissions, the truth of which

they could not have discovered.

       758.    Facebook had a duty to disclose the above-described facts due to the

circumstances of this case. Facebook’s duty to disclose arose from its:

               a.      Possession of exclusive knowledge regarding the defects in its services;

               b.      Possession of exclusive knowledge regarding its services and inadequate

                       protection and abuse of user data;


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               c.      Active concealment of the defects in its services and protection and abuse

                       of user data; and

               d.      Incomplete representations about its services and protection and abuse of

                       user data.

       759.    Facebook’s omissions were legally presumed to be equivalent to active

misrepresentations because Facebook intentionally prevented Plaintiff and the West Virginia

Subclass members from discovering the truth regarding Facebook’s use, sale, disclosure and

abuse of private user data.

       760.    Facebook acted intentionally, knowingly, and maliciously to violate West

Virginia’s Consumer Credit and Protection Act, and recklessly disregarded Plaintiff and the

West Virginia Subclass members’ rights.

       761.    As a direct and proximate result of Facebook’ unfair and deceptive acts or

practices and Plaintiff and the West Virginia Subclass members’ purchase of goods or services,

Plaintiff and West Virginia Subclass members have suffered and will continue to suffer injury,

ascertainable losses of money or property, and monetary and non-monetary damages, including

from not receiving the benefit of their bargain in using Facebook’s services.

       762.    Plaintiff and the West Virginia Subclass members have suffered injuries in fact

and lost money or property due to Defendant’s business acts or practices. Plaintiff’s and the West

Virginia Subclass members’ personal content has tangible value. Their personal content is in the

possession of third parties who have used and will use it for their own advantage, including

financial advantage, or was and is being sold for value, making it clear that the personal content

has tangible value.

       763.    Plaintiff and the West Virginia Subclass members are at increased risk of identity

theft due to Facebook’s practices concerning sharing data with third parties. Plaintiff and the

West Virginia Subclass members may be subjected to voter fraud, identity theft, medical fraud,

and other harms. The personal content shared with third parties allows personal content to be

aggregated with other data to identify and target Plaintiff and the West Virginia Subclass


CONSOLIDATED COMPLAINT                          219                                   MDL NO. 2843
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members. It is reasonable for Plaintiff and the West Virginia Subclass members to obtain identity

protection or credit monitoring services in light of the foregoing. Plaintiff and the West Virginia

Subclass members seek to recover the cost of these services from Facebook.

        764.    Facebook invaded Plaintiff’s and the West Virginia Subclass members’ privacy

by failing to keep them informed about the nature of the app developers’ business, or the

purposes for which app developers were obtaining their personal content. Facebook did not

disclose the nature or the extent of the exploitation of Plaintiff’s and the West Virginia Subclass

members’ personal content. Facebook invaded Plaintiff’s and the West Virginia Subclass

members’ privacy by subjecting them to psychographic marketing that exploited intimate aspects

of their identity, including emotional and psychological manipulation.

        765.    Plaintiff’s and the West Virginia Subclass members’ personal content was

exploited without informed consent. Accordingly, Plaintiff and the West Virginia Subclass

members are entitled to part of Facebook’s profits that were generated by their personal content

without informed consent.

        766.    Facebook’s violations present a continuing risk to Plaintiff and the West Virginia

Subclass members as well as to the general public.

        767.    Plaintiff and the West Virginia Subclass members seek all monetary and non-

monetary relief allowed by law, including the greater of actual damages or $200 per violation

under W. Va. Code Ann. § 46A-6-106(a), restitution, injunctive and other equitable relief,

punitive damages, and reasonable attorneys’ fees and costs.

C.      Non-Prioritized Claims


     (Against Prioritized Defendant Facebook Inc.; Doe Defendants and Non-Prioritized
         Defendants Kogan, Bannon, SCL Group, and GSR as “Co-Conspirators”)
        768.    Plaintiffs incorporate by reference all allegations of this complaint as though fully

set forth herein.

        769.    Plaintiffs, individually, and on behalf of the Class, assert violations of 18 U.S.C. §

1962(C).


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        770.    Upon information and belief, the Defendants associated with GSR, Cambridge-

Analytica-related-entities and other unnamed Co-Conspirator related entities, for the purpose of

utilizing illicitly obtained User Information for the targeting of digital political propaganda (the

“Digital Political Propaganda Enterprise”). The Defendants therefore constitute a RICO

enterprise pursuant to 18 U.S.C. § 1961(4). In the alternative, these individuals and entities

constitute an enterprise because they associated together for the common purpose of utilizing

illicitly obtained personally identifiable information for the targeting of digital political

propaganda.

        771.    Upon information and belief, the Digital Political Propaganda Enterprise is an

enterprise engaged in, and whose activities affect, interstate commerce. This enterprise has been

in operation since at least 2014.

        772.    The association-in-fact Digital Political Propaganda Enterprise consisted of the

following structure: the Co-Conspirator Defendants—Aleksandr Kogan and Stephen K.

Bannon—along with Non-Defendant Co-Conspirators Cambridge Analytica and other related

entities, and yet unknown third parties involved in data mining and data analysis, operated an

association-in-fact enterprise, which was formed for the purpose of utilizing illicitly obtained

User Information for the targeting of digital political propaganda. Each of the Co-Conspirator

Defendants was employed by or associated with, and conducted or participated in the affairs of

the Digital Political Propaganda Enterprise:

                A.      Aleksandr Kogan participated in, operated and/or directed the Digital

        Political Propaganda Enterprise by, among other things: (i) creating a U.K. company

        called Global Science Research, Ltd. (“GSR”) which was part of a scheme to dupe users

        into providing their User Information, which was part of the broader scheme of illegally

        harvesting of data; (ii) through GSR, creating a Facebook app called

        “ThisIsYourDigitalLife” (“YDL”) which consisted of a personality quiz; (iii) utilizing

        Amazon Mechanical Turk’s (“MTurk”) program to recruit participants (known as

        “Turkers”) to complete the personality quiz; and (iv) utilizing the data gathered through


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       the quiz to improperly harvest the data of millions of Facebook subscribers;

               B.      Stephen K. Bannon participated in, operated and/or directed the Digital

       Political Propaganda Enterprise by, among other things: (i) founded Cambridge

       Analytica; (ii) obtained funding for the efforts of Cambridge Analytica; (iii) acted as a

       Vice-President of Cambridge Analytica and (iv) oversaw the efforts of Cambridge

       Analytica to collect troves of Facebook data.

       773.    The actions of the Co-Conspirator Defendants were undertaken with fraud,

malice, or oppression, or with a willful and conscious disregard of the rights or safety of

Plaintiffs and class members. As such, Plaintiffs and each of the Class members are entitled to an

award of exemplary and punitive damages against each of the Co-Conspirator Defendants in an

amount according to proof at trial.

       774.    The Co-Conspirator Defendants worked together to accomplish their scheme or

common course of conduct. This enterprise has been in operation since at least 2014.

       775.    The racketeering activity committed by each of the members of the Digital

Political Propaganda Enterprise affected interstate commerce.

       776.    On information and belief, the Co-Conspirator Defendants agreed to and did

conduct and participate, directly and indirectly, in the conduct of the Digital Political Propaganda

Enterprise’s affairs in a pattern of racketeering activity targeted at intentionally defrauding

Facebook users including, without limitation, via nominal payments and numerous intentionally

false representations averred herein with the specific intent of inducing Facebook users to

unwittingly share other users’ private User Information.

       777.    Pursuant to and in furtherance of their corrupt scheme, the Co-Conspirator

Defendants did in fact induce Facebook users to share other Facebook users’ User Information

via hundreds of thousands of separate electronic monetary transfers.

       778.    The Co-Conspirator Defendants willfully and knowingly devised a scheme with

artifice to defraud Facebook users and to obtain, sell, and use personal User Information by false

pretenses and representations, including, but not limited to, the representation that the data would


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only be used for academic purposes.

       779.    The payments made or directed by the Co-Conspirator Defendants or any other

entity to obtain Facebook data compromised in the Your DigitalLife scandal were in furtherance

of the fraudulent scheme. On information and belief, those payments were made by wire transfer

or other electronic means through interstate or foreign commerce.

       780.    The payments made from any of the Co-Conspirator Defendants or directed by

any Co-Conspirator to takers of the Your DigitalLife quiz were in furtherance of the fraudulent

scheme. On information and belief, those payments were made by wire transfer or other

electronic means through interstate or foreign commerce.

       781.    The acts of wire fraud averred herein constitute a pattern of racketeering activity

pursuant to 18 U.S.C. § 1961(5).

       782.    The Co-Conspirator Defendants have directly and indirectly participated in the

conduct of the Conspiracy’s affairs through the pattern of racketeering and activity alleged

herein, in violation of 18 U.S.C. § 1962(c). Facebook aided and abetted the Co-Conspirator

Defendants by misleading its users to believe that their data was safe, while permitting third-

party apps like GSR’s to access and use the data of non-consenting users without their

permission and knowledge, and the other Co-Conspirator Defendants directly participated in the

conspiracy by misleading quiz-takers that they were allowing Co-Conspirator Defendants’ access

to only their personal data for academic purposes, when in fact they were allowing access to their

friends’ data, and by fraudulently obtaining the data, selling it in interstate and foreign

commerce, and using it to influence elections.

       783.    Plaintiffs and Class members were harmed by the Co-Conspirator Defendants’

conduct because the private information they did not intend to become public or disclose to third

parties was acquired by companies who intended to and did use it illicitly for manipulating

elections and other as yet unknown purposes. Furthermore, the security breach put Plaintiffs and

Class members in imminent and real danger of having their identities stolen by anyone willing to

pay these unscrupulous companies for the data. In addition, Plaintiffs and class members spent


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time and money securing their personal information and protecting their identities, by, for

instance, purchasing identity theft protection.

          784.   As a direct and proximate result of the Co-Conspirator Defendants’ racketeering

activities and violations of 18 U.S.C. § 1962(c), Plaintiffs and the Class have been injured.

          785.   Plaintiffs demand judgment in their favor and against the Co-Conspirator

Defendants jointly and severally for compensatory, treble, and punitive damages with interest,

the costs of suit and attorneys’ fees, and other and further relief as this Court deems just and

proper.


                 (Against Prioritized Defendant Facebook Inc.; Doe Defendants;)
          786.   Plaintiffs incorporate by reference all allegations of this complaint as though fully

set forth herein.

          787.   Defendants’ actions constitute misappropriation.

          788.   Defendants used Plaintiffs’ and Class members’ valuable personal and private

information in violation of Facebook’s promises to protect their privacy.

          789.   Plaintiffs and Class members did not consent to this use.

          790.   Defendants’ gained a commercial benefit by using Plaintiffs’ and Class members’

valuable personal and private information when Defendant misappropriated, used, and/or sold

for profit Plaintiffs’ and Class members’ valuable personal and private information.

          791.   Plaintiffs and members of the Class were harmed.

          792.   Defendants’ conduct was a substantial factor in causing Plaintiffs’ and Class

members’ harm.

          793.   Accordingly, Plaintiffs and members of the Classes are entitled to relief.


                          (Against Prioritized Defendant Facebook Inc.)
          794.   Plaintiffs incorporate by reference all allegations of this complaint as though fully

set forth herein.

          795.   Plaintiffs and members of the Nationwide Class are entitled to a measure of


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damages for common law fraud under the California Civil Code for the fraud described herein.

       796.    Defendant Facebook stored the personal information of Plaintiffs and members of

the Class in its electronic and consumer information databases. Defendant falsely and knowingly

represented to Plaintiffs and members of the Class that their personal information would remain

private. Defendant fraudulently represented that it would not disclose this personal information

without authorization, and/or by obtaining that personal information without authorization.

       797.    Defendant Facebook’s statements that it would maintain the confidentiality of

Plaintiffs’ and the Class’s personal information was false because Defendant knowingly and

intentionally provided that information to GSR. GSR then passed this information to Cambridge

Analytica which used it for its own advantage or for commercial profit, without either any

permission or sufficient permission from the users. Defendant Facebook knew that it did not

have users’ permission to disclose personal information to third parties because Defendant did

not attempt in any way to obtain permission from the up to 87 million users whose personal

information was disclosed to Cambridge Analytica.

       798.    Plaintiffs and the Class members suffered injury in fact and lost money or

property as the proximate result of Defendant’s fraudulent misrepresentation. In particular, the

personal information of Plaintiffs and Class members was taken and is in the hands of those who

will and did use it for their own advantage, or was and is being sold for value, making it clear

that the stolen information has tangible value.

       799.    Plaintiffs and the Class justifiably relied on the representations Defendant

Facebook made in its publicly available privacy policy and elsewhere that it would not “share

information we receive about you with others unless we have: received your permission [and]

given you notice.”

       800.    As described with specificity above, Defendant knew the falsity of its

representations, and they were made with the intent to deceive Plaintiffs and members of the

Class into supplying Facebook with private confidential personal information. Facebook’s

representations regarding the maintenance of user confidentiality and privacy were material to


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Plaintiffs’ and Class members’ decision to provide Facebook with the personal information

Facebook subsequently disclosed to Cambridge Analytica. Plaintiffs and members of the Class

justifiably relied upon the representations of Defendant.

        801.    Plaintiffs and members of the Class suffered harm as a proximate result of

Defendant’s fraudulent acts.

        802.    As a result of Defendant’s fraudulent misrepresentations, Plaintiffs and the Class

are entitled to general damages, special damages in an amount according to proof, punitive

damages, reasonable attorneys’ fees and costs, and any other relief that the Court deems proper

or available for common law fraud, and injunctive relief.


                           (Against Prioritized Defendant Facebook Inc.)
        803.    Plaintiffs incorporate by reference all allegations of this complaint as though fully

set forth herein.

        804.    As alleged herein, Defendant Facebook, through its agent and Chief Executive

Officer, Mark Zuckerberg, repeatedly assured Plaintiffs and Class Members that their data would

be private and protected.

        805.    Defendant Facebook further assured that users’ data would not be shared with

third-party applications without users’ express permission.

        806.    At the time Defendant Facebook made these representations, Defendant knew or

should have known that these representations were false or made them without knowledge of

their truth or veracity.

        807.    At minimum, Defendant Facebook negligently misrepresented and/or negligently

omitted material facts concerning its commitment to privacy and the safety of user data.

        808.    The negligent misrepresentations and omissions made by Defendant, upon which

Plaintiffs and all Class members reasonably and justifiably relied, were intended to induce

reliance.


                           (Against Prioritized Defendant Facebook Inc.)

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        809.    Plaintiffs adopt and incorporate all the allegations of this complaint as if stated

fully herein.

        810.    Defendant Facebook has repeatedly represented to Plaintiffs, as well as Class

members, Congress, and other governmental bodies of the world, that users (including Plaintiffs

and the Class members) “own all of the content and information [they] post on Facebook.”

        811.    Defendant Facebook, intentionally and without consent, or exceeding any consent

previously obtained from users, shared Plaintiffs’ and Class members’ property, including their

user data and Personal Information, with device manufacturers.

        812.    Defendant Facebook’s intentional and unauthorized, or exceeding any

authorization previously obtained, sharing of Plaintiffs’ and Class members’ property, including

their user data and Personal Information, interfered with Plaintiffs’ and Class members’

possessory interests in that property.

        813.    Defendant Facebook’s conduct caused Plaintiffs and Class members damage

when the property, including user data and including Personal Information, was shared with the

device manufacturers, as well as when Facebook unjustly profited from the sharing of Plaintiffs’

and Class members’ property, including user data and Personal Information, which deprived

Plaintiffs and Class members of any income or other form of compensation Facebook generated

through its unauthorized (or exceeding any authorization previously obtained) data-sharing

partnerships.


    (Against Prioritized Defendant Facebook and Doe Defendants, and Non-Prioritized
                   Defendants Zuckerberg, Mercer, Bannon and Kogan)
        814.    Plaintiffs adopt and incorporate all the allegations of this complaint as if stated

fully herein.

        815.    Plaintiffs and Class members were the owners and possessors of their private

information. As the result of Defendants' wrongful conduct, Defendants have interfered with the

Plaintiffs’ and Class members' rights to possess and control such property, to which they had a

superior right of possession and control at the time of conversion.


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        816.    As a direct and proximate result of Defendants' conduct, Plaintiffs and the Class

members suffered injury, damage, loss or harm and therefore seek compensatory damages.

        817.    In converting Plaintiffs’ private information, Defendants have acted with malice,

oppression, and in conscious disregard of the Plaintiffs’ and Class members’ rights. Plaintiffs,

therefore, seek an award of punitive damages on behalf of the class.


    (Against Prioritized Defendant Facebook Inc.; Doe Defendants; and Non-Prioritized
                                    Defendant Kogan)
        818.    Plaintiffs adopt and incorporate all the allegations of this complaint as if stated

fully herein.

        819.    By reason of the conduct alleged herein, Defendants violated Delaware’s

Criminal Code protecting persons from electronic surveillance and unlawful interception of

communications.

        820.    According to Chapter 24 of the Title 11 of the Delaware Criminal Code,

“Electronic communication” includes “any transfer of signs, signals, writing, images, sounds,

data or intelligence of any electromagnetic, photoelectronic or photooptical system.” 11 Del.

Code § 2401.

        821.    The messages, posts, images and countless other forms of communication on

Facebook users’ profiles are considered electronic communications.

        822.    The statute defines “Electronic communication system” as “any wire, oral,

electromagnetic, photooptical, or photoelectronic facilities for the transmission of wire, oral or

electronic communications and any computer facilities or related electronic equipment.” Id.

        823.    The servers Defendant Facebook uses to provide its electronic communication

service which facilitate user communication are considered an “electronic communication

system”.

        824.    Delaware prohibits the intentional interception of any wire, oral or electronic

communication unless party to the communication or with prior consent by one of the parties to

the communication. 11 Del. Code § 2402(a).


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        825.    Aleksandr Kogan, through GSR, unlawfully and intentionally intercepted

electronic communications without prior consent. Kogan harvested electronic communications,

including messages and private discussions, of more than 87 million users and passed a portion

of this information to Cambridge Analytica and related entities, without users’ permission.

        826.    Delaware also prohibits a person or entity providing an electronic

communications service to the public from knowingly divulging to any other person or entity the

contents of a communication while the communication is in electronic storage by that service. 11

Del. Code § 2422.

        827.    Defendant Facebook, a “person” and “electronic communication service”

pursuant to Delaware Criminal Code, unlawfully and intentionally divulged the contents of

Plaintiffs’ and Class members’ communications.

        828.    Defendant Facebook intentionally divulged the contents of Plaintiffs’ and Class

members’ stored electronic communications by allowing Aleksandr Kogan, through GSR, access

to their electronic communications which also contained sensitive personal information and

identifiers putting Plaintiffs and Class members at risk of being harmed.

        829.    Section 2409 of the Delaware Criminal Code authorizes a private right of action

for actual damages, punitive damages and reasonable attorneys’ fees and other litigation costs

reasonably incurred to any person whose wire, oral or electronic communication is intercepted,

disclosed or used in violation of this code.

        830.    Plaintiffs and Class members have been harmed by Defendants’ misconduct and

are entitled to actual damages, punitive damages and reasonable attorneys’ fees and costs.


                  (Against Facebook Inc. on Behalf of the Nationwide Class)
        831.    Plaintiffs adopt and incorporate all the allegations of this complaint as if stated

fully herein.

        832.    “[T]o ensure that personal information about California residents is protected,”

the California Legislature enacted California Customer Records Act. This statute states that any

business that “owns or licenses personal information about a California resident shall implement

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and maintain reasonable security procedures and practices appropriate to the nature of the

information, to protect the personal information from unauthorized access, destruction, use,

modification, or disclosure.” Civil Code § 1798.81.5.

        833.        Facebook is a “business” within the meaning of Civil Code § 1798.80(a).

        834.        Plaintiffs and members of the class are “individual[s]” within the meaning of the

Civil Code § 1798.80(d). Pursuant to Civil Code § 1798.80(e), the user information is “personal

information,” which includes, but is not limited to, an individual’s name, physical characteristics

or description, address, telephone number, education, employment, employment history, and

medical information.

        835.        The breach of the personal user information of tens of millions of Facebook

customers constituted a “breach of the security system” of Facebook pursuant to Civil Code §

1798.82(g).

        836.        By failing to implement reasonable measures to protect its customers’ personal

User Information, Facebook violated Civil Code § 1798.81.5.

        837.        In addition, by failing to promptly notify all affected users that their personal User

Information had been acquired (or was reasonably believed to have been acquired) by

unauthorized persons, including by the Co-Conspirator Cambridge Analytica and Co-Conspirator

Defendants, Facebook violated Civil Code § 1798.82. Facebook’s failure to timely and

adequately notify users of the breach leaves Class members vulnerable to continued misuse of

their personal information and prevents Class members from taking adequate steps to protect

their identities.

        838.        By violating Civil Code §§ 1798.81.5 and 1798.82, Facebook “may be enjoined”

pursuant to Civil Code § 1798.84(e).

        839.        Plaintiffs further request that the Court require Facebook to (1) identify and notify

all members of the Class who have not yet been informed of the breach; and (2) notify affected

former and current users and employees of any future data breaches by email within 24 hours of

Facebook’s discovery of a breach or possible breach and by mail within 72 hours.


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        840.    As a result of Facebook’s violation of Civil Code §§ 1798.81.5 and 1798.82,

Plaintiffs and members of the Class have and will incur economic damages relating to time and

money spent remedying the breach, including, but not limited to, monitoring their online

presence to ensure that their identity has not been stolen or coopted for an illicit purpose, any

unauthorized charges made on financial accounts, lack of access to funds while banks issue new

cards, tax fraud, as well as the costs of credit monitoring and purchasing credit reports.

        841.    Plaintiffs, for themselves and on behalf of the members of the Class, seek all

remedies available under Civil Code § 1798.84, including, but not limited to: (a) damages

suffered by members of the Class; and (b) equitable relief.

        842.    Plaintiffs, for themselves and on behalf of the members of the Class, also seek

reasonable attorneys’ fees and costs under applicable law including California Code of Civil

Procedure § 1021.5 and Federal Rule of Civil Procedure 23.


                (Against Prioritized Defendant Facebook Inc.; Doe Defendants)
        843.    Plaintiffs incorporate by reference all allegations of this complaint as though fully

set forth herein.

        844.    Plaintiffs allege against all Defendants violations of the California Invasion of

Privacy Act (“CIPA”), specifically California Penal Code § 637.7, for the unlawful acquisition of

Plaintiffs’ and Class members’ user information without their consent.

        845.    California Penal Code § 630 provides that “The Legislature hereby declares that

advances in science and technology have led to the development of new devices and techniques

for the purpose of eavesdropping upon private communications and that the invasion of privacy

resulting from the continual and increasing use of such devices and techniques has created a

serious threat to the free exercise of personal liberties and cannot be tolerated in a free and

civilized society.”

        846.    Defendants’ acts in violation of the CIPA occurred in the State of California

because those acts resulted from business decisions, practices, and operating policies that

Facebook developed, implemented, and utilized in the State of California and which are unlawful

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and constitute criminal conduct in the state of Facebook’s residence and principal business

operations. Further, the data acquired from Facebook by Cambridge Analytica was housed on

Facebook’s servers in California and obtained therefrom. Facebook’s implementation of its

business decisions, practices, and standard ongoing policies that violate CIPA—and Cambridge

Analytica’s availment of those business decisions, practices, and standard ongoing policies—

took place and continue to take place in the State of California. Defendants profited and continue

to profit in the State of California as a result of these repeated and systemic violations of CIPA.

Defendants’ unlawful conduct, which occurred in the State of California, harmed and continues

to harm Plaintiffs and Class Members.

        847.    Among the data points harvested by Facebook and provided to the remaining

Defendants (as well as all third-party developers who used the “friends permission” feature) was

the location of Plaintiffs and Class members.

        848.    CIPA expressly prohibits the use of “an electronic tracking device to determine

the location or movement of a person.” Cal. Pen. Code § 637.7(a).

        849.    As defined under CIPA, “‘electronic tracking device’ means any device attached

to a vehicle or other movable thing that reveals its location or movement by the transmission of

electronic signals.” Id. § 637.7(d).

        850.    Facebook acquired—and Cambridge Analytica exfiltrated and used—Plaintiffs’

and Class members’ location through, inter alia, location data associated with smartphones and

other mobile devices running Facebook.

        851.    Plaintiffs and Class members did not consent to said acquisition of location

information by any Defendant.


                                       (Against Facebook Inc.)
        852.    Plaintiffs incorporate by reference all allegations of this complaint as though fully

set forth herein.

        853.    Plaintiffs bring this claim on behalf of themselves and the Nationwide Class.

        854.    Plaintiffs bring this claim individually and on behalf of the members of the Class.

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       855.    Facebook is a “person” within the meaning of CLRA in that it is a corporation.

       856.    Plaintiffs and Class members are “consumers” within the meaning of CLRA in

that they are individuals who seek or acquire services for personal, family, or household

purposes.

       857.    CLRA § 1770(a)(5) prohibits “[r]epresenting that goods or services have

sponsorship, approval, characteristics, ingredients, uses, benefits, or quantities which they do not

have or that a person has a sponsorship, approval, status, affiliation, or connection which he or

she does not have.”

       858.    Defendant Facebook’s conduct as alleged herein violates CLRA’s ban of

proscribed practices at Cal. Civ. Code § 1770(a) in that, inter alia, Facebook misrepresented its

services by not disclosing that it shares users’ data with device makers, by representing that it

was only collecting Plaintiffs’ and Class members’ “Contact List” and by failing to represent that

it was collecting their call logs and text data. At the time Facebook made these

misrepresentations and omissions, it was aware that it was collecting Plaintiffs’ and Class

members’ data.

       859.    Plaintiffs and Class members suffered injuries caused by Defendant’s

misrepresentations and omissions because: (a) Plaintiffs and Class members suffered an invasion

of their privacy as a result of Facebook collecting their call logs and text data and/or sharing their

device data without their authorization, consent or knowledge, and (b) Plaintiffs and Class

members were deprived of any income Facebook generated through its unauthorized use or sale

of data.

       860.    Prior to the filing of this Complaint, a CLRA notice letter was sent to Defendant

Facebook which complies in all respects with California Civil Code § 1782(a).

       861.    Plaintiffs and Class members seek equitable relief for Facebook’s violation of

CLRA, as permitted by statute. This includes injunctive relief to enjoin the wrongful practices

alleged herein, and to take corrective action to remedy past conduct, including ending all data-

sharing partnerships still in effect and having Facebook direct all device makers with Plaintiffs’


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and Class members’ data stored on their servers to delete that data.


                                     (Against Facebook Inc.)
        862.    Plaintiffs incorporate by reference all allegations of this complaint as though fully

set forth herein.

        863.    Plaintiffs bring this claim individually and on behalf of the members of the

Nationwide Class.

        864.    Facebook knowingly accessed and without permission used Plaintiffs’ and Class

members’ data in order to wrongfully control or obtain property or data in violation of California

Penal Code § 502(c)(1).

        865.    Facebook knowingly accessed and without permission took, copied, and/or used

data from Plaintiffs’ and Class members’ computers, computer systems and/or computer network

in violation of California Penal Code § 502(c)(2).

        866.    Facebook knowingly and without permission used or caused to be used Plaintiffs’

and Class members’ computer services in violation of California Penal Code § 502(c)(3).

        867.    Facebook knowingly and without permission accessed or caused to be accessed

Plaintiffs’ and Class members’ computers, computer systems, and/or computer network in

violation of California Penal Code § 502(c)(7).

        868.    Plaintiffs and Class members suffered and continue to suffer damage as a result of

Facebook’s violations of the California Penal Code § 502 identified above.

        869.    Facebook’s conduct also caused irreparable and incalculable harm and injuries to

Plaintiffs and Class members in the form of invading their privacy, and, unless enjoined, will

cause further irreparable and incalculable injury, for which Plaintiffs and Class members have no

adequate remedy at law.

        870.    Facebook willfully violated California Penal Code § 502 in disregard and

derogation of the rights of Plaintiffs and Class members, and Facebook’s actions as alleged

above were carried out with oppression, fraud and malice.

        871.    Pursuant to California Penal Code § 502(e), Plaintiffs and Class members are

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entitled to injunctive relief, compensatory damages, punitive or exemplary damages, attorneys’

fees, costs and other equitable relief.




                         (Against Prioritized Defendant Facebook Inc.)
        872.    Plaintiffs individually and on behalf of the class members incorporate by

reference all allegations of this complaint as though fully set forth herein.

        873.    Plaintiffs bring this claim on behalf of themselves and the Nationwide Class.

        874.    The common law in these states prohibits the use of a person’s name or likeness

for the defendant’s advantage, commercial or otherwise, without first obtaining that person’s

consent, or where appropriate the consent of that person’s parent or legal guardian.

        875.    Facebook violated this section by allowing access to Plaintiffs’ and class

members’ likeness—including names, like history, photographs, and video—as a service to third

parties. On information and belief, access to the likeness of Plaintiffs and Class members was

integral to the services Facebook offered app developers like Cambridge Analytica. App

developers would not have purchased services from Facebook (including advertisements)

without access to this information. Indeed, the value of the services Facebook offered to app

developers was derived from this information.

        876.    Prior to using the Plaintiffs’ and class members’ likeness, Facebook never

obtained consent.

        877.    Plaintiffs and class members did not receive any compensation in return for this

use

        878.    Plaintiffs and class members were harmed by Facebook’s improper use.

        879.    Plaintiffs and class members seek actual damages suffered, plus any profits

attributable to Facebook’s use of the unauthorized use not calculated in actual damages.

Plaintiffs and class members also reserve the right to punitive damages, costs, and reasonable

attorney’s fees as allowed under this statute.


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                         (Against Prioritized Defendant Facebook Inc.)
        880.    The Alabama Plaintiff identified above (“Plaintiff,” for purposes of this Count),

individually and on behalf of the Alabama Subclass, incorporates by reference all allegations of

this complaint as though fully set forth herein.

        881.    Ala. Code § 6-5-772 prohibits the use of a person’s indicia of identity for the

purposes of advertising or selling or soliciting goods or services without that persons consent, or

where appropriate the consent of that person’s parent or legal guardian.

        882.    Under Ala. Code § 6-5-771, indicia of identity includes those attributes of a
person that serve to identify that person to an ordinary, reasonable viewer or listener and includes

“name, signature, photograph, image, likeness, voice” or similar attribute of that person.

        883.    Defendant violated this section by allowing access to Plaintiff’s and the Alabama

Subclass members’ content and information—including names, like history, photographs, and

video—as a service to third parties. On information and belief, the content and information of

Plaintiff and the Alabama Subclass members was integral to the services Facebook offered app

developers like Cambridge Analytica. App developers would not have purchased services from

Facebook (including advertisements) without access to this content and information. Indeed, the

value of the services Facebook offered to app developers was derived from this content and

information. Thus, Facebook directly benefited from this use of Plaintiff’s and the Alabama

Subclass members’ content and information.

        884.    Prior to using the Plaintiff’s and the Alabama Subclass members’ content and

information, the Defendant never obtained consent from the Plaintiffs.

        885.    Defendant profited from the commercial use of the Plaintiff’s and the Alabama

Subclass members’ content and information.

        886.    Plaintiff and the Alabama Subclass members did not receive any compensation in

return for this use.

        887.    According to Ala. Code § 6-5-774, Plaintiff and the Alabama Subclass members


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seek the greater of $5,000 per incident or the actual damages suffered, plus any profits

attributable to Defendants’ use of the unauthorized use not calculated in actual damages. Plaintiff

and the Alabama Subclass members also reserve the right to injunctive relief, punitive damages,

costs, and reasonable attorney’s fees as allowed under this statute.



                         (Against Prioritized Defendant Facebook Inc.)
       888.    The Florida Plaintiff identified above (“Plaintiff,” for purposes of this Count),

individually and on behalf of the Florida Subclass, incorporates by reference all allegations of

this complaint as though fully set forth herein.

       889.    Plaintiff and Florida Subclass members incorporate by reference all allegations of

the preceding paragraphs as though fully set forth herein.

       890.    Fla. Code § 540.08 prohibits the use of a person’s name, portrait, photograph, or

likeness for commercial purposes without the express consent of that person, or where

appropriate the consent of that person’s parent or legal guardian.

       891.    Defendant Facebook violated this section by allowing access to Plaintiff’s and

Florida Subclass members’ content and information—including names, like history,

photographs, and video—as a service to third parties. On information and belief, the content and

information of Plaintiff and Florida Subclass members was integral to the services Facebook

offered third party app developers like Cambridge Analytica; third party app developers would

not have purchased services from Facebook (including advertisements) without access to this

information. Indeed, the value of the services Facebook offered to third party app developers was

derived from this information.

       892.    Prior to using the Plaintiff’s and Florida Subclass members’ content and

information, the Defendant never obtained consent.

       893.    Defendant profited from the commercial use of the Plaintiff’s and Florida

Subclass members’ likeness.

       894.    Plaintiff and Florida Subclass members did not receive any compensation in


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return for this use.

        895.    According to Fla. Code § 540.08, Plaintiff and Florida Subclass members seek the

greater of $1,000 per incident in addition to any other remedies under common law, including

actual damages, punitive damages, and injunctive relief.



                         (Against Prioritized Defendant Facebook Inc.)
        896.    The Illinois Plaintiffs identified above (“Plaintiffs,” for purposes of this Count),

individually and on behalf of the Illinois Subclass, incorporates by reference all allegations of

this complaint as though fully set forth herein.

        897.    Ill. Comp. Stat. § 1075/5-30 prohibits the use of an individual’s likeness including

their name, signature, photograph, image, likeness, or voice for or in connection with a sale of a

product or services or for purposes of advertising or promoting services without written consent

of that person, or where appropriate the consent of that person’s parent or legal guardian.

        898.    Defendant Facebook violated this section by allowing access to Plaintiffs’ and the

Illinois Subclass members’ content and information—including names, like history, photographs,

and video—as a service to third parties. On information and belief, the content and information

of Plaintiffs and the Illinois Subclass members was integral to the services Facebook offered

third party app developers like Cambridge Analytica; third party app developers would not have

purchased services from Facebook (including advertisements) without access to this information.

Indeed, the value of the services Facebook offered to third party app developers was derived

from this information.

        899.    Prior to using the Plaintiffs’ and the Illinois Subclass members’ content and

information, the Defendant never obtained consent from the Plaintiffs.

        900.    Defendant profited from the commercial use of the Plaintiffs’ and the Illinois

Subclass members’ likeness.

        901.    Plaintiffs and the Illinois Subclass members did not receive any compensation in

return for this use.


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        902.    According to Ill. Comp. Stat. § 1075/40-60, Plaintiffs seek the greater of $1,000

per incident or the actual damages suffered, plus any profits attributable to Defendants’ use of

the unauthorized use not calculated in actual damages. Plaintiffs also reserve the right to punitive

damages, costs, and reasonable attorney’s fees as allowed under this statute.



                         (Against Prioritized Defendant Facebook Inc.)
        903.    The Indiana Plaintiff identified above (“Plaintiff,” for purposes of this Count),

individually and on behalf of the Indiana Subclass, incorporates by reference all allegations of

this complaint as though fully set forth herein.

        904.    Ind. Code § 32-36-1-8 prohibits the use of a person’s name, voice, signature,

photograph, image, likeness, distinctive appearance, gesture, or mannerisms in connection with a

product service or commercial activity without that person’s consent, or where appropriate the

consent of that person’s parent or legal guardian.

        905.    Defendant Facebook violated this section by allowing access to Plaintiff’s and

Indiana Subclass members’ content and information—including names, like history,

photographs, and video—as a service to third parties. On information and belief, the content and

information of Plaintiff and Indiana Subclass members was integral to the services Facebook

offered third party app developers like Cambridge Analytica; third party app developers would

not have purchased services from Facebook (including advertisements) without access to this

information. Indeed, the value of the services Facebook offered to third party app developers was

derived from this information.

        906.    Prior to using the Plaintiff’s and Indiana Subclass members’ content and

information, the Defendant never obtained consent.

        907.    Defendant profited from the commercial use of the Plaintiff’s and Indiana

Subclass members’ likeness.

        908.    Plaintiff and Indiana Subclass members did not receive any compensation in

return for this use.


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        909.    According to Ind. Code § 32-36-1-10 to Plaintiff and Indiana Subclass members

seek the greater of $1,000 per incident or the actual damages suffered, plus any profits

attributable to Defendants’ use of the unauthorized use not calculated in actual damages. to

Plaintiff and Indiana Subclass members’ also reserve the right to injunctive relief, punitive

damages, costs, and reasonable attorney’s fees as allowed under this statute.



                          (Against Prioritized Defendant Facebook Inc.)
        910.    The New York Plaintiff identified above (“Plaintiff,” for purposes of this Count),

individually and on behalf of the New York Subclass, incorporates by reference all allegations of

this complaint as though fully set forth herein.

        911.    N.Y. Civ. Rights Law § 51 prohibits the use of a person’s name, portrait, picture,

or voice for advertising purposes or for the purposes of trade without first obtaining that person’s

consent, or where appropriate the consent of that person’s parent or legal guardian.

        912.    Defendant Facebook violated this section by allowing access to Plaintiff’s and the

New York Subclass members’ rights content and information—including names, like history,

photographs, and video—as a service to third parties. On information and belief, the content and

information of Plaintiff and the New York Subclass members was integral to the services

Facebook offered third party app developers like Cambridge Analytica; third party app

developers would not have purchased services from Facebook (including advertisements)

without access to this information. Indeed, the value of the services Facebook offered to third

party app developers was derived from this information.

        913.    Prior to using the Plaintiff’s and the New York Subclass members’ content and

information, the Defendant never obtained consent.

        914.    Defendant profited from the commercial use of the Plaintiff’s and the New York

Subclass members’ likeness.

        915.    Plaintiff and the New York Subclass members did not receive any compensation

in return for this use.


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       916.    According to N.Y. Civ. Rights Law § 51, to Plaintiff and the New York Subclass

members seek actual damages suffered, plus any profits attributable to Defendants’ use of the

unauthorized use not calculated in actual damages. Plaintiff and the New York Subclass

members also reserve the right to equitable relief, punitive damages, costs, and reasonable

attorney’s fees as allowed under this statute.



                         (Against Prioritized Defendant Facebook Inc.)
       917.    The Ohio Plaintiff identified above (“Plaintiff,” for purposes of this Count),

individually and on behalf of the Ohio Subclass, incorporates by reference all allegations of this

complaint as though fully set forth herein.

       918.    Ohio Code § 2741.02 prohibits the use of a person’s name, voice, signature,

photograph, image, likeness, or distinctive appearance in connection with a product, good or

service with that person’s written consent, or where appropriate the consent of that person’s

parent or legal guardian.

       919.    Defendant Facebook violated this section by allowing access to Plaintiff’s and the

Ohio Subclass members’ content and information—including names, like history, photographs,

and video—as a service to third parties. On information and belief, the content and information

of Plaintiff and the Ohio Subclass members was integral to the services Facebook offered third

party app developers like Cambridge Analytica; third party app developers would not have

purchased services from Facebook (including advertisements) without access to this information.

Indeed, the value of the services Facebook offered to third party app developers was derived

from this information.

       920.    Prior to using the Plaintiff’s and the Ohio Subclass members’ content and

information, the Defendant never obtained consent.

       921.    Defendant profited from the commercial use of the Plaintiff’s and the Ohio

Subclass members’ likeness.

       922.    Plaintiff and the Ohio Subclass members did not receive any compensation in


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return for this use.

        923.    According to Ohio Code § 2741.07 (a), Plaintiff and the Ohio Subclass members

seek the greater of $2,500 per incident or the actual damages suffered, plus any profits

attributable to Defendants’ use of the unauthorized use not calculated in actual damages. Plaintiff

and the Ohio Subclass members also reserve the right to punitive damages, costs, and reasonable

attorney’s fees as allowed under this statute.



                         (Against Prioritized Defendant Facebook Inc.)
        924.    The Oklahoma Plaintiff identified above (“Plaintiff,” for purposes of this Count),

individually and on behalf of the Oklahoma Subclass, incorporates by reference all allegations of

this complaint as though fully set forth herein.

        925.    Okl. St. § 1449 prohibits the use of a person’s name, voice, signature, photograph,

or likeness in connection with a product, good or service with that person’s written consent, or

where appropriate the consent of that person’s parent or legal guardian.

        926.    Defendant Facebook violated this section by allowing access to Plaintiff’s and the

Oklahoma Subclass members’ content and information —including names, like history,

photographs, and video—as a service to third parties. On information and belief, the content and

information of Plaintiff and the Oklahoma Subclass members was integral to the services

Facebook offered third party app developers like Cambridge Analytica; third party app

developers would not have purchased services from Facebook (including advertisements)

without access to this information. Indeed, the value of the services Facebook offered to third

party app developers was derived from this information.

        927.    Prior to using the Plaintiff’s and the Oklahoma Subclass members’ content and

information, the Defendant never obtained consent.

        928.    Defendant profited from the commercial use of the Plaintiff’s and the Oklahoma

Subclass members’ likeness.

        929.    Plaintiff and the Oklahoma Subclass members did not receive any compensation


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in return for this use.

        930.    According to Okl. St. § 1449, Plaintiff and the Oklahoma Subclass members seek

the actual damages suffered, including any profits attributable to Defendants’ use of the

unauthorized use. Plaintiff and the Oklahoma Subclass members also reserve the right to punitive

damages, costs, and reasonable attorney’s fees as allowed under this statute.


                          (Against Prioritized Defendant Facebook Inc.)
        931.    The Pennsylvania Plaintiff identified above (“Plaintiff,” for purposes of this

Count), individually and on behalf of the Pennsylvania Subclass, incorporates by reference all

allegations of this complaint as though fully set forth herein.

        932.    42 Pa. Stat. § 8316 prohibits the use of a person’s name or likeness in connection

the sale of a product, goods or services without first obtaining that person’s written consent, or

where appropriate the consent of that person’s parent or legal guardian.

        933.    Defendant Facebook violated this section by allowing access to Plaintiff’s and the

Pennsylvania Subclass’ content and information —including names, like history, photographs,

and video—as a service to third parties. On information and belief, Plaintiff’s and the

Pennsylvania Subclass’ content and information was integral to the services Facebook offered

third party app developers like Cambridge Analytica; third party app developers would not have

purchased services from Facebook (including advertisements) without access to this information.

Indeed, the value of the services Facebook offered to third party app developers was derived

from this information.

        934.    Prior to using the Plaintiff’s and the Pennsylvania Subclass’ content and

information, the Defendant never obtained consent.

        935.    Defendant profited from the commercial use of the Plaintiff’s and the

Pennsylvania Subclass’ likeness.

        936.    Plaintiff and the Pennsylvania Subclass did not receive any compensation in

return for this use.

        937.    Under 42 Pa. Stat. § 8316.1, Plaintiff and the Pennsylvania Subclass seek actual

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damages plus any profits attributable to Defendants’ use of the unauthorized use not calculated in

actual damages. Plaintiff and the Pennsylvania Subclass also reserve the right to injunctive relief

as allowed under this statute.



                           (Against Prioritized Defendant Facebook Inc.)
        938.      The Tennessee Plaintiff identified above (“Plaintiff,” for purposes of this Count),

individually and on behalf of the Tennessee Subclass, incorporates by reference all allegations of

this complaint as though fully set forth herein.

        939.      T. C. A. § 47-25-1105 prohibits the use of a person’s name, photograph, or

likeness on or in goods, merchandise, or products entered into commerce in that state without

first obtaining that person’s consent, or where appropriate the consent of that person’s parent or

legal guardian.

        940.      Defendant Facebook violated this section by allowing access to Plaintiff’s and the

Tennessee Subclass members’ content and information —including names, like history,

photographs, and video—as a service to third parties. On information and belief, the Plaintiff’s

and the Tennessee Subclass members’ content and information was integral to the services

Facebook offered third party app developers like Cambridge Analytica; third party app

developers would not have purchased services from Facebook (including advertisements)

without access to this information. Indeed, the value of the services Facebook offered to third

party app developers was derived from this information.

        941.      Prior to using the Plaintiff’s and the Tennessee Subclass members’ content and

information, the Defendant never obtained consent.

        942.      Defendant profited from the commercial use of the Plaintiff’s and the Tennessee

Subclass members’ likeness.

        943.      Plaintiff and the Tennessee Subclass members did not receive any compensation

in return for this use.

        944.      According to T. C. A. § 47-25-1105, Plaintiff and the Tennessee Subclass


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members seek the greater of $5,000 per incident or the actual damages suffered, plus any profits

attributable to Defendants’ use of the unauthorized use not calculated in actual damages. Plaintiff

and the Tennessee Subclass members also reserve the right to punitive damages, costs,

reasonable attorney’s fees, and injunctive relief as allowed under this statute.



                         (Against Prioritized Defendant Facebook Inc.)
        945.    The Virginia Plaintiff identified above (“Plaintiff,” for purposes of this Count),

individually and on behalf of the Virginia Subclass, incorporates by reference all allegations of

this complaint as though fully set forth herein.

        946.    Va. Code § 8.01-40 prohibits the use of a person’s name, portrait or picture for

commercial purposes without first obtaining that person’s consent, or where appropriate the

consent of that person’s parent or legal guardian.

        947.    Defendant Facebook violated this section by allowing access to Plaintiff’s and

Virginia Subclass members’ content and information—including names, like history,

photographs, and video—as a service to third parties. On information and belief, the Plaintiff’s

and Virginia Subclass members’ content and information was integral to the services Facebook

offered third party app developers like Cambridge Analytica; third party app developers would

not have purchased services from Facebook (including advertisements) without access to this

information. Indeed, the value of the services Facebook offered to third party app developers was

derived from this information.

        948.    Prior to using the Plaintiff’s and Virginia Subclass members’ content and

information, the Defendant never obtained consent.

        949.    Defendant profited from the commercial use of the Plaintiff’s and Virginia

Subclass members’ likeness.

        950.    Plaintiff and Virginia Subclass members did not receive any compensation in

return for this use.

        951.    According to Va. Code § 8.01-40, Plaintiff and Virginia Subclass members seek


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actual damages suffered, plus any profits attributable to Defendants’ use of the unauthorized use

not calculated in actual damages. Plaintiff and Virginia Subclass members also reserve the right

to punitive damages, costs, and reasonable attorney’s fees as allowed under this statute.



                         (Against Prioritized Defendant Facebook Inc.)
        952.    The Washington Plaintiffs identified above (“Plaintiff,” for purposes of this

Count), individually and on behalf of the Washington Subclass, incorporates by reference all

allegations of this complaint as though fully set forth herein.

        953.    Wash. Code § 63.60.050 prohibits the use of a person’s name, voice, signature,

photograph, or likeness on or in goods, merchandise, or products entered into commerce in that

state without first obtaining that person’s consent, or where appropriate the consent of that

person’s parent or legal guardian.

        954.    Defendant Facebook violated this section by allowing access to Plaintiff’s and

Washington Subclass members’ content and information—including names, like history,

photographs, and video—as a service to third parties. On information and belief, Plaintiff’s and

Washington Subclass members’ content and information was integral to the services Facebook

offered third party app developers like Cambridge Analytica; third party app developers would

not have purchased services from Facebook (including advertisements) without access to this

information. Indeed, the value of the services Facebook offered to third party app developers was

derived from this information.

        955.    Prior to using the Plaintiff’s and Washington Subclass members’ content and

information, the Defendant never obtained consent.

        956.    Defendant profited from the commercial use of the Plaintiff’s and Washington

Subclass members’ likeness.

        957.    Plaintiff and Washington Subclass members did not receive any compensation in

return for this use.

        958.    According to Wash. Code § 63.60.060 Plaintiff and Washington Subclass


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members seek the greater of $1,500 per incident or the actual damages suffered, plus any profits

attributable to Defendants’ use of the unauthorized use not calculated in actual damages. Plaintiff

and Washington Subclass members also reserve the right to costs, and reasonable attorney’s fees

as allowed under this statute.



                         (Against Prioritized Defendant Facebook Inc.)
        959.    The Wisconsin Plaintiff identified above (“Plaintiff,” for purposes of this Count),

individually and on behalf of the Wisconsin Subclass, incorporates by reference all allegations of

this complaint as though fully set forth herein.

        960.    Wis. Stat. § 995.50(b) prohibits the use of a name, portrait or picture for the

purposes of trade or advertising without first obtaining that person’s consent, or where

appropriate the consent of that person’s parent or legal guardian.

        961.    Defendant Facebook violated this section by allowing access to Plaintiff’s and

Wisconsin Subclass members’ content and information —including names, like history,

photographs, and video—as a service to third parties. On information and belief, Plaintiff’s and

Wisconsin Subclass members’ content and information was integral to the services Facebook

offered third party app developers like Cambridge Analytica; third party app developers would

not have purchased services from Facebook (including advertisements) without access to this

information. Indeed, the value of the services Facebook offered to third party app developers was

derived from this information.

        962.    Prior to using the Plaintiff’s and Wisconsin Subclass members’ content and

information, the Defendant never obtained consent.

        963.    Defendant profited from the commercial use of the Plaintiff’s and Wisconsin

Subclass members’ likeness.

        964.    Plaintiff and Wisconsin Subclass members did not receive any compensation in

return for this use.

        965.    According to Wis. Stat. § 995.50, Plaintiff and Wisconsin Subclass members seek


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actual damages, plus any profits attributable to Defendants’ use of the unauthorized use not

calculated in actual damages. Plaintiff and Wisconsin Subclass members also reserve the right to

costs, reasonable attorney’s fees, and injunctive relief as allowed under this statute.



  (Against Prioritized Defendant Facebook. and Doe Defendants; Against Non-Prioritized
                    Defendants Zuckerberg, Mercer, Bannon and Kogan)
                           On Behalf of All Plaintiffs and Classes
        966.    Plaintiffs incorporate by reference all allegations of this complaint as though fully

set forth herein.

        967.    California Civil Code § 3344 prohibits the knowing use of a person’s name,

voice, signature, photograph, or likeness for a commercial gain without first obtaining that

person’s consent, or where appropriate the consent of that person’s parent or legal guardian.

        968.    Defendants violated this section by allowing access to Plaintiffs’ and Class

Members’ content and information—including names, like history, photographs, and video—as a

service to third parties. On information and belief, the content and information of Plaintiffs and

Class Members was integral to the services Facebook offered app developers like Cambridge

Analytica. App developers would not have purchased services from Facebook (including

advertisements) without access to this content and information. Indeed, the value of the services

Facebook offered to app developers was derived from this content and information. Thus,

Facebook directly benefited from this use of Plaintiffs’ content and information.

        969.    Facebooks’ API feeds are “products” for purposes of Civil Code Section 3344.

Additionally, Facebook used its API feeds to advertise for services Facebook offered, such as

advertisements. Facebook effectively used access to API feeds containing photographs and

likenesses of Plaintiffs and Class Members to sell its advertising services.

        970.    The photographs and likenesses exploited by Facebook through API feeds

includes photographs and videos. Facebook offered these photographs and likenesses to third

party app developers and other business partners as part of the API service without regard to

Plaintiffs’ and Class Members’ privacy settings attached to the photographs and videos.


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Facebook received substantial revenue from publishing this content and information through its

API feed in the form of advertising revenue. Facebook linked the payment of advertisements

with the continued access to API feeds that included photographs and likenesses of Plaintiffs and

Class Members.

        971.    Prior to using the Plaintiffs’ content and information, the Facebook never

obtained consent from the Plaintiffs.

        972.    Plaintiffs received no compensation for the use of their likeness.

        973.    Facebook had knowledge of the unauthorized uses of Plaintiffs’ and Class

Members’ names, photographs, and likenesses.

        974.    Plaintiffs were harmed by Facebook’s improper use.

        975.    According to California Civil Code § 3344(a), Plaintiffs seek the greater of $750

per incident or the actual damages suffered, plus any profits attributable to Facebook’s use of the

unauthorized use not calculated in actual damages. Plaintiffs also reserve the right to punitive

damages, costs, and reasonable attorney’s fees as allowed under this statute.



                           (Against Prioritized Defendant Facebook,.)
                             On Behalf of All Plaintiffs and Classes
        976.    Plaintiffs incorporate by reference all allegations of this complaint as though fully

set forth herein.

        977.    As individuals, Plaintiffs and Class members are consumers entitled to the

protections of the FCRA. 15 U.S.C. § 1681a(c).

        978.    Facebook is a “person” as defined by 15 U.S.C. § 1681a(b).

        979.    Facebook is a CRA—a “consumer reporting agency” as defined in 15 U.S.C. §§

1681a(f) which is defined as “any person which, for monetary fees, dues, or on a cooperative

nonprofit basis, regularly engages in whole or in part in the practice of assembling or evaluating

consumer credit information or other information on consumers for the purpose of furnishing

consumer reports to third parties . . . .” 15 U.S.C. § 1681a(f).

        980.    The compromised data was a “consumer report” under the FCRA as defined

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under 15 U.S.C. § 1681a(d)(1).

        981.    As a consumer reporting agency, Facebook may only furnish a consumer report

under the limited circumstances set forth in 15 U.S.C. § 1681b, “and no other.” 15 U.S.C. §

1681b(a). None of the purposes listed under 15 U.S.C. § 1681b permit credit reporting agencies

to furnish consumer reports to unauthorized or unknown entities.

        982.    Facebook willfully and/or recklessly violated § 1681b and § 1681e(a) by

providing impermissible access to consumer reports and by failing to maintain reasonable

procedures designed to limit the furnishing of consumer reports to the purposes outlined under

section 1681b of the FCRA.

        983.    As a CRA, Facebook is required to make clear, accurate, and complete

disclosures as set forth in 15 § U.S.C. 1681g.

        984.    Facebook failed to make clear, accurate, and complete disclosures, violating 15

U.S.C. § 1681g.

        985.    As a result of each and every willful violation of FCRA, Plaintiffs and Class

members are entitled to: actual damages, pursuant to 15 U.S.C. § 1681n(a)(1); statutory

damages, pursuant to 15 U.S.C. § 1681n(a)(1); punitive damages, as this Court may allow,

pursuant to 15 U.S.C. § 1681n(a)(2); and reasonable attorneys’ fees and costs pursuant to 15

U.S.C. § 1681n(a)(3).

        986.    As a result of each and every negligent non-compliance of the FCRA, Plaintiffs

and Class members are also entitled to actual damages, pursuant to 15 U.S.C. § 1681o(a)(1); and

reasonable attorney’s fees and costs pursuant to 15 U.S.C. § 1681o(a)(2) from Defendant.



                         (Against Prioritized Defendant Facebook, Inc.)
        987.    Plaintiffs adopt and incorporate all the allegations of this complaint as if stated

fully herein.

        988.    By reason of the conduct alleged herein, Defendants violated Delaware’s

Criminal Code protecting persons from electronic surveillance and unlawful interception of


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communications.

       989.    According to Chapter 24 of the Title 11 of the Delaware Criminal Code,

“Electronic communication” includes “any transfer of signs, signals, writing, images, sounds,

data or intelligence of any electromagnetic, photoelectronic or photooptical system.” 11 Del.

Code § 2401.

       990.    The messages, posts, images and countless other forms of communication on

Facebook user’s profiles are considered electronic communications.

       991.    The statute defines “Electronic communication system” as “any wire, oral,

electromagnetic, photooptical, or photoelectronic facilities for the transmission of wire, oral or

electronic communications and any computer facilities or related electronic equipment.” Id.

       992.    The servers Facebook uses to provide its electronic communication service which

facilitate user communication are considered an “electronic communication system”.

       993.    Delaware prohibits the intentional interception of any wire, oral or electronic

communication unless party to the communication or with prior consent by one of the parties to

the communication. 11 Del. Code § 2402(a).

       994.    Delaware also prohibits a person or entity providing an electronic

communications service to the public from knowingly divulging to any other person or entity the

contents of a communication while the communication is in electronic storage by that service. 11

Del. Code § 2422.

       995.    Facebook, a “person” and “electronic communication service” pursuant to

Delaware Criminal Code, unlawfully and intentionally divulged the contents of Plaintiffs’ and

Class members’ communications.

       996.    Facebook intentionally divulged the contents of Plaintiffs’ and Class members’

stored electronic communications by allowing Cambridge Analytica access to their electronic

communications which also contained sensitive personal information and identifiers putting

Plaintiffs and Class members at risk of being harmed.

       997.    Section 2409 of the Delaware Criminal Code authorizes a private right of action


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for actual damages, punitive damages and reasonable attorneys’ fees and other litigation costs

reasonably incurred to any person whose wire, oral or electronic communication is intercepted,

disclosed or used in violation of this code.

        998.    Plaintiffs and Class members have been harmed by Defendants’ misconduct and

are entitled to actual damages, punitive damages and reasonable attorneys’ fees and costs.



                                         (Against Facebook)
        999.    Plaintiffs incorporate by reference the allegations in the preceding paragraphs as

if fully set forth herein.

        1000. Defendants and the New Jersey State Class members are “persons” within the

meaning of N.J. STAT. ANN. § 56:8-1(d). Facebook engaged in “sales” of “merchandise” within

the meaning of N.J. STAT. ANN. § 56:8-1(c), (d).

        1001. The New Jersey Consumer Fraud Act (“New Jersey CFA”) makes unlawful “[t]he

act, use or employment by any person of any unconscionable commercial practice, deception,

fraud, false pretense, false promise, misrepresentation, or the knowing concealment, suppression

or omission of any material fact with the intent that others rely upon such concealment,

suppression or omission, in connection with the sale or advertisement of any merchandise or real

estate, or with the subsequent performance of such person as aforesaid, whether or not any

person has in fact been misled, deceived or damaged thereby...” N.J. STAT. ANN. § 56:8-2.

        1002. As set forth above, Facebook, while operating in New Jersey, engaged, in

unconscionable commercial practices, deception, misrepresentation, and the knowing

concealment, suppression, and omission of material facts with intent that others rely on such

concealment, suppression, and omission, in connection with the sale and advertisement of

services, in violation of N.J. Stat. Ann. § 56:8-2. This includes:

                A.       Collecting, storing, and using vast quantities of highly sensitive personal

        information and which Facebook failed to adequately protect from unauthorized and/or

        criminal access;


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               B.      Failing to employ technology and systems to promptly detect unauthorized

       access to the personal information with which they were entrusted;

               C.      Unreasonably delaying giving notice to consumers after it became aware

       of unauthorized access to the personal information;

               D.      Knowingly and fraudulently failing to provide accurate, timely

       information to consumers about the extent to which their personal information had been

       compromised; and

               E.      Making false and deceptive representations and communications

       concerning the purpose of and reasons for collecting highly sensitive personal

       information.

       1003. Facebook’s breach of its duties has directly and proximately caused Plaintiffs and

the New Jersey Subclass to suffer an ascertainable loss of money and property, including the loss

of their personal information and foreseeably causing them to expend time and resources

investigating the extent to which their personal information has been compromised.

       1004. The above unlawful and deceptive acts and practices and acts by Facebook were

immoral, unethical, oppressive, and unscrupulous. These acts caused substantial injury to

Plaintiffs and the New Jersey Subclass that they could not reasonably avoid. This substantial

injury outweighed any benefits to consumers or to competition.

       1005. Plaintiffs and the New Jersey Subclass seek relief under N.J. Stat. Ann. § 56:8-19,

including, but not limited to, injunctive relief, other equitable actual damages (to be proven at

trial), disgorgement of wrongfully obtained profits, treble damages, and attorneys’ fees and costs.


                                     (Against Facebook)
                             On Behalf of All Plaintiffs and Classes
       1006. Plaintiffs reallege and incorporate by reference all allegations of this complaint as

though fully set forth herein.

       1007. Facebook intentionally misrepresented the use and access to the data that

Plaintiffs and Class Members owned on their Facebook sites. Defendant Facebook intentionally


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misrepresented that it would not disclose Plaintiffs’ and the Class Members’ Personal

Information without authorization.

       1008. Facebook intentionally misrepresented to the Plaintiffs and the Class the

protection and privacy of their Facebook data as described above, and in other means. In

addition, Facebook intentionally failed to disclose that information was available to device

manufacturers.

       1009. Defendant’s representations were false because Facebook knowingly and

intentionally provided the Personal Information of Plaintiffs and Class Members to device

manufacturers, and did so for Facebook’s financial and commercial advantage without either

permission or sufficient consent from Plaintiffs and Class Members.

       1010. Facebook’s representations were material to Plaintiffs’ and Class Members’

decision to post and provide Personal Information on Facebook.

       1011. Plaintiffs and the Class Members justifiably relied on the representations

Facebook made in its Privacy Policy and elsewhere on their website and acted in reliance on

those representations by placing Personal Information on Facebook.

       1012. Facebook knew of the falsity of its representations, and its representations were

made to deceive Plaintiffs and Class Members into providing Personal Information that could be

used for Facebook’s financial and marketing advantage.

       1013. Facebook knew it did not have permission to allow device manufacturers to

collect and/or access Personal Information because it did not attempt to obtain permission from

Plaintiffs and the Class Members.

       1014. Plaintiffs and the Class Members suffered injury-in-fact and lost property as a

proximate result of Facebook’s intentional misrepresentation.

       1015. As a direct and proximate result of Facebook’s intentional misrepresentation,

Plaintiffs and Class Members suffered injuries, damages, losses or harm, including but not

limited to annoyance, interference, concern, lost time, the loss of personal property, and the need

for the cost of effective credit and privacy security, justifying an award of compensatory and


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punitive damages.

                                 X.      PRAYER FOR RELIEF
       1016. Plaintiffs, individually and on behalf of Class Members, request that the Court

enter judgment in their favor and against Defendants, as follows:

       1017. Certify the Classes and appoint Plaintiffs as Class Representatives;

       1018. Enter Judgment against Defendants on Plaintiffs’ and Class Members’ asserted

causes of action;

       1019. Award Plaintiffs and Class Members appropriate relief, including actual and

statutory damages, restitution, disgorgement, and punitive damages;

       1020. Award equitable, injunctive, and declaratory relief as may be appropriate;

       1021. Award all costs, including experts’ fees and attorneys’ fees, as well as the costs of

prosecuting this action;

       1022. Award pre-judgment and post-judgment interest as prescribed by law; and

       1023. Grant additional legal and equitable relief as this Court may find just and proper.

                              XI.     DEMAND FOR JURY TRIAL
       1024. Plaintiffs, on behalf of themselves and all others similarly situated, hereby

demand a trial by jury on all the issues so triable.



                                               Dated: September 21, 2018


                                               KELLER ROHRBACK L.L.P.

                                               By:      /s/ Derek W. Loeser
                                                        Derek W. Loeser

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                                  CERTIFICATE OF SERVICE


          I, Derek W. Loeser, hereby certify that on September 21, 2018, I electronically filed the

foregoing with the Clerk of the United States District Court for the Northern District of

California using the CM/ECF system, which shall send electronic notification to all counsel of

record.


                                                /s/ Derek W. Loeser
                                                Derek W. Loeser


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